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                                                           No. 25-761
             ______________________________________________________________________________________________________________


                In the United States Court of Appeals for the Ninth Circuit

                                                    NICHOLAS ROLOVICH,
                                                    Plaintiff-Appellant,
                                                                  v.
                                      WASHINGTON STATE UNIVERSITY, ET AL.,
                                            Defendants-Appellees.


                          Appeal from the United States District Court
                             for the Eastern District of Washington
                                   Honorable Thomas O. Rice
                                       (2:22-cv-319-TOR)
              __________________________________________________________________
                                    EXCERPTS OF RECORD
                                         VOLUME 5 OF 8
             __________________________________________________________________
               ERIC N. KNIFFIN                 JOSEPH C. DAVIS
               KNIFFIN LAW, PLLC                 Counsel of Record
               102 S. Tejon St., Suite 1100    LUKE W. GOODRICH
               Colorado Springs, CO 80903      ANGELA WU HOWARD
               ERIC J. SEESE                   REED M. BARTLEY
               FROST BROWN TODD LLP            THE BECKET FUND FOR
               1801 California St., Ste. 2700   RELIGIOUS LIBERTY
               Denver, CO 80202                1919 Pennsylvania Ave. NW, Ste. 400
                                               Washington, DC 20006
                                               (202) 955-0095
                                               jdavis@becketfund.org

                                               Counsel for Plaintiff-Appellant
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              1    ROBERT W. FERGUSON
                   Attorney General
              2
                   SPENCER W. COATES, WSBA #49683
              3    Assistant Attorney General
                   800 Fifth Avenue, Suite 2000
              4    Seattle, WA 98104-3188
                   (206) 464-7744
              5
                   ZACHARY J. PEKELIS, WSBA #44557
              6    Special Assistant Attorney General
                   PACIFICA LAW GROUP LLP
              7    1191 2nd Avenue, Suite 2000
                   Seattle, WA 98101-3404
              8    (206) 245-1700

              9

            10                       UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF WASHINGTON
            11
                   NICHOLAS ROLOVICH,                          NO. 2:22-cv-00319-TOR
            12
                                      Plaintiff,               DECLARATION OF
            13                                                 PATRICK CHUN IN SUPPORT OF
                      v.                                       DEFENDANT’S CROSS-MOTION
            14                                                 FOR SUMMARY JUDGMENT
                   WASHINGTON STATE
            15     UNIVERSITY,

            16                        Defendant.

            17
            18     I, PATRICK CHUN, declare as follows:

            19             1.   I am over the age of eighteen, competent to testify, and make this

            20     declaration based on my personal knowledge.

            21             2.   I was the Director of Athletics at Washington State University

            22     (WSU or the University) from January 2018 until March 2024.

            23
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                                                                                          SUITE 2000
                   IN SUPPORT OF DEF.’S CROSS-MSJ                             SEATTLE, WASHINGTON 98101-3404
                                                                                  TELEPHONE: (206) 245-1700
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              1          3.     I graduated from Ohio State University (Ohio State) in 1997 with a

              2    bachelor’s degree in journalism. I received a master’s degree in Sports

              3    Leadership from Duquesne University in 2008.

              4          4.     I began my career in the Athletics Department at Ohio State and

              5    worked there from 1997 until 2012. I worked in media relations, revenue

              6    generation, development, and fundraising for the Ohio State Athletics

              7    Department before serving as the Executive Associate Athletics Director, which

              8    was a leadership role just under the Athletics Director.

              9          5.     In July 2012, I joined Florida Atlantic University as the Athletics

            10     Director, working in this role until February 2018.

            11           6.     In February 2018, I was hired as the Athletics Director at WSU and

            12     worked in that role until March 2024, when I became the Athletics Director at

            13     the University of Washington.

            14           7.     I previously served as the President of the National Association of

            15     Collegiate Directors of Athletics and on the NCAA Division I Council. I also co-

            16     founded the Asian American & Pacific Islander Athletics Alliance.

            17                Nick Rolovich’s Hiring as Head Football Coach at WSU

            18           8.     As at most Division I universities, at WSU the head football coach

            19     role is an integral part of the culture and business of the University. The coach is

            20     often the face of the University and represents it as a public figure both in athletics

            21     and non-athletics environments. Therefore, hiring the right person to take on the

            22     head football coach position following coach Mike Leach’s departure was

            23     extremely important to the Athletics Department and the University.
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                                                                                              SUITE 2000
                   IN SUPPORT OF DEF.’S CROSS-MSJ                                 SEATTLE, WASHINGTON 98101-3404
                                                                                      TELEPHONE: (206) 245-1700
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              1            9.      I led the process to search for, interview, and hire the head football

              2    coach that would replace Leach at WSU and I was responsible for making the

              3    ultimate decision on whom to hire.

              4            10.     Nick Rolovich, then the University of Hawaii’s head coach, was one

              5    of the top candidates for the position. My initial impression was that Rolovich

              6    was very personable and charismatic and was a quintessential “players’ coach”

              7    who worked closely with his players and staff to build strong relationships. Like

              8    Leach, Rolovich was an offensive-minded coach, having previously served as an

              9    offensive coordinator and been a quarterback as a player.

            10             11.     Rolovich was officially announced as the WSU head football coach

            11     on January 14, 2020. As I stated in the announcement of Rolovich’s hiring, I

            12     believed he was “a genuine person, a program builder, an innovator and the exact

            13     fit to lead Cougar Football.”1

            14                            Key Duties of a Head Football Coach

            15             12.      The role of head football coach is challenging and multidimensional

            16     and includes responsibilities that extend beyond the football field.

            17             13.     A head football coach is entrusted with the holistic development of

            18     his student-athletes—academically, athletically, and socially. A head football

            19     coach at the college level uses sports to complement what is taught in the

            20
            21             1
                               WSU Insider, WSU hires Nick Rolovich as head football coach, Jan. 15,
            22     2020,         https://news.wsu.edu/news/2020/01/15/wsu-hires-nick-rolovich-head-
            23     football-coach/.
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              1    academic classroom. Great head football coaches see the potential in a young

              2    person and help put that same person on a pathway to personal growth.

              3          14.    A head football coach must invest time in building relationships

              4    with each and every member of the team and coaching staff. WSU would

              5    typically have between 110 and 120 student-athletes as members of the football

              6    team. It is imperative for the head coach to have a personal relationship and

              7    connection with each member of the team. This is done through a long process

              8    of multiple interactions, both individually and in group settings. A personal

              9    relationship with a head coach is critical part of the student-athlete experience.

            10           15.    The head football coach must lead the football team, develop

            11     strategy, and improve performance through practices and strategy meetings,

            12     which require the coach to engage in close contact both on and off the field with

            13     players, other coaches, and program personnel. During practices, the head

            14     football coach must work closely with players and other coaches to organize,

            15     direct, explain, and demonstrate how he wants the players to execute plays and

            16     fundamentals of the game. The head coach must also closely evaluate players and

            17     coaches to ensure that they are implementing his instruction and guidance.

            18           16.    Beyond the practice field, the head coach meets with players and

            19     other coaches and personnel often, both individually and in groups, to review and

            20     evaluate game film, discuss game plans and strategy, and prepare the team for

            21     upcoming games.

            22           17.    In order to continually develop the football program, the head coach

            23     serves as the lead recruiter for the football team and must be actively involved in
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              1    recruiting new players, which requires the coach to travel to meet with

              2    prospective players in their homes and at high schools and to host prospective

              3    players and their families on campus when they visit the university. Recruiting is

              4    a critical part of any Division I football program, and it is the head coach’s

              5    responsibility to oversee and lead recruiting. As Nick Saban—one of the most

              6    successful college football coaches of all time—once said, “Everything we do is

              7    about recruiting. Everything we do.”2

              8            18.    The head football coach is required to travel often with the team to

              9    attend practices, games, and other events. This travel may be by charter bus, car,

            10     or plane.

            11             19.    For example, during the 2021 season, the WSU football team

            12     traveled to Salt Lake City, UT; Tempe, AZ; Eugene, OR; Berkeley, CA; and

            13     Seattle, WA for its away games. The team also traveled to El Paso, TX, for the

            14     Sun Bowl on December 31, 2021. This consisted of over 7,000 miles of travel for

            15     one season. Other seasons required cross-country travel to participate in games

            16     on the East Coast.

            17             20.    When traveling to other schools for games, the head coach often

            18     interacts closely with players, coaches, and staff to prepare for games with

            19     meetings, meals, and informal discussions. The head coach also interacts with

            20     players, coaches, and other personnel from opposing schools before, during, and

            21     after games.

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            23        2
                          John Talty, The Leadership Secrets of Nick Saban 19 (2022).
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              1             21.   The head football coach also meets often with Athletics Department

              2    personnel, including the Athletics Director, academic support staff, the sports

              3    information team, recruiting team, and marketing team to coordinate

              4    development of the football program and address program needs.

              5             22.   The head football coach is required to represent the university by

              6    attending and participating in conference and National Collegiate Athletic

              7    Association (NCAA) meetings and media events, which often occur in person.

              8    The coach is also required to attend various media events coordinated by the

              9    university, including in-person interviews and appearances to promote the

            10     university and the football program.

            11              23.   The head football coach plays an important role in fundraising for

            12     the Athletics Department and the university and is often required to attend in-

            13     person donor events to interact with potential donors. Often, the head football

            14     coach will be expected to make remarks and “work the room” to chat with donors,

            15     answer their questions, or pose for photos. Head football coaches routinely

            16     participate in dozens of donor events each year. These events are critical because

            17     the Athletics Department depends significantly on donor contributions to sustain

            18     its programs. To engage in successful donor cultivation, the head football coach

            19     must build meaningful relationships with donors and supporters. This can only

            20     be accomplished through consistent personal interactions over the course of

            21     years.

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              1          24.     Additionally, the head football coach often meets with members of

              2    the community to cultivate support for the football program and for the

              3    university.

              4                          The COVID-19 Pandemic at WSU

              5          25.     Due to the emergence of the COVID-19 pandemic, by March 2020,

              6    WSU moved all academic classes to distance learning and non-essential

              7    employees to remote work to try to limit the spread of COVID-19 throughout the

              8    community.

              9          26.     At first, WSU limited fan attendance at athletics events, but then

            10     canceled all sporting events and activities entirely. As a result of these

            11     cancellations, the Athletics Department lost significant revenue that it would

            12     have realized from ticket sales, parking and concessions, merchandise sales, and

            13     participation at tournaments.

            14           27.     Rolovich and I both attended the last men’s basketball game of the

            15     season before the season was cancelled, which was part of the Pac-12 Conference

            16     tournament and occurred in Las Vegas on March 11, 2020. During this trip, as

            17     news about the COVID-19 pandemic was circulating, Rolovich made comments

            18     to me indicating that he did not believe that the COVID-19 pandemic was a

            19     genuine public health emergency. Instead, Rolovich stated that he believed the

            20     pandemic was related to a child sex-trafficking conspiracy involving Oprah

            21     Winfrey, the actor Tom Hanks, and other influential people, whom Rolovich

            22     stated would all soon be arrested. He seemed excited at this prospect because he

            23     thought it would validate his suspicions about COVID-19. I remember being
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              1    extremely confused to hear Rolovich’s comments about this, as it was the first

              2    time I had ever heard him talk in this way or about such far-fetched plots. At the

              3    time, I was completely unaware of QAnon or any other conspiracy theories

              4    related to the COVID-19 pandemic.

              5          28.    Over the next year or so, Rolovich continued to openly discuss such

              6    conspiracy theories with me and other Athletics Department staff, including

              7    suggesting that there were “sex tunnels” under Disneyland, that sex traffickers

              8    were utilizing Wal-Mart and Wayfair to traffic children, and that “the grid” would

              9    be imminently compromised. It is my understanding that Rolovich even went so

            10     far as to coordinate with football staff to prepare for an imminent shutdown of

            11     the grid that he believed would occur, but that never happened.

            12           29.    During this time, Rolovich never mentioned his religious beliefs to

            13     me or that he was a member of or attended any church. Nor do I recall ever seeing

            14     Rolovich at mass when we both lived in Pullman. (I am a lifelong Catholic and

            15     attend mass regularly throughout the year.)

            16           30.    By September 2020, the WSU Athletics Department had sustained

            17     significant financial losses. In order to mitigate the ongoing losses, we

            18     implemented furloughs and salary reductions across the WSU Athletics

            19     Department. Both Rolovich and I, in addition to other head coaches of other

            20     sports, took voluntary salary reductions to help further mitigate the financial

            21     losses to the Athletics Department and university.

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              1                               The 2020 Football Season

              2            31.   The 2020 football season was shortened due to the pandemic, with

              3    only seven games scheduled for each Pac-12 team. Fans were not permitted to

              4    attend any games in the Pac-12. WSU only participated in four games that season,

              5    however, due to game cancellations resulting from COVID-19 outbreaks.

              6            32.   In November 2020, there was a COVID-19 outbreak throughout the

              7    WSU football team that resulted in the cancellation of the team’s game against

              8    Stanford University (scheduled for November 20, 2020) and WSU’s highly

              9    anticipated Apple Cup game against rival the University of Washington

            10     (scheduled for November 27, 2020). As I stated at the time, the “Apple Cup is

            11     one of the most sacred rivalries in all of sports and one of the most meaningful

            12     days of the year for all Washingtonians.” 3 These cancellations caused further

            13     reductions in revenue for the WSU Athletics Department and the football

            14     program. Fortunately, in 2020, Pac-12 rules did not yet require teams to forfeit

            15     any football games cancelled due to COVID-19 outbreaks.

            16             33.   During this time, I felt that Rolovich was not taking seriously the

            17     danger posed by COVID-19 and the policies and rules that were implemented to

            18     prevent transmission, such as masking, testing, and social distancing. In my view,

            19     Rolovich did not consistently enforce these policies among his coaches or his

            20
            21        3
                          Pacific-12 Conference, Pac-12 statement on Washington at Washington
            22     State football game, https://pac-12.com/news/2020/11/22/boeing-apple-cup-
            23     update (Nov. 22, 2020).
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              1    players. Rather, Rolovich undermined such policies by questioning the science

              2    behind them. For example, Rolovich expressed to me his belief that nasal swab

              3    antigen tests would yield false positives if you swabbed too many times.

              4    Rolovich often did not comply with masking and social distancing requirements

              5    and was photographed at events without his mask on, which set a bad example

              6    for the football program and the community and made it more difficult to enforce

              7    these policies. I believe that Rolovich’s recalcitrance and noncompliance served

              8    as a bad example for his players, leading many of them to similarly question the

              9    benefits of such protective measures and to disregard them, potentially

            10     contributing to the outbreaks I’ve described.

            11           34.    WSU football only played four games during the 2020 season

            12     because of cancellations related to the COVID-19 pandemic, finishing the season

            13     with one win and three losses. Despite this disappointing season, I continued to

            14     support Rolovich and believed he was the right person to lead the football

            15     program through these difficult times.

            16                                  COVID-19 Vaccines

            17           35.    COVID-19 vaccines eventually became widely available to the

            18     public in March and April of 2021. Rolovich expressed to me his fears that the

            19     COVID-19 vaccines were unsafe and were developed not to help defend against

            20     COVID-19 but for nefarious purposes. In the first conversation I ever had with

            21     Rolovich about vaccines, he was very emotional and asked whether I was worried

            22     about my daughters having kids someday if they took the vaccine. Rolovich told

            23     me that he believed taking the COVID-19 vaccines would negatively impact his
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              1    mortality and stated that he “needed to be alive for his children.” Rolovich also

              2    stated to me that he believed the COVID-19 vaccines would endanger his

              3    daughter’s fertility.

              4          36.    Shortly after the vaccines became available, because Rolovich

              5    expressed concerns about the safety and effectiveness of the COVID-19 vaccines,

              6    I arranged for him to meet one-on-one with Dr. Guy Palmer, a WSU professor

              7    and world-renowned expert on infectious diseases who was leading WSU’s

              8    response to the COVID-19 pandemic.

              9          37.     On April 30, 2021, the Athletics Department held a meeting for

            10     athletics coaches and staff to meet with Dr. Palmer to discuss the COVID-19

            11     vaccines.

            12           38.     David Fox, then the director of football operations, asked several

            13     questions of Dr. Palmer regarding what he believed to be the potential adverse

            14     health effects of the COVID-19 vaccines. Fox’s pontificating questions and

            15     aggressive tone were, in my opinion, extremely confrontational and rude to

            16     Dr. Palmer, one of Washington State’s foremost scientific authorities on

            17     infectious diseases.

            18           39.    On May 21, 2021, Governor Inslee issued a proclamation providing

            19     that fully vaccinated people no longer had to wear a face covering or socially

            20     distance in most public settings. WSU adopted similar policies a few days later.

            21           40.    In addition, the NCAA announced that, starting June 1, 2021, in-

            22     person recruiting could resume after having been prohibited for more than a year

            23     due to COVID-19. This meant that football coaches were again permitted to
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              1    conduct in-person recruiting visits with prospective players. However, WSU still

              2    had quarantine requirements in place for unvaccinated people who returned to

              3    campus after traveling out of the county, which meant that Rolovich would have

              4    to quarantine for five days whenever he traveled to recruit and would be unable

              5    to participate in football practices, meetings, and other football activities during

              6    that quarantine. Attached as Exhibit A is a true and correct copy of the WSU

              7    Athletics COVID-19 Guidelines detailing the quarantine requirements.

              8          41.    With in-person recruiting set to resume on June 1, 2021, I met with

              9    Rolovich on May 24, 2021. I told him I was concerned for his well-being based

            10     on the conspiracy theories he had repeatedly promoted. During this meeting,

            11     Rolovich again told me that he was afraid to get the COVID-19 vaccine because

            12     he believed it was not approved by the FDA and he had doubts about the origins

            13     of COVID-19. Rolovich did not mention religion to me during this meeting.

            14           42.    At our meeting on May 24, 2021, I also informed Rolovich that,

            15     consistent with public health guidance and WSU policies, unvaccinated Athletics

            16     Department personnel who leave Whitman County for recruiting would have to

            17     quarantine for five days upon their return to campus. Attached as Exhibit B is a

            18     true and correct copy of an email I sent to WSU coaches and staff on May 29,

            19     2021, describing that same policy.

            20           43.    On May 27, 2021, I again met with Rolovich to discuss the COVID-

            21     19 pandemic and vaccination. During this meeting, I again expressed my

            22     concerns about Rolovich’s mental health and tried to advise him to seek

            23     counseling because I was worried about him. Rolovich again expressed
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              1    objections to the COVID-19 vaccines based on his belief that they were not safe,

              2    but did not mention religion or any religious objections to vaccination. I

              3    explained my concerns that him not being vaccinated would affect his ability to

              4    effectively coach and lead the football team.

              5          44.    Despite his objections, throughout the summer of 2021, I continued

              6    to hope that Rolovich would come around and would ultimately decide to be

              7    vaccinated to protect himself and the WSU community.

              8                           Pac-12 Media Day and Reaction

              9          45.    Each year, every NCAA athletics conference holds a football media

            10     day before the start of the season for teams to discuss the upcoming season and

            11     promote their football programs. The conference media day is a significant event

            12     and is attended by coaches and player representatives from each of the teams in

            13     the conference. In 2021, the Pac-12 football media day was scheduled to take

            14     place in Los Angeles on July 27.

            15           46.    On June 10, 2021, the Pac-12 determined that all media day

            16     attendees would be required to be vaccinated against COVID-19. Later that day,

            17     I met with Rolovich to notify him of the vaccination requirement. I hoped that

            18     the requirement might motivate Rolovich to get vaccinated. As the University of

            19     Hawaii’s head football coach, Rolovich was known for his colorful approach to

            20     the Mountain West conference’s media days in Las Vegas, bringing oddball

            21     guests such as Elvis and Britney Spears impersonators and tarot card readers.

            22     Unfortunately, Rolovich continued to object to vaccination, so we had to plan for

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              1    how to approach his decision, knowing that it would now almost certainly

              2    become public.

              3          47.    On July 19, 2021, I met with Rolovich, Associate Athletic Director

              4    for Athletic Communications Bill Stevens, and others to discuss the Pac-12

              5    football media day and communications regarding Rolovich’s decision not to

              6    attend in person. We all agreed, including Rolovich, that his absence from media

              7    day would generate significant public curiosity and, to avoid having the WSU

              8    players in attendance face media questions about it, that it would be best for

              9    Rolovich to put out a statement explaining the reason for his attending media day

            10     via Zoom.

            11           48.    When I was in Los Angeles for the Pac-12 football media day,

            12     Rolovich sent me a text saying “I need two weeks.” Attached as Exhibit C is a

            13     true and correct copy of that text message. On a follow-up call with me later that

            14     day, Rolovich said something along the lines of “give me two weeks and I’ll have

            15     this solved,” referring to the vaccination controversy. Rolovich also indicated

            16     that he was pursuing documentation establishing a medical basis for him not to

            17     be vaccinated, but he did not provide any details. Later, when I followed up to

            18     see if anything had come of it, Rolovich said that he’d had someone look at his

            19     heart but there was nothing there. Again, Rolovich did not express any religious

            20     objection to the COVID-19 vaccine during these conversations.

            21           49.    On July 21, 2021, Rolovich released a public statement via his

            22     personal Twitter (now X) account stating that he was not vaccinated against

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              1    COVID-19 and would not be attending the Pac-12 football media day in person.

              2    Attached as Exhibit D is a true and correct copy of Rolovich’s tweet.

              3          50.    This announcement caused a lot of negative media attention. The

              4    Athletics Department and I received numerous calls and messages from the WSU

              5    community and donors who were angry about Rolovich’s refusal to be

              6    vaccinated, including many who threatened to withhold donations.

              7          51.    Attached as Exhibit E is a true and correct copy of an article

              8    published on July 22, 2021 on the SB Nation Cougcenter website titled “Nick

              9    Rolovich’s anti-vax stance is an embarrassment to WSU.”

            10           52.    Attached as Exhibit F is a true and correct copy of an article

            11     published on July 23, 2021 on the 247Sports website titled “Commentary: Only

            12     one logical outcome to RoloGate so let’s get on with it.”

            13           53.    Attached as Exhibits G, H, I, J, and K are true and correct copies

            14     of emails I received from WSU fans, donors, and alumni expressing

            15     disappointment and anger about Rolovich’s refusal to be vaccinated.

            16           54.    Maintaining positive relationships with donors is critical to the

            17     ongoing success of any athletics department, so I was concerned about the

            18     negative response resulting from Rolovich’s Pac-12 football media day

            19     announcement. WSU worked with a crisis management firm, Paradigm Four, to

            20     manage the fallout and response to the announcement.

            21           55.    On the day of the Pac-12 football media day event, Rolovich was

            22     the only participant out of thirty-six football coaches and athletes to participate

            23     remotely; all other coaches and players attended the event in person.
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              1           56.        On or about July 18, 2021, it came to my attention that Rolovich had

              2    been photographed at a Spokane Shock game (an indoor football team) while not

              3    wearing a mask, including one of him blowing into a vuvuzela. These

              4    photographs were later shared on Twitter. Attached as Exhibits L and M are true

              5    and correct copies of two such tweets.

              6           57.        On July 29, 2021, I sent Rolovich a letter reiterating the legal

              7    requirements for individuals in Washington who remained unvaccinated,

              8    detailing WSU’s expectations of him as head football coach, and reminding him

              9    of his contractual obligations. Attached as Exhibit N is a true and correct copy

            10     of this letter.

            11            58.        It is my understanding that Rolovich’s refusal to be vaccinated

            12     against COVID-19 strongly influenced other football coaches on his staff at

            13     WSU. In particular, I understand that he told the football coaching staff that it

            14     was not their job to enforce masking with the football team and that he told some

            15     members of the team that “administration is working against us.” I believe that

            16     Rolovich’s vaccine opinions influenced his players and, as of August 2021, of

            17     the ten conference teams reporting vaccination rates for their football teams,

            18     WSU had the lowest rate of vaccination. Attached as Exhibit O is a true and

            19     correct copy of an article describing the vaccination rates of Pac-12 football

            20     teams.

            21                  The Governor’s Proclamation and Rolovich’s Response

            22            59.        On August 9, 2021, Governor Inslee issued an emergency

            23     proclamation requiring healthcare workers and most state employees to be
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              1    vaccinated against COVID-19 as a condition of employment. Accommodations

              2    could only be granted for medical reasons or sincerely held religious objections

              3    to the COVID-19 vaccines. In the immediate aftermath of that proclamation, it

              4    was widely anticipated that Governor Inslee would soon expand the vaccine

              5    mandate to apply to educational workers. As a result, WSU employees would be

              6    prohibited from working beyond October 18, 2021, unless they were vaccinated

              7    against COVID-19 or received an approved accommodation.

              8          60.    On August 16, 2021, Deputy Athletics Director Bryan Blair and I

              9    met with Rolovich. Blair and I shared that we expected the Governor to extend

            10     the vaccine mandate to educational workers, including WSU employees. We

            11     advised Rolovich of his options and explained that, based on the Proclamation,

            12     his employment would be terminated if he did not receive the COVID-19 vaccine

            13     or an approved accommodation by the October 18 deadline. During this meeting,

            14     Rolovich did not state that he had any religious objection to the COVID-19

            15     vaccine or that he would seek an accommodation.

            16           61.    On August 19, 2021, Blair and I met with Rolovich again to discuss

            17     the vaccine requirement. During this meeting, Rolovich stated that he intended

            18     to request a religious accommodation. I was surprised that Rolovich was planning

            19     to seek a religious accommodation. Although I had heard Rolovich many times

            20     express his concerns with the safety or efficacy of the vaccines—as well as his

            21     beliefs of some sort of nefarious government plot to use the vaccines to harm

            22     people—this was the first time I had heard Rolovich suggest he had any religious

            23     objection to the vaccines. Even in this meeting, Rolovich did not say anything
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              1    about his religious beliefs or explain how they conflicted with the COVID-19

              2    vaccines in any way. (Nor did he at any point ever explain such a conflict to me

              3    or otherwise elaborate on what his vaccine-related religious beliefs might be.)

              4          62.    On August 20, 2021, Governor Inslee officially extended the

              5    vaccination requirement to educational workers. Shortly after, WSU announced

              6    procedures for evaluating accommodation requests that required employees to

              7    submit accommodation requests by October 4. Under WSU’s procedures, it was

              8    the Athletics Department’s responsibility to determine whether coaches and other

              9    Athletics Department employees could be reasonably accommodated without

            10     imposing an undue hardship on the Department and WSU.

            11             Challenges of Having an Unvaccinated Head Football Coach

            12           63.    By late September 2021, even before COVID-19 vaccination

            13     became a legal condition of employment at WSU, Rolovich’s unvaccinated status

            14     posed various logistical burdens on WSU due to the COVID-19 protocols set by

            15     the University, the NCAA, the Pac-12, and the State of Washington.

            16           64.    For example, Rolovich was unable to travel to meet with potential

            17     recruits in their homes, which was the main way that coaches met with and

            18     recruited new players. Based on my understanding from the Pac-12 football

            19     media day, all other head football coaches in the conference were vaccinated

            20     against COVID-19 so were able to recruit through in-person home visits.

            21     Rolovich, however, did not make any in-person recruiting home visits in 2021

            22     and I was not aware that he had any plans to do so during 2021 because of the

            23     limits in place based on his vaccination status.
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              1          65.    Specifically, Pac-12 Conference and WSU policies would have

              2    required Rolovich to quarantine for 3 to 5 days upon his return to Pullman from

              3    any recruiting trips, which would have interfered with his ability to work with his

              4    players and coaches for long periods of time during an important part of the

              5    season when training, practicing, and meetings are all essential. WSU had already

              6    received a low ranking for recruiting compared to other Pac-12 conference

              7    schools in 2020 and we were concerned that multiple years of poor recruiting

              8    would damage the future of the program. Attached hereto as Exhibit P is a true

              9    and correct copy of a news story ranking WSU’s 2020 recruiting class tenth out

            10     of twelve teams.

            11           66.    I was also concerned about Rolovich’s ability to effectively coach

            12     and develop his team due to his vaccination status. Because he was unvaccinated

            13     and therefore required to abide by social distancing restrictions in the summer

            14     and fall of 2021, Rolovich was unable to attend individual position meetings or

            15     to engage one-on-one with players or other coaches to provide instruction and

            16     guidance without risking exposing players and coaches to COVID-19, which are

            17     central aspects of the coach’s role. As a result of the restrictions on Rolovich’s

            18     participation, other than practices and games Rolovich appeared to spend most

            19     of his time in his home office. Needless to say, this was not a viable path forward:

            20     the head coaching job cannot be performed effectively via Zoom.

            21           67.    Rules and regulations from the NCAA, Pac-12 conference, WSU,

            22     and the state required Rolovich to keep a mask covering his nose and mouth while

            23     coaching games and practices. However, on multiple occasions, Rolovich was
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              1    seen and photographed blatantly disregarding these rules, removing his mask to

              2    speak closely with players and coaches during games. This was caught on

              3    national game broadcasts and the Athletics Department received numerous calls

              4    from people who were angry that Rolovich continually flouted COVID-19 rules

              5    meant to keep the team and community safe, damaging WSU’s reputation.

              6          68.    Based on all of the information available to me, it was clear that

              7    having an unvaccinated head coach would be a danger to the health of our

              8    student-athletes, staff within the Athletics Department, and wider WSU

              9    community. With the prior outbreaks within the football team, we saw how

            10     quickly one positive COVID-19 case could spread. All football coaches—

            11     assistants included—must routinely engage in many close interactions with

            12     people in the course of their job duties. The head football coach, in particular,

            13     must have close contacts with countless individuals in order to effectively do his

            14     job, which would have put many others at risk. Data and guidance from

            15     recognized public health authorities, including the CDC, the Washington

            16     Department of Health, and WSU’s own public health experts like Dr. Palmer,

            17     clearly demonstrated that the risk of contracting or spreading COVID-19 was far

            18     greater at that time among unvaccinated individuals, compared with vaccinated

            19     individuals. I relied on such public health information in making my decision on

            20     Rolovich’s and the other football coaches’ accommodation requests.

            21           69.    Public health guidance at the time also showed that unvaccinated

            22     individuals were much more likely to develop severe disease from and be

            23     hospitalized or die due to COVID-19. If the head football coach were to contract
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              1    COVID-19 and become seriously ill such that he would have to be away from the

              2    team for an extended period of time, this would be extremely detrimental to the

              3    football team’s success, which relies on the direction and leadership of the head

              4    coach. I hired Rolovich because I believed him to be the best available candidate

              5    to take on the extremely demanding and intricate job of leading WSU’s football

              6    team. The head football coach is not a fungible, easily replaceable position. The

              7    risk of our head football coach contracting COVID-19, potentially developing

              8    severe disease, and needing to take significant time away from work, would have

              9    been seriously harmful to the football team.

            10           70.    Because he was unvaccinated, Rolovich was not able to attend many

            11     in-person promotional and fundraising events that are important for fostering

            12     support for the football program from donors, students, fans, and the community.

            13     These included regular Friday donor lunches that Rolovich was unable to

            14     participate in. Rolovich also could not participate in-person at the WSU Football

            15     Coach’s Show at Zeppoz Restaurant and Bowling Alley in Pullman, which

            16     included live interviews and was critical for donor and fan engagement with the

            17     football program. Rolovich’s absence caused a significant loss of engagement

            18     and attendance at the Coach’s Show. We even had to entirely cancel certain donor

            19     events because Rolovich was unable to attend in person. For example, Rolovich

            20     cancelled an in-person event in July of 2021 with a couple that had previously

            21     donated around $7 million.

            22           71.    As head football coach, Rolovich was the highest paid and most

            23     visible employee at WSU, so his attendance at promotional events, other WSU
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              1    sporting events, and media appearances in order to engage the public and wider

              2    WSU community was integral to building support for the Athletics Department

              3    and the University. I became very concerned about the impact to the university

              4    of Rolovich’s inability to participate in these key events.

              5                         Rolovich’s Accommodation Request

              6          72.    My understanding of WSU’s process for reviewing employee

              7    requests for religious accommodations with respect to the COVID-19 vaccination

              8    requirement is that a committee within WSU’s Human Resources Services (HRS)

              9    first reviewed all requests anonymously to determine whether the employee

            10     described a religious belief precluding vaccination against COVID-19.

            11           73.    On October 6, 2021, I received an email from HRS stating that the

            12     committee had made an initial determination that “the information submitted

            13     through written and/or oral communications . . . support[ed Rolovich’s]

            14     accommodation request based on a sincerely held religious belief.” The email

            15     also stated that HRS was considering approving Rolovich’s accommodation

            16     request subject to certain masking, testing, and social distancing requirements.

            17     The email asked the Athletics Department to review Rolovich’s “position

            18     description or essential job functions” to determine whether he could perform the

            19     essential functions of his job while complying with the recommendations for

            20     mitigating the spread of COVID-19. The email also asked us to let HRS know if

            21     we had “no concern with this request” or if we had “any questions or would like

            22     to meet to discuss further.” Based on this email and my discussions with

            23     Associate Athletic Director Anne McCoy, I understood that we should provide
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              1    any additional information relevant to Rolovich’s accommodation request,

              2    including whether he had a sincerely held religious belief that prevented him from

              3    being vaccinated against COVID-19. A true and correct copy of this email is

              4    attached hereto as Exhibit Q.

              5          74.    Seven other football coaches or staff also requested religious

              6    accommodations. The HRS notifications we received regarding the other

              7    employees’ accommodation requests were substantively identical, although some

              8    were sent earlier and others were sent a few days later than the one regarding

              9    Rolovich. In consultation with HRS, Blair, McCoy, and the WSU Division of the

            10     Washington Attorney General’s Office, I spent significant time over the course

            11     of over a week deliberating whether WSU could reasonably accommodate

            12     Rolovich and the other football staff who requested accommodations.

            13           75.    On October 13, 2021, the Athletics Department responded to HRS

            14     with two memoranda addressing Rolovich’s exemption and accommodation

            15     requests.

            16           76.    The first memorandum explained that, upon review and

            17     consideration of Rolovich’s essential job functions as head football coach, the

            18     Athletics Department determined that it could not accommodate Rolovich

            19     without undue hardship. A true and correct copy of this memorandum is attached

            20     hereto as Exhibit R.

            21           77.    The second memorandum questioned the sincerity of Rolovich’s

            22     stated religious objections to the COVID-19 vaccines. The memo pointed to the

            23     various conversations Rolovich had had with me and other Athletics Department
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              1    staff over many months in which he objected to the vaccines based on medical

              2    concerns, skepticism about the origins and severity of COVID-19, conspiracy

              3    theories, and criticism about the government. A true and correct copy of this

              4    memorandum is attached hereto as Exhibit S.

              5          78.    On October 14, 2021, I received a memo from Shawn Ringo and

              6    Jason Sampson, the Directors of WSU Environmental Health and Safety

              7    (EH&S). This memo provided an assessment of Rolovich’s role based on the

              8    information available to EH&S and a list of the minimum accommodations that

              9    should be considered for Rolovich to remain unvaccinated in his role as head

            10     football coach. A true and correct copy of this memo is attached hereto as Exhibit

            11     T.

            12           79.    I further evaluated Rolovich’s accommodation request in light of

            13     EH&S’s memo, consulting with McCoy, Blair, and AGO. EH&S’s analysis only

            14     reinforced my initial assessment—described in the first October 13 memo to

            15     HRS—that Rolovich could not be accommodated without unduly jeopardizing

            16     the health of others because of his unvaccinated status.

            17           80.    I agreed with the EH&S memo’s notation of the multiple in-person

            18     contacts required in Rolovich’s role. These necessary contacts heightened the risk

            19     that Rolovich and the other unvaccinated football personnel would transmit

            20     COVID-19 to others if they remained in their positions unvaccinated. I can

            21     conceive of no more urgent duty in the fall of 2021 than protecting our student-

            22     athletes and Athletics Department employees from the deadly virus again

            23     spreading exponentially and causing hospitals to fill up. Allowing unvaccinated
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              1    football coaches to continue in their positions at that alarming moment in the

              2    pandemic would have been a dereliction of that duty.

              3          81.    I recognize that some student-athletes themselves declined to be

              4    vaccinated against COVID-19 (including members of the football team), despite

              5    the fact that WSU had adopted a vaccination requirement for students. But as

              6    Athletics Director, I had no involvement in or authority over the student

              7    vaccination requirement or the process by which they applied for and received

              8    religious or medical exemptions. In contrast, I did have the responsibility to

              9    determine whether unvaccinated Athletics Department employees could safely

            10     perform their job duties without endangering the health and safety of others with

            11     whom they interacted—including student-athletes, whether vaccinated or

            12     unvaccinated. The fact that some football players were also unvaccinated only

            13     heightened the importance that football coaches and staff were vaccinated so as

            14     to reduce the overall risk of transmission within the entire football community,

            15     which was certainly higher among unvaccinated persons.

            16           82.    Given the constant close interactions between coaches and players

            17     on the football team, the risk that an infected coach would spread the virus to a

            18     player was highly material. And an outbreak among the football team during the

            19     2021 season would have had catastrophic consequences. Unlike in 2020, Pac-12

            20     conference rules in 2021 provided that games missed due to COVID-19

            21     outbreaks would result in forfeitures for the responsible team if, in the

            22     Commissioner’s sole discretion, he determined that the institution was primarily

            23     at fault. I have no doubt that then-Commissioner George Kliavkoff would have
                                                                              PACIFICA LAW GROUP LLP
                   DECLARATION OF PATRICK CHUN                25                   1191 SECOND AVENUE
                                                                                         SUITE 2000
                   IN SUPPORT OF DEF.’S CROSS-MSJ                            SEATTLE, WASHINGTON 98101-3404
                                                                                 TELEPHONE: (206) 245-1700
                   NO. 2:22-cv-00319-TOR                                         FACSIMILE: (206) 245-1750



                                                ER0814
(27 of 299), Page 27 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 27 of 299
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              1    found WSU at fault in the event of any such outbreak, particularly because of the

              2    team’s low vaccination rate compared with other Pac-12 football teams. As one

              3    contemporary news account noted, the “vaccination status of players and

              4    coaches, as well as the team’s ability to follow social distancing and masking

              5    protocols, will almost certainly be what drives the determination about whether

              6    a game will be forfeited by a team should they be unable to field a full team due

              7    to positive Covid tests or contact tracing.” 4 Obviously, the forfeiture of even a

              8    single football game would have been a tremendous detriment to WSU, not only

              9    in terms of the massive revenue lost from foregone ticket sales and other sources,

            10     but in the impact on its win-loss record, bowl opportunities, and team and

            11     University morale.

            12             83.   The EH&S memo also emphasized the importance of vigilant

            13     masking and social distancing if Rolovich were to continue in his position

            14     unvaccinated. For example, the memo stated that unvaccinated persons “shall

            15     wear a cloth facial covering or higher level of protective mask” in any WSU

            16     locations where other people may be present. Any interactions within six feet for

            17     longer than 10 minutes would have required an N95 respirator or equivalent.

            18     Given the necessity of extended, close contacts with others that the head coaching

            19     position entails, as well as Rolovich’s frequent disregard for the masking

            20
            21        4
                          Andy Patton, Pac-12 releases statement on 2021-2022 forfeiture policy,
            22     USA Today, Aug. 12, 2021, https://duckswire.usatoday.com/2021/08/12/pac-12-
            23     releases-statement-on-2021-2022-forfeiture-policy.
                                                                               PACIFICA LAW GROUP LLP
                   DECLARATION OF PATRICK CHUN                26                    1191 SECOND AVENUE
                                                                                          SUITE 2000
                   IN SUPPORT OF DEF.’S CROSS-MSJ                             SEATTLE, WASHINGTON 98101-3404
                                                                                  TELEPHONE: (206) 245-1700
                   NO. 2:22-cv-00319-TOR                                          FACSIMILE: (206) 245-1750



                                                ER0815
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              1    requirements he was already supposed to be following, I feared that any

              2    accommodation requiring Rolovich to mask and social distance while coaching

              3    games or practices (or performing other duties) would not be strictly followed.

              4          84.    The EH&S memo also recommended that, if unvaccinated coaches

              5    were to receive accommodations, it “may require rental of additional buses,

              6    booking additional flights, or other options where the unvaccinated individual

              7    travels in [a] separate vehicle.” I understand that Dr. Palmer has stated in his

              8    expert report in this case that he also would have recommended making separate

              9    travel arrangements for any unvaccinated coaches, had the Athletics Department

            10     decided to accommodate them. When traveling to away games, the WSU football

            11     team used charter buses and charter flights. Chartering separate buses and flights

            12     for not only Rolovich but all the unvaccinated coaches would thus have

            13     significantly increased the costs of away games.

            14           85.    After reviewing the recommendations from EH&S, on October 18,

            15     2021, I sent a letter on behalf of the Athletics Department to HRS and EH&S

            16     explaining that, based on the expectations and contractual requirements of a head

            17     football coach, we did not believe Rolovich could be accommodated without

            18     causing undue hardship to the Athletics Department and the University. A true

            19     and correct copy of this letter is attached hereto as Exhibit U.

            20           86.    On October 17, 2021, I sent an email to Rolovich summarizing the

            21     next steps regarding his accommodation request. A true and correct copy of this

            22     email is attached hereto as Exhibit V.

            23
                                                                                PACIFICA LAW GROUP LLP
                   DECLARATION OF PATRICK CHUN                 27                    1191 SECOND AVENUE
                                                                                           SUITE 2000
                   IN SUPPORT OF DEF.’S CROSS-MSJ                              SEATTLE, WASHINGTON 98101-3404
                                                                                   TELEPHONE: (206) 245-1700
                   NO. 2:22-cv-00319-TOR                                           FACSIMILE: (206) 245-1750



                                                 ER0816
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                                                    of 130



              1          87.    On October 18, 2021, HRS emailed Rolovich notifying him that his

              2    religious accommodation request was not approved. I then met with Rolovich

              3    that afternoon and provided him with a letter stating WSU’s intent to terminate

              4    him for just cause based on his inability to meet his contractual obligations. A

              5    true and correct copy of the termination letter is attached hereto as Exhibit W.

              6          88.    Up until the deadline for Rolovich to comply with the Proclamation,

              7    I hoped that he would change his mind and decide to get vaccinated. If he had

              8    changed his mind and decided to get vaccinated on October 18, I would have

              9    been happy to keep him on as the head football coach. Indeed, had Rolovich

            10     changed his mind and decided to get vaccinated on October 19—or at any time

            11     thereafter while the decision was in my hands—I would have rescinded the notice

            12     of intent to terminate and found a way to keep Rolovich as head football coach.

            13           89.    Pursuant to the terms of his employment contract, Rolovich had a

            14     right to appeal the termination decision. Through his counsel, Rolovich submitted

            15     an appeal to me detailing his position and reasons why he believed he should be

            16     accommodated. After reviewing this letter and the applicable facts surrounding

            17     Rolovich’s exemption and accommodation request, I sent a letter to Rolovich on

            18     November 12, 2021, denying his appeal. A true and correct copy of my letter

            19     denying Rolovich’s appeal is attached hereto as Exhibit X.

            20           90.    Ultimately, Rolovich was terminated from his position as head

            21     football coach because it would have caused WSU an undue hardship to

            22     accommodate Rolovich by allowing him to remain unvaccinated in his role,

            23     which required frequent, close personal interaction with numerous individuals
                                                                                PACIFICA LAW GROUP LLP
                   DECLARATION OF PATRICK CHUN                28                    1191 SECOND AVENUE
                                                                                          SUITE 2000
                   IN SUPPORT OF DEF.’S CROSS-MSJ                             SEATTLE, WASHINGTON 98101-3404
                                                                                  TELEPHONE: (206) 245-1700
                   NO. 2:22-cv-00319-TOR                                          FACSIMILE: (206) 245-1750



                                                ER0817
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                                                ER0818
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              1                            CERTIFICATE OF SERVICE
              2          On the 14th day of October, 2024, I caused to be served, via ECF
              3
                   electronic service, a true copy of the foregoing document upon all counsel
              4
                   registered for e-service.
              5
              6
                         DATED this 14th day of October, 2024.
              7
              8
              9
                                                                   Erica Knerr, Legal Assistant
            10
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                                                                                 PACIFICA LAW GROUP LLP
                   DECLARATION OF PATRICK CHUN                30                     1191 SECOND AVENUE
                                                                                           SUITE 2000
                   IN SUPPORT OF DEF.’S CROSS-MSJ                              SEATTLE, WASHINGTON 98101-3404
                                                                                   TELEPHONE: (206) 245-1700
                   NO. 2:22-cv-00319-TOR                                           FACSIMILE: (206) 245-1750



                                                ER0819
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                                 EXHIBIT A




                                                ER0820
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                                                      WASHINGTON STATE
                                                              ATH   LET    I CS



                                               WSU COVID-19 Guidelines — Fall 2021
                         Written in accordance with Washington State University, NCAA, and Pac-12 Guidelines

       The following guidelines will be modified according to the level of community (Whitman County) spread as well as
       guidance from the Pac-12, NCAA, WSU, and state/local health officials. Please be aware that the NCAA, Pac-12
       Conference and WSU Athletics may put forth additional guidelines and restrictions for undeclared and unvaccinated
       individuals. This is a working document subject to change frequently. As previously shared, COVID-19 vaccination remains
       the most effective means to achieve control of the pandemic.

       The tables below provide health and safety considerations for Tier 1 individuals for fall training and competition. Tier 1
       individuals are those with the highest exposure (e.g., student-athletes, coaches, athletic trainers, physical therapists,
       medical staff, equipment staff and officials).

       Individuals are considered "fully vaccinated" beginning 14 days after their final dose of a Pfizer, Moderna, Johnson &
       Johnson or AstraZeneca vaccination. The equivalent of "fully vaccinated" is documented COVID-19 infection in the past 90
       days (or more than 90 days if allowed by local authorities). The CDC recommends that individuals who have a prior history
       of COVID-19 infection should become vaccinated, and it is recommended to wait until 90 days after the infection before
       commencing the vaccination process.

       Because vaccination against COVID-19 can result in personal health benefits for vaccinated individuals and because the
       risks of adverse outcome with COVID-19 infection are higher in unvaccinated individuals, considerations for these two
       categories of individuals are different.




                                                                                                                  Updated 8.31.2021



                                                              ER0821                                                    WSU_00033866
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                                                                                    41:
                                                                               WASHINGTON STATE
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                                                                                      UNDECLARED OR NON-             FULLY VACCINATED OR DOCUMENTED
                                                                                         VACCINATED                    INFECTION IN THE PAST 90 DAYS
                                                      Close Contacts                   Quarantine for the locally   Masking in public indoor settings for 14
                                                                                      REQUIRED time following days with discontinuation if a COVID-19 test
                                                                                          high-risk COVID-19         is performed three to five days after
                                                                                               exposure.          exposure and is negative, or if assessment
                                                                                                                  does not reveal a high risk. HOWEVER, WE
                                                                                        NOTE: Student-athletes,    ARE CURRENTLY IN AN INDOOR MASK
                                                                                        employees, or staff who MANDATE SO MASKS WILL BE REQUIRED
                                                                                        are not experiencing or                AT ALL TIMES.
                                                                                        exhibiting symptoms of
                                                                                           COVID-19, should
                                                                                      quarantine upon arrival to
                                                                                      campus until receiving the
                                                                                       results of a negative PCR
                                                                                      test performed 3 — 5 days
                                                                                      after completed travel and
            QUARANTINE & ISOLATION




                                                                                          may also consider
                                                                                       obtaining a negative PCR
                                                                                       test within 72 hours prior
                                                                                      to travel back to campus.

                                                      Positive Test Protocol               Athletic Medicine to alert positive student-athlete, coach, or staff
                                                                                                                        member.

                                                                                       Isolation for 10 days and at least 24 hours have passed since resolution
                                                                                          of fever without the use of fever-reducing medications and other
                                                                                                               symptoms have improved.
                                                  I




                                                      Training and                     Masking REQUIRED for
                                                      Competition                      student-athletes when                     NO RESTRICTIONS
                                                                                       training (weights), but
                                                                                           not practice or
                                                                                             competition.
                                     ACTIVITIES
      ATHLETIC




                                                                                        Masking REQUIRED for
                                                                                         coaches/staff during
                                                                                        training, practice, and
                                                                                              competition.

                                                      Team Travel                                           Masking during travel REQUIRED.
                                                                                                   Travel party will be provided a Kn95 mask to be used
                                                                                                       while travelling (e.g., bus/car, airplane, etc.)

                                                                                                                                         Updated 8.31.2021



                                                                                  ER0822                                                       WSU_00033867
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                                                       41:
                                                  WASHINGTON STATE
                           Other Athletic Activities    Universal masking and      Masking in indoor settings REQUIRED.
                           (e.g., team meetings)          social distancing
                                                             REQUIRED.


                           Nonathletic                     Universal masking    Masking in public indoor settings REQUIRED.
                           Activities                             and
                                                           social distancing
                                                              STRONGLY
      NON-ATHLETIC




                     ct,                                    ENCOURAGED.
                     Lu
                     I
                     5     In-Person                       Universal masking              Masking in indoor settings
                     I
                     c.)   Interactions                           and                           REQUIRED.
                     a
                                                           social distancing
                                                              STRONGLY
                                                            ENCOURAGED.




                                                                                                    Updated 8.31.2021



                                                       ER0823                                             WSU_00033868
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                                                     WASHINGTON STATE
                                                             ATH   LET    I CS

       Declared Vaccinated (to COVID-19) Student-Athletes, Coaches and Staff:
          ➢ Testing:
                 o No surveillance testing required (except as indicated in the Sustained Increased Transmission section in
                     Pac-12 Conference Guidelines: positive cases in 5% or more of a team cohort within a two-week period).
                 o Note: Subject to change
          ➢ Masking:
                 o Student-Athletes: Masks are currently REQUIRED in public indoor settings, including but not limited to
                     travel, team meetings, in addition to Gray W, weight room, and locker room.
                         ▪ Note: Masks are NOT REQUIRED for student-athletes during weights, practice and competition.
                 o Coaches and Staff: Masks are currently REQUIRED indoors except when alone in your office.
                 o Note: Neck gaiters are NOT ACCEPTABLE forms of face coverings.
              ➢ No social distancing.
          ➢ Quarantine:
                 o No quarantine required after exposure to an individual with COVID-19 necessary for asymptomatic
                     individuals.
                 o Note: Mask must be worn after exposure to an individual with COVID-19 for 5 days for those who are
                     declared vaccinated as long as they remain asymptomatic.
          ➢ Contact Tracing:
                 o No contact tracing.
          ➢ Travel (Domestic):
                 o Any individual who returns from travel should continue to monitor symptoms for 14 days post-travel. Any
                     symptoms including but not limited to the following should prompt a COVID-19 test or evaluation by a
                     physician.
                         ▪ Fever or chills
                         ▪ Cough
                         ▪ Shortness of breath or difficulty breathing
                         ▪ Fatigue
                         ▪ Muscle or body aches
                         ▪ Headache
                         ▪ New loss of taste or smell
                         ▪ Sore throat
                         ▪ Congestion or runny nose
                         ▪ Nausea or vomiting
                         ▪ Diarrhea
          ➢ Travel (International):
                 o Fully Vaccinated:
                         ▪ Get tested 3-5 days after travel. If you test positive, isolate yourself to protect others. If negative,
                               then you can return after 5 days of quarantine.




                                                                                                                Updated 8.31.2021



                                                             ER0824                                                   WSU_00033869
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                       ▪
                               • PCR on day 3 of self-isolation (travel back to Pullman is day 0)
                               • Clearance with negative PCR test (turnaround time as of May 2021 is 1-3 days).
                       ▪   Student-athletes, coaches, and staff leaving campus for 6 or more days:
                       ▪   PCR on day 5 of self-isolation (travel back to Pullman is day 0)
                       ▪   Clearance with negative PCR test.
                                                                                                                  Updated 8.31.2021



                                                              ER0825                                                   WSU_00033870
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                       ▪   Second PCR to be completed between days 7-10. Test results must be negative.
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                                                                                                          Updated 8.31.2021



                                                            ER0826                                             WSU_00033871
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                                                       41:
                                                  WASHINGTON STATE
                                                         ATH   LET   I CS

          ➢ The vaccination verification requirement will supersede the previous vaccination declaration process in Workday.
            More information on the verification process will be released next week.
          ➢ To find a vaccine provider near you, please visit vaccines.gov.




                                                                                                         Updated 8.31.2021



                                                         ER0827                                                WSU_00033872
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                                 EXHIBIT B




                                                ER0828
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                Case 2:22-cv-00319-TOR        ECF No. 97        filed 10/14/24 PageID.1713               Page 40
                                                          of 130
                  From: "Chun, Patrick" <patrick.chun@wsu.edu>
                     To: "athleticdirector@wsu.edu" <athleticdirector@wsu.edu>
                Subject: Recruiting Reminders
                   Date: Sat, 29 May 2021 01:02:31 +0000
            Importance: Normal
          Inline-Images: image001.png; image002.png


       WSU Coaches and Staff:
       Finally, the recruiting dead period will end!! Another step to normalcy in college athletics.
       As we approach June 1, we have a few important reminders as you start travelling, recruiting, and hosting
       official visits again.

              Any WSU employees, students, or visitors, who wish to no longer wear facial coverings or
              socially distance while on a WSU work location, or quarantine upon return from travel must be
              fully vaccinated and declare their fully vaccinated status through Workday. Information regarding
              the processes for employee vaccination declaration and supervisory responsibilities are found
              here.

               Supervisors will have access, through Workday, to the names of employees who have declared full
               vaccination status only. If vaccinated, log-in to your Workday account to provide those details.


              If an employee declines to provide declaration of their fully vaccinated status through Workday, they must
              continue to wear a facial covering and maintain distance. Employees who are fully vaccinated and have
              declared that status through Workday, but still wish to wear a facial covering are welcome to do so.

               Additionally, if traveling domestically for but not limited to work-related, recruiting, or camp activities,
               upon your return non-vaccinated employees must also quarantine for five days. It is highly
               recommended that prior to resuming day to day responsibilities that non-vaccinated employees undergo
               a PCR test on day five. Employees are responsible for doing so through your personal healthcare
               provider.

               Test results are to be provided to your respective sport athletic trainer prior to return to work similar to
               what is required of our student-athletes. For those who do not provide a confirmation of negative test on
               day five, it is recommended that you quarantine for 14 days before resuming on-campus work activities.
               International travel has different requirements. Please contact your sport administrator for additional
               information related to international travel.
       If you have not yet made an appointment to receive your vaccine and are interested in doing so, please visit the
       COVID-19 Vaccine Locator website to set up an appointment.
       All employees should continue to monitor symptoms for 14 days post-travel. Again, we look forward to the
       return of recruiting and on-campus visits and must do our part to keep our student-athletes and community as
       safe as possible.
       Please contact your sport administrator if you have any specific questions or need additional information.
       Go Cougs!
       -Pat



                             PAT CHUN
                             D I R E C TO R O F AT H L E T I C S




                                                                   ER0829                                     WSU_00033426
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                          Washington State University Athletics of 130
                            Bohler Athletic Complex, 110
                            Office: 509-335-0200
                            patrick.chun@wsu.edu
                            www.wsucougars.com




                                                           ER0830                                    WSU_00033427
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                                 EXHIBIT C




                                                ER0831
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                                                   2021/07/26

               Nick Rolovich


                 I need two weeks
        NR       10:28:05 pm


                                                                                                        Pat Chun


                      I’ll call you after this meeting. Did they have you zoom or conference call in for this?
                      10:32:18 pm                                                                                  PC


               Nick Rolovich


                 Audio is on my phone
                 10:55:11 pm

                   👍1    Pat Chun



                 Video is zoom
        NR       10:56:04 pm


                                                                                                        Pat Chun


                 Sent an attachment
                 Filename: 64903494768__C6322535-5F4C-4251-AB08-3F1468885577.HEIC
                 URL: https://p25-
                 content.icloud.com/M393325707508A79CE94338C838142171B95258A6E2A32283C4C
                 C4FAC51DCC84D.C01USN00
                 Path: ~/Library/SMS/Attachments/78/08/4B454E95-01CE-406D-840A-
                 CF019332ECC0/64903494768__C6322535-5F4C-4251-AB08-3F1468885577.HEIC
                 Size: 1 MB
                 Type: image/heic
                 11:29:48 pm                                                                                       PC


               Nick Rolovich


                 What a world
        NR       11:47:14 pm




                                                        ER0832                                               WSU_00028610
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                                 EXHIBIT D




                                                ER0833
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                          Nick Rolovich
        V                 6.667 Tweets




                 Nick Rolovich
                 @NickRolovich

                 I heard the bird is the word again. Former Head Football Coach. Big fan of
                 Fabian Perez, Iron Chef Sakai, and Truth. Always listen to rattlesnakes.
        Qo        0 Parts unknown Q Joined April 2012

                 1,048 Following         38.2K Followers

        0        Not followed by anyone you're following


                    Tweets                  Tweets & replies       Media               Likes

                           Popular Tweet

        O


         O 41/             Nick Rolovich 15, @NickRolovich • Oct 28
                           Let's see what @elonmusk bird is all about. A year full of
                           mentions to go thru, and some of you for sure need your mouth
                                                                                        •••



                           washed out with soap. Apologies currently being accepted for a
                           limited time only.

                           0       104              n      70       Q    533
        O
                III        Nick Rolovich 0 @NickRolovich • 17h                                 • • •



         O                 non parlo molto bene l'italiano

                               •   CuogsBeCuoging @CuocisC • 19h


                                                     ER0834                                     WSU_00037236
(47 of 299), Page 47 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 47 of 299
               Case 2:22-cv-00319-TOR     ECF No. 97     filed 10/14/24  PageID.1719   Page 46
                                                    of 130
        0                   Replying to @NickRolovich and @elonmusk
                            yahoo.com/news/italy-rei...
         0
                            Hey Nick, wanna be an OC soon?


        0                                                          C7 8
                      n   Nick Rolovich Retweeted
         0           •4   Bo Jackson Ce @BoJackson Oct 28                                 •   •   •




                          Replying to @NBCSports and @SNFonNBC


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                          From This Day In Sports Clips

                               72             n     154           C7 1,521
        0
                 Who to follow
         0
                          UnlimitEd
                          @Unlimitourkids
                          •••


                                                  ER0835                                      WSU_00037237
(48 of 299), Page 48 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 48 of 299
               Case 2:22-cv-00319-TOR     ECF No. 97     filed 10/14/24  PageID.1720   Page 47
                                                    of 130
                          we are working to provide more eaucationai options mat
                          promote the unique gifts of every kid in Washington. Join the
                          movement
         0                0 Promoted

                          Craig K. Stutzmann
        0                 @CoachStutzmann
                          Offensive Coordinator, Play Caller & QB Coach Utah Tech
                          University, Washington State University, Hawaii, E&H I Spread &
                          Shred I #QBH ui

                          Brian Smith
        0                 @coachsmitttty
                          Passing Game Coordinator I Running Backs Coach I Ohio
         0                University


                 Show more
        0
                      t -4. Nick Rolovich Retweeted
                          Gina Carano •Q @ginacarano • Oct 28                             •••
                          Thinking of the people who were fired, endlessly shamed, bullied,
                          those who lost everything & forced to uproot there lives simply
        0                 for having good questions & concerns. I feel you, I know you
                          need healing. I really hope you are finding some in your new lives
                          My heart to yours. C
         0
                           Q   1,323            n     6,576              56K

                      U   Nick Rolovich Retweeted
        0                 Aarik @AarikLong • Oct 28                                       ••




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(49 of 299), Page 49 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 49 of 299
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        0

                               •   Nick Rolovich Q @NickRolovich • Oct 28
         O
                               Let's see what @elonmusk bird is all about. A year full of
                               mentions to go thru, and some of you for sure need your
                               mouth washed out with soap. Apologies currently being
        0                      accepted for a limited time only.


         O                                      n     2              Q    16




                 111)     Nick Rolovich 4, @NickRolovich • Oct 28                              • • •




        0                 Apology accepted.

                               a Reno @HapaPake808 • Oct 28
         O
                               Replying to @NickRolovich and @elonmusk
                               I'm sorry for yelling horrible names about you at the TV when
                               you didn't cover the spread. That was a lot of money I lost.
        0
                                   2             CI 2                 Q   50
         O
        acs

                ill       Nick Rolovich 4, @NickRolovich • Oct 28                              • • •




                          $929 a week, but only but only for 6 months.
        0
                               ® Nick Beatty @nickbeatty72 • Oct 28
         O                     Replying to @NickRolovich and @elonmusk
                               What does unemployment pay these days?


        0                  0       7             CZ   4               Q   76



         O                Nick Rolovich Q @NickRolovich • Jul 21, 2021                         • • •




                                                             if
        n


                                                    ER0837                                      WSU_00037239
(50 of 299), Page 50 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 50 of 299
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                                                    of 130
                                       -As the Pac-12 Conference has required that all in-person participants at next
                                          week's Pac-12 Football Media Day be fully vaccinated. I will participate
                                      remotely and look forward to talking about our football learn and the incredible
         O
                                      young men in our program. I have elected not to receive a COVID-19 vaccine for
        C                                reasons which will remain private. While I have made my own decision, I
                                              respect that every individual—including our coaches, staff and
                                        student-athletes—can make his or her own decision regarding the COVID-19
                                                   vaccine. I will not comment further on my decision."
        0


         0                L
                          Q      1,595
                                                                NICK RDLOVICH


                                                        Cl, 1,294                         Q       2,048


        0


         0
                 •        Nick Rolovich 451 @NickRolovich • Jul 18, 2021
                          Tell Kirby let's line it up.

                               You're unable to view this Tweet because this account owner
                                                                                                                            ••,




                               limits who can view their Tweets. Learn more

                           •     62                    U. 13                             C2      336

         O
                          Nick Rolovich 451 @NickRolovich • Jul 18, 2021                                                    ..




                          Please spread the word and any help is appreciated.
                          twitter.com/MamaCracraft/s...

                               This Tweet was deleted by the Tweet author. Learn more

                           •     23                     CI 65                            Q      196




                 •        Nick Rolovich 451 @NickRolovich • Jul 17, 2021
                          Free tacos! Thanks to @SpokaneShock for a great atmosphere.
                          Nice job by the lefty center @JRHensley17




                                                          ER0838                                                                 WSU_00037240
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                                                ER0839                                    WSU_00037241
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                                 EXHIBIT E




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       Nick Rolovich’s anti-vax stance is an
       embarrassment to WSU
       Spare me your “individualism” arguments. We’re in a damn pandemic.
       By Jeff Nusser @PodvsEveryone       Jul 22, 2021, 3:05pm PDT




                                                                    -0:08




       Last night, Washington State Cougars football coach Nick Rolovich announced
       he had elected not to receive one of the three free, safe, and effective COVID



                                                      ER0841
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       vaccines approved for use in the United States, and as such would not be allowed
       to attend Pac-12 media day next week with the other 35 participants.

       What a colossal embarrassment. And I’m a lot more angry than I imagined I’d be
       when this news — which I expected to surface in one way or another — finally
       came out.

       I find Rolovich’s stance to be morally bankrupt in the midst of a pandemic, but the
       arrogance that oozes out of his statement is what is particularly infuriating. When
       you’re the face of the most prominent part of a large public university — particularly
       one that is a research institution that features both a medical college and
       pharmacy college — you don’t get to skate on this one and preemptively shut
       down questions about your decision.

       And let’s be clear: Unless Rolovich has a preexisting medical condition that has led
       his doctor to recommend against receiving the vaccine, there isn’t a valid reason
       for his decision. Every reason to not get the vaccine can be either quickly
       debunked as false or easily exposed for its flawed logic. Those who have
       reservations should talk to their doctors, who will answer all their questions and
       make the best choice clear to that individual, which in the overwhelming majority of
       cases will be “get the vaccine.”

       Maybe Rolovich has a preexisting condition. Wouldn’t that be an easy thing for him
       to clear up? Through his words and actions*, Rolovich has allowed us to
       independently reach the only logical conclusion: That he’s an anti-science clown
       whose head is filled with the brain worms served up by the anti-vax crowd.

       *Not sure if he’s cleaned this up, but when he was hired, he had a bunch of Q-
       adjacent folks in the list of accounts he followed on Twitter ...

       Nick Rolovich is not a child. He’s a grown-ass man who, like many football
       coaches, has built his brand on accountability and developing his players into
       worldly men/husbands/fathers/etc. I think it sends a pretty clear message about


                                                ER0842
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       leadership when you duck accountability by saying you’re doing this for “reasons
       which will remain private” and “I will not comment further on my decision.”

       You know who will be forced to face questions about vaccinations and Rolovich?
       Max Borghi and Jahad Woods, who will be in Los Angeles without their coach.
       What a profile in courage this guy is!

       Personally, I hope every reporter during every interview asks Rolovich about his
       vaccination status for the entire duration of the season.

       Furthermore, this decision is likely to have repercussions beyond just him — this is
       not merely an individual decision, no matter what anyone says. Beyond that fact
       that he remains, himself, a potential vector for COVID, consider this: If a player’s
       coach clearly doesn’t support vaccination, is that player more or less likely to get
       vaccinated?

       Every person who gets the vaccine puts us one step closer to ending a pandemic
       that has killed nearly 3.5 million people worldwide and more than 600,000 people
       in the United States. Heck, Nick Saban recorded a PSA in Alabama to
       encourage all citizens to get vaccinated. A coach is in a unique position to lead,
       and while I doubt Rolovich’s vaccination status leads a player to a concrete
       decision, it’s impossible to make a case that it helps with vaccination efforts.

       At this point, this is a pandemic of the unvaccinated, which includes people who
       don’t have a choice about the vaccine — people like like my youngest child, who is
       not yet eligible. And although the risk to him is small, there’s still a risk, and that
       risk is rising with the current rise in community spread. It’s a risk that could be
       virtually eliminated by widespread vaccination.

       Maybe Rolovich could turn down OANN long enough to read this.


          Dr. Brytney Cobia said Monday that all but one of her COVID patients in Alabama
          did not receive the vaccine. The vaccinated patient, she said, just needed a little


                                                ER0843
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          oxygen and is expected to fully recover. Some of the others are dying.

          “I’m admitting young healthy people to the hospital with very serious COVID
          infections,” wrote Cobia, a hospitalist at Grandview Medical Center in Birmingham,
          in an emotional Facebook post Sunday. “One of the last things they do before
          they’re intubated is beg me for the vaccine. I hold their hand and tell them that I’m
          sorry, but it’s too late.”


       And if all you’re concerned about is the football side of this — and to be clear,
       that’s well down the list of my personal concerns here, but it’s a concern — well,
       not having vaccination rates as high as possible on the team and coaching staff
       puts the Cougars at a clear competitive disadvantage. Intelligent coaches know
       this.

       At this point, do you think you can trust this guy — our unvaccinated coach
       potentially spraying COVID everywhere at an event where he was supposed to be
       masked — to adhere to the protocols necessary to make it through this season
       unscathed by COVID?



          .@NickRolovich in the stands for the @SpokaneShock game tonight and he is
          fully embracing being a fan pic.twitter.com/aNNndVnXt6

          — Brenna Greene (@BrennaGreene_) July 18, 2021



       Rolovich has coached precisely four games since being hired a year and a half
       ago, winning one, and we’re already going on our second public
       embarrassment.

       I’m reminded that when Rolovich spoke about reinstituting Jayden de Laura
       following his DUI arrest, the coach used the phrase “play stupid games, win stupid
       prizes.” I have a feeling it’s not the last time we’ll be using that idiom with regards
       to Rolovich’s program.

                                                ER0844
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                                                    of 130
       What a long fall it’s been from here. Sigh.



          What do you think?                                                                                                        

           How closely have you been following men's college basketball news lately? 🏀

                 Very closely

                 Somewhat closely

                 Hardly at all

                 Not at all

                 Other / Does not apply


            * By clicking "NEXT" I submit my answers and consent to the use of cookies for research and advertising purposes; I have read and
            agree to the CivicScience Privacy Policy and Terms of Service


                                                                            NEXT *




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       Commentary: Only one logical outcome to RoloGate so
       let's get on with it
       All sides need to end this now

               By GREG WITTER                                                                                 54
               Jul 23rd, 2021, 11:38 AM




                                          WSU coach Nick Rolovich (Photo: Cougfan.com/Rod Commons)




                                                            ER0847
(60 of 299), Page 60 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 60 of 299
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                                                                                        LOG IN   JOIN


       LET’S GET THIS out of the way. As RoloGate enters Day Three with no white smoke
       leaking out of the French Administration Building, there is only one logical outcome: Nick
       Rolovich gets vaccinated and Washington State’s football program — and Coug Nation
       generally — moves on with 2021.

       The distraction is roiling the faithful, making headlines across the nation and about to
       subsume Max Borghi and Jahad Woods’ Media Day in the sun.

       This needs to end right now.


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       Washington State is a major research university that includes a medical school, nursing
       school, pharmacy school, vet school and the Paul G. Allen School for Global Health. A
       university with that much scientific and medical firepower — and an accompanying



                                                ER0848
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       reputation for excellence — cannot and will not let the most public face of the school
                                                                                        LOG IN   JOIN
       stand on center stage during a global pandemic and play the part of an anti-vax dullard.

       Moreover, WSU President Kirk Schulz has made clear for months that students, staff and
       faculty be vaccinated by the start of fall semester unless rare exceptions can be proven.
       Rolo has offered no explanation so the presumption is he just doesn't believe vaccines
       are safe. In other words, he's being insubordinate. He's a good man and by all accounts a
       good coach. This cannot and should not be a defining moment for him or WSU.




       The embarrassment to the university already is considerable. It will grow worse each
       passing day a resolution is not reached.

       Unless we discover Rolo is of a religious persuasion heretofore unknown, he needs to
       meet with WSU’s constellation of science and medical experts to boost his comfort level
       and confidence in the vaccine -- and then get the jab. Period.




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                                                                                        LOG IN     JOIN




       That’s the only outcome that works for both him, for WSU, and for athletic director Pat
       Chun if he wants to one day succeed mentor Gene Smith at Ohio State.

       There is only one logical outcome. So let’s get on with it.

       This article originates on Cougfan.com.

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       WATCH: OL coach Kyle DeVan and players meetLOGwith  the
                                                      IN JOIN
       media ahead of Nevada
       Offensive Line Coach Kyle DeVan, WR Jeremiah Noga, TE Jermaine Terry and OL Van Wells
       met with the media Tuesday

               By JAKE HEDBERG                                                             0
               23 mins


       Oregon State escaped with a thrilling double overtime win over Colorado State last
       Saturday, beating the Rams 39-31. The Beavers will now pivot to Nevada, as they face the
       Wolf Pack in Reno this weekend. Offensive Line Coach Kyle DeVan, Wide Receiver
       Jeremiah Noga, Tight End Jermaine Terry and Offensive Lineman Van Wells met with the
       media Tuesdaymet with the media Tuesday to discuss last weeks win and preview the
       matchup against Nevada.

       *Videos courtesy of Oregon State Athletics

       WATCH:


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                                 EXHIBIT G




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               Case 2:22-cv-00319-TOR           ECF No. 97    filed 10/14/24 PageID.1737                    Page 64
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                From: Yvette Holman <yvette.holman@yahoo.com>
                   To: "patrick.chun@wsu.edu" <patrick.chun@wsu.edu>
              Subject: Rolovich vaccine status
                 Date: Fri, 23 Jul 2021 17:25:02 -0700
         Importance: Normal


       Hello Pat,
       I have met you a handful of times in Pullman and at Cougars of the Desert in Palm Springs. I don’t expect you to
       remember me, but I feel the need to communicate my feelings about Mr. Rolovich publicly announcing his poor choice
       to not get a COVID-19 vaccination.

       I have been a Coug fan my whole life. I graduated from WSU’s College of Pharmacy in 1990. I work for a large hospital
       in Portland OR, Legacy Health. As a healthcare provider, I am incredibly disappointed and appalled that a leader at my
       alma matter would embarrass our school, instead of stand up for public health measures and our healthcare providers
       who are fighting so hard to save those who are admitted into the hospital and not vaccinated. Ninety-seven percent of
       those hospitalized with COVID-19 are unvaccinated.

       As a result of Mr. Rolovich’s selfish decision, we will be the only school represented at the Pac-12 media day with a
       remote participant. How embarrassing. I feel so upset about this coach that I will not be coming to Pullman for any
       football games this year, nor travel to our away games.

       Please feel free to communicate this to Mr. Rolovich. People like him don’t care about healthcare workers and he is
       setting a poor example for our student athletes.

       Respectfully,

       Dr. Yvette Grando Holman
       WSU Pharmacy Class of 1990


       Sent from Mail for Windows 10




                                                           ER0853                                                 WSU_00003819
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                                 EXHIBIT H




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               Case 2:22-cv-00319-TOR          ECF No. 97     filed 10/14/24   PageID.1739                          Page 66
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                From: Doug Burr <dlburr@yahoo.com>
                   To: "kirk.schulz@wsu.edu" <kirk.schulz@wsu.edu>, "patrick.chun@wsu.edu"
                       <patrick.chun@wsu.edu>
              Subject: Rolovich Going Around the Bend
                 Date: Thu, 22 Jul 2021 22:37:54 +0000 (UTC)
         Importance: Normal


       It is ridiculous for WSU football coach, Nick Rolovich, to be allowed to refuse to be vaccinated against Covid-19. All university
       administration, staff, and students should be required to be vaccinated against this virus. This is science on trial and every
       American institution should help with the enormous task of beating back this virus.

       Please convince the coach that the purpose of a university is the promotion of a fact-based approach to life. His refusal fosters
       the notion that there are alternative views of reality which is dangerous beyond belief. If he refuses to vaccinate, he should be
       suspended.

       Doug Burr
       Spokane, WA




                                                               ER0855                                                     WSU_00003878
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                                   EXHIBIT I




                                                ER0856
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               Case 2:22-cv-00319-TOR         ECF No. 97      filed 10/14/24 PageID.1741             Page 68
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                From: Diane Hamilton <diane_h1@hotmail.com>
                   To: "patrick.chun@wsu.edu" <patrick.chun@wsu.edu>
              Subject: Coach Rolovich
                 Date: Mon, 26 Jul 2021 20:26:25 +0000
         Importance: Normal


       I am writing as a proud 1989 grad, season ticket holder for football, monthly donor and die hard Coug and
       words cannot describe how disappointed I am that coach Rolovich is refusing to be vaccinated for Covid-19.

       How can he lead these young athletes and be an example to them when he won't do everything in his power to
       end this pandemic? It should be required of every single person on this planet to get vaccinated and prove we
       each care more about others than ourselves.

       Please implore him to speak to the experts to alleviate any fears or mis-information ASAP but if he won't get
       vaccinated then he should not have the privilege to coach at the greatest school in the world and he should be
       fired.

       Sincerely,

       Diane C. Hamilton, '89
       #228854




                                                       ER0857                                            WSU_00004168
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               Case 2:22-cv-00319-TOR          ECF No. 97     filed 10/14/24  PageID.1742                                    Page 69
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                From: Scott Woodward <woodfish24@gmail.com>
                   To: "Chun, Patrick" <patrick.chun@wsu.edu>
                  Cc: "Straub, Mitchell H" <mitch.straub@wsu.edu>, "Ganders, Adam Lawrence"
                       <aganders@wsu.edu>
              Subject: rolovich
                 Date: Tue, 27 Jul 2021 08:35:49 -0700
         Importance: Normal


       7/27/2021
       My record speaks for itself when it comes to the support of WSU.

                ·     Gray W
                ·     WSU Heritage Society
                ·     WSU President’s Associate
                ·     WSU Advocate/Trustee
                ·     VP of the WSU Tri-Cities Alumni Assoc.
                ·     Member of the Bobo Brayton Endowment Fund Board of Trustees
                ·     Alumni Coordinator for Cougar Baseball
       I think that level of support grants me some space to comment on recent events involving Coach Rolovich. I will preface my comments
       with a huge thanks to you and your staff for the tremendous job you all have done to get WSU Athletics back on track financially and
       laying the foundation for the national respect of Cougar athletics. I would venture to say that in the 50+ years I have been part of the
       Cougar family your leadership is the best that our university has experienced.
       That being said I feel Coach Rolovich’s recent decision to not follow national, state, and university guidelines concerning Covid vaccination
       is an embarrassment to the institution breaking down the hard-earned respect we have all worked to establish at WSU. I have endured a
       self-inflicted cooling-off period since he first tweeted his decision. My cooling off period did not work as a matter of fact over the 7 days
       my temperature has increased. Daily discussions with my wife produced talking points I would like to share with you.

                · Coach Rolovich has slapped our new medical school and research on diseases in the face.
                · Coach Rolovich has divided the Cougar nation just when we were getting excited about returning to campus.
                · No proof on this but if I was a parent of a recruit, I would be moving WSU down the list of considered schools.
                · The daily regional and national media images of Coach Rolovich alongside images of our campus accompanying the ugly
                story of his non-vaccination stand makes me sick.
                · Rolovich has created a huge distraction for the team
                · The silence is deafening from the administration.
       So, what about solutions? I am confident that you have been in contact with President Schulz trying to find a solution. Perhaps that
       accounts for the administrative radio silence since your initial responses. I keep going back to the WSU Covid vaccination policy, all
       students and staff must be vaccinated with exceptions for personal, religious, or health reasons. If one is to apply any of the exceptions
       then they must be masked and maintain social distancing. So, if Coach Rolovich has a personal reason that stands up to that protocol then
       he must be masked at all times and must maintain his social distance, no exceptions. If he is not willing to abide by the rules that the
       students and staff are required to follow then he should catch the next wave to Hawaii. If that is the case your administrative wisdom will
       dictate the direction of his contract. If he does abide then our university saves its $3 million investment and Rolovich continues to coach.
       I have been waiting for the needle to move one way or the other on this matter. I just can’t wait any longer to share my thoughts. I have
       confidence you and President Schulz will find a solution. No response needed just action.
       Scott Woodward class of 1972
       509 627 3621




                                                                    ER0858                                                          WSU_00003980
(71 of 299), Page 71 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 71 of 299
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                                  EXHIBIT J




                                                ER0859
(72 of 299), Page 72 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 72 of 299
               Case 2:22-cv-00319-TOR          ECF No. 97     filed 10/14/24  PageID.1744                                    Page 71
                                                         of 130
                From: Scott Woodward <woodfish24@gmail.com>
                   To: "Chun, Patrick" <patrick.chun@wsu.edu>
                  Cc: "Straub, Mitchell H" <mitch.straub@wsu.edu>, "Ganders, Adam Lawrence"
                       <aganders@wsu.edu>
              Subject: rolovich
                 Date: Tue, 27 Jul 2021 08:35:49 -0700
         Importance: Normal


       7/27/2021
       My record speaks for itself when it comes to the support of WSU.

                ·     Gray W
                ·     WSU Heritage Society
                ·     WSU President’s Associate
                ·     WSU Advocate/Trustee
                ·     VP of the WSU Tri-Cities Alumni Assoc.
                ·     Member of the Bobo Brayton Endowment Fund Board of Trustees
                ·     Alumni Coordinator for Cougar Baseball
       I think that level of support grants me some space to comment on recent events involving Coach Rolovich. I will preface my comments
       with a huge thanks to you and your staff for the tremendous job you all have done to get WSU Athletics back on track financially and
       laying the foundation for the national respect of Cougar athletics. I would venture to say that in the 50+ years I have been part of the
       Cougar family your leadership is the best that our university has experienced.
       That being said I feel Coach Rolovich’s recent decision to not follow national, state, and university guidelines concerning Covid vaccination
       is an embarrassment to the institution breaking down the hard-earned respect we have all worked to establish at WSU. I have endured a
       self-inflicted cooling-off period since he first tweeted his decision. My cooling off period did not work as a matter of fact over the 7 days
       my temperature has increased. Daily discussions with my wife produced talking points I would like to share with you.

                · Coach Rolovich has slapped our new medical school and research on diseases in the face.
                · Coach Rolovich has divided the Cougar nation just when we were getting excited about returning to campus.
                · No proof on this but if I was a parent of a recruit, I would be moving WSU down the list of considered schools.
                · The daily regional and national media images of Coach Rolovich alongside images of our campus accompanying the ugly
                story of his non-vaccination stand makes me sick.
                · Rolovich has created a huge distraction for the team
                · The silence is deafening from the administration.
       So, what about solutions? I am confident that you have been in contact with President Schulz trying to find a solution. Perhaps that
       accounts for the administrative radio silence since your initial responses. I keep going back to the WSU Covid vaccination policy, all
       students and staff must be vaccinated with exceptions for personal, religious, or health reasons. If one is to apply any of the exceptions
       then they must be masked and maintain social distancing. So, if Coach Rolovich has a personal reason that stands up to that protocol then
       he must be masked at all times and must maintain his social distance, no exceptions. If he is not willing to abide by the rules that the
       students and staff are required to follow then he should catch the next wave to Hawaii. If that is the case your administrative wisdom will
       dictate the direction of his contract. If he does abide then our university saves its $3 million investment and Rolovich continues to coach.
       I have been waiting for the needle to move one way or the other on this matter. I just can’t wait any longer to share my thoughts. I have
       confidence you and President Schulz will find a solution. No response needed just action.
       Scott Woodward class of 1972
       509 627 3621




                                                                    ER0860                                                          WSU_00003980
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                                 EXHIBIT K




                                                ER0861
(74 of 299), Page 74 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 74 of 299
               Case 2:22-cv-00319-TOR           ECF No. 97      filed 10/14/24   PageID.1746 Page 73
                                                           of 130
                From: kathy kathymorrow.com <kathy@kathymorrow.com>
                   To: "kirk.schulz@wsu.edu" <kirk.schulz@wsu.edu>, "patrick.chun@wsu.edu"
                       <patrick.chun@wsu.edu>
                  Cc: "elizabeth.chilton@wsu.edu" <elizabeth.chilton@wsu.edu>, "lisa.calvert@wsu.edu"
                       <lisa.calvert@wsu.edu>, "christine.hoyt@wsu.edu" <christine.hoyt@wsu.edu>
              Subject: Football coach needs to go
                 Date: Fri, 23 Jul 2021 17:09:30 +0000
         Importance: Normal


       I will no longer support anything that WSU does until the removal of the current football coach or he is
       vaccinated and states so publicly.
       My three children all graduated from WSU and we have been supportors for 20 years. That is longer true. My
       adult children are also embarrassed by this person.
       Take a stand and get him vaccinated. He should represent the University well or not allowed on campus or to
       coach.
       Sincerely,
       Kathy Morrow

       Kathy Morrow REALTOR, CRS, ABR, ASP, CNE, GRI, PMN, SRES, WCR
       Managing Broker
       RE/MAX Integrity
       24401 104th Ave SE Suite #201
       Kent, WA 98030
       206-295-9503




                                                      ER0862                                            WSU_00003953
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                                  EXHIBIT L




                                                ER0863
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               Brenna Greene                                                                     •••




               @BrennaGreene

       This, uh, doesn't seem so funny now in light of today's news.

              Brenna Greene 0 @BrennaGreene • Jul 17, 2021
         .@NickRolovich in the stands for the @SpokaneShock game tonight and he is
         fully embracing being a fan al al,




                                                ER0864                                    WSU_00040275
(77 of 299), Page 77 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 77 of 299
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       5:18 PM • Jul 21, 2021


        0   14                tls                   (:) 116               n   2                  T
     10:32:09 AM 9/27/2024
     https://x.com/BrennaGreeneJstatus/1418002567993315328




                                                ER0865                                    WSU_00040276
(78 of 299), Page 78 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 78 of 299
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                                 EXHIBIT M




                                                ER0866
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       <-       Post

         lock Nag Jonathan Chen                                                                  •••



        411.   @jonchen50

       A couple of former `Bows reunite at a @SpokaneShock game

       #BowsInThePros @JRHensley57 @NickRolovich
       Photo posted to Warrior Nation FB group by @MarciHensley10




                                                ER0867                                    WSU_00040277
(80 of 299), Page 80 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 80 of 299
               Case 2:22-cv-00319-TOR     ECF No. 97     filed 10/14/24  PageID.1752   Page 79
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       A JR Hensley and Spokane Shock
       8:20 AM • Jul 18, 2021


        Q                    VI 3                   Q   14                I:1
     8:26:45 AM 10/8/2024
     https://x.com/jonchen50/status/1416779931065872385




                                                ER0868                                    WSU_00040278
(81 of 299), Page 81 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 81 of 299
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                                 EXHIBIT N




                                                ER0869
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                Case 2:22-cv-00319-TOR        ECF No. 97       filed 10/14/24   PageID.1754 Page 81
                                                          of 130
                  From: "Chun, Patrick" </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                         (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=0B33E78FA0174977B71E6413480ADBA3
                         -PATRICK.CHU>
                     To: "Rolovich, Nicholas R" <nick.rolovich@wsu.edu>
                    Cc: "Schulz, Kirk" <kirk.schulz@wsu.edu>, "Theresa L Elliot-Cheslek (telliot@wsu.edu)"
                         <telliot@wsu.edu>, "Hess, Danielle A" <danielleh@wsu.edu>
                   Date: Thu, 29 Jul 2021 00:37:27 -0000
            Importance: Normal
           Attachments: Rolovich_7.28.21_Final_.pdf
          Inline-Images: image001.png; image002.png


       Nick,
       Attached is a copy of the letter I shared with your today.
       Please let me know if you have any questions.

       -Pat

                              PAT CHUN
                              D I R E C TO R O F AT H L E T I C S
                              Washington State University Athletics
                              Bohler Athletic Complex, 110
                              Office: 509-335-0200
                              patrick.chun@wsu.edu
                              www.wsucougars.com




                                                               ER0870                          WSU_00016348
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                                                               41:
                                                  WASHINGTON STATE
                                                           ATHLETI        CS




            July 28, 2021


            Nick Rolovich
            Head Football Coach
            Washington State University

            Dear Nick:

            This letter is sent to provide some clear guidelines and expectations based on your decision to
            not receive the COVID-19 vaccine at this time.

            First, I appreciated your comments at Pac-12 Football Media Day encouraging Washington
            residents and WSU students to consider a COVID-19 vaccination. Our expectation for you is to
            continue the work of encouraging our student-athletes and staff to become vaccinated prior to
            the start and throughout the 2021-22 academic year. My expectation is that you will work
            towards an improved partnership with our WSU Athletics Administration and medical staff in
            delivering this messaging and that you will hold your team and staff accountable for following
            all applicable guidelines.

            As a reminder, the Washington State Department of Health (DOH) requires unvaccinated
            individuals to wear a mask that covers their nose and mouth when they are indoors in a place
            accessible to people outside their household, with certain limited exceptions. Failure to comply
            with this order is a criminal misdemeanor offense that may subject an individual to fines or
            imprisonment. With the Washington DOH guidelines in mind, WSU has enacted policies
            requiring employees to declare their vaccination status. For those unvaccinated individuals,
            attached is a link to the masking guidelines: WSU Guidance on Face Coverings I Our COVID-19
            Response I Washington State University. Please be aware the Pac-12 Conference and WSU
            Athletics may put forth additional guidelines and restrictions for unvaccinated individuals.

            As the highest profile employee of Washington State University and one of the most highly
            compensated state employees in Washington, you do not have the luxury of disregarding legal
            requirements in a public setting. Your public behavior reflects on the University, the Athletic
            Department, and the Football program at all times. Further, violation of law (other than minor
            traffic offenses) is a breach of your employment contract, particularly when those violations
            endanger others and place the university and the football program in a negative light. I expect
            that you will adhere to federal and state directives and guidance at public and private events
            both on and off campus.




                            Washington State University I Department of Intercollegiate Athletics I Athletic Director
                   Bohler Athletic Complex 110, PO Box 641602, Pullman WA 99164-1602 1509-335-0200 I Fax: 509-335-4501




                                                             ER0871                                                      WSU_00016349
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            This letter serves as a reminder that any conduct in violation of Department of Health or other
            government orders or laws, or violation of Washington State University policies, may lead to
            discipline, up to and including termination for cause in accordance with your employment
            contract.

            This upcoming season will present numerous challenges and opportunities. As a reminder, your
            contract requires you to participate in events, activities, and efforts to foster support for the
            football program, and your personal decision to forego a COVID-19 vaccination has already
            impacted your ability to do so (see Paragraph 1.2.1.2.h). As the pacing of these types of events
            increases and public health protocols evolve, I strongly urge you to reconsider receiving the
            vaccine so that you may participate fully in these events, protect our Coug community, and
            serve as a role model as a very public state employee and national figure. While your choice on
            the matter is a personal decision, protocols are expected to be followed should you remain
            unvaccinated. I look forward to working with you in navigating them and supporting the goals
            of our 2021 football team.




            Patrick Chun
            Director of Athletics


            CC: President Kirk Schulz




                                                      ER0872                                              WSU_00016350
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                                 EXHIBIT O




                                                ER0873
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       https://tucson.com/sports/pac-12-hotline/pac-12-hotline-wildcats-are-100-vaccinated-asu-wont-disclose-
       numbers/article_7eb1de82-0111-11ec-965d-c74107efe30e.html


       EDITOR'S PICK   TOP STORY


       PAC-12 HOTLINE

       Pac-12 Hotline: Wildcats are 100% vaccinated; ASU won't disclose
       numbers
       Jon Wilner The San Jose (Calif.) Mercury News
       Aug 19, 2021




       Arizona ranks first in the Pac-12 with a 100% COVID-19 vaccination rate.
       Rebecca Sasnett, Arizona Daily Star




                                                         ER0874
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          Jon Wilner The San Jose (Calif.) Mercury News
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         T
                wo weeks from the 2021 season, the majority of Pac-12 football programs are
                approaching a COVID vaccination rate that could limit the disruption caused by
         the Delta variant.

         At least seven teams have reached or surpassed the 90% mark, while two more have
         topped 85%, according to data provided to the Hotline by the schools.

         The vaccination rates for Arizona State and Cal were not made available. ASU cited
         university policy in declining to provide vaccination data. Coach Herm Edwards,
         whose program is under NCAA investigation for alleged recruiting violations during
         the COVID-19 shutdown, has not revealed a vaccination rate in any public comments
         the Hotline was able to locate.

         Of the 10 schools for which data is available, Washington State has the lowest rate:
         The Cougars have vaccinated 80% of their players, according to a school
         spokesperson.



           People are also reading…
          1   Hotline Mailbag: The Pac-12 and Mountain West merger that wasn’t,
              Gonzaga’s impact and more

          2   5 takeaways from the Arizona Wildcats’ 28-22 loss to Texas Tech | Michael
              Lev

          3   What does 'nearly free' mandate mean for AZ universities' tuition?

          4   Tucson man killed in pickup truck attack was pinned against wall, court
              document says


         WSU coach Nick Rolovich initially declined to get vaccinated, citing reasons that will
         remain private. However, a vaccine mandate by Washington governor Jay Inslee has
         left Rolovich with no choice, and he told reporters Thursday that he planned to get
         vaccinated.


                                                  ER0875
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         “For sure,” he said.

         Arizona announced Thursday night that the team is 100% vaccinated, posting to
         Twitter that "our players, our staff and all who are affiliated with our program have
         worked very hard to accomplish this goal." Coach Jedd Fisch announced two weeks
         ago that the team was at 97%.

         "We take our healthy very seriously, and we are committed to a 12-game season and
         beyond," the UA posted. "We are also committed to staying healthy and are hopeful
         that campus can follow our lead."

         UCLA, has a vaccination rate of 98% — a notable development because the Bruins
         have an earlier deadline than everyone else: Their season opener is Aug. 28, one week
         before the rest of the conference. Colorado is at 94.5%.

         “The health and safety of our student-athletes is the number one priority of the Pac-
         12 and our athletic programs,” Merton Hanks, the conference’s head of football
         operations, told the Hotline via email.

         “We have consistently focused on education and encouraged vaccinations. It’s a great
         credit to our football programs, coaches and student-athletes that our football
         vaccination rates are very strong. Our football student-athletes continue to take the
         steps to reduce risk as we prepare for a full, competitive schedule in 2021.”

         The rates are significant from a health-and-safety standpoint, of course, but also for
         financial and competitive reasons.

         Each game broadcast on ESPN or Fox is worth approximately $6 million for the
         conference; if a team is unable to play, the loss of revenue will be shared equally —
         about $500,000 per school. And unlike last year, when canceled games were
         recorded as no-contests, commissioner George Kliavkoff has the authority to declare
         forfeitures this fall.


            Pac-12 football vaccination rates

                                                ER0876
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             Arizona: 100% (as of Thursday night)

           UCLA: 98%

           Washington: above 95%

           Colorado: 94.5%

           Oregon: 90% to 95%

           Utah: above 90%

           USC: above 90%

           Oregon State: 88%

           Stanford: 85%

           Washington State: 80%

           Arizona State: not available

           Cal: not available

         Per a statement from the conference: “If an institution is unable to play a contest
         through its own fault, it shall forfeit such contest to its opponent. Any forfeited
         contest shall be regarded as a conference loss for the team making the forfeit and a
         conference win for its opponent.

         “The Pac-12 rule provides the Commissioner with discretion to determine whether an
         institution is at fault or primarily at fault for an inability to play a contest based on
         the facts of the situation.”

         Put another way: If a team cannot play because of COVID and didn’t take the proper
         precautions, then it likely will be slapped with a loss.




                                                 ER0877
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          Ad 1 of 1 (0:07)




             volume_off




            Notes about the data

            • The figure cited for USC was taken from public comments made recently by coach Clay Helton.
            According to an athletic department spokesperson, the Trojans are "100 percent compliant with the
            university’s vaccine policy." That policy allows for exceptions for medical and religious reasons.

            • Cal declined to provide team-specific vaccination data, a disappointing stance from a university that
            claims to value transparency and was willing to release its team-specific COVID testing data last year.
            Coach Justin Wilcox said recently that his program is vaccinated "almost completely." Additionally, an
            athletic department spokesperson said all players are "in compliance with UC Berkeley’s COVID-19
            vaccine requirements."




                                                         ER0878
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                                 EXHIBIT P




                                                ER0879
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                                                FB Rec 
                                                BK Rec 
                                                Transfer Portal 
                                                NCAA FB 
                                                NCAA BK 
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       2020 Recruit Pac-12 Football Team Rankings
       Last updated on 09/24/24 at 5:30 PM CST


         2020          FOOTBALL                                                                              CLASS CALCULATOR



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       Rank               Team                    Total              5-stars       4-stars        3-stars            Avg         Points


         1
                          Oregon               23 Commits                3             10                 9          90.44        261.30
         2



         2
                          Washington           25 Commits                1             10                 11         88.44        256.38
          1



         3
                          Stanford             25 Commits                0             10                 12         87.43        241.34
         3



         4                Arizona
                                               21 Commits                0               8                13         88.32        234.08
         4                State



         5
                          Utah                 22 Commits                0               4                17         86.82            215.71
         5



         6
                          UCLA                 20 Commits                0               5                15         87.27        211.97
         6




                                                                ER0880
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         7
                       Colorado       24 Commits     0          4          19      85.94     205.66
         8



         8
                       California     26 Commits     0          1          25      86.02     202.34
         7



         9             Oregon
                                      20 Commits     0          0          20      85.30     186.31
         10            State



        10             Washington
                                      28 Commits     0          0          25      84.52     184.41
         9             State



         11
                       USC            13 Commits     0          3          10      87.52     181.23
         12



        12
                       Arizona        24 Commits     0          0          22      83.98     178.56
         11




                                                   ER0881
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              Case 2:22-cv-00319-TOR      ECF No. 97     filed 10/14/24   PageID.1766   Page 93
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         5-Stars    2+ commits    1 commit


         4-Stars    7+ commits    3 - 6 commits




                                                  ER0882
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                                                                             ER0883
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                                 EXHIBIT Q




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                Case 2:22-cv-00319-TOR         ECF No. 97    filed 10/14/24   PageID.1769 Page 96
                                                        of 130
                  From: HRS Exemptions <hrs.exemptions@wsu.edu>
                     To: "Chun, Patrick" <patrick.chun@wsu.edu>, "McCoy, Anne R" <amccoy@wsu.edu>
                    Cc: "Wilmoth, Bonnie" <bonnie.wilmoth@wsu.edu>, "Warren, Stephanie C"
                         <stephanie.warren@wsu.edu>, HRS Exemptions <hrs.exemptions@wsu.edu>
                Subject: RESPONSE NEEDED | Religious Accommodation Request | Nick Rolovich
                   Date: Wed, 6 Oct 2021 21:04:42 +0000
            Importance: Normal
          Inline-Images: image001.png; image002.png; image003.png; image004.jpg


       Human Resource Services received a Religious Accommodation request regarding one of your employees:

        Employee:              Nick Rolovich
        TITLE:                 Head Football Coach
        WSU ID:                011732256
        Effective Date:        Upon Approval

       Nick Rolovich has requested an accommodation from Washington State University’s (WSU) COVID-19 vaccine
       requirement based upon a religious belief, practice, and/or observance. WSU has engaged in a good faith review of the
       information submitted through written and/or oral communications, which support the accommodation request based
       on a sincerely held religious belief.

       After review, we are considering approving the employee’s request subject to the following terms and conditions:

          ·   Employee must wear a face covering that covers the employee’s nose and mouth, and fits snugly a at all times
              unless 1) the employee is outside and can maintain 6 feet of social distance from all other individuals; 2) while
              working alone indoors. (note - a person is working alone if they are isolated from interactions with others and
              have little or no expectation of in-person interruptions (e.g. in a closed office).

          ·    Employee must social distance from others on WSU property when possible.

          ·    If WSU adopts a COVID-19 testing requirement for unvaccinated workforce members, employee will be
              required to submit to such testing as required by WSU.

          ·   The terms and conditions are subject to change and are amended to conform to any federal, state and local
              public health orders or other lawful government orders, and/or WSU adoption of additional occupational
              health and safety interventions or countermeasures to prevent the spread of COVID-19 in the workplace.

       Next Steps - Review Job Duties
       The department is to review the employee’s position description or essential job functions, to determine if the
       employee is able to perform essential functions of the position and meet the COVID-19 safety measures consistent
       with the recommendations of the state and protect the health and safety of the WSU community as part of this
       accommodation request.

       RESPONSE NEEDED:
       Please contact the HRS Exemptions team at hrs.exemptions@wsu.edu by the end of the day Friday, October 8, 2021 to
       let us know:
            1. You have no concern with this request
            2. If you are NOT able to accommodate this request with the above recommendations
            3. If you are able to accommodation the request but believe additional measures may be necessary to meet health
               and safety standards (e.g. relocation of office space to a non-open/shared or less central/populated work area,



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              safety barriers such as plexi-glass or heightened cubical walls; telework agreement. etc)
            4. If you have any questions or would like to meet to discuss further.

        Once a decision on the Religious Accommodation is finalized, HRS will send out the final accommodation notification to
        the employee and the department.

        Thank you,
        Teddi

        Teddi Phares, PHR
        HR Consultant | Washington State University Human Resource Services
        Pronouns: She/Her/Hers
        PO Box 641014 | French Administration Building, Room 139| Pullman, WA 99164-1014
        e: teddi.phares@wsu.edu | t: (509) 335-8331 or (509) 335-4521| f: (509) 335-1259
        Connect with Human Resource Services!
        Main Website: hrs.wsu.edu |Jobs: wsu.edu/jobs


        IMPORTANT NOTICE: This communication, including any attachment, contains information that may be confidential or privileged, and is
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                                                WASHINGTON STATE
                                                                                              HUMAN RESOURCE SERVICES



               October 13, 2021
               Re: Religious Accommodation Request I Nicholas Rolovich

               The Athletic Department (Department) submits this response to the notice that Nicholas
               Rolovich (Employee) has submitted a request for a religious exemption and related
               accommodation. As directed in the notice, the Department reviewed the Employee's
               Employment Agreement to determine if Employee is able to perform the essential functions of
               his position and meet the COV1D-19 safety measures consistent with appropriate health
               regulations. The Department concludes Employee would not be able to perform the essential
               functions of his job consistent with the terms and conditions of his Agreement by wearing a
               snugly fitting mask and engaging in social distancing and this would create an undue hardship on
               the Athletic Department and WSU as a whole.

                Further, WSU is an R-1 major research university with a medical school, a school for global
                health, and a veterinary school. Football plays a vital role in being the 'front door' to the
                university. However, because of Employee's position, the university has attracted significant
                negative publicity. This negative publicity has damaged relationships with donors, diminished
                media exposure, reduced attendance at football-related events, and hindered the ability to
                recruit future student athletes.

                According to the terms of Employee's contract, Employee is responsible for the following duties,
                and as demonstrated by the following:

                    Integrate the Football program into the whole spectrum of academic life to complement
                    the University and its mission in the state and community (Contract Section 1.2.1.2.a);
                        • Employee is unable to participate fully in the spectrum of duties required by the
                            Football program and as such cannot integrate the Football program into academic
                            life to complement the University. Employee cannot fully participate in recruiting,
                            fundraising or media events. Employee is not able to adequately lead coaching staff
                            and train and develop student athletes. Employee is not able to effectively manage
                            the Football program.

                    Evaluate, recruit, train, and develop student-athletes to compete successfully against
                    major college competition in a quality Division I Football program (Contract Section
                    1.2.1.2.b);
                        • Employee cannot recruit at a Pac-12 level due to restrictions placed on unvaccinated
                            visitors by various states, counties and school districts. For example, San Francisco
                            and Los Angeles are prohibiting unvaccinated individuals from entering virtually all
                            indoor spaces and attending large gathering events. WSU recruits California,
                            specifically southern California and the Bay Area heavily. Furthermore, Employee is
                            unable to reasonably entertain official recruit visitors to WSU's campus while
                            masked and socially distanced, given space constraints, travel accommodations and
                            the nature of college athletics recruiting.




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                   Maintain a competitive Football program consistent with the Athletic Director's goals,
                   which will reasonably be established upon consultation with Employee (Contract Section
                   1.2.1.2.c);
                       • Employee is unable to adequately lead the coaching staff, and train and develop
                           student athletes due to masking and distancing restrictions for unvaccinated
                            individuals. The Employee is unable to attend and/or has not been attending
                            individual position meetings, and has been unable to safely engage one-on-one with
                            players or assistant coaches during practices, team meetings, and other preparatory
                            functions. Interactions with assistant coaches and players have been limited and
                            has led to poor planning, lack of communication, and a void in leadership.
                            Employee often does not attend position meetings and has limited football staff
                            meeting attendance due to fears regarding contact tracing.

                   Recommend to the Athletic Director the appointment and discharge of assistant Football
                   coaches and all other contracted staff specific to Football. Employee and the Athletic
                   Director shall consult regarding those issues and make reasonable efforts to reach
                   agreement. The Athletic Director shall then make the final decision (Contract Section
                   1.2.1.2.0;
                       • Employee is unable to manage the Football program, including, but not limited to,
                           assisting the Athletic Director, or his designee, with Football budget preparation and
                           administration, and the supervision and evaluation of the Football program's staff.
                           In addition, Employee's absence from in person events and meetings, which
                           regularly occur in coaching, frustrates his ability to effectively evaluate staff in their
                           one on one and in person coaching interactions.

                   Under the direction of the Athletic Director, participate in events, activities, and/or efforts
                   to foster support for the University's Athletic Department and/or the Football program
                   (Contract Section 1.2.1.2.h);
                       • Employee is unable to fulfill media and fundraising obligations due to masking and
                           distancing restrictions for unvaccinated individuals, as well as concerns regarding
                           contact tracing. Employee is unable to attend the regularly scheduled Friday donor
                           lunch. Employee has not actively participated in donor engagement, program
                           support, or fundraising.

                       •    The Friday donor lunch is a critical component of donor outreach, and Employee's
                            absence has been prejudicial to the Football program and the Athletics Department.
                            Employee has been unable to attend live donor meetings, including several donor
                            interactions scheduled for the 2021 summer. These events were subsequently
                            canceled. Further, donors have declined to engage in personal meetings or remote
                            meetings out of concern for their personal safety and the disappointment in the lack
                            of leadership Employee's handling of this matter has portrayed. Further, the
                            University and the Athletics Department has not been able to schedule future donor
                            meetings based on Employee's actions. Several donors have revoked gifts or put
                            them on hold based on Employee's actions.




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                   Under the direction of the Athletic Director, participate in media events, sponsorship
                   efforts, and engage the public to foster support for the University's Athletic Department
                   and/or the Football program (Contract Section 1.2.1.2.h):
                       • Employee was unable to attend in-person Pac-12 Football Media Day in Los Angeles
                            on July 27, 2001. Because of Employee's decision to not get vaccinated, he was the
                            only coach who did not attend in person. This decision became the primary story
                            concerning football and put student athletes and other attendees in the position of
                            having to address Employee's absence. This was, and continues to be, a major
                            distraction far the University, Athletics Department, and the Football team. This
                            will be an on-going issue until the pandemic is over or otherwise controlled.

                       •   Employee is unable to attend the WSU Football Coaches Show in person that
                           broadcasts live from Zeppoz. This is another critical component of donor and fan
                           outreach. By not attending the show in person, interest from fans has dropped off
                           significantly. Further, Employee is unable to attend other coaching speaking
                           engagements or other campus events such as pep rallies and other fall sports.
                           Employee's lack of presence as the Head Coach of WSU's most popular and well-
                           known sport is pronounced and has been prejudicial to the Football program and
                           the other Athletic programs. Continued absence from these critical events is not
                           sustainable and will have a long-term effect on WSU's ability to market the football
                           program, raise funds, and recruit student athletes.

                   Serve as director of instructional youth FB programs to be held in athletic facilities at the
                   University's campus if deemed applicable (Contract Section 1.2.1.2.i);
                       • Employee is unable to participate and engage in person in camps/clinics due to
                           inability to train and develop participants due to masking and distancing restrictions
                           for unvaccinated individuals.

                Further, the Athletic Department has concerns regarding the Employee's ability to comply with
                the requirement of wearing a snugly fitting face covering at all times. The Employee has
                frequently removed mask to coach with individuals in close proximity (< 5 ft.) to other
                vaccinated and unvaccinated individuals. Coaching duties require close contact with student-
                athletes as well as other Department personnel and the public. This activity has been
                documented during televised games, and is noticed by viewers, staff and any guests who attend
                football team activities, including practice.

                Given the above concerns, the department is not able accommodate this request.




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                                                WASHINGTON STATE
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                October 13, 2021
                Re: Religious Accommodation Request I Nicholas Rolovich

                This response is a supplement to the earlier response to the request received from HRS on
                October 6, 2021, regarding a religious accommodation request for Nick Rolovich (Employee).
                The initial response focused on the essential functions of Rolovich's job and the inability to
                perform those functions with the requested accommodations.

                Underlying the request for an accommodation is the initial conclusion that Rolovich met the
                requirements for a religious exemption to the vaccination requirement by demonstrating a
                sincerely held religious belief against being vaccinated for COVID-19. Rolovich has made several
                statements that cast doubt on his claimed sincerely held religious belief. The statements and
                the timing of Rolovich's statements with respect to religious beliefs as they relate to COVID-19
                vaccinations are summarized below.

                    •   In numerous formal and informal meetings between March and August, Rolovich made
                        it clear to Pat Chun, his supervisor, and many within the Athletics Department, that he
                        was unwilling to take the vaccine based on his independent research. He stated on
                        multiple times he had done his own research, made an independent decision and came
                        to a conclusion that he would not take the vaccine. It was clear from these statements
                        that his decision not to be vaccinated was based on the conclusions he reached
                        following his own research. On May 24, 2021, Rolovich firmly restated to Pat Chun his
                        stance on not taking the vaccine based on his research in a meeting in Pat Chun's office.

                    •   On August 19, 2021, Rolovich personally reiterated and reaffirmed directly to Pat Chun
                        his ongoing stance of not receiving a COV1D-19 vaccination. He disclosed he attempted
                        to seek a medical exemption but was unable to secure the necessary documentation. He
                        then disclosed he would elect to pursue a religious based exemption to meet the
                        employment requirements stated in the Governor's Proclamation 2144-1.
                                In that meeting, Pat Chun stated directly to Rolovich that since the start of this
                                pandemic, Rolovich had been vocal and consistent in his opinions and
                                skepticisms about the COVID-19 virus and the full nature of the public health
                                emergency. He has continuously been critical of the role the government and
                                communicated a multitude of baseless theories with respect to vaccination.

                    •   The following are examples of his reasoning:
                            • COVID-19 Vaccine was not fully FDA approved, and therefore not safe
                            € The vaccine could and would negatively impact women and fertility rates
                            • The vaccine would negatively impact his mortality

                The government and therefore the vaccine could not be trusted. Rolovich participated in Pac-12
                Conference sponsored and WSU Athletics mandated education sessions relative to the merits of




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               the COVID-19 vaccine. In addition, WSU Athletics arranged a one-on-one meeting with Dr. Guy
               Palmer, a world-renowned infectious disease expert. Notwithstanding information shared by
               the experts in these sessions, Rolovich continued to rely on the results of his own research.

                In sum, throughout the multiple individual and group meetings, Rolovich made it clear that he
                refused to be vaccinated based on the conclusions he reached through his own research, he
                only mentioned religion after the Governor issued the Proclamation requiring vaccination, and
                then only mentioned religion in reference to seeking an exemption from the vaccination
                requirement. We believe these facts support re-evaluation of the claimed sincerely held
                religious belief.




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             Date: October 14, 2021
             To:   Patrick Chun
                   Director of Athletics
             From: Shawn Ringo
                   Director, WSU Environmental Health and Safety
             From: Jason Sampson
                   Director, WSU Environmental Health and Safety
             Cc:   HRS Exemptions


                 I.     Introduction
             Pursuant to Proclamation 21-14.2, employees and certain contractors in educational and health
             care settings are required to have a COVID-19 vaccine unless they qualify for an exemption due
             to a legitimate medical condition/disability or they have a sincerely held religious belief. After
             determining an employee qualifies to be exempt from the COVID-19 vaccine, WSU will
             determine whether the employee can be accommodated or whether they pose an undue hardship
             or direct threat.
             WSU Environmental Health & Safety (“EH&S”), who has expertise in environmental and
             occupational health and safety, will evaluate the employees assigned work areas and perform an
             individualized assessment of reasonable and necessary interventions and countermeasures to
             ensure the safety of the employee and others the employee may be in contact with. EH&S will
             not determine whether these interventions and countermeasures fundamentally alter the
             employee’s job and cannot be accommodated. Please contact EH&S for any questions or
             clarifications regarding our recommendations.
                 II.    COVID-19 Pandemic
             COVID-19 has caused a worldwide pandemic resulting in a public health emergency since
             January of 2020. WHO reports there have been over 4.8 million deaths worldwide and the CDC
             reports there have been over 7,000,000 deaths in the United States and over 3 million hospital
             admissions. The Washington Department of Health (DOH) data shows there have been over
             686,000 cases, over 37,950 hospitalizations and 8,062 deaths.
             The CDC data shows that Delta variant is the pre-dominant variant in the US and it is more
             infectious and was leading to increased transmissibility when compared with other variants. The
             Occupational Safety and Health Administration (OSHA) and Washington Labor & Industries
             (L&I) recognize SARS-CoV-2 (the virus that causes COVID-19) a hazardous pathogen requiring
             appropriate interventions and countermeasures to protect workers and others.
             Vaccination is the most effective way to protect against severe illness or death from COVID-19
             particularly those who have underlying medical conditions or disabilities (e.g.,
             immunosuppressed, cancer), and/or an at-risk population (e.g., over 65, pregnant). Other
             interventions and countermeasures are also required by law and/or reasonable and necessary to
             ensure workers and others health and safety. Being unvaccinated increases the risk a worker




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             may contract COVID-19 and become severely ill, die and/or spread the disease to others in the
             workplace or those they come in contact with when performing their job. Certain vulnerable
             populations that contract a COVID-19 infection from a worker are at higher risk for severe
             illness or death. As a result of this risk for vulnerable populations, more interventions and
             countermeasures are reasonable and necessary to protect these populations.
                 III.     EH&S Assessment
              Workers Name:                           Nicholas Rolovich
              Worker’s Department or College:         WSU Athletics


                 A. Check all locations that apply and the time spent in each location as a percentage of
                    their job:

                          ☒        Educational Setting – Higher Education      Percentage of FTE: 85%
                          ☒        Educational Setting – K-12                  Percentage of FTE: 15%
                          ☐        Health Care Setting                         Percentage of FTE: %
                          ☐        Other:                                      Percentage of FTE: %


                 B. Check all populations the worker will come in contact with:

                                    Regular/
                        Frequent              Infrequent Population
                                   Occasional
                          ☒           ☐           ☐      Students – Higher Education
                          ☐           ☒           ☐      Students – K-12
                          ☐           ☐           ☐      Patients
                          ☐           ☒           ☐      Vulnerable Populations as determined by
                                                         CDC
                                                                   o Older Adult (65+)
                                                                   o Disabled individuals
                                                                   o Individuals with the following
                                                                      conditions:
                                                                   o Cancer
                                                                   o Chronic kidney disease
                                                                   o Chronic lung disease (COPD,
                                                                      asthma, interstitial lung disease,
                                                                      cystic fibrosis, pulmonary
                                                                      hypertension)
                                                                   o Dementia or other neurological
                                                                      conditions
                                                                   o Diabetes
                                                                   o Down syndrome




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                                                                       o Heart conditions (such as heart
                                                                         failure, coronary artery disease,
                                                                         cardiomyopathies or
                                                                         hypertension)
                                                                       o HIV infection
                                                                       o Immunocompromised (certain
                                                                         underlying medical conditions
                                                                         and/or drugs and medications
                                                                         may suppress one’s immune
                                                                         system, individuals already
                                                                         severely ill such as in critical
                                                                         care unit (e.g., ICU, PICU,
                                                                         NICU))
                                                                       o Liver disease
                                                                       o Overweight and obesity
                                                                       o Pregnancy
                                                                       o Sickle cell disease or
                                                                         thalassemia
                                                                       o Smoking, current or former
                                                                       o Solid organ or blood stem cell
                                                                         transplant
                                                                       o Stroke or cerebrovascular
                                                                         disease which affects blood flow
                                                                         to the brain
                                                                       o Substance use disorder

                 C. Will the worker be performing services and/or engaging in activities where social
                    distancing is not possible for more than a brief period of time:

                                Social distancing is generally not possible due to work duties requiring
                        ☒       direct face-to-face services or activities for greater than 15 minutes

                                Social distancing (6 feet or greater) is generally possible to perform most
                                of their job duties except for brief moments of time (i.e., less than 15
                        ☐
                                minutes)

                        ☐       The worker may work remotely to perform their job duties


                 D. Will other workers or those come into contact with the worker be able to wear the
                    same or comparable PPE including face masks appropriate for the setting (e.g.,
                    educational setting, health care setting, etc.):




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                                Appropriate PPE for the setting will be worn at all times by other
                        ☐       workforce members and the individuals interacting with the worker

                                Appropriate PPE for the setting will generally be worn at all times by other
                                workforce members, but will not be worn by all individuals interacting
                        ☒
                                with them.

                                Appropriate PPE for the setting will generally not be worn by other
                        ☐
                                workforce members or individuals interacting with the worker


                 E. Check applicable ventilation and fresh air controls and parameters:

                                The worker will be outside for the majority of their job duties, activities
                        ☒       and services.

                                The worker will be in WSU controlled educational facility or location
                                where there is good fresh airflow through increased fresh air exchanges,
                        ☒
                                open windows, or other approved controls for the setting.

                                The worker is mostly in a non-WSU controlled educational facility where
                                the ventilation and fresh air standards are unknown and/or outside of
                        ☒
                                WSU’s control.

                                The worker is in a non-WSU controlled health care setting where the
                        ☐       ventilation and fresh air standards are unknown and/or outside of WSU’s
                                control.


                    Note: The employee requesting accommodation frequently works outside, but also works
                    in WSU controlled facilities as well as indoors in facilities outside the control.
                 F. COVID-19 Infected Individuals

                                The worker will be around individuals known or likely infected with
                                COVID-19 (e.g., hospital, medical clinic diagnosing or treating COVID-19
                        ☐
                                patients, emergency department)

                                The worker will not be around individuals known or likely infected with
                        ☒
                                COVID-19


                 G. COVID-19 Infection Transmission Rates – Check all that apply

                                The worker will be in an area with low community transmission rates.
                        ☐




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                                    The worker will be in an area with moderate community transmission
                           ☐        rates.

                                    The worker will be in an area with substantial community transmission
                           ☐        rates.

                           ☒        The worker will be in an area with high community transmission rates.


                 H. Are there any other specific circumstances or known conditions that will increase
                    the workers or others health and safety risks?

                       The worker’s duties include events where vulnerable populations may be present, with
                       people ranging in age from k-12 to retirement. Based upon contact tracing observations,
                       unvaccinated persons are more likely to contract SARS-CoV-2 and transmit it to others,
                       including those in vulnerable populations. The worker’s responsibilities require regular
                       travel to locations with stringent COVID-19 protocols and safety requirements that may
                       preclude an unvaccinated worker’s attendance.

                 IV.      Recommendations
             Based upon the above stated facts and taking into consideration applicable federal and state
             public health guidance, OSHA and L&I health and safety standards and requirements, WSU
             EH&S professional expertise and WSU policies and health and safety standards, it is
             recommended that the following interventions are reasonably and necessary to protect the worker
             and/or others that interact with the worker:
             Personal Protective Equipment (PPE) and Source Control
             When entering WSU facilities in locations where students, faculty staff or members of the public
             may be present and 6 feet distancing may be maintained, the accommodated person shall wear a
             cloth facial covering or higher level of protective mask.
             If interacting with students or staff setting with occasional interaction within 6 feet, not
             exceeding 10 minutes per day, wear a KN95 or a surgical/procedure mask.
             If interacting with students or staff within 6 feet for durations exceeding 10 minutes, wear a
             NIOSH certified N95 respirator, equivalent or higher rated respirator without an exhalation
             valve. The accommodated employee shall receive medical approval to wear the selected
             respirator, receive training, successfully pass a fit test and enroll in WSU’s respiratory protection
             program.
             Testing and Quarantine
             Do not report to a WSU work location while sick. Do not self-diagnose e.g. allergies. Employees
             shall leave the workplace immediately and inform their supervisor upon experiencing COVID-
             like symptoms.




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             Personnel experiencing COVID-like symptoms shall test for SARS-CoV-2 by PCR/NAAT,
             and/or isolate for 10 days from the date they first experienced symptoms. Employees may return
             to work if they receive a negative PCR/NAAT test result and no longer feel sick. Personnel
             testing positive shall contact EH&S at 509-335-3041 for workplace contact tracing.
             After a close contact i.e. within 6 feet of a person diagnosed with COVID-15 for 15 cumulative
             minutes in a 24-hour period, quarantine for 14 days from the last close contact. Please
             understand that should a member of same household test positive, the 14-day quarantine period
             begins after the 10th day of a household member’s infectious/isolation period.
             Unvaccinated personnel shall assume responsibility for required testing based upon illness or
             close contacts outside the workplace.
             The accommodated employee shall adhere to all PAC12 and NCAA testing requirements,
             acknowledging the additional testing requirements for unvaccinated participants.
             Periodic screening testing may be required for workplaces employing 100 people or more per
             emerging requirements. Unvaccinated employees working under an accommodation shall
             assume responsibility for this testing and/or adhere to WSU policy at the time a testing policy for
             unvaccinated personnel is enacted.
             Negative PCR/NAAT test required within 72 hours prior to travel.
             Travel
             When travel requires lodging, unvaccinated persons shall stay in a room by themselves or with a
             member of their household, if applicable. If sharing lodging, when allowed, the roommate shall
             not be unvaccinated or a person considered at increased risk of severe disease.
             For team or organizational travel with trip durations in a single mode of transportation/vehicle
             lasting less than 1-hour via bus, airplane or other forms of mass transportation, unvaccinated
             personnel shall may wear:
                     A tight fitting cloth facial covering if 6 feet of distancing is maintained;
                     A KN95 if 3 feet of distancing is maintained at the breathing zone.

             Ensure unvaccinated persons maintain six feet of distance from other unvaccinated individuals
             (including those of unknown vaccination status), and individuals considered at higher risk of
             severe disease.
             If unable to distance 6 feet and the trip duration is 1-hour or more in a single mode of
             transportation/vehicle:
                     Maintain 3 feet distance at the breathing zone,
                     Wear a NIOSH approved N95 respirator, equivalent or higher rated respirator without an
                      exhalation valve. The unvaccinated person shall receive medical approval to wear the
                      selected respirator, receive training and successfully pass a fit test and enroll in WSU’s
                      respiratory protection program.




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                    Maximize the vehicle ventilation system, not on recirculation mode and/or roll down
                     vehicle windows.
             Accommodating distancing during travel may require rental of additional buses, booking
             additional flights or other options where the unvaccinated individual travels in separate vehicle.

             When removing a mask to eat or drink, maintain 6 feet of distancing from students or other
             personnel and immediately replace mask after eating or drinking. Eat outdoors or in areas with
             sufficient ventilation (minimum 4 air changes per hour).
             Travel Destination Locations
             Prior to travel, review destination state and local restrictions which may limit/prohibit
             unvaccinated persons’ access to restaurants, public transportation, K-12 schools, community
             colleges or event venues. Some states and local jurisdictions prohibit entry into specific locations
             and/or events without proof of vaccination. If local restrictions prohibit access for unvaccinated
             persons to the event warranting travel, EH&S strongly recommends unvaccinated persons avoid
             travel to limit risk.
             PAC12 or NCAA other organizational COVID-19 safety requirements including the destination
             jurisdiction’s may be more stringent. Unvaccinated persons shall adhere to these requirements or
             WSU COVID-19 safety requirements, whichever is more stringent.
             Automobiles e.g. cars, pickup trucks, vans
             When traveling in an automobile for work with WSU students or personnel, unvaccinated
             persons, if able to distance 6 feet may wear a cloth facial covering and maximize use of the
             vehicle ventilation system, not on recirculation mode and/or roll down vehicle windows.
             If unable to distance 6 feet and the trip duration is less than 1-hour:
                    Maintain 3 feet distance at the breathing zone,
                    Wear a surgical/procedure mask or KN95 or higher-level respiratory protection without
                     an exhalation valve, e.g. N95.
                    Maximize the vehicle ventilation system, not on recirculation mode and/or roll down
                     vehicle windows.
             If unable to distance 6 feet and the trip duration is 1-hour or more in a single mode of
             transportation/vehicle:
                    Maintain 3 feet distance at the breathing zone,
                    Wear a NIOSH approved N95 respirator, equivalent or higher rated respirator without an
                     exhalation valve. The unvaccinated person shall receive medical approval to wear the
                     selected respirator, receive training and successfully pass a fit test and enroll in WSU’s
                     respiratory protection program.
                    Maximize the vehicle ventilation system, not on recirculation mode and/or roll down
                     vehicle windows.




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             Breaks
             Breaks shall be scheduled to maintain 6 feet of distancing from other personnel. Eat outdoors or
             in areas with sufficient ventilation (minimum 4 air changes per hour).
             Additional Requirements
             These requirements are not a substitute, and will be in addition, to any infection prevention or
             control standards imposed by a non-WSU controlled facility or location where the worker is
             performing services on behalf of WSU. Similarly, all appliable professional and licensing
             standards and reasonable infection control requirements for that setting are to be followed by the
             worker at all times. See e.g., CDC Interim Infection Prevention and Control Recommendations
             for Healthcare Personnel During the Coronavirus Disease 2019 Pandemic.




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                                 EXHIBIT U




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                 To:   Human Resource Services
                 From: Department of Athletics
                 Cc:   WSU Environmental Health and Safety

                 Re:     Nicholas Rolovich – Head Football Coach

                 After careful review and consideration of EH&S recommendations regarding possible
                 accommodations related to this employee, we remain concerned that the individual cannot
                 safely and effectively perform his assigned duties and that accommodation in these
                 circumstances would create an undue hardship for WSU Athletics given his assigned duties and
                 responsibilities as set forth in his contractual agreement with the University, including but not
                 limited to the following:1

                 Coaching: Training, evaluating and developing student-athletes.
                     Frequent close physical proximity to and contact with others is an inherent part of
                        coaching.

                 Travel: Travel is a key component of team competition and recruiting.
                      The football team does travel by 737 charter for games, they also travel by bus to
                         airports, hotels, and stadiums. Although social distancing may be maintained on a
                         chartered 737 flight, it becomes exceedingly difficult on buses, and could require that a
                         coach travel separately in between airports, hotels, and stadiums. Organizationally this
                         is not practical as coaches are expected to travel and be with the team on road trips.
                         This also creates a financial burden if a coach has to travel separately. Further, team
                         meetings and meals while traveling often take place indoors with many student-athletes
                         and coaches in attendance; travelling separately will limit these interactions and
                         negatively impact relationships. WSU has little to no control over access to facilities
                         used for such meetings and cannot control circulation or sanitization of such facilities.
                         Managing team travel is a difficult process and it only be made more difficult by having
                         to work to safely accommodate unvaccinated staff. We are concerned that travel under
                         these circumstances cannot be safely and effectively accommodated.

                 Recruiting: Recruiting is critical to the success of the Football Program and Athletic
                 Department.
                     Almost all recruiting travel is done via commercial flights. This means that unvaccinated
                         coaches will be subject to seating arrangements, seat assignments etc. based on the
                         private airlines. It is important to note that once an unvaccinated coach has taken a
                         commercial flight they directly enter recruit homes, high schools or other training
                         facilities. Recruiting remotely via technology or in person fully masked and socially
                         distanced will have a negative impact on how WSU approaches recruits (and their


                 1
                  In addition to concerns about the viability of accommodations, we note concerns with the employee’s
                 ability/willingness to consistently comply with masking and other requirements.




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                         families). Although it is difficult to estimate how many recruits and their families will be
                         uncomfortable with unvaccinated visits, even a small decrease in recruit access by WSU
                         coaching staff will have significant impact on the Football Program. Given WSU’s
                         location, relatively limited media exposure, and traditional role as the smallest program
                         in the Pac-12, recruiting is critically important to any successful athletic program. A
                         coach who is met with suspicion, hesitancy, or fear creates an undue hardship for the
                         purposes of recruiting and cannot be accommodated.

                 Donors: Donor Cultivation Is Critically Important and Requires In Person Contact.
                     If donors are hesitant, fearful, or upset about an unvaccinated coach visiting them, that
                        creates significant hardship for Athletics. WSU’s unique location and donor base
                        provides little margin for error; there are few mega-donors to help support the
                        program. Athletics fund-raising has relied on moderate donations from a larger pool of
                        donors. Any reduction in that group of people will have a significant impact on WSU. If
                        WSU does lose one “mega” donor, it can have significant and lasting consequences to
                        the Football Program, Athletic Department, and WSU. WSU has already lost significant
                        donor commitments who have withdrawn or withheld donations based on the
                        vaccination decisions of the football staff. Even if masked and socially distanced, the
                        number of donors who will not engage with the program or staff regardless of
                        accommodations is a hardship WSU cannot afford. Note that donors are frequently
                        older individuals who may be medically vulnerable to severe COVID-19.

                 Media: Coaches are expected to engage in all forms of local and national media.
                    All coaches, but football coaches in particular, are high profile employees. Head
                        coaches are generally contractually obligated to participate in media events related to
                        the Football Program. This includes weekly radio shows, attendance at conference-
                        sponsored media days, regular interactions with sponsored media and regular news
                        conferences. These duties are part of expanding the brand of the Football Program, the
                        Athletic Department, and the University. However, because employees are not
                        vaccinated, attendance at conference media day was done remotely, (which became a
                        major story and embarrassment to WSU), the weekly Coach’s show is now done
                        remotely and has significant decline in attendance, and many media stories concerning
                        the Football Program revolve around the unvaccinated status of the head coach (and
                        assistant coaches).

                 Integration into Institution
                      WSU is an R-1 research university, with a medical school, school for global health, and
                         millions of dollars in science-based research funding. Athletics is an important part of
                         the WSU experience, and the Head Football Coach’s contract requires him to “Integrate
                         the Football program into the whole spectrum of academic life to complement the
                         University and its mission in the state and community.” The damage to the mission and
                         reputation of the University posed by this situation cannot be understated, nor can it be
                         resolved by accommodation.




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                                  EXHIBIT V




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                  From: "Chun, Patrick" <patrick.chun@wsu.edu>
                     To: "Rolovich, Nicholas R" <nick.rolovich@wsu.edu>
                    Cc: "Blair, Bryan Bernard" <bryan.b.blair@wsu.edu>
                Subject: Follow Up/Recap
                   Date: Sun, 17 Oct 2021 18:39:44 +0000
            Importance: Normal
          Inline-Images: image001.png; image002.png


       Nick,
       As you know the deadline for compliance with the Governor’s Proclamation is tomorrow, October 18, 2021. As I
       communicated to you earlier today in your office, the following are my expectations as we await a decision regarding
       your employment eligibility status:

              I will meet with the Leadership Council this evening to answer any questions and to prepare them for all
              scenarios as they head into game week. This is a change from what I communicated to you this morning.
              After our meeting, my preference is to keep you guys in the same routine/rhythm you’ve been in the past
              few weeks if at all possible. Bryan will work to get this set up.
              If you/I receive notification regarding the status of your request tomorrow (Monday, Oct. 18), we will
              meet immediately in Bohler Gym Conference Room 101
              If you/I have not been notified before 4 p.m. tomorrow, you will need to meet with me at 4:30 p.m. in
              Bohler Gym Conference Room 101
              Staff who awaiting determinations on their requests will also need to be available to meet immediately
              upon notification (location TBD). If they have not been notified before 4 p.m., Bryan Blair or someone
              from my staff will coordinate meetings for either immediately upon notification or at 4:30 p.m. in a TBD
              location.

       Just to restate what we discussed this morning:
       In our meeting on Sunday, Oct. 10, I appreciated your willingness to offer input on contingency planning relative to
       your pending employment eligibility status. It is with great concern to discover you blocking the mutually agreed upon
       coach from arriving in Pullman last week to observe the program as a contingency. Your actions have the potential to
       negatively impact the football program and seriously prejudice its ability to move forward should the contingency arise.
       I will make note of you mentioning to me this morning you personally have been evaluating film with this coach. Also,
       the voicing of physical threats regarding a coach we talked about related to our contingency plan was completely
       unacceptable.

       To be clear, the above act equates to insubordination. Insubordination is considered grounds for disciplinary action,
       including the termination of employment. Your conduct also was profoundly unprofessional and implicates the
       university’s policy on workplace violence.

       Until we have a decision from the University, you are obligated to act in a professional manner fitting your role and
       responsibilities as the head coach of our football program. You are expected to fully cooperate with administration as
       we work through all the possibilities of this week. The well-being of our football program remains my focal point.

       -Pat




                             PAT CHUN
                             D I R E C TO R O F AT H L E T I C S




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                          Washington State University Athletics of 130
                            Bohler Athletic Complex, 110
                            Office: 509-335-0200
                            patrick.chun@wsu.edu
                            www.wsucougars.com




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                                EXHIBIT W




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                                                    WASHINGTON STATE
                                                            ATHLET        I   CS




                                                                                                      Hand Delivered

                     October 18, 2021

                     Nicholas R. Rolovich
                     1815 SW Casey Court
                     Pullman, WA 99163

                     Re:       Written Notice of Intent to Terminate for Just Cause

                     Coach Rolovich:

                     Pursuant to Paragraphs 4.1 through 4.3 of your Employment Agreement as Head Men's Football
                     Coach, this letter constitutes notice of the University's intent to terminate your employment for
                     just cause.

                           •   You were notified on September 1, 2021, and September 23, 2021, that per Proclamation
                               21-14.1, all state employees, including those in higher education, would be required to be
                               fully vaccinated against COVID-19 via one of the FDA approved vaccines by October
                               18, 2021.

                               The notice stated that if not vaccinated, you could apply for a medical or religious
                               exemption and accommodation through WSU Human Resources (HRS). The University
                               provided notice of the process on August 31, 2021, September 8, 2021, September 29,
                               2021, and October 4, 2021.

                           •   You requested an exemption from the vaccine requirement on religious grounds. Your
                               request was denied on October 18, 2021.

                     This action is in accordance with the terms of your contract, signed in April 2020, and amended
                     in April 2021. The specific provisions violated include the following:

                           •   Paragraph 1.2.1 requires you to devote your best efforts to the performance of your
                               duties. In particular, you are required to "comply with and support all rules, regulations,
                               policies, and decisions established or issued by the University." Further, you must "abide
                               by all provisions of law." Your failure to comply with the vaccination requirement, which
                               is both a University policy and requirement of law under the Governor's Proclamation,
                               violates these provisions and has rendered you legally unable to perform your duties as
                               Head Coach. Your non-compliance with the vaccine requirement, and the fact that you
                               are now legally unable to fulfill your obligations to the University as Head Coach, also
                               violates Section 4.1.5 of your Employment Agreement, conduct of Employee seriously
                               prejudicial to the best interests of the University or its athletic program, and Paragraph
                               4.1.1.

                           •   Paragraph 4.1.1 prohibits you from engaging in "deliberate and serious violations" of
                               your duties, or "refusal or unwillingness to perform such duties in good faith and to the
                               best of your abilities" As noted in my July 26, 2021, warning letter to you, your contract

                             Washington State University I Department of Intercollegiate Athletics I Office of the Director
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                            requires you to participate in events, activities, and efforts to foster support for the
                            Football program, and your personal decision to forego a COVID-19 vaccination has
                            impacted your ability to do so, interfering with your ability to meet with donors and
                            others. These activities are a critical part of being a head football coach at a Pac-12
                            school. See 1.2.1.2.h. Because of your decisions, WSU, the Football program, and the
                            Athletics programs have been subject to several damaging events. These events include
                            the following:

                            •   Your inability to attend in-person Pac-12 Football Media Day in Los Angeles on July
                                27, 2021. Because of your decision to not get vaccinated, you were the only coach
                                who did not attend in person. Your decision became the primary story concerning
                                football and put our student athletes and other attendees in the position of having to
                                address your absence. This was, and continues to be, a major distraction for the
                                University, Athletics department, and the Football team.

                            •   Your inability to attend any of the regularly scheduled Friday donor lunches. Section
                                1.2.1.2.h requires that you participate in events, activities, and/or efforts to foster
                                support for the University's Athletic Department and/or the Football program. You
                                have not actively participated in donor engagement, foster program support, or
                                fundraising. The Friday donor lunch is a critical component of donor outreach, and
                                your absence has been prejudicial to the Football program and the Athletics
                                department.

                            •   Your inability to attend the WSU Football Coaches Show in person that broadcasts
                                live from Zeppoz. This is another critical component of donor and fan outreach. By
                                not attending the show in person, interest from fans has been negatively impacted.
                                Further, you are unable to attend other coaching speaking engagements in person,
                                and you are limited in your ability to attend other campus events such as pep rallies
                                and other fall sports. Your lack of presence as the Head Coach of WSU's most
                                popular and well-known sport is pronounced and has been prejudicial to the Football
                                program and the Athletics program.

                            •   Your inability to attend live donor meetings, including several donor interactions
                                scheduled for July. These events were subsequently canceled. Further, donors have
                                declined to engage in personal meetings or remote meetings out of concern for their
                                personal safety and the disappointment in the lack of leadership your handling of this
                                matter has portrayed. Further, the University and the Athletics department has not
                                been able to schedule future donor meetings based on your actions. Several donors
                                have revoked gifts or put them on hold until further notice because of your decision.

                      •     Paragraph 1.2.1.2 requires you to "Evaluate, recruit, train, and develop student-athletes."
                            You also are responsible for establishment of a program identity and approach to
                            competition, and the game planning for individual games and the season. You have
                            failed to fulfill these obligations by engaging in the following behavior:

                            •   You are unable to attend individual position meetings or engage one-on-one with
                                players or assistant coaches during practices, team meetings, and other preparatory
                                functions. Interactions with assistant coaches and players has been limited and has
                                led to poor planning, lack of communication, and a void in leadership.




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                            •   Your ability to travel extensively and recruit has been impacted by your decision.
                                Recruiting has been significantly impacted this year, as evidenced by a notable
                                decline in the number of verbal commitments.

                   As the most high-profile employee of WSU and one of the most highly compensated state
                   employees in Washington, your choices and behavior also reflect on the University, the Athletics
                   Department, and the Football program at all times. In addition to the above, the voicing of
                   physical threats regarding a coach we talked about related to our contingency plan was
                   completely unacceptable.

                   Your conduct has been seriously prejudicial to the best interests of the University and the
                   Football program, including putting the University and the Football program in a negative
                   national spotlight, and is a violation of your contract. (See paragraph 4.1.5).

                   Per Section 4.2 of your Employment Agreement, you have fifteen (15) calendar days to respond
                   to me, in writing, with reasons why you should not be terminated. I will respond accordingly
                   consistent with the terms of your Employment Agreement.

                   Effective immediately you have been placed on paid administrative leave pending the outcome of
                   this notice of intent to terminate for just cause. You are not to perform any work on behalf of the
                   University. Your WSU email account has been disabled and systems access removed.

                   For information regarding your benefits, please visit
                   http://hrs.wsu.edu/employees/benefits/separating-employee-information/. If you have specific
                   benefits questions, such as options for continuing medical and dental coverage beyond your
                   separation date, please contact Human Resource Services at 509.335.4521.

                   Sincerely,




                   Patrick Chun
                   Director of Athletics


                   cc:      Athletics Employment File
                            HRS Personnel File
                            HRS Employment Services




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                                  EXHIBIT X




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                                                     WASHINGTON STATE
                                                             A T H L E T I C S




            November 12, 2021

            Nicholas R. Rolovich
            1815 SW Casey Court
            Pullman, WA 99163

            RE:      Notice of Decision to Terminate for Just Cause

            Mr. Rolovich:

            Pursuant to Paragraph 4.2 of your employment agreement, this letter constitutes notice
            of termination for just cause from your employment as head football coach at
            Washington State University, effective immediately.

           This decision has been made after careful review and consideration of your lengthy and
           detailed response, which includes many inaccurate statements and legal claims. I did
           not find your response persuasive and will not respond to each and every contention.
           However, please note the following:

                • Background: Per the Governor's Proclamation 21-14.1, all state employees,
                  including those in higher education, were required to be fully vaccinated against
                  COVID-19 by October 18, 2021, unless they had an approved medical or
                  religious accommodation. You requested an exemption/accommodation on
                  religious grounds, which the University denied on October 18, 2021, thereby
                  rendering you in violation of the Proclamation and ineligible for continuing
                  employment at Washington State University. On October 18, 2021, the University
                  issued you written notice of its intent to terminate your employment for just
                  cause in accordance with the Proclamation and your contract of employment.

               • Regarding the University's decision that granting an exemption would
                 cause undue hardship to the Athletic Department and the University:
                 You claim that your ability to fulfill your duties as head football coach has not
                 been and would not be impacted by your vaccination status. This is false. Your
                 performance of your duties has been significantly hindered and would continue
                 to be as long as you are unvaccinated, notwithstanding any reasonable
                 accommodations that might be implemented. Your activities have had to be
                 continually and severely limited to a much greater extent than if you had been
                 vaccinated, in order to mitigate the risk of you becoming infected or infecting
                 others. In addition to the information WSU provided you and your attorney in



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                   previous documents, including the October 18, 2021, Notice of Intent to
                   Terminate for Just Cause, I note the following:
                      o The Pac-12 Conference, not the University, barred you from attending
                        Pac-12 Media Day in person due to the vaccination requirement for head
                        coaches. You were the only Pac-12 head coach unvaccinated and unable
                        to attend in-person. Instead of showcasing our student athletes and the
                        WSU football program, you became the story. You claim this was not
                        your choice and that other conferences operate differently. This
                        completely misses the point. It was your choice not to get vaccinated,
                        and your job required you to be successful and operate as a Pac-12 head
                        football coach, which means adhering to Pac-12 rules.
                      o You have been significantly hindered in your ability to successfully contact
                        and recruit prospective student-athletes, because you have been
                        restricted from attending any locale that has vaccine requirements,
                        including high schools, high school sporting events, junior colleges, other
                        universities' sporting events, or other prospect camps. Vitally important
                        recruiting areas, especially on the west coast, including California and
                        western Washington, which are historically WSU's most significant
                        geographical areas for recruiting, are essentially inaccessible to you as a
                        recruiter. Moreover, Hawaii, a state where you have extensive ties and
                        should be able to recruit in-person with a high level of success, also has
                        very stringent COVID-19 restrictions, which have limited your ability to
                        successfully recruit in that state. Over 2/3 of our current football roster
                        has student-athletes who reside from the states of Washington, California,
                        Oregon, and Hawaii. WSU cannot sustain a successful football program if
                        coaches are limited in recruiting locations.
                      o Aside from the restrictions noted above, non-competition travel by
                        unvaccinated coaches requires a quarantine upon return to campus. This
                        has limited your ability to be on the road during key recruiting periods and
                        reduced the number of days you can spend traveling for recruiting
                        purposes. Also, WSU cannot risk losing recruits who refuse to visit
                        campus because Athletics is accommodating unvaccinated coaches.
                      o As a result of your recruiting limitations, the football program's recruiting
                        statistics and verbal commitments for the 2022 recruiting cycle have been
                        directly impacted and are unacceptably low. You personally stated your
                        expectation of signing a full class, which would mean a minimum of 25
                        initial signees. Contrary to your claim, NCAA regulations would not have
                        prevented you from signing more prospective student-athletes; it was




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                         your responsibility to manage the roster to incorporate a full class of new
                         student-athletes. Recruiting at the level of a Pac-12 Conference institution
                         requires a robust recruiting plan and effort.
                      o Because you are unvaccinated, you were required to quarantine after
                        travel, which limited your participation in many important activities,
                        including donor meetings. You appear to acknowledge this by explicitly
                        stating you deliberately chose not to attend certain in-person donor
                        events, which you had previously agreed to attend and were on your
                        schedule. However, every Pac-12 head football coach must be able to
                        regularly attend donor visits and events and actively engage in marketing
                        efforts, in addition to other duties. Because you were unvaccinated, your
                        ability to interact with key constituents, including students, donors, fans,
                        and others, was severely impacted.
                      o The Athletic Department has incurred significant costs associated with the
                        need to test you and other unvaccinated football coaches for COVID-19 on
                        a daily basis. The Pac-12 requires a minimum of three (3) tests per week
                        for unvaccinated staff, in addition to pre-competition testing, and the
                        Athletic Department policy requires daily testing. PCR testing, which must
                        occur at least weekly for unvaccinated individuals and 72 hours prior to
                        competition or travel, costs approximately $100 per test. The cost for
                        testing alone of unvaccinated staff from August 2021 through final tests
                        on October 18, 2021, was $10,000. In addition to that cost, because of
                        the workload of increased testing caused by you and other unvaccinated
                        coaches, the Athletics Department was required to hire additional staff to
                        assist in COVID-19 testing, at considerable expense. It is important to
                        note that these testing requirements do not apply to vaccinated players
                        and staff, and that football was the only intercollegiate athletic program at
                        WSU to have unvaccinated coaching staff.
                      o Overwhelming scientific evidence establishes the efficacy of the vaccine in
                        mitigating the spread of COVID-19 and preventing severe disease. By
                        refusing to support, and by you and your staff at times actively opposing,
                        the University's COVID-19 education and vaccination efforts, and by
                        setting a very public example, you have undermined the University's
                        efforts to promote student safety. Although numbers are gradually
                        improving, the football program has the lowest student-athlete vaccination
                        rate of any intercollegiate athletics team at WSU and among the lowest
                        rate in the Pac-12. The football program experienced COVID-19
                        outbreaks in fall 2020 and spring 2021 that far exceeded any outbreaks
                        among other intercollegiate athletics teams at WSU. In addition, WSU had




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                         to miss or reschedule several of the seven scheduled games in the
                         restructured fall 2020 football season, including two cancellations.

                • Regarding the University's decision that you do not have a sincerely
                  held religious belief that conflicts with the University's vaccine
                  requirement:
                      o Prior to the Governor's proclamation, and since the beginning of the
                        pandemic, you openly and freely expressed your opposition to the vaccine
                        and other COVID-19 mitigation efforts on numerous occasions to
                        numerous people, citing your own "scientific" research and making
                        statements mirroring several specific online conspiracy theories, which
                        included demonstrably false claims. In addition, at no point did you ever
                        mention any religious concerns (ex: regarding fetal tissue). Therefore,
                        your current claim that your private, unexpressed concerns were actually
                        religious in nature is simply not credible. Your statement that you and
                        some of your staff had unsuccessfully tried to secure documentation for a
                        medical exemption undermines your claim. Only after it became clear that
                        a religious exemption was your only other option did you claim to have
                        religious beliefs that conflict with the vaccine requirement. It is
                        understandable that you would want the University's review to exclude
                        information regarding your own prior statements in its decision; however,
                        under EEOC Guidance, these are appropriate considerations, and your
                        assertion to the contrary is false. Further, under EEOC Guidance, personal
                        or philosophical beliefs do not give an individual a basis to claim a
                        religious exemption.

               • Regarding the University's exemption process:
                      o Contrary to your claims, the University followed its process. You claim the
                        University guaranteed a blind review of your request for a religious
                        exemption and that it was improper for the Athletics Department to
                        provide information contradicting your claim. Nothing in WSU's policy
                        states or implies that it was improper for the Athletics Department to
                        provide additional information bearing on this question. The committee's
                        initial review is "blind" and based solely on information provided by the
                        employee; however, once the committee makes its initial determination,
                        the employee's unit is informed of the initial determination and has an
                        opportunity to provide information specific to that employee and their job
                        duties. The Athletics Department did not receive information about your
                        request until it was appropriate for it to do so in accordance with the




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                         process. Further, the religious exemption request form is clear that
                         "additional follow up information" may be sought, and there is nothing
                         that limits WSU to information provided by the employee.
                      o You claim that if WSU had concerns about the sincerity of your religious
                        beliefs, it was required to allow you to submit additional information.
                        Again, however, the religious exemption request form uses the permissive
                        "may," not "shall." Moreover, your November 2, 2021, response to the
                        notice of intent to terminate provides ample additional information
                        regarding your request for a religious exemption, and I do not find this
                        information persuasive. As discussed above, your prior statements, as
                        well as the timing of your request for a religious exemption, indicate that
                        your objection to the vaccine requirement was based on factors other
                        than religion.
                      o Finally, you claim that the Athletics Department and I "overturned" the
                        accommodation recommendations of WSU's Environmental Health and
                        Safety (EHS). This is false. As part of the normal process, EHS provided
                        information regarding possible accommodations but, consistent with the
                        University's process, did not make a decision on this issue or even a
                        recommendation regarding undue hardship. The October 14, 2021,
                        memorandum from EHS clearly states, "EHS will not determine whether
                        these interventions and countermeasures fundamentally alter the
                        employee's job and cannot be accommodated."

               • Regarding your insubordination and threat of violence:
                      o You claim you were merely expressing your "frustration with, and dislike
                        of June Jones," and that you would never physically harm him. However,
                        your exact words were, "I don't want to see that mother f*cker and will
                        fight him if you bring him out to practice." Your tone and profanity during
                        that interaction were deeply concerning and demonstrated a lack of self-
                        control. The clear implication was that violence was in fact possible and
                        actually intended against your former mentor and coach. Although you
                        may have been frustrated, this is clearly a threat of physical violence and
                        an attempt to obstruct the Athletics Department's contingency plans for
                        the football program.

            Finally, your claims of "bias" or "hostility" towards your religion are misguided. My
            primary concern, as the WSU Director of Athletics, has always been the well-being of
            the student-athletes under your supervision as we attempt to build a successful WSU
            football program. Diversity and inclusion are in our Department's core values and




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            adhered to on a daily basis. This includes respect for people's personal religious
            practices (like you, I am also a practicing Catholic), which further reinforces the
            baseless nature of this claim.

            Based on the above, as well as the information in the October 18, 2021, Notice of
            Intent to Terminate for Cause and the other documents submitted in the religious
            exemption process and provided to your attorney, which are attached and incorporated
            herein, I find that you violated each of the sections of your contract outlined in the
            Notice of Intent to Terminate for Cause and that these violations were deliberate,
            serious, and seriously prejudicial to the University and the football program, thereby
            warranting termination for just cause.

            Pursuant to Paragraph 4.3 of your employment agreement, you have fifteen (15)
            calendar days to appeal this decision to the University President. However, your right
            to receive any payment under your employment agreement shall cease November 15,
            2021, the day after this letter is issued, and you are not entitled to receive any
            compensation pending the appeal.




            Patrick Chun
            Director of Athletics

            Enc.
            1. Notice of Intent to Terminate for Just Cause
            2. September 28, 2021, email from HRS with instructions for completing the religious
               exemption form
            3. October 6, 2021, notification to Athletics from HRS Exemptions
            4. October 13, 2021, memorandum from Athletics regarding undue hardship
            5. October 13, 2021, supplemental memorandum from Athletics regarding sincerely
               held religious belief
            6. October 14, 2021, memorandum from EHS
            7. October 18, 2021, memorandum from Athletics to HRS/EHS
            8. October 18, 2021, email from HRS exemptions with notice of denial of religious
               exemption

            cc:    Brian Fahling, Attorney for Nicholas Rolovich
                   Danielle Hess, WSU Division Chief, Office of the Attorney General
                   Personnel File




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        1   ROBERT W. FERGUSON
            Attorney General
        2

        3   ZACHARY J. PEKELIS, WSBA #44557
            Special Assistant Attorney General
        4   PACIFICA LAW GROUP LLP
            1191 2nd Avenue, Suite 2000
        5   Seattle, WA 98101-3404
            (206) 245-1700
        6
        7   SPENCER W. COATES, WSBA #49683
            Assistant Attorney General
        8   800 Fifth Avenue, Suite 2000
            Seattle, WA 98104-3188
        9   (206) 464-7744
      10
      11                         UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WASHINGTON
      12
      13
              NICHOLAS ROLOVICH,                          No. 2:22-cv-00319-TOR
      14

      15                      Plaintiff,                  DECLARATION OF
                                                          DAVID BONES IN SUPPORT
      16     v.                                           OF DEFENDANT’S CROSS-
                                                          MOTION FOR SUMMARY
      17     WASHINGTON STATE                             JUDGMENT
             UNIVERSITY,
      18
      19                      Defendant.
                               .
      20

      21           I, David Bones, declare as follows:

      22           1.    I am over the age of eighteen (18) years, competent to testify to the

      23    matters contained in this declaration, and testify based on my personal knowledge

      24                                                                     PACIFICA LAW GROUP LLP
            DECLARATION OF DAVID BONES – 1                                       1191 SECOND AVENUE

      25    No. 2:22-cv-00319-TOR                                                      SUITE 2000
                                                                            SEATTLE, WASHINGTON 98101-3404


                                                ER0920
                                                                               TELEPHONE: (206) 245-1700
                                                                                FACSIMILE: (206) 245-1750
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        1   and information.

        2          2.    I am a Partner and Co-Chair of the Forensic Accounting and

        3   Commercial Damages practice area with HKA, a business and litigation consulting

        4   firm. I am experienced in economic damages, financial, and forensic accounting

        5   issues related to the scope of the analysis on this matter

        6          3.    HKA has been retained by the defendant in the above-captioned case

        7   to render expert opinions in this case. My opinions, along with the materials I

        8   reviewed in forming those opinions, are explained in my expert report. For my

        9   work in this case, HKA is being compensated at a rate of $550 per hour.

      10           4.    Attached hereto as Exhibit A is a true and correct copy of the expert

      11    report and supporting exhibits. My report is based on my training, professional

      12    experience, and research. My report contains a complete statement of the opinions

      13    to which I would testify if called as a witness at trial.

      14

      15    I hereby declare that the above statement is true to the best of my knowledge and

      16    belief, and that I understand it is made for use as evidence in court and is subject to

      17    penalty for perjury.

      18                      9 day of October, 2024, at Phoenix, Arizona.
                   Dated this ___
      19
      20
                                                  s/
      21                                                DAVID BONES

      22
      23

      24                                                                       PACIFICA LAW GROUP LLP
            DECLARATION OF DAVID BONES – 2                                         1191 SECOND AVENUE

      25    No. 2:22-cv-00319-TOR                                                        SUITE 2000
                                                                              SEATTLE, WASHINGTON 98101-3404


                                                  ER0921
                                                                                 TELEPHONE: (206) 245-1700
                                                                                  FACSIMILE: (206) 245-1750
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        1                             CERTIFICATE OF SERVICE

        2          On the 14th
                          ___ day of October, 2024, I caused to be served, via ECF electronic

        3   service, a true copy of the foregoing document upon all counsel registered for e-

        4   service.

        5          DATED this 14th
                              ___ day of October, 2024.
        6
        7
        8
                                                          Erica Knerr, Legal Assistant
        9
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      11

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      24                                                                     PACIFICA LAW GROUP LLP
            DECLARATION OF DAVID BONES – 3                                       1191 SECOND AVENUE

      25    No. 2:22-cv-00319-TOR                                                      SUITE 2000
                                                                            SEATTLE, WASHINGTON 98101-3404


                                                ER0922
                                                                               TELEPHONE: (206) 245-1700
                                                                                FACSIMILE: (206) 245-1750
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                                  EXHIBIT A




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                                           Nicholas Rolovich

                                                        v.

                                    Washington State University

                               Cause No. 2:22-cv-319-TOR (E.D. Wash.)




                                             Expert Report
                                                  of
                                             David Bones




                                            August 12, 2024




              ______________________
              David R. Bones, CVA



                                             HKA GLOBAL, LLC
                                             2355 N. Camelback Rd., Suite 415
                                             Phoenix, AZ 85016



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                                                LIST OF ATTACHMENTS

                1. Attachment A – David Bones CV and Testimony History

                2. Attachment B – List of Documents Considered

                3. Attachment C – Statement of Revenues and Expenses for WSU Athletics - FY 2018 - FY 2023

                4. Attachment D – Statement of Revenues and Expenses for WSU Football - FY 2018 - FY 2023

                5. Attachment D.1 - WSU’s Football Revenue by Channel Excluding FY 2021




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            1     INTRODUCTION

            HKA is a business and litigation consulting firm that provides services to corporations and counsel with
            offices worldwide. HKA professionals include Certified Public Accountants, Certified Fraud Examiners,
            Project Management Professionals, Professional Engineers, and other financial and accounting personnel
            skilled in forensic fact-finding and analysis.

            I am a Partner and Co-Chair of the Forensic Accounting and Commercial Damages practice area with HKA,
            experienced in economic damages, financial, and forensic accounting issues related to the scope of the
            analysis on this matter. I have prepared and analyzed claims for economic damages, valued businesses,
            and analyzed the business operations, solvency, and financial condition of companies in numerous
            industries. I have been retained as an expert on many matters and provided testimony around the country,
            including being qualified as an expert in state and federal courts. Prior to joining HKA, I was a Vice
            President with The Kenrich Group, and prior to that, I was an Associate Director with Navigant Consulting
            and a Senior Consultant with Tucker Alan, all national litigation consulting firms. Further detail about my
            qualifications, including my curriculum vitae, can be found in Attachment A attached to this report.

            1.1   SCOPE OF ASSIGNMENT

            HKA was retained by Pacifica Law Group as attorneys for and on behalf of Washington State University
            (“WSU” or “Defendant”) to render (1) affirmative opinions on the estimated economic impacts to WSU’s
            Athletics Department of accommodating unvaccinated football coaches by allowing them to remain in their
            positions unvaccinated and (2) rebuttal opinions on the damages assessments of Plaintiff’s expert, Mr.
            David Hall. HKA bills for my time at an hourly rate of $550. HKA’s compensation in this matter is not
            contingent upon the outcome of this case or on the findings or opinions I make.

            This report summarizes my findings to date and was prepared by me or under my direction. The opinions
            presented in this report are based on facts and circumstances made available to me via documents
            produced in this litigation, interviews with persons with relevant knowledge, independent research, as well
            as from my educational and professional experience.

            I understand that discovery in this matter is ongoing, and that additional deposition testimony, documents,
            and expert disclosures may be made available to me after the date of this report. As new information is
            provided to me, including but not limited to additional documents/data produced and pleadings filed, expert
            reports and analyses, and/or deposition transcripts, I reserve the right to amend and/or update this report
            and any opinions or conclusions contained herein. See Attachment B for a list of documents considered to
            form my opinions.




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            2     BACKGROUND & ALLEGATIONS

            2.1   RELEVANT PARTIES

            Plaintiff Nicholas Rolovich (“Mr. Rolovich” or “Plaintiff”) was the head football coach at WSU from January
            14, 2020, until his employment was terminated on December 6, 2021.1

            WSU is an agency of the State of Washington, located in Pullman, Washington, with approximately 7,000
            employees and over 26,000 students enrolled.2

            2.2   BACKGROUND

            On January 13, 2020, Mr. Rolovich became WSU’s head football coach after entering into a Memorandum
            of Understanding with WSU.3 On February 29, 2020, the governor of Washington, Jay Inslee, declared a
            State of Emergency in the State of Washington related to the Covid-19 pandemic (“Covid”).4 In April 2020,
            Mr. Rolovich entered into an Employment Agreement with WSU, which was to expire on June 30, 2025.5

            On August 20, 2021, Governor Inslee issued Proclamation 21-14.1, which required all state employees,
            healthcare workers, and educational workers (including employees in higher education) to be fully
            vaccinated by October 18, 2021, or receive an exemption and accommodation from their employer.6 On
            or about September 28, 2021, Mr. Rolovich submitted a request for a religious exemption from the Covid-
            19 vaccine requirement to WSU’s Human Resource Services.7 Upon review, the Athletics Department at
            WSU determined that it would cause undue hardship to the university to accommodate Mr. Rolovich by
            allowing him to remain in the head coach position unvaccinated.8                         Mr. Rolovich’s exemption/
            accommodation request was denied by WSU on October 18, 2021.9                            Following an unsuccessful
            administrative appeal, Mr. Rolovich’s employment was terminated on December 6, 2021.10




            1 Second Amended Complaint, Nicholas Rolovich v. Washington State University, et al., dated September 19, 2023

            (“Complaint”), ¶ 11.
            2 Id., ¶¶ 12-14; WSU, About, https://wsu.edu/about.

            3
              Complaint, ¶ 16.
            4 Id., ¶ 21.

            5 Id., ¶ 16.

            6 Id., ¶ 48; Office of the Governor, Proclamation 21.14.1, https://governor.wa.gov/sites/default/files/2023-01/21-

            14.1%20-%20Covid-19%20Vax%20Washington%20Amendment.pdf.
            7 Complaint, ¶ 63.

            8 Id., ¶¶ 66, 70.

            9 Id., ¶ 90.

            10 Id., ¶¶ 5, 11.


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            In addition to Mr. Rolovich, six of his assistant coaches and one non-coach football staff member also
            requested accommodations from the Covid-19 vaccination requirement.11 Their accommodation requests
            were also denied and I understand they were ultimately separated from WSU employment. 12

            3    SUMMARY OF OPINIONS

            The following summarizes my opinions, which are set out in more detail in the remainder of this report:

                1. The Athletics Department is a significant income source for WSU, with the football program
                     representing almost the entire funding source for the rest of the Athletics Department.

                         a. The Covid-19 pandemic disrupted collegiate athletic departments around the country and
                              significantly impacted WSU’s financial condition, especially due to a loss in revenue from
                              the football program.

                         b. As a result, WSU deployed substantial efforts to reduce the risks associated with Covid-19
                              outbreaks to mitigate negative impacts from Covid-19 and protect the university from
                              additional financial shocks.

                2. WSU, the Athletics Department, and the football program were subject to significant economic and
                     operational impacts due to the risks associated with Covid-19, such as lost revenue due to
                     cancelled games and incremental costs to accommodate unvaccinated coaches.

                         a. If WSU had been forced to forfeit or cancel its football games in 2021 or 2022 due to Covid-
                              19 outbreaks, it stood to lose millions of dollars in revenue from ticket sales, media rights,
                              and bowl game revenue. Under conservative economic assumptions, the potential lost
                              revenues ranged between $3.3 million if one game was cancelled to $10.4 million if six
                              games were cancelled.

                         b. Even absent any game cancellations, WSU would have incurred incremental costs to
                              accommodate its unvaccinated football coaches. For example, WSU would have incurred
                              costs for separate travel accommodations for unvaccinated coaches, as well as additional
                              costs for contact tracing associated with Covid-19 outbreaks.                  Under conservative
                              economic assumptions, the estimated travel costs to accommodate Mr. Rolovich and the
                              six other unvaccinated coaches are $197,000, while the costs for contact tracing per Covid-
                              19 outbreak are $100,000 per outbreak.

                         c.   WSU also would have experienced additional adverse impacts due to Mr. Rolovich’s
                              unvaccinated status, such as potential loss of donations from donors who threatened to


            11 Plaintiff’s First Set of Interrogatories to Defendant and Defendant’s First Supplemental Answers and Objections

            Thereto, Nicholas Rolovich v. Washington State University, et al., dated July 24, 2024, p. 11.
            12 Id., Appendix B, pp. 9-10.


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                           withdraw contributions, additional Covid-19 testing requirements, reputational impacts, and
                           additional costs to charter flights to recruiting events.

                3. The Expert Report of David Hall (“Hall Report”) contains opinions that are based on speculative
                   assumptions that are inconsistent with the terms of Mr. Rolovich’s contract and do not consider
                   mitigation factors, which render his opinions unreliable.

                       a. To the extent that liability is not determined, damages are zero. To the extent liability is
                           determined, Mr. Hall’s calculations in his Opinion 2 are consistent with the terms of Mr.
                           Rolovich’s contract.

                       b. Damages under Opinions 3 and 4 do not consider that Mr. Rolovich’s decision to not
                           receive the Covid-19 vaccine impacted his ability to mitigate his damages. Therefore,
                           damages under Opinions 3 and 4 are speculative and unsupported, rendering them
                           unreliable.




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            4        OVERVIEW OF ECONOMICS OF COLLEGE ATHLETICS

            Athletics programs are often considered the “front porch” of many universities,13 being the most visible
            program of the university and serving as an entry point for prospective students and supporters. However,
            it is a common misconception that university athletic departments are profitable enterprises. 14 University
            athletic departments often generate significant revenue from media rights contracts to broadcast their sports
            on television, particularly football and men’s basketball games, ticket sales, conference distributions, and
            may receive financial subsidies from state government agencies and institutions.15 However, athletic
            department expenditures, which include travel, facility management, scholarships, and department salaries,
            often exceed the revenues generated, resulting in athletic departments that operate in annual deficits.16
            For example, since Fiscal Year (“FY”) 2018,17 WSU’s Athletics Department has operated in an annual deficit
            each year except for FY 2022, as shown in Figure 1 below.

                                  Figure 1: Annual WSU Athletics Department Surplus (Deficit) 18




            13 Harry, Molly, Financial Ramifications of Coronavirus on Division I Athletic Departments¸ p. 51.

            14 Id.

            15 Id.¸ pp. 51-52.

            16 Id.¸ p. 52.

            17 Washington State University’s (“WSU”) fiscal year is for the period from July 1 to June 30.   For example, FY 2018
            covers the period from July 1, 2017 to June 30, 2018.
            18 Attachment C.


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            The teams within university athletics departments fall into two categories: (1) revenue-generating sports
            and (2) non-revenue-generating sports.19 In most Division I20 university athletics programs, revenue-
            generating sports are limited to football and men’s basketball, with all other sports being non-revenue-
            generating.21 Athletic departments will utilize the profits from revenue-generating sports, primarily football,
            to subsidize non-revenue-generating sports within the department. 22 Despite the costly nature of non-
            revenue-generating sports, those teams can indirectly bring in a significant amount of tuition revenue for a
            university from student athletes that are not attending on athletic-based scholarships.23

            I reviewed financial statements for WSU’s Athletics Department from FY 2018 to FY 2023 that were
            prepared by WSU and reported to the National Collegiate Athletic Association (“NCAA”).24 The financials
            reported to the NCAA included detailed revenue and expense data specific to WSU’s football, men’s and
            women’s basketball, and other sports programs, as well as non-program specific data. Based on my
            analysis, football was the only sports program to consistently generate a profit for WSU. From FY 2018 to
            FY 2023 annual profits from WSU’s football program ranged between $20 million to $25 million, excluding
            FY 2021, which was impacted by Covid-19. The only other sports program at WSU to report a profit during
            this same period was the men’s basketball program, which reported annual profits of no more than $1.2
            million. See Figure 2 below for an illustration of the annual profits / losses by athletic program at WSU from
            FY 2018 to FY 2023.




            19 Revenue-generating sports produce significant revenue and are typically income producing for the athletics

            department. Non-revenue-generating sports have no immediate revenue generated from spectators of the sport, with
            expenses covered by sponsorships, donations and fundraising. See The Johns-Hopkins Newsletter, Nonrevenue
            sports should not be scapegoats for budget cuts, https://www.jhunewsletter.com/article/2020/10/non-revenue-sports-
            should-not-be-scapegoats-for-budget-cuts (Oct. 22, 2020).
            20 After the NCAA created its three divisions in 1973, Division I was subdivided for football purposes in 1978 into

            Division I-A (the principal football schools), Division I-AA (remainder of football-playing schools) and Division I
            (schools not sponsoring football). In 2006, Division I-A and I-AA were renamed Football Bowl Subdivision (“FBS”)
            and Football Championship Subdivision (“FCS”), respectively. To be a Division I member, FBS schools must sponsor
            a minimum of 16 sports, and FCS and Division I Subdivision schools must sponsor a minimum of 14 sports. See The
            National Collegiate Athletic Association, Our Division I Members, https://www.ncaa.org/sports/2021/5/11/our-division-
            i-members.aspx.
            21 Harry, Molly, Financial Ramifications of Coronavirus on Division I Athletic Departments¸ p. 55.

            22 Id.

            23 Id.¸ p. 56.

            24 The National Collegiate Athletic Association (“NCAA”) is a member-led organization dedicated to the well-being

            and lifelong success of college athletes. The NCAA comprises more than 500,000 college athletes across all three
            divisions, who compete for about 1,100 member schools in all 50 states, the District of Columbia, Puerto Rico and
            Canada. See NCAA, Overview, https://www.ncaa.org/sports/2021/2/16/overview.aspx.

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                             Figure 2: Summary of Annual Profits / (Losses) by Athletic Program25




            The importance of college football on a university athletics department was confirmed in my discussion with
            Anne McCoy, WSU’s current Athletic Director, who noted that WSU’s Athletics Department lives or dies by
            the finances of the football program. Ms. McCoy’s sentiment was reinforced by the athletic director at the
            University of Florida, who also noted that, as “everyone knows, footballs pays for the enterprise to go
            forward.”26 Scholars have also agreed that “intercollegiate sports, particularly football, is the tail wagging
            the athletics dog.”27 Based on the above illustrated financial data, it is unlikely that WSU could sustain its
            non-football athletics teams without the revenue generated by the football program. 28




            25 WSU_00036375-452 at 450-52; WSU_00036453-531 at 529-31; WSU_00036532-610 at 608-10; WSU_00036611-

            91 at 689-91; WSU_00036692-772 at 770-72; and WSU_00036773-852 at 850-52.
            26 Harry, Molly, Financial Ramifications of Coronavirus on Division I Athletic Departments¸ p. 56.

            27 Id.

            28 In addition to football and basketball, the athletics teams at WSU include soccer, baseball, swimming, track and

            field, cross country, rowing, golf, tennis, and volleyball. See WSU, Washington State University Athletics,
            https://wsucougars.com.

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            4.1     OVERVIEW OF ECONOMICS OF COLLEGE FOOTBALL

            College football is a “key driver of athletic department operations.”29 At WSU, football is by far the largest
            revenue-generating sport, generating a significant portion of the overall athletic department’s revenues.
            Additionally, football has indirect impacts on a university and its community, as a college football team can
            serve as a unifying force on a university campus, representing a source of pride and a symbol of the
            community.30 From FY 2018 to FY 2023,31 the WSU football program generated between 56% and 63%
            of the Athletics Department’s total annual revenue, as shown below in Figure 3.32

                 Figure 3: Comparison of WSU’s Football to Total Athletic Revenues from FY 2018 to FY 202333




            WSU’s football program generates approximately 90% of its revenues from four main channels: (1) media
            rights deals with television networks and other media outlets, (2) conference distributions, (3) ticket sales,




            29
               Spencer D. Wyld, David C. Wyld, College Football’s Bottom-Line Impact: Exploring the Relationship of Football
            Performance on Athletic Finances for Division I Institutions Today, The Sport Journal, July 23, 2021, at 1,
            https://thesportjournal.org/article/college-footballs-bottom-line-impact-exploring-the-relationship-of-football-
            performance-on-athletic-finances-for-division-i-institutions-today.
            30 Kyle Bonagura, Inside Nick Rolovich's downfall at Washington State over the COVID-19 vaccine,

            https://www.espn.com/college-football/story/_/id/32459767/inside-nick-rolovich-downfall-washington-state-Covid-19-
            vaccine (Oct. 27, 2021).
            31 Financial data for FY 2024 was not available as of the date of my report.

            32 FY 2022 - $47,625,476 / $85,028,825 = 56.0%; FY 2018 - $40,783,999 / $65,117,715 = 62.6%; Attachments C & D.

            33 Attachments C & D.


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            and (4) donor contributions. See Figure 4 below for a breakdown of WSU’s football revenue by channel
            based on an average from FY 2018 to FY 2023.

                                 Figure 4: WSU’s Football Revenue by Channel Excluding FY 202134




            Media Rights

            The largest income source for WSU’s football program is from media rights deals with television networks,
            radio stations, internet, digital, and e-commerce providers to broadcast WSU football games.35 I understand
            that the revenues from media rights include only revenues from Pac-12 conference-wide media contracts
            with ESPN and Fox. From FY 2018 to FY 2023, media rights for WSU football generated between $14.5
            million and $21.6 million annually for the Athletics Department, or approximately 42% of total football
            revenue each year.36

            The Pac-12 conference dissolved following the conclusion of the 2023-2024 athletics season after it was
            unable to negotiate a media rights contract its members could agree on.37         The only remaining schools in
            the conference currently are WSU and Oregon State University.38        As a result, I understand that the media



            34 Attachment D.1.

            35 WSU_00036375-452 at 380.

            36 Attachments D & D.1.

            37 Heather Dinich, Pac-12, commissioner George Kliavkoff agree to part ways, https://www.espn.com/college-

            football/story/_/id/39540583/pac-12-commissioner-george-kliavkoff-agree-part-ways (Feb. 16, 2024).
            38 Id.


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            revenue landscape has changed significantly as a result of the dissolution. However, given my analysis is
            only through FY 2023, the conference dissolution does not affect it.

            Conference Distributions

            The second largest source of income for WSU’s football program since FY 2018 is conference distributions.
            I understand that conference distributions reflect distributions from the Pac-12 conference related to
            revenues from championship tickets sold, interest income, NCAA Units, revenue from streaming and cable
            services, and advertising/sponsorships. I also understand that conference distributions were pooled by the
            Pac-12 and distributed evenly among all 12 teams.         From FY 2018 to FY 2023, annual conference
            distributions to the WSU football program ranged between $3.4 million to $11.2 million, or approximately
            22% of total football revenue. 39

            Ticket Sales

            Ticket sales include revenue generated from tickets sold to the public, faculty, and students for football
            games.40 Revenue captured in the ticket sales channel reflects only the face value of a game ticket, not
            any amount that may have been collected above the face value.41 From FY 2018 to FY 2023, ticket sales
            ranged between $7.8 million to $9.4 million, or approximately 19% of total football revenue.42 In FY 2021,
            WSU football recorded no revenue from ticket sales due to the impacts of the Covid-19 pandemic, which
            prevented fan attendance at games.43

            Contributions

            Contributions to the WSU football program are predominantly generated from three sources: (1) donor
            contributions from individuals, corporations, foundations, clubs, or organizations designated specifically for
            the operations of the athletics program, (2) outside contributions for the payment of debt service, lease
            payments, or rental fee expenses for athletic facilities, and (3) amounts contributed above face value for
            tickets to football games.44 I understand that a key responsibility of the head football coach is to generate
            contributions from donors through outreach and event attendance.45            From FY 2018 to FY 2023,




            39 Attachments D & D.1.

            40 WSU_00036375-452 at 377.

            41 Id.

            42 Attachments D & D.1.

            43 Attachment D.

            44 WSU_00036375-452 at 379.

            45 WSU_00020060-62 at 61.


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            contributions ranged between $2.3 million and $3.8 million annually, or approximately 7% of total football
            revenue.46

            5     COVID-19 IMPACTS ON COLLEGE FOOTBALL

            5.1   COVID-19 IMPACTS ON THE 2020 COLLEGE FOOTBALL SEASON

            The Covid-19 pandemic created unprecedented operational and financial disruptions to the 2020 college
            football season as concerns about infection and transmission of the virus led to cancellations. For example,
            in July 2020, the Ivy League announced that it would postpone all fall sports until Spring 2021 due to Covid-
            19-related concerns.47 On August 11, 2020, the Big Ten and Pac-12 conferences followed suit, opting to
            postpone their football seasons until Spring 2021.48 Shortly after, on August 13, 2020, the NCAA cancelled
            all fall sport championships that it controlled, which did not include football, noting that fewer than 50% of
            schools were willing to participate in the fall season.49 Power Five50 programs operating without a football
            season were estimated to incur average losses of $78 million, which totaled approximately sixty percent of
            the schools’ annual operating revenues.51 Some lost income may have been recouped during a spring
            football season, but university leaders were concerned that a spring football season would be in jeopardy
            if Covid-19 continued to gain momentum.52 As a result, several conferences that had originally postponed
            fall sports reversed course and chose to participate in fall sports.53 For example, the Big Ten and Pac-12
            reversed course in September 2020, a month after originally postponing their seasons. 54

            During the 2020 season, individual universities could elect to postpone fall sports in lieu of cancelling their
            entire season. Out of the 130 FBS football teams, only three football teams did not compete in some way
            during fall 2020, namely the University of Connecticut, Old Dominion, and New Mexico State.55 The


            46 Attachments D & D.1.    I understand that some contributions are made directly to the Athletics Department, instead
            of specific sports programs.
            47 Greta Anderson, Ivy League Postpones Athletics Until 2021, https://www.insidehighered.com/news/2020/07/09/ivy-

            league-will-not-play-fall-sports-2020 (Jul. 8, 2020).
            48 Christine M. Baugh, Leonard Glantz, Michelle M. Mello, Decisions about College Football during Covid-19: An

            Ethical Analysis, 2023 Spring, at 104, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC10209992/#app1.
            49 Id.

            50 Historically, the Power Five conferences were comprised of the (ACC), Big Ten Conference (Big Ten), Big 12

            Conference (Big 12), Pacific-12 Conference (Pac-12), and Southeastern Conference (SEC). See Signing Day Sports,
            What is the Power of 5?, https://thewire.signingdaysports.com/articles/what-is-the-power-5/ (Jul. 9, 2023).
            51
               Harry, Molly, Financial Ramifications of Coronavirus on Division I Athletic Departments, p. 57. See also Steve
            Berkowitz, Major public college football programs could lose billions in revenue if no season is played,
            https://www.usatoday.com/story/sports/ncaaf/2020/04/14/college-football-major-programs-could-see-billions-revenue-
            go-away/2989466001/ (Apr. 15, 2020).
            52 Id.

            53 Emily Giambalvo, Which college football conferences are playing and who’s still on the sidelines?,

            https://www.washingtonpost.com/sports/2020/08/12/college-football-canceled-faq (Sept. 25, 2020).
            54 Id.

            55 Harry, Molly, Financial Ramifications of Coronavirus on Division I Athletic Departments, p. 57;

            https://athlonsports.com/college-football/college-football-teams-canceled-their-2020-season-fbs.

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            University of Connecticut specifically noted that it cancelled its football season due to risks associated with
            Covid-19.56 Instead of cancelling their entire seasons, several conferences, including the Big Ten and
            Pac-12, elected to forgo non-conference games in 2020, instead opting for a shortened schedule playing
            only against conference opponents.57

            During the 2020 season, the Pac-12 allowed teams to reschedule or declare a no-contest if they were
            unable to play due to a Covid-19 outbreak, without the cancellation being reflected as a loss on the team’s
            record.58 For example, WSU had seven games scheduled during the 2020 season. 59 However, it ended
            the year with a 1-3 record, as three games were cancelled due to Covid-19 outbreaks.60

            The Pac-12 conference also set a minimum for the number of scholarship players that needed to be
            available to play a game each week. The minimum required player availability was 53 scholarship players,
            with at least one quarterback, seven offensive linemen, and four defensive linemen.61 Under the NCAA
            rules in effect in 2020 and 2021, FBS and FCS teams were permitted to have up to 85 scholarship players.62
            In total, about 20% of regular-season college football games nationwide were cancelled in 2020. 63

            Some conferences also implemented policies for fan attendance at games. For example, the Pac-12 and
            Big Ten implemented policies that prohibited fans from attending games during the 2020 season, while the




            56 University of Connecticut, UCONN FOOTBALL ANNOUNCES CANCELLATION OF 2020 SEASON DUE TO

            RISKS ASSOCIATED WITH COVID-19, https://uconnhuskies.com/news/2020/8/5/uconn-football-announces-
            cancellation-of-2020-season-due-to-risks-associated-with-Covid-19.aspx (Aug. 9, 2020).
            57 Andrew Brandt, Football’s Economic Impact on College Towns, College Players and the NFL,

            https://www.si.com/nfl/2020/08/18/economic-fallout-nfl-impact-of-college-football-season-cancellations; https://pac-
            12.com/news/2020/10/3/pac-12-announces-2020-football-schedule (Aug. 18, 2020); David Cobb, Big Ten football
            schedule 2020: League to play eight games plus consolation games on championship week,
            https://www.cbssports.com/college-football/news/big-ten-football-schedule-2020-league-to-play-eight-games-plus-
            consolation-games-on-championship-week (Sept. 16, 2020).
            58 Nick Nordi, HCA: Pac-12 reveals plans for cancelled games and tiebreakers,

            https://www.cougcenter.com/2020/10/20/21524300/pac-12-cancelled-games-tiebreakers-wsu-cougars (Oct. 20,
            2020).
            59 Pac12, Pac-12 announces 2020 football schedule, https://pac-12.com/news/2020/10/3/pac-12-announces-2020-

            football-schedule (Oct. 3, 2020).
            60 WSU, 2020 Football Schedule, https://wsucougars.com/sports/football/schedule/2020; WSU, Washington State-

            Stanford Football Game Cancelled, https://wsucougars.com/news/2020/11/20/wsu-athletics-washington-state-
            stanford-football-game-cancelled.aspx (Nov. 20, 2020); Jeff Nuseer, Apple Cup canceled because of WSU COVID
            outbreak, https://www.cougcenter.com/2020/11/22/21590479/apple-cup-canceled-wsu-cougars-Covid-washington-
            huskies (Nov. 20, 2020); Cal Athletics, Cal At Washington State Football Game Cancelled,
            https://calbears.com/news/2020/12/12/cal-at-washington-state-football-game-cancelled.aspx (Dec. 12, 2020).
            61 Brian J. Pedersen, Pac-12 sets roster minimums, establishes game cancellation policies ahead of football restart

            https://www.azdesertswarm.com/football/2020/10/19/21523836/pac12-football-coronavirus-cancellation-policy-2020-
            restart-outbreak-minimum-scholarship-players (Oct. 19, 2020).
            62 Michelle Brutlag Hosick, DI Council approves one-year waiver of football scholarship limit,

            https://www.ncaa.org/news/2021/10/6/general-di-council-approves-one-year-waiver-of-football-scholarship-limits.aspx
            (Oct. 6, 2021).
            63 Pat Forde and Ross Dellenger, Was the 2020 College Football Season Worth It?,

            https://www.si.com/college/2021/01/11/college-football-2020-season-Covid-19-daily-cover (Jan. 11, 2021)

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            ACC, Big 12 and SEC vastly limited stadium attendance.64 Policies prohibiting or limiting fan attendance
            would have meant significant lost ticket sales for football programs.

            Lastly, Covid-19 also significantly impacted the 2020 football bowl season, which consists of post-season
            games between top teams that provide opportunities for football programs to increase revenues and
            exposure. At least 21 schools publicly opted out of bowl games, with several others privately opting out. 65
            Some of the bowl games were cancelled by the organizers, while others were cancelled because the teams
            could not or would not play.66 In 2020, the Rose Bowl, one of the most historic and important bowl games,
            was moved from Pasadena, California to AT&T stadium in Arlington, Texas because of the growing number
            of Covid-19 cases in Southern California and California’s restrictions prohibiting guests or fans at public
            recreational events (including athletic events).67 Of the 41 bowl games scheduled for the 2020 bowl season,
            16 games were cancelled, a 39% cancellation rate. 68

            5.1.1    COVID-19 IMPACTS ON WSU’S 2020 COLLEGE FOOTBALL SEASON

            During the 2020 season, WSU football had planned to play seven games, but was forced to cancel three
            games due to Covid-19 outbreaks within the teams.69 Two of the outbreaks leading to cancellations
            occurred within the WSU football team, and the third occurred within an opposing team. 70 Most notably,
            during the 2020 football season, WSU was forced to cancel its annual Apple Cup game against rival
            University of Washington (“UW”) due to a Covid-19 outbreak within the WSU football team.71 The Pac-12
            noted that the decision to cancel the Apple Cup was made “due to Washington State not having the
            minimum number of scholarship players available for the game as a result of a number of positive football


            64 Eric Olson, Fans head back to stadiums, some with vax cards and masks,
            https://www.si.com/college/2021/01/11/college-football-2020-season-Covid-19-daily-cover (Aug. 28, 2021).
            65 Id.
            66 Pat Forde and Ross Dellenger,
                                             Was the 2020 College Football Season Worth It?,
            https://www.si.com/college/2021/01/11/college-football-2020-season-Covid-19-daily-cover (Jan. 11, 2021).
            67 Pasadena Tournament of Roses, CFP Semifinal at the Rose Bowl Stadium to be relocated to AT&T Stadium in

            Arlington on January 1, 2021, https://tournamentofroses.com/cfp-semifinal-at-the-rose-bowl-stadium-to-be-relocated-
            to-att-stadium-in-dallas-on-january-1-2021/ (Dec. 19, 2020); Heather Dinich, CFP semifinal moved from Rose Bowl
            to AT&T Stadium in Arlington, Texas, https://www.espn.com/college-football/story/_/id/30559293/cfp-semifinal-
            scheduled-rose-bowl-moving-att-stadium-arlington-texas (Dec 19, 2020).
            68 Pat Forde and Ross Dellenger, Was the 2020 College Football Season Worth It?,

            https://www.si.com/college/2021/01/11/college-football-2020-season-Covid-19-daily-cover (Jan. 22, 2021).
            69 WSU, 2020 Football Schedule, https://wsucougars.com/sports/football/schedule/2020; WSU, Washington State-

            Stanford Football Game Cancelled, https://wsucougars.com/news/2020/11/20/wsu-athletics-washington-state-
            stanford-football-game-cancelled.aspx (Nov. 20, 2020); Jeff Nuseer, Apple Cup canceled because of WSU COVID
            outbreak, https://www.cougcenter.com/2020/11/22/21590479/apple-cup-canceled-wsu-cougars-Covid-washington-
            huskies (Nov. 20, 2020); Cal Athletics, Cal At Washington State Football Game Cancelled,
            https://calbears.com/news/2020/12/12/cal-at-washington-state-football-game-cancelled.aspx (Dec. 12, 2020).
            70 Id.

            71 Jeff Nusser, Apple Cup canceled because of WSU COVID outbreak,

            https://www.cougcenter.com/2020/11/22/21590479/apple-cup-canceled-wsu-cougars-Covid-washington-huskies
            (Nov. 22, 2020).
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            student-athlete Covid-19 cases and resulting isolation of additional football student-athletes under contact
            tracing protocols.”72 According to Patrick Chun, WSU’s Athletics Director in 2020 and UW’s current
            Athletics Director, “The Boeing Apple Cup is one of the most sacred rivalries in all of sports and one of the
            most meaningful days of the year for all Washingtonians.” 73

            5.2   COVID-19 IMPACTS ON 2021 COLLEGE FOOTBALL SEASON

            Covid-19 continued to impact the 2021 football season as well. For the 2021 college football season,
            conferences changed their policies surrounding cancelled games due to Covid-19 outbreaks. In the Pac-
            12, teams no longer had the option to cancel or postpone games due to Covid-19 outbreaks. Instead, if a
            team was unable to play a game through its own fault, it had to forfeit the game and record the forfeiture as
            a conference loss for the team making the forfeit.74 The SEC, Big Ten, and Big 12 conferences instituted
            the same forfeiture policy.75 Additionally, in the SEC and ACC conferences, if both teams were unable to
            play a game due to Covid-19-related issues, then both teams were required to record a loss.76 During the
            2021 football season, no regular season games were cancelled, while five bowl games were cancelled.77

            6     ECONOMIC AND OPERATIONAL IMPACTS ON COLLEGE ATHLETICS DUE TO COVID-19

            The risks and challenges of Covid-19 caused significant economic and operational impacts throughout
            college athletics. The decision to maintain a fall football season in 2020, albeit without fans in the Pac-12,
            meant institutions and conferences were able to generate revenues from media deals, but not ticket sales;
            however, these revenues were negatively impacted due to Covid-19 outbreaks. The Covid-19 pandemic
            resulted in lost revenue due to cancelled games, additional expenses to mitigate the risks of Covid-19, and
            further mitigation efforts to offset significant losses incurred by university athletic departments.

            Lost Revenue

            Cancelled games, both football and other sports, led to significant lost revenue resulting from the lack of
            ticket sales, decreased conference distributions, and lost revenue from media rights contracts, among other
            direct and indirect impacts. For example, it was estimated that, if the 2020 college football season had


            72 Pacific-12 Conference, Pac-12 statement on Washington at Washington State football game, https://pac-

            12.com/news/2020/11/22/boeing-apple-cup-update (Nov. 22, 2020).
            73 Id.

            74 Andy Patton, Pac-12 releases statement on 2021-2022 forfeiture, https://duckswire.usatoday.com/2021/08/12/pac-

            12-releases-statement-on-2021-2022-forfeiture-policy (Aug. 12, 2021).
            75 Barrett Sallee, SEC establishes forfeit policies for college football games canceled due to COVID-19,

            https://www.cbssports.com/college-football/news/sec-establishes-forfeit-policies-for-college-football-games-canceled-
            due-to-Covid-19/ (Aug. 30, 2021).
            76 Id.

            77 ESPN, College Football Schedule, https://www.espn.com/college-

            football/schedule/_/week/11/year/2021/seasontype/2; Edward Sutelan, College football bowl cancellations: Updated
            list of games canceled by COVID-19 for 2021-22, https://www.sportingnews.com/us/ncaa-football/news/college-
            football-bowl-cancellations-Covid-19/1b0vt5f7z28qs1iu490s2wu9wf (Dec. 12, 2021).

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            been cancelled, Power Five schools would have collectively lost at least $4 billion in football revenue, or an
            average loss of $62 million to $78 million per school. 78 Of the approximately $4 billion in lost revenue, $1.2
            billion came from lost ticket sales, or an average loss of $18.6 million per school.79 Cancelled games also
            impacted the media revenues received by universities for broadcasting its games. For example, during the
            Covid-19 pandemic, cancelled games in the Pac-12 conference cost the conference and its members $5
            million in media revenue for each game.80

            Additional Expenses

            Universities were also forced to incur additional expenses to manage the risks of Covid-19 and attempt to
            mitigate the risk of outbreaks.81 For example, universities had to regularly test players, coaches, and staff
            members for Covid-19 to comply with NCAA, conference, and university Covid-19 guidelines.82 Some
            athletics directors budgeted between $500,000 and $2,000,000 to account for the requirement of consistent
            Covid-19 testing.83 The need for additional testing also required universities to hire additional staff to
            administer the necessary tests, an additional cost to the universities. For example, I understand from
            discussions with Dr. Guy Palmer that WSU had to hire an additional staff member to help administer Covid-
            19 tests for the Athletics Department.84 Furthermore, universities incurred significant costs related to
            contact tracing that they would have otherwise not incurred before Covid-19.85 In total, medical expenses,
            including insurance premiums, doubled in aggregate across Power Five schools from the 2019-2020




            78 Steve Berkowitz, Major public college football programs could lose billions in revenue if no season is played,

            https://www.usatoday.com/story/sports/ncaaf/2020/04/14/college-football-major-programs-could-see-billions-revenue-
            go-away/2989466001/ (Apr. 15, 2020); Mark Schlaback and Paula Lavigne, Financial toll of coronavirus could cost
            college football at least $4 billion, https://www.espn.com/college-sports/story/_/id/29198526/college-football-return-
            key-athletic-departments-deal-financial-wreckage-due-coronavirus-pandemic (May 21, 2020).
            79 Mark Schlaback and Paula Lavigne, Financial toll of coronavirus could cost college football at least $4 billion,

            https://www.espn.com/college-sports/story/_/id/29198526/college-football-return-key-athletic-departments-deal-
            financial-wreckage-due-coronavirus-pandemic (May 21, 2020).
            80 Harry, Molly, Financial Ramifications of Coronavirus on Division I Athletic Departments¸ p. 58. See also Eben

            Novy-Williams, Emily Caron, PAC-12 LOSING NEARLY $5 MILLION FOR EACH GAME CANCELLED DUE TO
            COVID-19, https://www.sportico.com/leagues/college-sports/2020/pac-12-cancelled-football-revenue-1234616953/
            (Nov. 19, 2020).
            81 Emma Whitford, Pandemic’s Fall Financial Toll Adds Up,

            https://www.insidehighered.com/news/2021/01/12/colleges-spent-millions-Covid-19-expenses-fall-even-sources-
            income-shrank-data-show (Jan. 11, 2021).
            82 For example, see 2021 testing policies at WSU_00033791-96; WSU_00033447-52; and WSU_00002865-71.

            83 Harry, Molly, Financial Ramifications of Coronavirus on Division I Athletic Departments¸ p. 58. See also Pete

            Thamel, Will there be college football? A new flurry of pessimism has arrived, https://sports.yahoo.com/will-there-be-
            college-football-a-new-flurry-of-pessimism-has-arrived-222609082.html (May 21, 2020).
            84 WSU_00034194-95 at 94.

            85 Emma Whitford, Pandemic’s Fall Financial Toll Adds Up,

            https://www.insidehighered.com/news/2021/01/12/colleges-spent-millions-Covid-19-expenses-fall-even-sources-
            income-shrank-data-show (Jan. 11, 2021).

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            season to the 2020-2021 season, primarily due to increased requirements around Covid-19 testing and
            prevention.86

            Mitigation Efforts

            Universities nationwide were also forced to implement budget cuts and other mitigation efforts to help offset
            the significant losses from postponed and cancelled sports seasons, including football. In the early stages
            of Covid-19, university athletics departments furloughed staff members, implemented hiring freezes, and
            enforced salary reductions for coaches to help reduce the departments’ overall expenses. For example, in
            2020, the University of Arizona implemented a 20% base salary reduction for its football and men’s
            basketball coaches, as well as its athletic director due to Covid-19.87           In fact, in 2020, WSU also
            implemented salary cuts and furloughs for Athletics Department staff, including two voluntary salary
            reductions for Mr. Rolovich, totaling 15% of his total pay, stemming from Covid-19 related issues.88

            Athletics departments were also forced to terminate non-revenue generating sports programs as another
            cost cutting measure.89 Between March 2020 and November 2020, approximately 352 NCAA sports
            programs were cut primarily due to budget shortfalls due to Covid-19.90 Most notably, Stanford University
            cancelled 11 of its 36 sports programs at the conclusion of the 2020-2021 academic year due to the
            economic impacts of Covid-19 on its Athletics Department.91

            Finally, some athletics departments were forced to take out external financing to cover increasing deficits
            due to budget shortfalls stemming from the Covid-19 pandemic. In FY 2021, WSU took out $35.6 million
            in external financing in the form of general university bonds to help cover revenue losses related to the
            Covid-19 pandemic and balance the Athletics Department’s operating budget by 2023.92




            86 Eben Novy-Williams, Lev Akabas, Emily Caron, Daniel Libit, COVID’S IMPACT ON COLLEGE SPORTS

            EMERGES FROM NEW FINANCIAL DATA, https://www.sportico.com/leagues/college-sports/2022/college-sports-
            data-Covids-1234658809/ (Jan. 21, 2022).
            87 Bruce Pascoe, Amid pandemic, Arizona coaches set new national standard for sacrifice: Up to 20% in pay cuts,

            https://tucson.com/sports/arizonawildcats/amid-pandemic-arizona-coaches-set-new-national-standard-for-sacrifice-
            up-to-20-in-pay/article_4a90f49e-2581-52e7-af1a-a83c9bb3158c.html (May 11, 2020).
            88 WSU_00002988-89 at 88; WSU_00003050.

            89 Non-revenue-generating sports have no immediate revenue generated from spectators of the sport, with expenses

            covered by sponsorships, donations and fundraising. See The Johns Hopkins Newsletter, Non-revenue sports
            should not be scapegoats for budget cuts, https://www.jhunewsletter.com/article/2020/10/non-revenue-sports-should-
            not-be-scapegoats-for-budget-cuts (Oct. 22, 2020).
            90 Aishwarya Kumar, The heartbreaking reality -- and staggering numbers -- of NCAA teams cut during the pandemic,

            https://www.espn.com/olympics/story/_/id/30116720/the-heartbreaking-reality-staggering-numbers-ncaa-teams-cut-
            pandemic (Nov. 6, 2020).
            91 The Stanford Report, Stanford Athletics varsity sport reductions: FAQ,

            https://news.stanford.edu/stories/2020/07/athletics-faq (Jul. 8, 2020).
            92 Washington State University, WSU to present plan for balancing athletics operating budget by 2023,

            https://news.wsu.edu/press-release/2021/04/30/wsu-present-plan-balancing-athletics-operating-budget-2023 (Apr.
            30, 2021).

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            7    ECONOMIC AND OPERATIONAL IMPACTS ON THE WSU ATHLETICS DEPARTMENT AND
                 FOOTBALL PROGRAM DUE TO COVID-19

            Covid-19 posed significant financial and operational risks to the WSU football program, Athletics
            Department, and the greater university. In 2020, there was uncertainty around how many games WSU
            would play given the emergence of Covid-19. At the start of the 2020 football season, WSU was scheduled
            to play seven games. However, WSU only played four games during that season due to cancellations
            resulting from Covid-19 outbreaks.93

            The impact of Covid-19 related cancellations are evidenced by the year-over-year declines in profitability
            in the WSU Athletics Department and the football program. Total Athletics Department revenues declined
            by 46% from FY 2020 to FY 2021, while its annual deficit increased 884% over FY 2020, as shown in Figure
            5 below.

                 Figure 5: Summary of Athletics Department Financial Declines from FY 2020 to FY 2021 94

                                                       FY 2020             FY 2021          % Decline
                                Total Revenue        $ 74,741,186       $ 40,089,718                -46.4%

                                Total Deficit       $ (2,530,744)       $ (24,912,310)          -884.4%

            The primary cause of the financial decline within WSU’s Athletics Department was due to declines in
            revenues from ticket sales, conference distributions, contributions, and media rights stemming from
            Covid-19-related cancellations and risks.       From FY 2020 to FY 2021, total department ticket sales
            decreased 100% year-over-year, revenue from conference distributions declined 68% year-over-year,
            revenue from contributions declined 47% year-over-year, and revenue from media rights declined 22%
            year-over-year, as shown in Figure 6 below.




            93 WSU, 2020 Football Schedule, https://wsucougars.com/sports/football/schedule/2020.

            94 Attachment C.


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               Figure 6: Comparison of Athletics Department Revenue Categories from FY 2020 to FY 2021 95




            As shown in Figure 7 below, almost all the decline in revenue related to ticket sales, conference
            distributions, and media rights was attributable to the football program. For example, football ticket sales
            declined 100% year-over-year from FY 2020 to FY 2021, revenue from conference distributions attributable
            to football declined 67% year-over-year, and revenue from media rights attributable to football declined
            22% year-over-year.




            95 Attachment C.


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                      Figure 7: Comparison of Football Revenue Categories from FY 2020 to FY 2021 96




            As discussed in Section 6, in FY 2021, WSU took out $35.6 million in external financing in the form of
            general university bonds to help cover revenue losses related to the Covid-19 pandemic and balance the
            Athletics Department’s operating budget by 2023.97 I understand that WSU had never taken out external
            financing for this purpose before. WSU intended to repay the bonds with future Pac-12 media and bowl
            revenue distributions. Such debt repayment will continue to impact the profitability of the WSU Athletics
            Department for many years.

            To prevent future Covid-19-related impacts to WSU’s Athletics Department, it had to actively manage
            potential risks related to Covid-19. Given the significance of the football program on the finances of WSU’s
            Athletics Department, the university and its Athletics Department needed to specifically manage Covid-19
            risks within the football program to avoid cancelled football games, which would significantly impact the
            department’s budget. On April 28, 2021, WSU announced it was instituting a vaccine requirement for
            students and employees for the fall semester.98




            96 Attachment D.

            97 WSU, WSU to present plan for balancing athletics operating budget by 2023, https://news.wsu.edu/press-

            release/2021/04/30/wsu-present-plan-balancing-athletics-operating-budget-2023 (Apr. 30, 2021).
            98 Kyle Bonagura, Inside Nick Rolovich's downfall at Washington State over the COVID-19 vaccine,

            https://www.espn.com/college-football/story/_/id/32459767/inside-nick-rolovich-downfall-washington-state-Covid-19-
            vaccine (Oct. 27, 2021).

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            However, in July 2021, Mr. Rolovich, WSU’s head football coach, publicly announced that he had elected
            not to be vaccinated against Covid-19.99 Mr. Rolovich’s message came at a time when most “powers that
            be” in college football, and at WSU, were doing their best to convince athletes to take the vaccine to reduce
            the possibility of another season that was disrupted by cancellations due to positive Covid-19 tests.100
            Additionally, Mr. Rolovich’s failure to be vaccinated posed substantial additional risks to the football program
            and university at a time when WSU was actively attempting to limit its health and financial risks related to
            the Covid-19 pandemic.

            One such risk was the increased rate at which unvaccinated individuals could contract and spread Covid,
            increasing the risk for potential Covid-19 outbreaks amongst the football team and, subsequently, the wider
            university and local communities.101 NCAA rules in effect at the time of Mr. Rolovich’s announcement
            required only unvaccinated players and coaches to undergo regular Covid-19 testing.102 As a result,
            positive test results were more likely to occur in a program with greater numbers of unvaccinated players
            and coaches.

            According to Dr. Palmer and other medical professionals worldwide, the Covid-19 vaccine was a critical
            part of mitigating Covid-19 outbreaks.103 WSU encouraged its faculty and students to get the Covid-19
            vaccine. In an email to employees in March 2021, WSU President Kirk Schulz noted “[g]etting vaccinated
            as soon as possible is more important than ever” and “if we all do our part, we can stop this latest
            outbreak.”104 By April 15, 2021, all Washington adults over the age of 16 were eligible for the Covid-19
            vaccine.105   Once all adults became eligible for the vaccine, WSU hosted vaccine clinics aimed at
            vaccinating its student population.106




            99 Nick Rolovich, @NickRolovich, X (Jul. 21, 2021, 2:19 PM),

            https://x.com/NickRolovich/status/1417957468366200832/photo/1. I understand that in total seven football coaches,
            one football recruiting assistant, and several football players also elected not to receive the Covid-19 vaccination,
            further increasing the risks of a Covid-19 outbreak.
            100 Eddie Timanus, Unvaccinated Washington State football coach Nick Rolovich will not attend Pac-12 media day,

            https://www.usatoday.com/story/sports/ncaaf/pac12/2021/07/21/washington-state-coach-nick-rolovich-unvaccinated-
            Covid-media-day/8049468002 (Jul. 21, 2021).
            101 Expert Report of Guy H. Palmer, DVM, PhD, dated August 11, 2024 (“Palmer Expert Report”), ¶¶ 57-58.

            102 The Athletic, NCAA releases COVID-19 guidelines, suggests longer quarantines for unvaccinated,

            https://www.nytimes.com/athletic/4203384/2021/08/04/ncaa-releases-Covid-19-guidelines-suggests-longer-
            quarantines-for-unvaccinated (Aug. 4, 2021).
            103 Palmer Expert Report, ¶¶ 26–29; Seyed M. Moghadas, et. al., The impact of vaccination on COVID-19 outbreaks

            in the United States (Nov. 30, 2020), National Library of Medicine,
            https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7709178.
            104 WSU, News and Notes: From the Desk of Kirk Schulz, https://from.wsu.edu/president/2021/time-to-lean-

            in/email.html (Mar. 31, 2021).
            105 WSU, All Washington adults eligible for COVID‑19 vaccine beginning April 15,

            https://news.wsu.edu/news/2021/03/31/washington-adults-eligible-Covid-19-vaccine-beginning-april-15 (Mar. 31,
            2021).
            106 WSU, Cougar Health Services hosting vaccine clinics this spring, https://news.wsu.edu/news/2021/04/15/cougar-

            health-services-hosting-vaccine-clinics-spring (Apr. 15, 2021).

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            Given the risks associated with Covid-19, I wanted to better understand how vaccination rates among the
            WSU football team compared to other teams within the Pac-12 conference. As shown in Figure 8, WSU
            had the lowest vaccination rate among the ten Pac-12 teams that reported their vaccination rates with only
            80% vaccinated as of August 19, 2021. For comparison, Arizona had the highest vaccination rate at 100%.
            The stance from Arizona head coach Jedd Fisch contrasted Mr. Rolovich’s approach. Mr. Fisch noted that
            the Arizona football program “worked very hard to accomplish” the 100% vaccination milestone, which
            included all players, coaches, and staffers affiliated with the program. 107 Mr. Fisch also noted that the
            vaccination milestone would help Arizona football avoid forfeitures during the 2021 season. 108

                         Figure 8: Pac-12 Football Team Vaccination Rates as of August 19, 2021 109

                                                     School           Vaccination Rate
                                                   Arizona                  100%
                                                    UCLA                     98%
                                                  Washington              Above 95%
                                                   Colorado                 94.5%
                                                    Oregon                 90-95%
                                                     Utah                 Above 90%
                                                     USC                  Above 90%
                                                 Oregon State                88%
                                                   Stanford                  85%
                                                Washington State             80%


            7.1   POTENTIAL LOST REVENUES FROM CANCELLED FOOTBALL GAMES

            The potential impact of Covid-19 on WSU’s football program remained significant in 2021. The existence
            of Covid-19 continued to increase the likelihood of cancelled football games. As noted above, WSU was
            required to have a minimum of 53 scholarship players available to be eligible to play a game. If WSU could
            not field at least 53 scholarship players, Pac-12 rules stated that WSU would forfeit that game if the Pac-
            12 commissioner, in his sole discretion, determined that WSU was “at fault” for the team’s inability to play.
            It was reported that “[t]he vaccination status of players and coaches, as well as the team’s ability to follow
            social distancing and masking protocols, will almost certainly be what drives the determination about
            whether a game will be forfeited by a team should they be unable to field a full team due to positive Covid




            107 Ryan Kelapire, Arizona football program 100% vaccinated against COVID-19,

            https://www.azdesertswarm.com/football/2021/8/19/22633460/arizona-wildcats-football-program-vaccination-rate-
            100-percent-Covid-19-coronavirus-pac-12-by-team (Aug. 19, 2021).
            108 Id.

            109 Jon Wilner, Pac-12 Hotline: Wildcats are 100% vaccinated; ASU won't disclose numbers,

            https://tucson.com/sports/pac-12-hotline/pac-12-hotline-wildcats-are-100-vaccinated-asu-wont-disclose-
            numbers/article_7eb1de82-0111-11ec-965d-c74107efe30e.html (Sept. 24, 2022). Vaccination data for Arizona State
            University and the University of California, Berkeley was not available.

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            tests or contact tracing.”110 NCAA rules required players and coaches to quarantine for 10 days if they
            tested positive for Covid-19 and wait to rejoin the team until at least 24 hours have passed without having
            a fever. For example, an asymptomatic player who tested positive on a Wednesday would therefore be
            ineligible to play not only in the Saturday game three days later but also in the following week’s game.111
            In 2021, then, a Covid-19 outbreak posed a clear risk of having significant impacts on the WSU football
            program, the Athletics Department, and the university.

            To estimate the impact of a cancelled game, I analyzed WSU’s historical financials for the football program
            from FY 2018 to FY 2020. This period reflects information that would have been known or knowable to
            WSU at the time it was managing the risks associated with Mr. Rolovich’s vaccine decision. I analyzed the
            financial impacts resulting from lost ticket sales, lost revenue from media rights, and lost revenue from bowl
            games, as discussed in more detail below.

            7.1.1    LOST REVENUE FROM TICKET SALES

            As discussed in Section 5.1, conferences such as the Pac-12 implemented policies that prohibited fans
            from attending games during the 2020 football season. These policies directly impacted the ticket revenue
            WSU generated from the football ticket sales in FY 2021. For example, in FY 2021, WSU recorded no
            revenue from football ticket sales. By the 2021 football season, fans were allowed to return to stadiums
            and attend football games, although sometimes with Covid mitigation procedures in place.112

            Covid-19 outbreaks also forced a significant number of cancelled games during the 2020 football season.
            For example, in FY 2021, WSU had three scheduled home games, two of which were cancelled due to
            Covid-19 outbreaks within WSU’s football team.113 Cancelled football games resulted in lost ticket sales
            for the university. Although fans were permitted back in stadiums for the 2021 season, cancelled games
            were still a risk WSU had to manage against.

            To estimate the potential lost revenue from ticket sales due to a cancelled game, I analyzed WSU’s
            historical ticket sales from FY 2018 to FY 2020. During the period analyzed, WSU generated average
            annual ticket sales of approximately $8.3 million, or approximately $1.25 million per game, as shown in




            110 Andy Patton, Pac-12 releases statement on 2021-2022 forfeiture policy,

            https://duckswire.usatoday.com/2021/08/12/pac-12-releases-statement-on-2021-2022-forfeiture-policy (Aug. 12,
            2021).
            111 The Athletic, NCAA releases COVID-19 guidelines, suggests longer quarantines for unvaccinated,

            https://www.nytimes.com/athletic/4203384/2021/08/04/ncaa-releases-Covid-19-guidelines-suggests-longer-
            quarantines-for-unvaccinated (Aug. 4, 2021).
            112 Associated Press, College football fans head back to stadiums, some with vaccination cards and masks,

            https://ktla.com/news/nationworld/college-football-fans-head-back-to-stadiums-some-with-vaccination-cards-and-
            masks (Aug. 28, 2021).
            113 I understand that fans were not allowed to attend the one home football game that WSU did participate in during

            the 2020 football season. Therefore, given no fans, WSU recorded no ticket sales. See Attachment D.

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            Figure 9 below. Therefore, it is reasonable to estimate that the potential lost ticket sales to WSU resulting
            from a cancelled game is approximately $1.25 million per game.

                    Figure 9: Average Football Ticket Sales per Home Game from FY 2018 to FY 2020114

                                                         Ticket          Home          Average Sales
                                      FY                 Sales           Games        per Home Game
                                   FY 2018      $         7,844,423              7    $          1,120,632
                                   FY 2019                9,022,129              7               1,288,876
                                   FY 2020                7,963,775              6               1,327,296
                                   Average      $         8,276,776                   $          1,245,601


            7.1.2   LOST REVENUE FROM MEDIA RIGHTS

            Cancelled games also impacted the amount of revenue received from media rights contracts. As discussed
            in Section 4.1, I understand that WSU received revenue from the Pac-12 conference via separate media
            contracts between Fox/ESPN and the Pac-12 conference to broadcast its football games on various media
            outlets. From FY 2018 to FY 2020, WSU generated annual revenue from media rights between $16.8
            million to $18.6 million, growing steadily at 5.1% per year, as shown in Figure 10 below.

                        Figure 10: WSU’s Football Media Rights Revenue from FY 2018 to FY 2020115

                                                                  Media Rights         %
                                                    FY             Revenue           Growth
                                               FY 2018            $ 16,842,325            N/A
                                               FY 2019              17,709,396            5.1%
                                               FY 2020              18,620,777            5.1%


            However, in FY 2021, WSU’s annual revenue from media rights declined from $18.6 million to $14.5
            million.116 I understand the decline in revenue from media rights was due to fewer games played due to
            Covid-19 and, therefore, fewer games broadcast. For example, the Pac-12 conference played a seven-
            game schedule during the 2020 football season (FY 2021),117 compared to a typical 12 game schedule.118
            To estimate the media rights for FY 2021 assuming a full 12-game season, I grew FY 2020 revenues by
            the historical annual growth rate of 5.1%. As shown in Figure 11 below, the estimated unimpacted revenue
            for FY 2021 was approximately $19.6 million.


            114 Attachment D; WSU, 2024 Football Schedule, https://wsucougars.com/sports/football/schedule.

            115 Attachment D.

            116 Attachment D.

            117 Pac -12, Pac-12 announces 2020 football schedule, https://pac-12.com/news/2020/10/3/pac-12-announces-2020-

            football-schedule (Oct. 3, 2020).
            118 CFB Select, How many games does college football play?, https://cfbselect.com/2023/03/02/how-many-games-in-

            a-college-football-season (Mar. 2, 2023).

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                                     Figure 11: Estimated FY 2021 Media Rights Revenue119

                                                                                        Amount
                                  FY 2020 Media Rights Revenue                     $     18,620,777
                                  Annual Growth Rate                                            5.1%
                                  Increase from FY 2020 to FY 2021                 $        949,660
                                  Estimated FY 2021 Media Rights Revenue           $     19,570,437


            The impact of the entire Pac-12 playing a shortened season in FY 2021 due to Covid-19 resulted in
            estimated lost media rights revenue to WSU of approximately $5.1 million, as shown in Figure 12 below.
            To estimate the lost revenue per game to WSU, I divided the total lost revenue by the five games lost which
            resulted in approximately $1.0 million in lost media rights revenue per game.120

                            Figure 12: Estimate of WSU’s Lost Media Rights Revenue per Game121

                                                                                       Amount
                                     Estimated FY 2021 Media Rights Revenue       $ 19,570,437
                                     Actual FY 2021 Media Rights Revenue               14,465,867
                                     WSU's Lost Revenue                           $     5,104,570
                                     Number of Games Lost                                       5
                                     WSU's Lost Revenue per Game                  $     1,020,914


            I understand that during the 2020 football season (FY 2021), the Pac-12 evenly split the lost revenue from
            media rights across all 12 conference teams regardless of the number of games a specific school cancelled.
            Therefore, WSU’s lost revenue per game can be applied as a proxy for the lost revenue per game for each
            Pac-12 team. Each conference game involves two Pac-12 teams. Therefore, each conference game lost
            would result in an average of approximately $2.0 million in lost revenue as shown in Figure 13 below, $1.0
            million from WSU’s cancellation and another $1.0 million from its opponent's.




            119 Attachment D.

            120 A typical college football season is 12 games.
                                                             However, in FY 2021, media rights reflect revenues based on a
            seven game schedule. Therefore, the difference in the number of games between a typical season and WSU’s FY
            2021 season was five games.
            121 Attachment D.


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                              Figure 13: Estimate of Total Lost Media Rights Revenue per Game

                                                                                     Amount
                                         Lost Revenue per Game per Team             $ 1,020,914

                                         No. of Teams per Conference Game                     2
                                         Total Lost Revenue per Game                $ 2,041,828


            As discussed above, Covid-19 continued to pose risks that could have resulted in additional cancelled
            games during the 2021 football season (FY 2022) and beyond. Cancelled games meant that games
            scheduled to be broadcast would not have occurred. I assumed that the Pac-12 would have followed the
            same process it during the 2020 season and evenly split any lost revenue between all 12 conference teams.
            To estimate the lost revenue to WSU if one game was cancelled and the lost revenue was covered by all
            12 conference teams, I divided the total lost revenue per game by the 12 conference teams which resulted
            in approximately $170,000 per game in lost media rights revenue, as shown in Figure 14 below.

                        Figure 14: Estimate of WSU’s Share of Lost Media Rights Revenue per Game

                                                                                      Amount

                                       Lost Revenue per Game                         $ 2,041,828

                                       No. of Teams in Pac-12 Conference                      12
                                       WSU's Share of Lost Revenue for
                                       One Cancelled Game                            $ 170,152


            7.1.3   LOST REVENUE FROM BOWL GAMES

            WSU also had to consider the possibility of lost revenue from a bowl game when assessing its Covid-19
            risks.122 For example, WSU could have had its bowl game cancelled due to a Covid-19 outbreak. As
            discussed in Sections 5.1 and 5.2, 16 bowl games were cancelled during the 2020 season due to Covid-
            19 risks, with another five cancellations in 2021.

            In addition, a Covid-19 outbreak during the regular season could have resulted in WSU not being eligible
            for a bowl game. To qualify for a bowl game in a typical season, an eligible team must have “won a number
            of games against Football Bowl Subdivision (FBS) opponents that is equal to or greater than the number
            of its overall losses (e.g., a record of 6-6, or better).”123 For example, a cancelled game due to a Covid-19



            122 WSU had participated in a bowl game every year since 2015, excluding the shortened 2020 season.    See SRCFB,
            Washington State Couger Bowls, https://www.sports-reference.com/cfb/schools/washington-state/bowls.html.
            123 Daniel Wilco, How college football bowl games work, https://www.ncaa.com/news/football/article/2018-12-26/how-

            college-football-bowl-games-work (Dec. 26, 2018).

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            outbreak during the 2021 season would have resulted in a forfeit/loss per Pac-12 rules.124 Therefore, a
            cancelled game would increase WSU’s total losses in a season, as well as prevent WSU from potentially
            recognizing another win. Either way, the impact of a cancelled game could ultimately be the difference
            between whether a team qualifies for a bowl game or not.

            I analyzed WSU’s historical bowl game revenue from FY 2018 to FY 2020 to estimate the potential lost
            revenue due to a cancelled bowl game. During the period analyzed, WSU played in three bowl games,
            generating an average of approximately $1.9 million in revenues, as shown below in Figure 15. When
            considering its risks, WSU had to consider the possibility of losing at least $1.9 million if its bowl game was
            cancelled due to a Covid-19 outbreak within its coaching staff and/or team.125 In 2021 (or FY 2022), WSU
            played in the Sun Bowl on December 31, 2021, which generated revenue of $1.9 million.126

                                          Figure 15: Average Football Bowl Revenues127

                                                       FY         Bowl Revenues
                                                   FY 2018       $        2,448,141
                                                   FY 2019                1,845,569
                                                   FY 2020                1,370,951
                                                   Average       $        1,888,220


            7.1.4   SUMMARY OF THE POTENTIAL LOST REVENUES TO WSU FOOTBALL DUE TO COVID-19

            In summary, Covid-19 outbreaks posed significant risks for cancelled games, which in turn could result in
            lost revenue from ticket sales, media rights, and bowl games. To illustrate the potential impact to WSU, I
            estimated the potential lost revenue if one game, two games, and six games 128 were cancelled, as shown
            in Figure 16 below. The total impact to WSU in terms of lost revenue ranges from $3.3 million to $10.4
            million, assuming one to six games were cancelled plus one bowl game.                 The below amounts are
            conservative, as they do not include other potential lost revenue sources such as revenue from
            concessions, parking, and other gameday revenues. To the extent that more than six games are cancelled,
            the potential lost revenue to WSU would increase.




            124 Andy Patton, Pac-12 releases statement on 2021-2022 forfeiture, https://duckswire.usatoday.com/2021/08/12/pac-

            12-releases-statement-on-2021-2022-forfeiture-policy (Aug. 12, 2021).
            125 I understand that premiere bowl games, such as the New Years Six bowl games, can generate significant

            additional revenue for a university.
            126 Attachment D; WSU, 2021 Football Schedule, https://wsucougars.com/sports/football/schedule.

            127 Attachment D; I understand that there may be expenses associated with bowl games. However, for the purposes

            of this illustration, I have captured the potential lost revenue to WSU.
            128 I understand that a typical season consists of six or seven home games. As a conservatism, I performed my

            analysis based on the assumption that typical season consisted of six home games.

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                    Figure 16: Summary of Potential Lost Revenue to WSU Due to Cancelled Football Games

                                                          One Game           Two Games            Six Games
                               Revenue Source             Cancelled           Cancelled           Cancelled
                            Ticket Sales                 $   1,245,601       $   2,491,202       $   7,473,607
                            Media Rights                       170,152             340,305           1,020,914
                            Bowl Revenue                     1,888,220           1,888,220           1,888,220
                            Total Potential Lost
                            Revenue to WSU               $   3,303,974       $   4,719,727       $ 10,382,741


            7.2     INCREMENTAL COSTS TO ACCOMMODATE UNVACCINATED COACHES

            Mr. Rolovich’s and the six other coaches’ decisions not to be vaccinated against Covid-19 would have
            forced WSU to incur incremental costs it otherwise would not have, were its coaches vaccinated. For
            example, WSU would have incurred costs for separate travel and accommodations to accommodate
            unvaccinated coaches, as well as costs for contact tracing due to Covid-19 outbreaks.

            7.2.1     TRAVEL COSTS TO ACCOMMODATE UNVACCINATED COACHES

            On October 14, 2021, WSU’s Environmental Health and Safety (“EH&S”) issued an assessment related to
            Mr. Rolovich’s vaccination exemption request.129 Within the assessment, WSU’s EH&S provided a set of
            minimum recommendations that it deemed were reasonable and necessary to protect Mr. Rolovich and
            others he interacted with.130 The assessment consisted of recommendations for the necessary protective
            equipment, testing, quarantine, and travel accommodations, among other items.131                        The travel
            recommendations for unvaccinated individuals consisted of separate hotel rooms and separate modes of
            transportation to accommodate distancing, such as separate flights and buses.132 In his report, Dr. Palmer
            also stated that he would have recommended that separate travel arrangements—e.g., separate chartered
            flights, separate buses, and individual hotel accommodations—be implemented for the unvaccinated
            coaches in order to reduce the risks of transmission of Covid-19.133

            To estimate the incremental travel costs per game, I estimated the cost for WSU to charter another plane
            for away games to accommodate Mr. Rolovich and the six other unvaccinated coaches, as well as the cost
            for an additional bus for home and away games.134 Based on discussions with WSU Athletics Department


            129 WSU_00016420-27.

            130 Id. at 24-27; Rough Draft of Jason Sampson Deposition, Rolovich v. Washington State University, et al., dated

            August 2, 2024, pp. 25:16-26:6 and 27:2-14.
            131 WSU_00016420-27 at 24-27.

            132 Id. at 25-26.

            133 Palmer Expert Report, ¶ 60.

            134 I understand that WSU football coaches typically received individual hotel accommodations. Therefore, it is

            unlikely WSU would have incurred incremental costs for additional hotel rooms to accommodate its unvaccinated
            coaches.

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            staff, I understand that the average plane that WSU chartered for away games could accommodate
            between 160-178 passengers and it was unlikely that WSU would have chartered a similar plane to
            accommodate the seven unvaccinated coaches.

            Given Dr. Palmer’s recommendations for separate chartered air travel, I estimated the cost to charter a
            smaller plane to accommodate just the seven unvaccinated coaches. My analysis assumes that WSU
            would have chartered a Bombardier Learjet 45, which accommodates 7 people.135 The cost to charter a
            flight includes several types of fees, such as an hourly rental fee, landing fees, ramp and handling fees,
            and crew fees, as well as taxes and fees. See below for an explanation and estimate of the fee.

                 •    The hourly rental fee is a fee for billable flight time, calculated on an hourly basis. The hourly fee
                      for a Bombardier Learjet 45 is $4,450 per hour, inclusive of a fuel surcharge.136 I assumed that the
                      average roundtrip flight from WSU to its opponent’s location was a total of 5.5 hours, including 30
                      minutes before takeoff and after landing each flight, plus an average of 1.75 hours each way.137

                 •    The landing fee is charged by the airport authority to maintain the facility and varies by airport, with
                      fees typically ranging from $150 to $500 per way.138 For the purposes of my analysis, I assumed
                      the midpoint of the landing fee, or $325 per way.

                 •    The ramp and handling fee is charged to handle and park an aircraft, which varies between $100
                      and $500 per visit.139 For the purposes of my analysis, I assumed the midpoint of the ramp and
                      handling fee, or $300 per visit.

                 •    Crew fees include overnight and per diem fees to cover food, lodging, and other expenses for the
                      flight crew related to being away from home. The crew fee ranges between $200 and $400 per
                      crew member per night.140 For the purposes of my analysis, I assumed the midpoint of the crew
                      fee, or $300 per crew member per night. I also assumed the crew were only away from home for
                      one night per crew member.




            135 Paramount Business Jets, Learjet 45 Charter- Rental Cost and Hourly Rate,

            https://www.paramountbusinessjets.com/private-jet-charter/aircraft/learjet-45.
            136 Id.; Paramount Business Jets, Private Jet Rental Costs, https://www.paramountbusinessjets.com/private-jet-rental-

            cost.
            137 To determine the average travel time of 1.75 hours per leg, I averaged the flight time between WSU’s closest and
            furthest conference opponents. WSU’s closest conference opponent is the University of Washington in Seattle, WA,
            which is approximately a one hour flight from Pullman, WA. WSU’s furthest conference opponent is the University of
            Arizona in Tucson, AZ, which is approximately a 2.5 hour flight from Pullman, WA. See
            https://www.travelmath.com/flying-time/from/Pullman,+WA/to/Seattle,+WA and https://www.travelmath.com/flying-
            time/from/Pullman,+WA/to/Tucson,+AZ.
            138 Paramount Business Jets, Private Jet Rental Costs, https://www.paramountbusinessjets.com/private-jet-rental-

            cost.
            139 Id.

            140 Id.

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                  •   The federal excise tax is a tax charged for all US domestic flight legs at a rate of 7.5%. The federal
                      excise tax is charged on any amount paid for air transportation. 141

                  •   The US Segment fee is a government tax calculated per passenger.142 In 2021, the segment fee
                      was $4.30 per passenger per leg, and increased to $4.50 per passenger per leg in 2022. 143 For
                      the purposes of my analysis, I assumed an average US segment fee of $4.40 per passenger per
                      leg, for a total of seven passengers, or 14 legs.

            Based on the estimates for each fee discussed above, the estimated cost to charter a smaller plane to
            accommodate WSU’s unvaccinated coaches would have been approximately $28,000 per game, as shown
            in Figure 17 below.

                                 Figure 17: Estimated Cost to Charter a Private Plane per Game144

                                      Types of Fees                      Unit Cost        Quantity        Total Cost
                         Hourly Rental Fee                               $     4,450             5.5     $      24,475
                         Landing Fee                                     $       325             2.0               650
                         Ramp and Handling Fee                           $       300             2.0               600
                         Crew Fees                                       $       300             2.0               600
                         Subtotal                                                                        $      26,325
                         Federal Excise Tax (7.5% of subtotal)                                                    1,974
                         US Segment Fees                                 $      4.40              14                 62
                         Total                                                                           $      28,361
                         Total (Rounded)                                                                 $      28,000


            Next, I estimated the cost for WSU to charter an additional bus for away and home games to accommodate
            Mr. Rolovich and the six other unvaccinated coaches. An estimate for the average cost to charter an
            additional charter bus is between $1,100 and $1,900 per day, depending on location.145 For the purposes
            of my analysis, I assumed the midpoint of the average cost range or $1,500 per day. I also assumed that
            WSU would have to rent a bus for one day for a home game and two days for an away game. 146 See Figure
            18 below for the cost of an additional bus per home and away game.


            141  Id.
            142
                 Id.
            143 Federal Aviation Administration, Current Aviation Excise Tax Structure,

            https://www.faa.gov/sites/faa.gov/files/2022-07/ATTF_Excise_Tax_Rate_Structure_CY_2022.pdf.
            144 I understand that WSU may incur additional fees associated with chartering a private plane, such as in-flight catering,

            aircraft positioning fees, and Wi-Fi charges, which I did not include in my analysis. Therefore, the estimated cost to
            charter a private plane is conservative. See https://www.paramountbusinessjets.com/private-jet-rental-cost.
            145 National Charter Bus, How Much Does a Charter Bus Rental Cost?, https://www.nationalbuscharter.com/charter-

            bus-rental-prices.
            146 I understand that WSU football would arrive at its opponent’s location the day prior to a game and leave immediately

            following a game.

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                     Figure 18: Average Cost to Charter an Additional Bus for Home and Away Games

                                                                          No. of        Cost per
                                                         Unit Cost        Days           Game
                                      Home Games        $    1,500                 1   $    1,500
                                      Away Games        $    1,500                 2   $    3,000


            I understand that WSU had five games left in the 2021 season, two home games and three away games,
            following Mr. Rolovich’s termination and the imposition of Governor Inslee’s proclamation requiring state
            employees to be fully vaccinated on October 18, 2021.147 Governor Inslee’s proclamation remained in
            effect until October 31, 2022, when the Governor terminated the state of emergency, including all underlying
            proclamations.148 By that time, WSU had played eight games in the 2022 season, five homes games and
            three away games.149 Therefore, WSU would have incurred incremental costs to charter a plane to six
            away games, plus an additional bus for seven home games and six away games. As shown in Figure 19,
            the incremental cost to WSU to accommodate Mr. Rolovich and the six other unvaccinated coaches that I
            understand travelled with the team, was approximately $197,000.

                        Figure 19: Incremental Travel Costs to Accommodate Unvaccinated Coaches

                                                         Per Game        No. of
                                      Travel Cost          Cost          Games         Total Cost
                                    Chartered Flight     $   28,000                6   $   168,000
                                    Buses (Home)         $     1,500               7         10,500
                                    Buses (Away)         $     3,000               6         18,000
                                    Buses Subtotal                                     $     28,500
                                    Total                                              $   196,500
                                    Total (Rounded)                                    $   197,000




            147 WSU, 2021 Football Schedule, https://wsucougars.com/sports/football/schedule/2021.

            148 Washington Governor Jay Inslee, Inslee announces end to remaining COVID-19 emergency orders and state of
            emergency by October 31, https://governor.wa.gov/news/2022/inslee-announces-end-remaining-Covid-19-
            emergency-orders-and-state-emergency-october-31 (Sept. 8, 2022); Office of Governor Jay Inslee, Proclamation
            21-14.6, https://governor.wa.gov/sites/default/files/proclamations/21-14.6%20-
            %20COVID%20Vaccination%20Requirement_Recission_%28tmp%29.pdf.
            149 WSU, 2022 Football Schedule, https://wsucougars.com/sports/football/schedule/2022.


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            7.2.2      CONTACT TRACING RELATED TO COVID-19 OUTBREAKS

            WSU also had to incur significant costs to conduct contact tracing related to Covid-19 outbreaks. Per the
            Centers for Disease Control and Prevention, “contact tracing is the process of quickly identifying,
            assessing, and managing people who have been exposed to a disease to prevent additional
            transmission.”150 Contact tracing is also a fundamental tool for stopping Covid-19 outbreaks.151

            WSU experienced two Covid-19 outbreaks in February and March 2021. As part of WSU’s response to
            each outbreak, it undertook significant contact tracing efforts to identify close contacts who may have
            contracted Covid-19. I understand that the March 2021 outbreak involved members of WSU’s football team
            who hosted a birthday party for a teammate without approved Covid-19 mitigation practices.152 By March
            9, 2021, 28 positive cases were identified from the football program. 153 By March 17, 2021, another 29
            positive Covid-19 cases were identified via contact tracing and subsequent testing. 154

            The cost of contact tracing and targeted testing resulting from the two Covid-19 outbreaks cost WSU
            approximately $200,000.155 To estimate the incremental cost of future contact tracing, I assumed the
            contact tracing costs were the same for two early 2021 outbreaks, or $100,000 per outbreak. Therefore,
            an estimate of the incremental cost WSU would be subject to in the event of future Covid-19 outbreaks
            would be $100,000 per outbreak. This cost does not include additional staffing and supply costs that WSU
            incurred.156 Therefore, the above estimate of WSU’s incremental cost for contact tracing is conservative.

            7.3       ADDITIONAL IMPACTS DUE TO COVID-19

            WSU also experienced additional impacts resulting from Mr. Rolovich’s decision not to receive the Covid-
            19 vaccination. Such impacts included (1) threats from donors to withdraw contributions, (2) costs for more
            frequent Covid-19 testing for unvaccinated coaches, (3) reputational impacts to WSU, and (4) additional
            costs to charter flights to recruiting events.

            7.3.1      POTENTIAL LOSS OF DONATIONS FROM DONORS WHO THREATENED TO WITHDRAW
                       CONTRIBUTIONS

            I understand that Mr. Rolovich’s decision not to receive the Covid-19 vaccination was not well-received by
            some donors at WSU, endangering ongoing and future donor relationships. For example, in August 2021,
            WSU donor, Mr. Gordon MacArthur, informed WSU personnel that he had cancelled his bequest to WSU

            150 Centers for Disease Control, Contract Tracing, https://www.cdc.gov/museum/pdf/cdcm-pha-stem-lesson-contact-

            tracing-lesson.pdf.
            151 Id.

            152 WSU_00034458-60 at 58.

            153 Id. at 59.

            154 Id.; 3 + 20 + 2 + 4 = 29 cases.

            155 WSU_00034458-60 at 59.

            156 Id.


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            for scholarships, noting the reason was “[b]ecause of Rolovich’s refusal to get vaccinated and the negative
            message it sends to so many who look up to the coaches.”157 At the time Mr. MacArthur informed WSU
            that he had cancelled his bequest, the value was approximately $1,000,000.158

            Given the significant contribution cancelled by one donor, WSU had to manage further losses from donors
            and preserve its donor relationships.       See below for a list of selected examples of various donors
            threatening to withdraw donation pledges or contributions. In addition to the below examples, I understand
            that there were several additional donors that did not explicitly threaten to withdraw their contributions but
            were still unhappy with Mr. Rolovich’s decision not to receive the Covid-19 vaccination, endangering future
            donor relationships.

                 •    A donor attended the Pebble Beach – Coaches Classic, which Mr. Rolovich also attended without
                      telling the donors he was unvaccinated. 159      As a result of Mr. Rolovich’s participation while
                      unvaccinated, the donor threatened to pull a $250,000 donation because of Rolovich’s
                      unvaccinated status.160

                 •    On July 21, 2021, a WSU alumnus and donor communicated that, because of Coach Rolovich’s
                      decision to not get vaccinated against Covid he will “no longer send monetary support to WSU
                      programs and unfortunately will not be rooting for the WSU Football team as long as Rolovich
                      represents Washington State University.”161

                 •    On July 24, 2021, a WSU alumnus communicated that “[i]f [Mr. Rolovich] is not fired WSU will get
                      no more donations from me and I will not be rooting for the football team.” 162


                 •    On July 25, 2021, a WSU alumnus expressed that, because of Mr. Rolovich’s actions, “I will not
                      attend a football game or contribute payments to the [Cougar Athletic Fund] for as long as he
                      remains our head coach."163


                 •    Around September 16, 2021, another WSU donor announced in a Seattle Times article that she
                      was “closing her checkbook” to WSU over Mr. Rolovich’s vaccine decision.           The donor had
                      previously donated around $26,000 to WSU.164




            157 WSU_00019338-39 at 39.

            158 Id.

            159 WSU_00019337.

            160 Id.

            161 WSU_00018117-228 at 133.

            162 Id, at 160.

            163 Id. at 140.

            164 WSU_00033744.


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            I also understand that as part of Mr. Rolovich’s head coaching responsibilities, he was required to attend
            certain functions on behalf of WSU and its football program, such as donor and fan outreach events.
            However, as noted below, Mr. Rolovich’s vaccination status precluded him from attending several in-person
            events, and limited WSU from planning future events. For example,

                 •    Mr. Rolovich was unable to attend the WSU Football Coaches Show in person, which is a “critical
                      component of donor and fan outreach.”165

                 •    Mr. Rolovich was unable to attend weekly Friday donor lunches, which the university considered a
                      “critical” part of donor outreach.”166

                 •    Mr. Rolovich cancelled an event on July 22, 2021 with a $7 million donor couple.167

                 •    Mr. Rolovich cancelled a dinner on July 23, 2021 that was auctioned off as a private experience.
                      WSU received multiple requests for refunds following the cancellation.168

                 •    WSU had to remove Mr. Rolovich from the Kickoff with the Cougs event on August 26, 2021 and
                      the CAF Coaches Luncheon event, scheduled for October 9, 2021.169

            7.3.2     COVID-19 TESTING REQUIREMENTS FOR UNVACCINATED COACHES AND PLAYERS

            Unvaccinated coaches and players were also subject to continued Covid-19 testing requirements in 2021.
            I reviewed the Covid-19 guidelines issued by the NCAA, Pac-12 conference, and WSU to better understand
            the Covid-19 testing requirements for vaccinated and unvaccinated coaches and players. According to
            WSU’s Fall 2021 guidelines updated in August 2021, vaccinated coaches and players were only required
            to test for Covid-19 if 5% or more of the football team tested positive within a two-week period.170 Contact
            tracing and social distancing were also not required for vaccinated coaches and players. 171

            However, unvaccinated coaches were subject to much more frequent testing for team travel and activities.
            For example, per WSU guidelines from August 2021, unvaccinated coaches had to take one PCR test per
            week, plus daily antigen tests for team travel and activities.172 I understand that seven WSU football
            coaches, plus one football recruiting assistant, were unvaccinated.       Given the more frequent testing




            165 WSU_00020060-62 at 62.

            166 Id. at 61.

            167 WSU_00019337.

            168 Id.

            169 Id.

            170 WSU_00002865-71 at 68.

            171 Id.

            172 Id. at 69.


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            requirements for unvaccinated coaches, WSU needed to consider the additional testing costs to
            accommodate unvaccinated coaches.

            7.3.3      IMPACT TO WSU’S REPUTATION

            On July 21, 2021, Mr. Rolovich publicly announced that he had elected not to receive the Covid-19 vaccine,
            stating:

                       “As the Pac-12 Conference has required that all in-person participants at next week's Pac-
                       12 Football Media Day be fully vaccinated, I will participate remotely and look forward to
                       talking about our football team and the incredible young men in our program. I have
                       elected not to receive a Covid-19 vaccine for reasons which will remain private
                       [emphasis added]. While I have made my own decision, I respect that every individual
                       — including our coaches, staff and student-athletes — can make his or her own decision
                       regarding the Covid-19 vaccine. I will not comment further on my decision.” 173

            Following Mr. Rolovich’s statement, news of his decision began to circulate across the internet and social
            media platforms. For example, various large national media outlets posted articles about Mr. Rolovich’s
            decision, such as ESPN.com, Yahoo News, The Washington Post, USA Today, Fox News, and The Wall
            Street Journal.174 Within 24 hours of Mr. Rolovich’s statement, the potential audience reach175 according
            to a Meltwater176 survey was nearly 1.1 billion views.177 As of August 23, 2021, approximately one month
            after Mr. Rolovich’s statement, the potential audience reach had increased to 6.5 billion views, nearly six
            times the levels from one month prior.178 A potential audience reach of 6.5 billion views made the Rolovich
            vaccine issue “the single-largest driver of WSU coverage in years” and could be the highest total reach of
            any WSU issue in the past four years.179

            Another metric measured in the Meltwater survey was public sentiment on social media related to the
            Rolovich vaccine coverage. As of July 23, 2021, negative sentiment reached 13% compared to positive
            sentiment of 6%.180 For comparison, WSU’s historical negative sentiment rarely exceeded single digits.181

            173 Nick Rolovich, @NickRolovich, X (Jul. 21, 2021, 2:19 PM),

            https://x.com/NickRolovich/status/1417957468366200832/photo/1.
            174 WSU_00016653.

            175 Potential audience reach measures the number of times news coverage could have been read or seen related to a

            specific topic, in this case the topic was coverage on Mr. Rolovich’s vaccination status. See WSU_00016653.
            176 Meltwater empowers companies with a suite of solutions that spans media, social, consumer, and sales intelligence.

            By analyzing ~1 billion pieces of content each day and transforming them into vital insights, Meltwater unlocks the
            competitive edge to drive results. See LinkedIn, Meltwater, https://www.linkedin.com/company/meltwater.
            177 WSU_00003824-25 at 24.

            178 WSU_00016653; WSU_00034704-13 at 06.

            179 WSU_00016653; WSU_00034704-13 at 12.

            180 WSU_00008849-58 at 56.

            181 WSU_00003824-25 at 24.


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            This type of negative publicity surrounding Mr. Rolovich’s vaccination decision had the potential to cause
            significant reputational damage to WSU.

            7.3.4    ADDITIONAL COSTS TO CHARTER FLIGHTS TO RECRUITING EVENTS

            As discussed in Section 7.2.1, WSU would have incurred incremental costs to charter a separate aircraft
            for travel to home and away games to accommodate Mr. Rolovich and the six other unvaccinated coaches.
            According to a memo from the Athletics Department, nearly all recruiting travel is done by commercial
            flight.182 However, I understand it is Dr. Palmer’s opinion that he would have recommended that the football
            team, including staff, no longer travel on commercial flights. 183 Therefore, WSU would have incurred further
            incremental costs to charter aircraft for coaches to attend recruiting events.

            8    HKA’S ANALYSIS OF THE EXPERT REPORT OF DAVID HALL

            On July 1, 2024, David A. Hall issued an expert report (“Hall Report”) on behalf of Mr. Rolovich to provide
            opinions on economic damages against WSU, assuming Mr. Rolovich prevails on liability.184 Mr. Hall
            quantified alleged lost compensation damages to Mr. Rolovich stemming from his termination as head
            football coach at WSU.185        Opinion 1 to the Hall Report notes that damages can be reasonably measured
            as the difference between Mr. Rolovich’s but-for compensation, prior to his termination, and his actual
            compensation.186 He applied this damages framework to calculate damages under two scenarios.

            Scenario One

            Mr. Hall assumed that Mr. Rolovich was terminated without cause and entitled to liquidated damages
            pursuant to his employment agreement with WSU (“Hall Opinion 2”).187             Pursuant to Mr. Rolovich’s
            employment agreement (“Rolovich Contract”), he was entitled to 60% of his remaining base salary if he
            was terminated without cause.188 Mr. Hall calculated damages to Mr. Rolovich from contract termination
            on December 6, 2021, through contract expiration on June 30, 2025. 189 Damages totaled $4,251,135.190




            182 WSU_00016082-83 at 82.

            183 Palmer Expert Report, ¶ 60.

            184 Expert Report of David A. Hall, dated July 1, 2024 (“Hall Report”), p. 1.

            185 Hall Report, p. 3.

            186 Hall Report, p. 4.

            187 Hall Report, p. 3.

            188 ROLOVICH00000053-62 at 60.

            189 Hall Report, Attachment 1.

            190 Hall Report, p. 5 and Attachment 1.


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            Scenario Two

            Mr. Hall assumed that WSU violated Title VII191 and Mr. Rolovich is entitled to the full remaining value of
            his contract through contract expiration on June 30, 2025 (“Hall Opinion 3”).192 Mr. Hall assumed two
            different alternatives under Scenario Two, one which includes Mr. Rolovich’s actual compensation
            throughout the damage period as mitigation and one which does not include any mitigation. In total, Mr.
            Hall’s estimated damages ranged from $10,394,849 to $10,638,521. 193

            Mr. Hall also assumed that Mr. Rolovich would have received a future contract extension with WSU prior
            to his termination (“Hall Opinion 4”).194 He assumed the duration of Mr. Rolovich’s hypothetical extension
            would have been between one and three years, assuming the same total contract value of $3,005,400 per
            year pursuant to the Rolovich Contract.195 Damages related to Mr. Rolovich’s possible extensions ranged
            from $2,650,097 to $7,613,557.196 Mr. Hall noted that Hall Opinions 3 and 4 are additive, noting total
            damages under a three-year contract extension scenario are $18,008,406.197

            8.1    MR. HALL DOES NOT CONSIDER THE CAUSE OF MR. ROLOVICH’S INABILITY TO MITIGATE
                   HIS LOSSES IN CALCULATING DAMAGES UNDER OPINIONS 3 AND 4

            Mr. Hall’s Opinions 3 and 4 are predicated on the assumption that Mr. Rolovich was entitled to the full
            remaining value of the Rolovich Contract.198 As noted in Opinion 1 to the Hall Report, damages are the
            difference between Mr. Rolovich’s but-for and actual compensation. According to Mr. Hall, Mr. Rolovich’s
            but-for annual compensation was $3,005,400, which is comprised of base salary, compensation for
            collateral opportunities, and a vehicle stipend.199 To determine actual compensation, Mr. Hall assumed two
            different scenarios. The first scenario incorporated Mr. Rolovich’s actual compensation, as well as a
            projection of his future compensation. 200 In the second scenario, Mr. Hall assumed that Mr. Rolovich had
            no requirement to mitigate his damages and, therefore, actual compensation was zero. 201 Damages under
            Hall Opinion 3 are calculated from December 6, 2021 to June 30, 2025. 202 Damages under Hall Opinion 4


            191 Title VII prohibits employment discrimination based on race, color, religion, sex and national origin. See Equal
            Employment Opportunity Commission, Title VII of the Civil Rights Act of 1964, https://www.eeoc.gov/statutes/title-vii-
            civil-rights-act-1964.
            192 Hall Report, p. 6.

            193 Hall Report, p. 7 and Attachments 2 and 2a.

            194 Hall Report, pp. 7-8.

            195
                Hall Report, pp. 7-8.
            196 Hall Report, p. 8.

            197 Hall Report, p. 8.

            198 Hall Report, pp. 6-8. Mr. Hall noted that the full remaining value of the Rolovich Contract is equal to Mr. Rolovich’s

            full base salary plus compensation for collateral opportunities.
            199 Hall Report, p. 6.

            200 Hall Report, p. 6.

            201 Hall Report, p. 7.

            202 Hall Report, Attachment 2.


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            are calculated in one-year increments from June 30, 2025 to June 30, 2028. 203 Damages under Hall
            Opinions 3 and 4 are additive.204 However, Hall Opinions 3 and 4 are based on his flawed interpretation of
            the Rolovich Contract and do not consider the cause of Mr. Rolovich’s inability to mitigate his damages.

            First, the inputs used to arrive at damages under Hall Opinions 3 and 4 are based on his flawed
            interpretation of the Rolovich Contract. For example, based on my layperson’s review of the Rolovich
            Contract, Mr. Hall assumes without basis that Mr. Rolovich’s but-for compensation is equal to the full
            remaining value of the Rolovich Contract. However, based on my review of the Rolovich Contract, I did not
            identify any provision whereby Mr. Rolovich was entitled to the full remaining value of his contract
            regardless of whether he was terminated with or without cause. In contrast, Mr. Hall relied on the terms of
            the Rolovich Contract when it worked in his favor, such as in his calculation of Mr. Rolovich’s actual
            compensation whereby he assumed mitigation was not required. Mr. Hall’s basis to assume mitigation is
            not required comes from Section 4.4.1 of the Rolovich Contract which stated, “Employee shall have no
            mitigation obligation and WSU shall have no offset rights against any compensation earner or received by
            Employee subsequent to such termination.” 205 As such, Hall Opinions 3 and 4 attempt to move outside the
            contract for the purpose of compensation amounts but still rely on the contract for the lack of mitigation
            consideration. This results in an unreliable calculation of damages as the result is not tied to contractual
            terms or economic damages principles.

            Additionally, Mr. Hall’s Opinions 3 and 4 do not consider that Mr. Rolovich’s inability to mitigate his damages
            was caused by Mr. Rolovich’s own decision not to get vaccinated. In fact, Mr. Hall noted in his Opinion 1
            that “[d]ue to the public and contentious nature of Mr. Rolovich’s termination, Mr. Rolovich contends that
            his reputation has been damaged, impairing him from finding comparable employment.” 206 Mr. Hall’s
            analysis inherently assumes that WSU was the sole cause of Mr. Rolovich’s impaired reputation and that
            WSU’s actions impacted Mr. Rolovich’s ability to find comparable employment.

            However, Mr. Hall ignores the fact that Mr. Rolovich himself was the primary cause of his damaged
            reputation. For example, on July 21, 2021, Mr. Rolovich publicly announced his vaccination decision, noting
            that, “I have elected not to receive a Covid-19 vaccine.”207 Mr. Rolovich’s announcement received more
            negative than positive sentiment. As discussed in Section 7.3.3, the public sentiment about Mr. Rolovich’s
            vaccine decision in the month following his announcement was significantly more negative than positive,
            13% compared to 6%, respectively. In addition, Mr. Rolovich acknowledged in text exchanges that he
            understood that the sentiment around his vaccine decision was not well received by the public. For
            example,


            203 Hall Report, p. 8 and Attachment 4.

            204 Hall Report, p. 8.

            205 ROLOVICH00000053-62 at 60.

            206 Hall Report, p. 4.

            207 https://x.com/NickRolovich/status/1417957468366200832/photo/1.


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                •    On July 25, 2021, Mr. Rolovich sent a masked picture of himself with the caption “pariah.”208

                •    On July 29, 2021, Mr. Rolovich acknowledged that he was “pissing off the whole country.” 209

            Following his termination from WSU, multiple coaching opportunities were recommended to Mr. Rolovich,
            including several head coaching roles. However, based on my review of multiple text message exchanges
            involving Mr. Rolovich, the overwhelming response from Mr. Rolovich was that he was not eligible for the
            openings given that he was unvaccinated. I understand that the responses received by Mr. Rolovich are
            consistent with WSU’s stance on the Covid-19 vaccine.              See below for examples of Mr. Rolovich’s
            exchanges related to his job search following his termination from WSU. 210

            General Comments about Job Search

                •    On December 6, 2021, Mr. Rolovich noted that “Incarnate Word said no, vaxxed only. Nevada
                     wants to hire me but they said vaxxed only. Abilene Christian the same.” 211

                •    On January 7, 2022, Mr. Rolovich asked for recommendations on where to coach in Texas. When
                     asked if he wanted college opportunities, Mr. Rolovich noted “[n]o, I probably need to take a year
                     off. I’m like a leper these days.”212

                •    On March 19, 2022, Mr. Rolovich was asked how everything was to which he responded “[c]ant
                     get a job…fucking vax.”213

            University of Nevada

                •    On December 6, 2021, Mr. Rolovich was asked if he was pursuing the Nevada job, to which he
                     replied “[n]o, must be vaxx.”214 The question about the Nevada job was regarding its open head
                     coaching role.215

                •    In another exchange on December 6, 2021, Mr. Rolovich noted that “Nevada [would] hire me if I
                     was vaxxed they said.”216




            208 ROLOVICH00060096-106 at 98.

            209 ROLOVICH00033079-87 at 79.

            210 My review of Mr. Rolovich’s text messages was impacted as many of the text messages were incomplete, with

            certain messages and information not included, making it difficult to ascertain the full context of the conversation.
            211 ROLOVICH00061687.

            212 ROLOVICH00013623-25 at 23.

            213 ROLOVICH00061483.

            214 ROLOVICH00061300.

            215 Chris Murray, Here are 25 candidates who could be Nevada football's next head coach,

            https://nevadasportsnet.com/news/reporters/here-are-25-candidates-who-could-be-nevada-footballs-next-head-coach
            (Dec. 6, 2021).
            216 ROLOVICH00060929.


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            University of Hawaii

                •   On December 8, 2021, Mr. Rolovich was asked if there were “any doors left open at [University of
                    Hawaii]” or if “that closed and bridges burnt.” Mr. Rolovich responded stating “[n]ot burnt, just vax
                    requirements.”217

                •   On January 15, 2022, Mr. Rolovich received a text message stating “[g]o fix Hawaii.” 218 The
                    message was in regard to the recent head coaching opening at the University of Hawaii following
                    the resignation of its head coach.219 Mr. Rolovich responded “[t]hey wont [sic] hire me” and later
                    added it was because of the “[v]ax [sic].”220

            Arizona State University

                •   On November 7, 2022, Mr. Rolovich noted that “[i]f the AD stays at ASU, we aint [sic] going there.
                    He is making them wear masks on the bus and plane.” 221

            As a Division I FBS head football coach, Mr. Rolovich should have known that finding comparable
            employment might be difficult. Regardless of WSU’s decision, Mr. Rolovich knew, or should have known,
            that Division I FBS football head coaching jobs were extremely limited. There are only approximately 130
            Division I FBS head coaching positions across college football, the same division as WSU.222 The above
            messages relate to five of the approximately 130 opportunities223 that Mr. Rolovich could have pursued but
            was not eligible for because he was unvaccinated. Following the 2021 college football season, 29 head
            coaching jobs were available, 22% of all Division I head coaching jobs. 224 Another 24 head coaching jobs
            were available following the 2022 college football season. 225 In the two years immediately following Mr.
            Rolovich’s termination, more than 40% of all head coaching jobs in Division I football were available.226 It
            is unclear how many of the remaining opportunities Mr. Rolovich pursued and/or was turned down from
            given his vaccination status. In any event, the above examples indicate that Mr. Rolovich’s ability to find


            217 ROLOVICH00061222-24 at 24.

            218 ROLOVICH00061776-77 at 76.

            219 Christian Shimabuku, Potential candidates to fill UH football head coaching vacancy following Todd Graham’s

            sudden resignation, https://www.khon2.com/sports/uh-immediately-begins-search-for-next-head-football-coach-
            following-todd-grahams-resignation (Jan. 14, 2022).
            220 ROLOVICH00061776-77 at 76.

            221 ROLOVICH00061701.

            222
                NCAA, Our Division I Members, https://www.ncaa.org/sports/2021/5/11/our-division-i-members.aspx.
            223 As of the 2022 football season, there were 131 FBS Division I football teams. See Mike Huguenin, Current FBS

            coaches have been in their jobs for an average of just 3.7 years, https://www.on3.com/news/current-fbs-coaches-
            have-been-in-their-jobs-for-an-average-of-just-3-7-years (May 16, 2022).
            224 Mike Huguenin, Current FBS coaches have been in their jobs for an average of just 3.7 years,

            https://www.on3.com/news/current-fbs-coaches-have-been-in-their-jobs-for-an-average-of-just-3-7-years (May 16,
            2022).
            225 Brandon Marcello, Coaching Carousel Audit: Examining data of CFB coaching changes,

            https://247sports.com/longformarticle/2022-2023-college-football-coaching-carousel-data-208652178 (Apr. 20, 2023).
            226 (29 + 24) / 131 = 40.5%.


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            comparable employment and mitigate his losses was greatly impacted by his decision not to receive the
            Covid-19 vaccine rather than any actions of WSU.

            Additionally, I spoke with WSU’s current Athletic Director, Anne McCoy, to understand the status of the
            alleged extension discussions Mr. Hall referenced. Ms. McCoy had no recollection of any extension
            discussions with Mr. Rolovich or his agent. Ms. McCoy informed me that contract extensions at WSU were
            not automatic and that it was just as likely that a head coach would be fired as it was that they would receive
            an extension. As such, it is speculative, unsupported, and without merit for Mr. Hall to calculate damages
            based on the assumption that WSU harmed Mr. Rolovich’s reputation and impacted his ability to find
            comparable employment, which renders Mr. Hall’s Opinions 3 and 4 unreliable.




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                                   CURRICULUM VITAE
                                   DAVID R. BONES, CVA
                                   PARTNER, CO-LEAD OF COMMERCIAL DAMAGES
                                   PRACTICE




             QUALIFICATIONS
             BS, Finance, Magna Cum Laude, Arizona State University, US
             UCLA Extension, Accounting Certificate
             Certified Valuation Analyst


             MEMBERSHIPS
             National Association of Certified Valuators and Analysts (NACVA)
             Association of Certified Fraud Examiners (ACFE)
             Maricopa County Bar Association, Finance Committee


             PROFILE
             David Bones has been helping clients investigate, analyze, and resolve their complex litigation disputes for
             more than 20 years. David’s work has focused primarily on commercial litigation, valuation, intellectual property,
             forensic accounting, construction, government contracts, and bankruptcy matters.
             David has been retained as an expert on over 100 matters, including disputes with damages in excess of $1
             billion. He has provided expert testimony on more than 40 occasions in various settings, including federal and
             state bench and jury trials around the United States, depositions, arbitrations (including FINRA), and has also
             presented at mediations. He has issued provided opinions in matters involving lost profits, lost wages, business
             valuations, construction disputes, funds/asset tracing, financial condition, and solvency analyses. In 2008,
             David had the opportunity to lead the solvency team on one of the largest fraudulent conveyance cases in US
             history. He has also authored treatises on working with experts and presented to attorney and client groups on
             many occasions.
             Before joining HKA, David provided litigation consulting services at Navigant Consulting, Inc., an international
             consulting firm, and Tucker Alan Inc. He also worked for US Airways as a senior analyst in its corporate finance
             group, and a manager in the Alliance Operations Group.
             David has consulted on behalf of Fortune 500 companies and others in various industries, including mining,
             gaming, energy, real estate development, homebuilding, shipbuilding, manufacturing, software, healthcare
             (hospital and insurance), grocery, automotive, transportation, specialty finance (subprime mortgage and auto),
             non-profit, financial institutions, and agriculture.




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             SELECTED EXPERIENCE

             COMMERCIAL LITIGATION
             Damage Calculation, Defective Heavy Helicopters
             Calculated damages of over $200M related to a fleet of alleged defective heavy helicopters from one of the
             largest aircraft manufacturers in the world in the context of fraud, breach of warranty, negligent
             misrepresentation, and unjust enrichment claims. Analyses included development of a dynamic damages model
             to determine the but-for value of a non-defective helicopter based on industry research and publicly available
             “blue book” data, and then compare it to the actual value of a given helicopter at any point in time. Efforts also
             included significant research of the oil and gas industry.
             Damage Analysis, Failed Acquisition of Cotton Farming Operation
             Analyzed damages related to a large cotton farming operation resulting from alleged misrepresentations made
             by an acquirer. Analyses included an assessment of lost profits resulting from grower’s inability to sell its cotton
             in futures market price pools provided by a cotton cooperative, and lost subsidies as a result of buyer’s
             negligence in timely applying for the relevant programs.
             Business Interruption Lost Profits, Brewery Production Facility
             Calculated damages related to a business interruption claim at a brewery production facility. Analyses included
             assessing lost profits related to production losses, as well as costs to repair or rebuild the facility.
             Damage Calculation, Renewable Energy Project, Philippines
             Calculated damages related to a renewable energy project in the Philippines, which involved advanced
             gasification for converting waste to energy. Analyses included an assessment of contemporaneous projections
             and development of a discounted cash flow model to determine losses as a result of economic interference
             claims.
             Lost Profits, Large Homebuilder
             Performed a lost profits analysis for a large homebuilder in the context of a breach of contract matter. Analysis
             included a review of the home sales cycle from raw land to final closing. Efforts also included detailed analysis
             of the units in question, a review of industry trends, and the creation of a damages model.
             Damage Calculation, Single Engine Plane Accident
             Calculated damages related to a single engine plane accident at a flight training school. Analyses included lost
             profits related to loss of instructor revenue and rental use of aircraft. Damages also considered cost to repair
             the aircraft.
             Bus Shelter Maintenance, Economic Damages Determination
             Determined economic damages to a municipal agency related to a breach of a bus shelter maintenance
             services agreement by the services provider. Efforts also included an analysis of the economic impact to the
             agency including increased costs, loss of revenue share and other guaranteed payments, in addition to the
             impact of substitute servicers on the agency. Also calculated the value of bus shelter assets, pursuant to the
             terms of the services agreement.




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             Lost Profits Analysis
             Analyzed lost profits resulting from a breach of contract claim between an insurance consulting company and a
             dental insurance third party administrator. The analysis included a review of historical financial performance,
             insurance certificate growth rates, and projected future profits.
             Lost Wages Calculation
             Calculated lost wages resulting from a wrongful termination claim involving a large financial institution in a
             FINRA arbitration. The analysis included a review of historical earnings, commission structures and payments,
             development of projected future earnings, and industry research regarding compensation structures of securities
             professionals.
             Defamation Lost Profits Analysis
             Analyzed lost profits in the context of a business defamation claim involving a restaurant chain and a
             homeowners’ association. The analyses included a review of historical financial performance trends, geographic
             locations of the various restaurants compared to the home development, and other potential causes of
             performance changes.
             Hospital Lost Profits Calculation
             Calculated lost profits for a large hospital in the context of a breach of contract matter with one of its hospitalist
             groups. Analysis included a review of historical financial performance, physician compensation structures, and
             owner compensation levels. Also reviewed trends within the hospital/hospitalist industry, specifically about
             compensation increases and the resulting pressure on profitability.
             Potential Damages Liability Consulting Services
             Provided consulting services to assess potential damages liability resulting from a breach of contract claim
             between a major hospital provider network and a major health insurance company. Performed analyses to
             determine significant factors in patient hospital selection, including in-network vs. out-of-network providers,
             preferred steerage patterns, geographic influence and PCP privileges at various hospitals. Developed several
             potential damage models to assist in settlement negotiations.
             Subprime Auto Loan Portfolio Analysis
             Analyzed the value of a subprime auto loan portfolio for a credit union in the context of a breach of contract
             matter. Work included analyses of the significant value drivers including prepayment rates, delinquency rates,
             default rates and discount rate.
             Failed Utility Merger Damages Assessment
             Calculated damages in the context of a failed utility merger. This work included an analysis of the damages
             claim, research related to synergies realized in other transactions, and the preparation of a valuation model.
             Performed a detailed comparison of expected synergies vs. actual synergies realized.
             Oil Spill Damages Calculation
             Calculated damages in the context of an oil spill matter. This included an analysis of reimbursement requests
             and amounts previously paid. This also included a review of employee timesheets to determine the amount of
             time attributable to the spill.




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             VALUATION
             Confidential Ongoing Large Takings Matter
             Retained by Plaintiffs to calculate just compensation related to large-scale government takings property in the
             U.S. The total amount potentially in dispute is likely in the billions.
             Valuation Analysis, Partnership Dispute in Aviation Company
             Analyzed the value of a prospective ownership interest in a company operating in the private jet membership
             market. The company sought financing as part of its growth-by-acquisition strategy, impacting the capital
             structure of the company on a post-transaction basis. Our investigation included the analysis of the various
             capital financing and acquisition scenarios on a pre- and post-closing basis to determine the impact on the
             disputed membership interest. Efforts also included a review of contemporaneous indications of equity value
             contemplated throughout the due diligence process.
             Valuation Analysis, Auto Glass JV Put/Call Option Material Adverse Change Dispute
             Calculated the buyout price of a minority member of a joint venture pursuant to terms in a put/call agreement.
             The minority member alleged that adjustments to the option price were necessary based on material adverse
             changes to the business, based on material change provisions expressed in the put/call agreement. Analyzed
             operational data to rebut claims of a "material change," offering opinions that explained the underlying causes of
             business impacts not covered by the put/call agreement.
             Sand and Gravel Mine Valuation
             Performed a valuation of an operating sand and gravel mine as part of a municipal dispute. Work included
             reviews of historical financial and operational data including financial statements, production reports, contract
             documents, and mining plans. Developed revenue, operating expense, capital expenditure and depreciation
             projections through mine end of life including an analysis of estimated royalty payments to the mineral’s
             leaseholders.
             Distressed Debt Value Calculation
             Calculated the value of a Department of Energy (DOE) backed, defaulted debt security due to allegations by the
             Department of Justice of bid rigging during a live auction process. Work included analysis of historical prices
             related to distressed secured debt instruments to develop estimates of reasonable recovery rates. Also analyzed
             prices paid for distressed loans related to other companies that received DOE guarantees.
             Post M&A Representations and Warranties Claim for Healthcare Company
             Calculated damages in a breach of representations and warranties claim regarding an acquisition of a
             healthcare company by a private equity firm. Claims were related to over-stated accounts receivable and the
             impact of a government investigation regarding undisclosed fraudulent billing. The analyses included a detailed
             review of accounts receivable collections performance, a detailed review of the company’s financial condition
             before and after the government investigation, and a valuation of the company considering both the income and
             market approaches.
             Fraudulent Conveyance Valuation, Mining Company
             Valued a multi-billion-dollar mining company in the context of a fraudulent conveyance matter. The analysis
             involved the review of financial projections, historical performance, industry conditions, as well as analyst
             reports. Valuation efforts included both the income and market approaches with assessment of appropriate
             discount rates and control premiums to determine reasonably equivalent value.




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             Auto Dealership Valuation
             Valued several auto dealerships in the context of a probate dispute regarding an unfair share issuance. The
             analysis included detailed review of financial statements, industry research, and review of other
             contemporaneous valuations. Prepared valuation analyses using the income and market approaches for
             operating companies and asset approach for holding companies.
             Damages Calculation, Real Estate Development
             Calculated damages related to a partnership dispute in a large global convergence development project. Work
             included an analysis of several related entities’ financial statements, industry research, project status
             assessment, and a valuation of the partner’s interest utilizing the market approach.
             Value Determination, Medical Park
             Determined the value of a medical park lease, but-for allegations of an improper asset sale, to calculate
             damages for minority shareholders in the real estate development project. Work included calculating the value of
             the lease investors would have received under three valuation scenarios: the Capitalized Earnings method, the
             Lease Renewal method, and the Sale After Initial Lease method. Efforts also included industry research on the
             medical office market including comparable lease rates, capitalization rates, and discount rates.
             Valuation of Undeveloped Mining Entity
             Prepared a valuation of an undeveloped mining entity in the context of a fraudulent conveyance matter. Analysis
             included a review of technical reports, cash flow forecasts, and publicly available transaction data. Efforts
             included both the income and market approaches with assessment of comparability of properties and
             appropriate discounts to determine reasonably equivalent value.
             Hotel and Casino, Shareholder Dispute Valuation
             Valued a major hotel and casino in the context of a shareholder dispute. The analysis involved a review of
             historical operating results, financial projections, industry conditions, and analyst reports. Efforts included both
             the income and market approaches with emphasis related to appropriate minority and marketability discounts.
             Fraudulent Conveyance Valuation, Construction Company
             Valued a privately held construction company in the context of a fraudulent conveyance matter. Analyzed the
             value of several related companies at different points in time. Efforts included an analysis of historical financial
             performance, financial projections, and margin impacts. Provided indications of reasonably equivalent value
             based on income and market valuation approaches.
             Cable Service Provider Valuation
             Performed a valuation of a cable service provider to determine if the transaction price paid was appropriate. This
             involved the analysis of several valuation multiples derived from cable provider mergers. Reviewed industry
             transactions and other indicia of value over the relevant time period.


             INTELLECTUAL PROPERTY
             Diminution in Value Due to Trade Secret Disclosure, Chemical Manufacturer
             Performed a valuation of a chemical manufacturer as part of a post-transaction dispute involving a private equity
             buyer based on allegations of an improper trade secret disclosure. Efforts included a calculation of the fair value
             of the chemical manufacturer if buyers had known that certain trade secrets had been previously disclosed to a


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             competitor. The research also included the effects of competition on previously protected markets in the
             pharmaceutical manufacturing industry to determine the impact of a new entrant on a previously protected
             market.
             Unjust Enrichment and Lost Profits Due to Misappropriation of Trade Secrets, Defense Contractor
             Evaluation of damages for a large, publicly traded, multi-national defense contractor in the context of business
             interference and unjust enrichment claims related to alleged misappropriation of trade secrets. Efforts also
             included the rebuttal of claims related to alleged lost profits and certain wages paid.
             Unjust Enrichment and Lost Profits Due to Misappropriation of Trade Secrets, Medical Services
             Evaluation of damages related to allegations of misappropriation of trade secrets for a privately held medical
             services company. Analysis included a review of historical financial performance and industry and economic
             research. Specifically, damages involved the assessment of lost profits and unjust enrichment.
             Lost Profits Calculation, Breach of Non-Solicit
             Calculated lost profits resulting from a breach of contract claim between a prime contractor and its subcontractor
             in the context of a software contract within the intelligence community. The breach related to allegations of
             soliciting employees in violation of a non-solicit clause. Analysis included a review of historical employee tenure,
             average billing rates and variable costs to determine lost profits.
             Lost Royalty Payments Analysis, Software Company
             Analyzed lost royalty payments and lost business value of a privately held software company in the context of a
             breach of contract matter. Performed significant research of trends in the industry, market and macro-economic
             environment. Efforts included calculating royalty payments and analyzing the value of the company at several
             points in time.
             Damages Calculation, Trademark
             Calculated damages of a commercial washroom equipment manufacturer related to a trademark infringement
             and unfair competition matter. Analysis included the calculation of plaintiff’s lost profits in addition to infringer’s
             actual profits, pursuant to the Lanham Act. Work included detailed review of financial statements as well as
             invoices from the infringing party.


             FORENSIC ACCOUNTING AND AUDITING MALPRACTICE
             Fraud Investigation, Utility
             Submitted an expert report analyzing the financial and accounting records related to an IRS qualified like-kind
             exchange program amidst allegations of embezzlement by a large public utility against its intermediary. The
             analysis included a detailed tracing of funds in the program accounts, a comparison of the bank records to the
             intermediary’s accounting of the program, and identification of transfers to related entities of the intermediary.
             Fraud Investigation, Large Non-Profit Bankruptcy
             Analyzed the financial and accounting records of a large non-profit entity and various subsidiaries to identify
             fraudulent activities by senior management in the context of a bankruptcy/auditing malpractice matter. This
             involved the detailed tracing of assets and funds between the related entities to establish ultimate sources of
             monies used for real estate transactions. Identified information available to outside parties at the time of certain
             transactions.


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             Causes of Failure Analysis, Finance Company
             Analyzed the causes of failure for a specialty finance company in the business of originating and securitizing
             non-conforming mortgage loans in the context of an auditing malpractice matter. Performed an analysis of the
             financial history of the company, as well as industry and economic factors that contributed to the bankruptcy.
             Also calculated damages based on avoidable transactions. This included an analysis of the company’s various
             loan covenants, and the impact to the company of write-downs to certain residual assets.
             Causation of Failure Analysis, Non-Conforming Mortgage Financial Company
             Analyzed causation of failure for a financial institution in the business of originating and securitizing non-
             conforming mortgage loans in the context of an auditing malpractice matter. This analysis included a review of
             the financial history of the bank, including compliance with regulatory capital requirements at different points in
             time. The analysis also included the identification of avoidable damages based on the insured depositor activity.
             Causes of Failure Analysis, Agricultural Company
             Analyzed the causes of failure for an agricultural company in the context of an auditing malpractice matter. This
             analysis included a review of the financial history of the company as well as industry and economic factors that
             contributed to the bankruptcy. The damage analysis also performed based on avoidable transactions that were
             identified.


             BANKRUPTCY AND SOLVENCY
             Fraudulent Conveyance Solvency, Mining Company
             Led the solvency team on one of the largest fraudulent conveyance matter in US history, which included a multi-
             billion-dollar mining company and an international subsidiary. Prepared analyses related to the company’s
             financial condition including an assessment of solvency at various points in time. The solvency determination
             included ability to pay debts, capitalization levels, and comparisons of fair market value of assets to the
             liabilities. Efforts included a detailed review of financial and accounting records, detailed audit workpapers,
             business plans, industry outlook, management discussions, and various company projections. Also conducted
             analyses related to the parent-subsidiary relationship in the context of alter-ego and piercing the corporate veil
             claims. This work included analyses of board of directors matrices over several entities and the respective
             management control over the same entities in question.
             Solvency Analysis, Grocery Chain
             Performed a solvency analysis of a billion-dollar grocery chain in the context of a preference claim by analyzing
             the fair market value of the company’s assets compared to the liabilities. Efforts included a line item review of all
             assets and available appraisals, as well as all liabilities including pension accounting issues. Reviewed historical
             operating results, financial projections, industry research, and competitor information. Prepared indications of
             enterprise value based on income and market approaches.
             Solvency Analysis, Casino Chain
             Performed a solvency analysis of a major casino chain in the context of a fraudulent transfer claim resulting from
             a leveraged management buyout of a publicly traded company. Efforts included an analysis of market
             indications of solvency and transaction sentiment. Reviewed publicly available information including SEC filings,
             analyst reports, bond pricing and rating data, as well as stock price activity of target company and peer
             competitors. Analyzed macro-economic trends affecting the gaming industry including new casino construction



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             activity and regional unemployment data. Also used valuation models for the market and income approaches to
             “stress test” margins of solvency under various scenarios.


             GOVERNMENT CONTRACTS
             Lost Profits Calculation
             Calculated lost profits resulting from breach of contract and fraud claims relating to contracts between a large
             city and local taxi companies, as well as contracts between the taxi companies and taxi drivers, to provide taxi
             service at a major US airport. The analysis included a review of defendants’ responses to the city’s request for
             proposal, industry analysis, and historical operating capacity.
             Fraudulent Time Charging Evaluation, Shipyard
             Investigated allegations of a fraudulent time charging scheme within a shipyard of one of the largest shipbuilders
             in the US. Analyzed hundreds of millions of records of data and developed specific models to identify likely
             mischarges. Work included the quantification of likely mischarging as well as analyses related to the reallocation
             of mischarged costs.
             Lost Profits Analysis, Water Filtration Manufacturer
             Performed a lost profits analysis for a water filtration manufacturer in the context of termination of a municipal
             water treatment facility in Fridley, MN. The analysis included a review of: costs incurred related to water filtration
             modules, historical margins, and other possible mitigating sales.
             Lost Profits Analysis, Concession Vendors, Airport
             Performed a lost profits analysis related to concession vendors at the airport in Albuquerque, NM. Claims
             included delays in the opening of the concession area in addition to reduced operating area inside the terminal.


             CONSTRUCTION
             Casino/Hotel Real Estate Development
             Calculated damages resulting from a construction dispute on one of the largest casino/hotel real estate
             development projects in US history. Work included assisting the owner with settlement of subcontractors,
             evaluating the general contractor’s performance regarding cost overruns on guaranteed maximum price
             contracts, analyzing back charge claims and preparing damages calculations for an expert report and trial.
             Hotel Renovation
             Analyzed damages resulting from a fire at a hotel renovation project in San Francisco. Work included a detailed
             review of costs incurred, additional financing costs, and incremental costs related to the delays caused by the
             fire and anticipated repair.
             Casino/Hotel Development
             Led project close-out and claims preparation for a $1.5B hotel/casino development in the Washington, DC area.
             Efforts included analyses of contractor invoices, cost reports, change orders, owner accounting data, and other
             data sources. Assisted owner and counsel with negotiation and final close-out of over 100 subcontractors in less
             than six months.




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             Lost Profits Calculation
             Calculated lost profits for a construction company in the context of a breach of contract matter. Efforts included a
             review of historical financial performance, analysis of labor and materials costs required to complete the project,
             and an analysis of appropriate rental rates for equipment.
             Casino/Hotel Development
             Assisted a large gaming client with the close-out of a billion-dollar hotel/casino project. Efforts included analyses
             of subcontractor and general contractor claims, and related negotiations.
             Airport Cost Analysis
             Performed a cost analysis to determine appropriate increased costs to a construction company resulting from
             changed site conditions at an airport. Reviewed other technical reports, bid documents, job cost records, and
             various projections.


             US AIRWAYS
             Senior Analyst in the Corporate Finance Group at US Airways. Worked in operations analysis, which served as
             an internal consulting group for the airline. Collaborated with senior management to provide ad hoc analyses
             and implement changes as needed.
             Reviewed contractual rights related to entire aircraft fleet, including financing provisions and return conditions
             under various time or operational triggers. Developed complex models to analyze operating performance and
             project customer volume based on flight schedules, airport arrival curves and process time. Model results were
             used to develop performance programs, determine capital expenditure requirements, and recommend optimum
             staffing levels to maximize profitability. He also collaborated with the TSA to ensure sufficient baggage
             screening capacity at the Phoenix Sky Harbor airport based on expected volume growth and modeling results.
             Worked as a Manager in the Alliance Operations group. Served as liaison between US Airways and its regional
             airline providers, including Mesa Airlines. Analyzed operational data to prioritize airport audits. Also served as a
             member of the emergency response team.




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             PUBLICATIONS / PRESENTATIONS
             Overview of Financial Statement Analysis and Commercial Damages - CLE Presentation to Sanders & Parks,
             P.C.; October 2014.
             Post Hoc Ergo Propter Hoc; Causation Issues to Consider in Damages Analyses – CLE Presentation to Tiffany
             & Bosco, P.A.; November 2014.
             Working with Expert Witnesses and Consultants: Ten Steps to Success – CLE Presentation to Bryan Cave LLP;
             March 2015.
             The CityCenter Litigation: Strategies for Dealing with Mega-Project Litigation and Adapting Those Strategies for
             Smaller Cases – CLE Presentation to the Construction SuperConference; December 2015.
             Mega-Project Dispute and Lessons Learned – CLE Presentation to AACE; February 2016.
             The CityCenter Litigation: The Use of Technology in Construction Litigation – CLE Presentation to the Nevada
             State Bar Construction Section; October 2016.
             Working with Experts: Ten Steps to Success – CLE Presentation to AZ Association of Defense Counsel;
             November 2016.
             Working With Experts In Construction Litigation And Daubert/Frye Motions – CLE Lorman Presentation,
             February 2019.
             Experts, Assisting the Trier of Fact Under the New Rules - Nevada State Bar Litigation Section CLE, October
             2019.
             For Commercial Damage Matters, Numbers Are Not Enough - Law & Risk Mitigation Today, November 2019
             COVID-19 Roundtable on Project Financing and Cash Flow - ABA Forum on Construction Law Webinar, April
             2020.
             COVID-19 Impact on Damages – Looking for Reasonable Certainty in Uncertain Times – GAR/Lexology
             Webinar, May 2020.
             Served as a Guest Lecturer for Accounting and Finance Classes at Stanford University, June 2023.
             Energy Industry Headwinds Leading to Insolvency and What’s Next – IEL 75th Annual Energy Law Conference
             Presentation, February 2024.
             “Energy Industry Headwinds Leading to Insolvency and What’s Next.” Proceedings of the Institute on Oil and
             Gas Law, 75th Edition, Published by LexisNexis/Matthew Bender, 2024.
             Nevada Civil Practice Manual Co-Author of Chapter Regarding Expert Witnesses, 2016-present.




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                              Case Name                                                 Venue

              BML Properties LTD. v. China Construction                New York County Supreme Court
              America, Inc., et al.
              No. 657550 – 2024

              Sutter’s Place, Inc. dba Bay 101 v. S.J.                 Superior Court of the State of
              Bayshore Development, LLC                                California
              No. 22CV397119 – 2024                                    County of Santa Clara

              Catclar Manager LLC v. Soho Scottsdale                   Private Arbitration
              Manager LTD. – 2024

              London Luxury, LLC v. Walmart Inc.                       United States District Court
              No. 5:22-cv-05059-TLB – 2023 & 2024                      Western District of Arkansas
                                                                       Fayetteville Division

              World Mechanical, Inc. v. Bernards Builders,             Superior Court of the State of
              Inc., et al.                                             California
              No. SC126014 – 2021 & 2023                               County of Los Angeles

              PCL Construction Services, Inc. v. Monarch               District Court, City and County of
              Growth Inc., et al.                                      Denver, State of Colorado
              No. Case 2019cv33368 – 2023

              Terrell Materials Corporation v. Ozinga Ready            Circuit Court of Cook County, Illinois
              Mix Concrete, Inc.
              No. Case 2019L009669 – 2023

              The State of Mississippi, et al. v. The United           United States Court of Federal Claims
              States of America
              No. 1:19-cv-00231-EDK – 2023

              USI Insurance Services, LLC v. Alliant                   United States District Court
              Insurance Services, Inc., et al.                         District of Arizona
              No. 2:23-cv-00192-SMB – 2023

              3500 Sepulveda, LLC and 13th & Crest                     United States District Court
              Associates, LLC v. RREEF America REIT II                 Central District of California
              Corporation BBB, et al.
              No. Case 2:17-cv-08537 – 2018, 2021, & 2023

              Bristow Group, Inc. and Bristow U.S. LLC v.              United States Bankruptcy Court
              Sikorsky Aircraft Corporation, et al.                    Southern District of Texas Houston
              No. Case 19-03691 – 2023                                 Division

              UPA 1, LLC v. The Korte Company                          Clark County District Court of Nevada
              No. A-17-763262-B – 2022

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                               Case Name                                                  Venue

              Susan Kamuda and Brian Kamuda v.                           Circuit Court of Cook County, Illinois
              Sterigenics, U.S., LLC, et al.                             County Department, Law Division
              No. 2018-L-010475 – 2022

              Asset Lifecycle Management, LLC v. Willow                  In the District Court of Harris County,
              Glen Ventures, LLC                                         Texas
              No. 2020-41394 – 2022

              Gilbert MH, LLC v. Gilbert Family Hospital,                United States District Court
              LLC, et al.                                                District of Arizona
              No. 2:18-CV-04046-SPL – 2021

              Liebert Corporation v. SVO Building One, LLC               American Arbitration Association
              No. 01-18-0003-1318 – 2021

              Richard K. Nichols, et al. v. The Northern Trust           Circuit Court of Cook County, Illinois
              Company, et al.                                            County Department, Chancery Division
              No. 2016 CH 07239 – 2021

              Servitas, LLC, et al. v. Eric A. Traub, et al.             Clark County District Court of Nevada
              No. A-18-786422-B – 2020

              UMB Bank, N.A. v. Kobi Electric, LLC, et al.               In the District Court of Tarrant County,
              No. 017-299994-18 – 2020                                   Texas

              Generations at Pinnacle Peak, LLC v.                       United States District Court
              Whitestone Pinnacle of Scottsdale – Phase II,              District of Arizona
              LLC
              No. 2:17-cv-04597-DLR – 2019 & 2020

              S&M Brands, Inc. v. Josh Stein and the State               In the General Court of Justice
              of North Carolina                                          Superior Court Division
              No. 17 CVS 6894 – 2019 & 2020




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                                                            List of Documents Considered



                  No.                                                    Description
                 Bates Stamped Documents
                   1    ROLOVICH00000053-62
                   2    ROLOVICH00013623-25
                   3    ROLOVICH00033079-87
                   4    ROLOVICH00060096-106
                   5    ROLOVICH00060929-30
                   6    ROLOVICH00061222-24
                   7    ROLOVICH00061300
                   8    ROLOVICH00061483
                   9    ROLOVICH00061687-88
                  10    ROLOVICH00061701
                  11    ROLOVICH00061776-77
                  12    WSU_00002865-71
                  13    WSU_00002988-89
                  14    WSU_00003050
                  15    WSU_00003824-25
                  16    WSU_00008849-58
                  17    WSU_00016082-83
                  18    WSU_00016420-27
                  19    WSU_00016653
                  20    WSU_00018117-228
                  21    WSU_00019337
                  22    WSU_00019338-39
                  23    WSU_00020060-62
                  24    WSU_00033447-52
                  25    WSU_00033744
                  26    WSU_00033791-96
                  27    WSU_00034194-95
                  28    WSU_00034458-60
                  29    WSU_00034704-13
                  30    WSU_00036375-452
                  31    WSU_00036453-531
                  32    WSU_00036532-610
                  33    WSU_00036611-691
                  34    WSU_00036692-772
                  35    WSU_00036773-852




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                  No.                                                                  Description
                 Non-Bates Stamped Documents
                  36    Second Amended Complaint, Nicholas Rolovich v. Washington State University, et al. , dated September 19, 2023
                  37    Plaintiff’s First Set of Interrogatories to Defendant and Defendant’s First Supplemental Answers and Objections Thereto, Nicholas
                        Rolovich v. Washington State University, et al., dated July 24, 2024
                  38    Expert Report of David A. Hall, dated July 1, 2024
                  39    Expert Report of Guy H. Palmer, DVM, PhD, dated August 11, 2024
                  40    Rough Draft of Jason Sampson Deposition, Rolovich v. Washington State University, et al. , dated August 2, 2024

                 Research
                  41    Harry, Molly, Financial Ramifications of Coronavirus on Division I Athletic Department at
                        https://www.ojed.org/index.php/gsm/article/view/2813/1590
                  42    https://247sports.com/longformarticle/2022-2023-college-football-coaching-carousel-data-208652178
                  43    https://apnews.com/article/sports-college-football-college-sports-football-health-e7dfc686595462e1a588e4751dbd163b
                  44    https://athlonsports.com/college-football/college-football-teams-canceled-their-2020-season-fbs
                  45    https://calbears.com/news/2020/12/12/cal-at-washington-state-football-game-cancelled.aspx
                  46    https://cfbselect.com/2023/03/02/how-many-games-in-a-college-football-season
                  47    https://duckswire.usatoday.com/2021/08/12/pac-12-releases-statement-on-2021-2022-forfeiture-policy
                  48    https://from.wsu.edu/president/2021/time-to-lean-in/email.html
                  49    https://governor.wa.gov/news/2022/inslee-announces-end-remaining-covid-19-emergency-orders-and-state-emergency-october-31
                  50    https://governor.wa.gov/sites/default/files/2023-01/21-14.1%20-%20COVID-19%20Vax%20Washington%20Amendment.pdf
                  51    https://governor.wa.gov/sites/default/files/proclamations/21-14.6%20-
                        %20COVID%20Vaccination%20Requirement_Recission_%28tmp%29.pdf
                  52    https://ktla.com/news/nationworld/college-football-fans-head-back-to-stadiums-some-with-vaccination-cards-and-masks
                  53    https://nevadasportsnet.com/news/reporters/here-are-25-candidates-who-could-be-nevada-footballs-next-head-coach
                  54    https://news.stanford.edu/stories/2020/07/athletics-faq
                  55    https://news.wsu.edu/news/2021/03/31/washington-adults-eligible-covid-19-vaccine-beginning-april-15
                  56    https://news.wsu.edu/news/2021/04/15/cougar-health-services-hosting-vaccine-clinics-spring
                  57    https://news.wsu.edu/press-release/2021/04/30/wsu-present-plan-balancing-athletics-operating-budget-2023
                  58    https://pac-12.com/news/2020/10/3/pac-12-announces-2020-football-schedule
                  59    https://pac-12.com/news/2020/11/22/boeing-apple-cup-update
                  60    https://sports.yahoo.com/will-there-be-college-football-a-new-flurry-of-pessimism-has-arrived-222609082.html
                  61    https://thesportjournal.org/article/college-footballs-bottom-line-impact-exploring-the-relationship-of-football-performance-on-athletic-
                        finances-for-division-i-institutions-today
                  62    https://thewire.signingdaysports.com/articles/what-is-the-power-5/
                  63    https://tournamentofroses.com/cfp-semifinal-at-the-rose-bowl-stadium-to-be-relocated-to-att-stadium-in-dallas-on-january-1-2021/
                  64    https://tucson.com/sports/arizonawildcats/amid-pandemic-arizona-coaches-set-new-national-standard-for-sacrifice-up-to-20-in-
                        pay/article_4a90f49e-2581-52e7-af1a-a83c9bb3158c.html


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                  No.                                                                   Description
                  65    https://tucson.com/sports/pac-12-hotline/pac-12-hotline-wildcats-are-100-vaccinated-asu-wont-disclose-numbers/article_7eb1de82-
                        0111-11ec-965d-c74107efe30e.html
                  66    https://uconnhuskies.com/news/2020/8/5/uconn-football-announces-cancellation-of-2020-season-due-to-risks-associated-with-covid-
                        19.aspx
                  67    https://wsu.edu/about
                  68    https://wsucougars.com
                  69    https://wsucougars.com/news/2020/11/20/wsu-athletics-washington-state-stanford-football-game-cancelled.aspx
                  70    https://wsucougars.com/news/2020/12/12/wsu-athletics-washington-state-california-football-game-canceled.aspx
                  71    https://wsucougars.com/sports/football/schedule
                  72    https://wsucougars.com/sports/football/schedule/2020
                  73    https://wsucougars.com/sports/football/schedule/2021
                  74    https://wsucougars.com/sports/football/schedule/2022
                  75    https://www.azdesertswarm.com/football/2020/10/19/21523836/pac12-football-coronavirus-cancellation-policy-2020-restart-outbreak-
                        minimum-scholarship-players
                  76    https://www.azdesertswarm.com/football/2021/8/19/22633460/arizona-wildcats-football-program-vaccination-rate-100-percent-covid-
                        19-coronavirus-pac-12-by-team
                  77    https://www.cbssports.com/college-football/news/big-ten-football-schedule-2020-league-to-play-eight-games-plus-consolation-games-
                        on-championship-week
                  78    https://www.cbssports.com/college-football/news/sec-establishes-forfeit-policies-for-college-football-games-canceled-due-to-covid-19/

                  79    https://www.cdc.gov/museum/pdf/cdcm-pha-stem-lesson-contact-tracing-lesson.pdf
                  80    https://www.cougcenter.com/2020/10/20/21524300/pac-12-cancelled-games-tiebreakers-wsu-cougars
                  81    https://www.cougcenter.com/2020/11/22/21590479/apple-cup-canceled-wsu-cougars-covid-washington-huskies
                  82    https://www.eeoc.gov/statutes/title-vii-civil-rights-act-1964
                  83    https://www.espn.com/college-football/schedule/_/week/11/year/2021/seasontype/2
                  84    https://www.espn.com/college-football/story/_/id/30559293/cfp-semifinal-scheduled-rose-bowl-moving-att-stadium-arlington-texas
                  85    https://www.espn.com/college-football/story/_/id/32459767/inside-nick-rolovich-downfall-washington-state-covid-19-vaccine
                  86    https://www.espn.com/college-football/story/_/id/39540583/pac-12-commissioner-george-kliavkoff-agree-part-ways
                  87    https://www.espn.com/college-sports/story/_/id/29198526/college-football-return-key-athletic-departments-deal-financial-wreckage-due-
                        coronavirus-pandemic
                  88    https://www.espn.com/olympics/story/_/id/30116720/the-heartbreaking-reality-staggering-numbers-ncaa-teams-cut-pandemic
                  89    https://www.faa.gov/sites/faa.gov/files/2022-07/ATTF_Excise_Tax_Rate_Structure_CY_2022.pdf
                  90    https://www.insidehighered.com/news/2020/07/09/ivy-league-will-not-play-fall-sports-2020
                  91    https://www.insidehighered.com/news/2021/01/12/colleges-spent-millions-covid-19-expenses-fall-even-sources-income-shrank-data-
                        show
                  92    https://www.jhunewsletter.com/article/2020/10/non-revenue-sports-should-not-be-scapegoats-for-budget-cuts
                  93    https://www.khon2.com/sports/uh-immediately-begins-search-for-next-head-football-coach-following-todd-grahams-resignation
                  94    https://www.linkedin.com/company/meltwater


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                  No.                                                             Description
                   95   https://www.nationalbuscharter.com/charter-bus-rental-prices
                   96   https://www.ncaa.com/news/football/article/2018-12-26/how-college-football-bowl-games-work
                   97   https://www.ncaa.org/news/2021/10/6/general-di-council-approves-one-year-waiver-of-football-scholarship-limits.aspx
                  98    https://www.ncaa.org/sports/2021/2/16/overview.aspx
                   99   https://www.ncaa.org/sports/2021/5/11/our-division-i-members.aspx
                  100   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC10209992/#app1
                  101   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7709178
                  102   https://www.nytimes.com/athletic/4203384/2021/08/04/ncaa-releases-covid-19-guidelines-suggests-longer-quarantines-for-
                        unvaccinated/
                  103   https://www.on3.com/news/current-fbs-coaches-have-been-in-their-jobs-for-an-average-of-just-3-7-years
                  104   https://www.paramountbusinessjets.com/private-jet-charter/aircraft/learjet-45
                  105   https://www.paramountbusinessjets.com/private-jet-rental-cost
                  106   https://www.si.com/college/2021/01/11/college-football-2020-season-covid-19-daily-cover
                  107   https://www.si.com/nfl/2020/08/18/economic-fallout-nfl-impact-of-college-football-season-cancellations
                  108   https://www.sportico.com/leagues/college-sports/2020/pac-12-cancelled-football-revenue-1234616953/
                  109   https://www.sportico.com/leagues/college-sports/2022/college-sports-data-covids-1234658809/
                  110   https://www.sportingnews.com/us/ncaa-football/news/college-football-bowl-cancellations-covid-19/1b0vt5f7z28qs1iu490s2wu9wf
                  111   https://www.sports-reference.com/cfb/schools/washington-state/bowls.html
                  112   https://www.travelmath.com/flying-time/from/Pullman,+WA/to/Seattle,+WA
                  113   https://www.travelmath.com/flying-time/from/Pullman,+WA/to/Tucson,+AZ
                  114   https://www.usatoday.com/story/sports/ncaaf/2020/04/14/college-football-major-programs-could-see-billions-revenue-go-
                        away/2989466001/
                  115   https://www.usatoday.com/story/sports/ncaaf/pac12/2021/07/21/washington-state-coach-nick-rolovich-unvaccinated-covid-media-
                        day/8049468002
                  116   https://www.washingtonpost.com/sports/2020/08/12/college-football-canceled-faq
                  117   https://x.com/NickRolovich/status/1417957468366200832/photo/1




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                                                                  Statement of Revenues and Expenses for WSU Athletics
                                                                                     FY 2018 - FY 2023

                                                                                             (1)                     (2)                     (3)                    (4)                    (5)                    (6)
                                          Item                                 FY 2018                 FY 2019                 FY 2020                 FY 2021                FY 2022                FY 2023
             Revenues
              Ticket Sales                                                 $    8,406,070          $    9,508,360          $    8,620,981          $        7,365         $    9,299,636         $   10,198,582
              Student Fees                                                      1,574,788               1,502,845               1,440,904               1,053,997              1,275,107                900,535
              Direct Institutional Support                                      3,453,878               3,658,000               3,767,000               3,758,000             13,653,596              5,882,999
              Indirect Institutional Support                                      308,852                 301,170                 298,489                 307,091                435,000                400,000
              Guarantees                                                                -                 316,200                 100,000                       -                      -                315,000
              Contributions                                                     9,143,479              11,662,904              14,563,852               7,746,721              9,945,450             11,774,366
              In-Kind                                                             162,345                  41,933                  38,762                  38,762                328,752              1,366,250
              Media Rights                                                     19,814,500              20,834,583              21,906,797              17,018,667             24,221,502             25,468,828
              NCAA Distributions                                                1,388,924               1,415,461                 434,302               1,452,296              1,288,143              1,556,009
              Conference Distributions (Non Media and Non Bowl)                10,709,299              11,984,865              12,357,527               4,015,983             13,181,438              8,834,084
              Program, Novelty, Parking and Concession Sales                    1,014,976                 966,992                 865,849                  20,235              1,363,338              1,697,331
              Royalties, Licensing, Advertisement and Sponsorships              4,440,208               4,576,936               4,341,126               3,412,926              4,949,281              4,584,354
              Sports Camp Revenues                                                326,716                 480,539                 272,843                   9,417                256,196                550,481
              Athletics Restricted Endowment and Investments Income               676,067                 701,698                 711,669                 768,792                828,311                887,797
              Other Operating Revenue                                           1,249,472               1,893,284               3,650,134                 479,466              2,086,750              2,555,407
              Bowl Revenues                                                     2,448,141               1,845,569               1,370,951                       -              1,916,325              2,009,201
             Total Operating Revenues                                      $   65,117,715          $   71,691,339          $   74,741,186          $   40,089,718         $   85,028,825         $   78,981,224

             Expenses
              Athletic Student Aid                                         $   10,779,818          $   11,024,162          $   10,461,688          $   11,424,943         $   12,225,098         $   12,342,793
              Guarantees                                                        1,687,947               1,724,640               1,939,725                 374,613              1,911,192              1,328,250
              Coaching Salaries, Benefits and Bonuses Paid by the
              University and Related Entities                                  12,788,800              13,884,074              13,993,061              13,195,423             12,204,570             14,187,865
              Support Staff/ Administrative Compensation, Benefits and
              Bonuses paid by the University and Related Entities              13,261,269              13,833,295              14,472,497              12,367,812             16,938,846             15,605,518
              Severance Payments                                                1,099,264                 673,588               3,106,974               1,440,695              1,074,339                      -
              Recruiting                                                        1,269,495               1,362,747               1,179,747                 230,390              1,423,288              1,847,093
              Team Travel                                                       4,127,165               4,124,912               4,007,492               2,703,706              4,918,158              6,130,740
              Sports Equipment, Uniforms and Supplies                           2,160,593               1,753,539               1,814,142               1,802,288              1,899,000              2,108,671
              Game Expenses                                                     2,022,397               2,273,069               1,899,196                 739,896              2,793,628              2,861,718
              Fund Raising, Marketing and Promotion                             2,021,348               1,848,017               1,261,660               1,214,236              1,502,202              2,646,999
              Sports Camp Expenses                                                279,414                 319,796                 276,717                  18,197                 68,724                269,267
              Spirit Groups                                                       209,277                 162,655                 210,299                  80,606                 97,717                383,362
              Athletic Facilities Debt Service, Leases and Rental Fee           9,214,963               9,221,913               9,215,738               9,965,854             10,802,306             11,036,457
              Direct Overhead and Administrative Expenses                       1,996,167               2,437,547               2,301,916               1,870,427              1,977,375              1,753,674
              Indirect Institutional Support                                      308,852                 301,170                 298,489                 307,091                435,000                400,000
              Medical Expenses and Insurance                                      837,520                 713,497                 543,689               1,055,790              1,029,551              1,868,708
              Memberships and Dues                                              2,139,759               2,281,898               2,346,636               2,684,084              2,255,108              2,842,357
              Student-Athlete Meals (non-travel)                                1,112,910               1,057,741                 932,824                 831,060              1,459,192              1,578,286
              Other Operating Expenses                                          4,628,114               5,213,745               5,018,297               2,694,917              6,705,328              9,440,311
              Bowl Expenses                                                     1,465,763               1,634,111               1,616,793                       -              1,575,635              1,913,802
              Bowl Expenses - Coaching Compensation/ Bonuses                      364,200                 412,850                 374,350                       -                395,734                363,366
             Total Operating Expenses                                      $   73,775,035          $   76,258,966          $   77,271,930          $   65,002,028         $   83,691,991         $   90,909,237
             Excess (Deficiencies) of Revenues Over (Under) Expenses       $   (8,657,320)         $   (4,567,627)         $   (2,530,744)         $ (24,912,310)         $    1,336,834         $ (11,928,013)




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                                                                                        FY 2018 - FY 2023

             Sources and Note:
             (1) WSU_00036375-452 at 450-52.
             (2) WSU_00036453-531 at 529-31.
             (3) WSU_00036532-610 at 608-10.
             (4) WSU_00036611-691 at 689-91.
             (5) WSU_00036692-772 at 770-72.
             (6) WSU_00036773-852 at 850-52.
             (7) I understand WSU's fiscal year is July 1 to June 30. For example, Fiscal Year 2018 is the period from July 1, 2017 to June 30, 2018.




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                                                                 Statement of Revenues and Expenses for WSU Football
                                                                                   FY 2018 - FY 2023

                                                                                         (1)                     (2)                    (3)                    (4)                    (5)                    (6)
                                      Item                                  FY 2018                 FY 2019                FY 2020                FY 2021                FY 2022                FY 2023
          Revenues
           Ticket Sales                                                 $    7,844,423          $    9,022,129         $    7,963,775         $            -         $    8,718,722         $    9,361,787
           Student Fees                                                              -                       -                      -                      -                      -                695,535
           Direct Institutional Support                                      1,130,833               1,320,528              1,203,925              1,194,893                871,442                937,256
           Guarantees                                                                -                 300,000                100,000                      -                      -                300,000
           Contributions                                                     2,444,071               3,120,369              2,821,702              2,306,105              2,910,027              3,751,898
           In-Kind                                                              43,000                  22,333                 16,248                 16,248                116,248                400,000
           Media Rights                                                     16,842,325              17,709,396             18,620,777             14,465,867             20,588,277             21,648,504
           NCAA Distributions                                                  300,077                 316,240                104,159                482,818                434,704                641,090
           Conference Distributions (Non Media and Non Bowl)                 9,102,904              10,187,135             10,493,698              3,413,586             11,204,222              7,508,971
           Program, Novelty, Parking and Concession Sales                            -                       -                      -                      -                474,137                908,083
           Royalties, Licensing, Advertisement and Sponsorships                376,250                 376,250                365,000                400,000                300,000                      -
           Sports Camp Revenues                                                 16,300                  28,594                  2,267                    160                 16,810                 58,049
           Athletics Restricted Endowment and Investments Income               230,251                 213,361                193,321                222,221                 74,562                 81,214
           Other Operating Revenue                                               5,424                     804                      -                      -                      -                457,051
           Bowl Revenues                                                     2,448,141               1,845,569              1,370,951                      -              1,916,325              2,009,201
          Total Operating Revenues                                      $   40,783,999          $   44,462,708         $   43,255,823         $   22,501,898         $   47,625,476         $   48,758,639

          Expenses
           Athletic Student Aid                                         $    3,666,058          $    3,906,024         $    3,609,492         $    4,155,297         $    4,440,000         $    4,623,449
           Guarantees                                                        1,025,000                 950,000              1,136,250                      -              1,075,000                875,000
           Coaching Salaries, Benefits and Bonuses Paid by the
           University and Related Entities                                   6,905,217               7,781,677              7,816,259              7,315,361              5,844,558              7,117,932
           Support Staff/ Administrative Compensation, Benefits and
           Bonuses Paid by the University and Related Entities               1,628,422               1,753,388              1,984,027              2,158,915              5,199,324              2,686,345
           Severance Payments                                                        -                       -                992,990                      -                      -                      -
           Recruiting                                                          523,791                 503,936                402,492                114,969                641,614                887,559
           Team Travel                                                       1,066,412               1,058,373              1,377,260                695,993              1,235,880              1,460,828
           Sports Equipment, Uniforms and Supplies                             968,684                 737,180                755,851                760,427                394,650                837,292
           Game Expenses                                                     1,188,519               1,324,507              1,033,218                143,770              1,179,266              1,218,488
           Fund Raising, Marketing and Promotion                                     -                       -                      -                      -                    700                 28,860
           Sports Camp Expenses                                                 13,171                  16,594                  3,780                  8,046                 11,791                 29,812
           Direct Overhead and Administrative Expenses                         202,897                 692,228                642,091                231,654                      -                180,901
           Medical Expenses and Insurance                                            -                       -                      -                      -                    109                      -
           Memberships and Dues                                                  1,977                   2,009                  1,284                  2,684                  4,875                  6,652
           Student-Athlete Meals (Non-Travel)                                  373,404                 398,710                359,959                350,345                 74,729                 90,148
           Other Operating Expenses                                            629,860                 880,581                943,805                596,078                748,480              3,015,338
           Bowl Expenses                                                     1,465,763               1,634,111              1,616,793                      -              1,575,635              1,913,802
           Bowl Expenses - Coaching Compensation/ Bonuses                      364,200                 412,850                374,350                      -                395,734                363,366
          Total Operating Expenses                                      $   20,023,375          $   22,052,168         $   23,049,901         $   16,533,539         $   22,822,345         $   25,335,772
          Excess (Deficiencies) of Revenues Over (Under) Expenses       $   20,760,624          $   22,410,540         $   20,205,922         $    5,968,359         $   24,803,131         $   23,422,867




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          Sources and Note:
          (1) WSU_00036375-452 at 450-52.
          (2) WSU_00036453-531 at 529-31.
          (3) WSU_00036532-610 at 608-10.
          (4) WSU_00036611-691 at 689-91.
          (5) WSU_00036692-772 at 770-72.
          (6) WSU_00036773-852 at 850-52.
          (7) I understand WSU's fiscal year is July 1 to June 30. For example, Fiscal Year 2018 is the period from July 1, 2017 to June 30, 2018.




                                                                                                  Page 2 of 2

                                                                                                ER0986
(199 of 299), Page 199 of 299                     Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 199 of 299
                                     Case 2:22-cv-00319-TOR      ECF No. 96    filed 10/14/24   PageID.1673                           Page 68
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                                                            Nicholas Rolovich v. Washington State University                                            Attachment D.1
                                                          WSU’s Football Revenue by Channel Excluding FY 2021



                                                                                                                                                           Average
                                                                                                                                                          Excluding
                       Item                    FY 2018            FY 2019           FY 2020           FY 2021           FY 2022            FY 2023         FY 2021
          Ticket Sales                               19.2%             20.3%             18.4%               0.0%             18.3%             19.2%          19.1%
          Contributions                               6.0%              7.0%              6.5%              10.2%              6.1%              7.7%           6.7%
          Media Rights                               41.3%             39.8%             43.0%              64.3%             43.2%             44.4%          42.4%
          Conference Distributions                   22.3%             22.9%             24.3%              15.2%             23.5%             15.4%          21.7%
          Other Revenue                              11.2%              9.9%              7.8%              10.3%              8.8%             13.3%          10.2%
          Total Operating Revenues                  100.0%            100.0%            100.0%            100.0%             100.0%            100.0%         100.0%




          Source and Note:
          (1) Attachment D.
          (2) I understand WSU's fiscal year is July 1 to June 30. For example, Fiscal Year 2018 is the period from July 1, 2017 to June 30, 2018.




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                                                                                 ER0987
(200 of 299), Page 2002:22-cv-00319-TOR
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                             Case: 25-761, 06/12/2025, DktEntry:
                                            ECF No. 89-17   filed 26.6, Page 200
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                                                                       '
                                                         WASHINGTON STATE
                                                                 ATHLETICS




               November 12, 2021

               Nicholas R. Rolovich
               1815 SW Casey Court
               Pullman, WA 99163

               RE:      Notice of Decision to Terminate for Just Cause

              Mr. Rolovich:

              Pursuant to Paragraph 4.2 of your employment agreement, this letter constitutes notice
              of termination for just cause from your employment as head football coach at
              Washington State University, effective immediately.

              This decision has been made after careful review and consideration of your lengthy and
              detailed response, which includes many inaccurate statements and legal claims. I did
              not find your response persuasive and will not respond to each and every contention.
              However, please note the following:

                   •    Background: Per the Governor's Proclamation 21-14.1, all state employees,
                       including those In higher education, were required to be fully vaccinated against
                       COVID-19 by October 18, 2021, unless they had an approved medical or
                       religious accommodation. You requested an exemption/accommodation on
                       religious grounds, which the University denied on October 18, 2021, thereby
                       rendering you in violation of the Proclamation and ineligible for continuing
                       employment at Washington State University. On October 18, 2021, the University
                       issued you written notice of its intent to terminate your employment for just
                       cause in accordance with the Proclamation and your contract of employment.

                  •    Regarding the University's decision that granting an exemption would
                       cause undue hardship to the Athletic Depart ment and the University:
                       You claim that your .ability to fulfill your duties as head football coach has not
                       been and would not be impacted by your vaccination status. This Is false. Your
                       performance of your duties has been significantly hindered and would continue
                       to be as long as you are unvaccinated, notwithstanding any reasonable
                       accommodations that might be implemented. Your activities have had to be
                       continually and severely limited to a much greater extent than if you had been
                       vaccinated, in order to mitigate the risk of you becoming Infected or infecting
                       others. In addition to the information WSU provided you and your attorney in



                                Washington State University I Department of Intercollegiate Athletics I Office of the
                                                                                                                      Director
             Bohler Athletic Complex 110, PO Box 641602, Pullman, WA 99164·1602 I 509·335-0200
                                                                                                   I Fax: 509-335-4501 I www.wsucougars.com



                                                                                                                   Exhibit P Page 2

                                                                    ER0988                                                      WSU_00000001
(201 of 299), Page 2012:22-cv-00319-TOR
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                             Case: 25-761, 06/12/2025, DktEntry:
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                    previous documents, including the October 18, 2021, Notice of Intent to
                    Terminate for Just Cause, I note the following:
                       o The Pac-12 Conference, not the University, barred you from attending
                           Pac-12 Media Day in person due to the vaccination requirement for head
                           coaches. You were the only Pac-12 head coach unvaccinated and unable
                           to attend in-person. Instead of showcasing our student athletes and the
                           WSU football program, you became the story. You claim this was not
                           your choice and that other conferences operate differently. This
                           completely misses the point. It was your choice not to get vaccinated,
                           and your job required you to be successful and operate as a Pac-12 head
                           football coach, which means adhering to Pac-12 rules.
                        o You have been significantly hindered in your ability to successfully contact
                           and recruit prospective student-athletes, because you have been
                            restricted from attending any locale that has vaccine requirements,
                           including high schools, high school sporting events, junior colleges, other
                            universities' sporting events, or other prospect camps. Vitally important
                            recruiting areas, especially on the west coast, including California and
                            western Washington, which are historically WSU's most significant
                            geographical areas for recruiting, are essentially inaccessible to you as a
                            recruiter. Moreover, Hawaii, a state where you have extensive ties and
                            should be able to recruit in-person with a high level of success, also has
                            very stringent COVID-19 restrictions, which have limited your ability to
                            successfully recruit in that state. Over 2/3 of our current football roster
                             has student-athletes who reside from the states of Washington, California,
                             Oregon, and Hawaii. WSU cannot sustain a successful football program if
                             coaches are limited in recruiting locations.
                        o Aside from the restrictions noted above, non-competition travel by
                             unvaccinated coaches requires a quarantine upon return to campus. This
                             has limited your ability to be on the road during key recruiting periods and
                             reduced the number of days you can spend traveling for recruiting
                             purposes. Also, WSU cannot risk losing recruits who refuse to visit
                             campus because Athletics is accommodating unvaccinated coaches.
                         o As a result of your recruiting limitations, the football program's recruiting
                             statistics and verbal commitments for the 2022 recruiting cycle have been
                             directly impacted and are unacceptably low. You personally stated your
                             expectation of signing a full class, which would mean a minimum of 25
                             initial signees. Contrary to your claim, NCAA regulations would not have
                             prevented you from signing more prospective student-athletes; it was




                                                                                          Exhibit P Page 3

                                                      ER0989                                        WSU_00000002
(202 of 299), Page 2022:22-cv-00319-TOR
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                          your responsibility to manage the roster to incorporate a full class of new
                          student-athletes. Recruiting at the level of a Pac-12 Conference institution
                          requires a robust recruiting plan and effort.
                       o Because you are unvaccinated, you were required to quarantine after
                          travel, which limited your participation in many important activities,
                          including donor meetings. You appear to acknowledge this by explicitly
                          stating you deliberately chose not to attend certain in-person donor
                          events, which you had previously agreed to attend and were on your
                          schedule. However, every Pac-12 head football coach must be able to
                          regularly attend donor visits and events and actively engage in marketing
                          efforts, in addition to other duties. Because you were unvaccinated, your
                          ability to interact with key constituents, including students, donors, fans,
                          and others, was severely impacted.
                       o The Athletic Department has incurred significant costs associated with the
                           need to test you and other unvaccinated football coaches for COVID-19 on
                           a daily basis. The Pac-12 requires a minimum of three (3) tests per week
                           for unvaccinated staff, in addition to pre-competition testing, and the
                           Athletic Department policy requires daily testing. PCR testing, which must
                           occur at least weekly for unvaccinated individuals and 72 hours prior to
                           competition or travel, costs approximately $100 per test. The cost for
                           testing alone of unvaccinated staff from August 2021 through final tests
                           on October 18, 2021, was $10,000. In addition to that cost, because of
                           the workload of increased testing caused by you and other unvaccinated
                           coaches, the Athletics Department was required to hire additional staff to
                            assist in COVID-19 testing, at considerable expense. It is important to
                            note that these testing requirements do not apply to vaccinated players
                           and staff, and that football was the only intercollegiate athletic program at
                            WSU to have unvaccinated coaching staff.
                        o Overwhelming scientific evidence establishes the efficacy of the vaccine in
                            mitigating the spread of COVID-19 and preventing severe disease. By
                            refusing to support, and by you and your staff at times actively opposing,
                            the University's COVID-19 education and vaccination efforts, and by
                            setting a very public example, you have undermined the University's
                            efforts to promote student safety. Although numbers are gradually
                            improving, the football program has the lowest student-athlefe vaccination
                            rate of any intercollegiate athletics team at WSU and among the lowest
                            rate in the Pac-12. The football program experienced COVID-19
                            outbreaks in fall 2020 and spring 2021 that far exceeded any outbreaks
                            among other intercollegiate athletics teams at WSU. In addition, WSU had




                                                                                        Exhibit P Page 4

                                                     ER0990                                       WSU_00000003
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                            to miss or reschedule several of the seven scheduled games in the
                            restructured fall 2020 football season, including two cancellations.

                 •    Regarding the University's decision that you do not have a sincerely
                      held religious belief that conflicts with the University's vaccine
                      requirement:
                         o Prior to the Governor's proclamation, and since the beginning of the
                            pandemic, you openly and freely expressed your opposition to the vaccine
                            and other COVID-19 mitigation efforts on numerous occasions to
                            numerous people, citing your own "scientific" research and making
                            statements mirroring several specific online conspiracy theories, which
                            included demonstrably false claims. In addition, at no point did you ever
                            mention any religious concerns (ex: regarding fetal tissue). Therefore,
                            your current claim that your private, unexpressed concerns were actually
                            religious in nature is simply not credible. Your statement that you and
                             some of your staff had unsuccessfully tried to secure documentation for a
                             medical exemption undermines your claim. Only alierit became clear that
                             a religious exemption was your only other option did you claim to have
                             religious beliefs that conflict with the vaccine requirement. It is
                             understandable that you would want the University's review to exclude _~
                             information regarding your own prior statements in Its decision; however,
                             under EEOC Guidance, these are appropriate considerations, and your
                             assertion to the contrary is false. Further, under EEOC Guidance, personal
                             or philosophical beliefs do not give an individual a basis to claim a
                             religious exemption.

                  •   Regarding the University's exemption process:
                        o Contrary to your claims, the University followed its process. You claim the
                           University guaranteed a blind review of your request for a religious
                           exemption and that it was improper for the Athletics Department to
                           provide information contradicting your claim. Nothing In WSU's policy
                           states or implies that it was improper for the Athletics Department to
                           provide additional information bearing on this question. The committee's
                           initial review is "blind" and based solely on information provided by the
                           employee; however, once the committee makes its initial determination,
                           the employee's unit is informed of the initial determination and has an
                           opportunity to provide information specific to that employee and their job
                           duties. The Athletics Department did not receive information about your _
                           request until it was appropriate for it to do so in accordance with the




                                                                                          Exhibit P Page 5

                                                      ER0991                                        WSU_00000004
(204 of 299), Page 2042:22-cv-00319-TOR
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                          process. Further, the religious exemption request form is clear that
                          "additional follow up information" may be sought, and there is nothing
                          that limits WSU to information provided by the employee.
                        o You claim that if WSU had concerns about the sincerity of your religious
                          beliefs, it was required to allow you to submit additional information.
                          Again, however, the religious exemption request form uses the permissive
                          "may," not "shall." Moreover, your November 2, 2021, response to the
                          notice of intent to terminate provides ample additional information
                           regarding your request for a religious exemption, and I do not find this
                          information persuasive. As discussed above, your prior statements, as -
                          well as the timing of your request for a religious exemption, Indicate that
                           your objection to the vaccine requirement was based on factors other
                           than religion.
                        o Finally, you claim that the Athletics Department and I "overturned" the
                           accommodation recommendations of WSU's Environmental Health and
                           Safety (EHS). This is false. As part of the normal process, EHS provided
                           information regarding possible accommodations but, consistent with the
                            University's process, did not make a decision on this issue or even a
                            recommendation regarding undue hardship. The October 14, 2021,
                            memorandum from EHS clearly states, "EHS will not determine whether
                            these interventions and countermeasures fundamentally alter the
                            employee's job and cannot be accommodated."

                  •   Regarding your insubordination and threat of violence:
                         o   You claim you were merely expressing your "frustration with, and dislike
                             of June Jones," and that you would never physically harm him. However,
                             your exact words were, "I don't want to see that mother rt:cker and will
                             fight him if you bring him out to practice." Your tone and profanity during ·
                             that interaction were deeply concerning and demonstrated a lack of self-
                             control. The clear implication was that violence was in fact possible and
                             actually intended against your former mentor and coach. Although you
                             may have been frustrated, this is clearly a threat of physical violence and
                             an attempt to obstruct the Athletics Department's contingency plans ·for
                             the football program.

               Finally, your claims of "bias" or "hostility" towards your religion are misguided. My
               primary concern, as the WSU Director of Athletics, has always been the well-being of
               the student-athletes under your supervision as we attempt to build a successful WSU
               football program. Diversity and inclusion are in our Department's core values and




                                                                                          Exhibit P Page 6

                                                       ER0992                                       WSU_00000005
(205 of 299), Page 2052:22-cv-00319-TOR
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              adhered to on a daily basis. This includes respect for people's personal religious
              practices (like you, I am also a practicing Catholic), which further reinforces the
              baseless nature of this claim.

              Based on the above, as well as the information in the October 18, 2021, Notice of
              Intent to Terminate for Cause and the other documents submitted in the religious
              exemption process and provided to your attorney, which are attached and incorporated
              herein, I find that you violated each of the sections of your contract outlined in the
              Notice of Intent to Terminate for Cause and that these violations were deliberate,
              serious, and seriously prejudicial to the University and the football program, thereby
              warranting termination for just cause.

              Pursuant to Paragraph 4.3 of your employment agreement, you have fifteen (15)
              calendar days to appeal this decision to the University President. However, your right
              to receive any payment under your employment agreement shall cease November 15,
              2021, the day a~er this letter is issued, and you are not entitled to receive any
              compensation pending the appeal.




               Patrick Chun
               Director of Athletics

               Enc.
               1. Notice of Intent to Terminate for Just Cause
               2. September 28, 2021, email from HRS with instructions for completing the religious
                  exemption form
               3. October 6, 2021, notification to Athletics from HRS Exemptions
               4. October 13, 2021, memorandum from Athletics regarding undue hardship
               5. October 13, 2021, supplemental memorandum from Athletics regarding sincerely
                  held religious belief
               6. October 14, 2021, memorandum from EHS
               7. October 18, 2021, memorandum from Athletics to HRS/EHS
               8. October 1Bt 2021, email from HRS exemptions with notice of denial of religious
                  exemption

               cc:    Brian Fahling, Attorney for Nicholas Rolovich
                      Danielle Hess, WSU Division Chief, Office of the Attorney General
                      Personnel File




                                                                                           Exhibit P Page 7

                                                       ER0993                                        WSU_00000006
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                                                         WASHINGTCN STATE
                                                                 ATHLETICS




                                                                                                            Hand Delivered
                         October 18, 2021

                         Nicholas R. Rolovich
                         1815 SW Casey Cou,1
                         Pullman, WA 99163

                          Re:        Written Notice of Intent to Terminate for Just Cause

                         Coach Rolovich:

                         Pursuant to Paragraphs 4.1 through 4.3 of your Employment Agreement as Head Men's Football
                         Coach, this letter constitutes notice of the University's intent to terminate your employment fo1·
                         just cause.                                                       ·

                                •    You we1·e notified on September 1, 2021, and September 23, 2021, that per Proclamation
                                     21-14.1, all state employees, including those in higher education, would be required to be
                                     fully vaccinated against COVID-19 via one of the FDA approved vaccines by October
                                     18, 2021.

                                ·•   The notice stated that if not vaccinated, you could apply for a medical or religious
                                     exemption and accommodation through WSU Human Resources (HRS). The University
                                     provided notice of the process on August 31, 2021, September 8, 2021, September 29,
                                     2021, and October 4, 2021.

                                •    You request~d an exemption from the vaccine requirement on religious grounds. Your
                                     request was denied on October 18, 2021.

                          This action is in accordance with the terms of your contract, signed in April 2020, and amended
                          in April 2021. The specific provisions violated include the following:

                                •    Paragraph 1.2. l requires you to devote yom· best effo11s to the performance of your
                                     duties. In particular, you are required to "comply with and suppo11 all rules, regulations,
                                     policies, and decisions established or issued by the University." Further, you must "abide
                                     by all provisions of law." Your failure to comply with the vaccination requirement, which
                                     is both a University policy and requirement of law under the Governor's Proclamation,
                                     violates these provisions and has rendered you legally unable to perform your duties as
                                     Head Coach. Your non-compliance with the vaccine requirement, and the fact that you
                                     are now legally unable to fulfill your obligations to the U1-iiversity as Head Coach, also
                                     violates Section 4.1.5 of youl' Employment Agreement, conduct of Employee seriously
                                     prejudicial to the best interests of the University 01· its athletic program, and Paragraph
                                     4. 1.1.                                 .

                                •    Paragraph 4.1.1 prohibits you from ·engaging in "deliberate and serious violations" of
                                     your duties, or "refusal or unwillingness to perform such duties in good faith and to the
                                     best of your abilities" As noted in my July 26, 2021, warning letter to you, your contract

                                  Washington State University I Department of lntercolleglete Athletics I Office of the Director
               Bohler Athlellc Complex 110, PO Box 641602, Pullman, WA 99164-1602 ( 509-335·0200 I Fax: 609-335-4501 I www.wsucougars.com




                                                                                                                Exhibit P Page 8

                                                                  ER0994                                                    WSU_00000007
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                Case    of 299
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                      Nicholas R. Rolovlch
                 ..__ Page 2


                              requires you to participate in events, activities, and efforts to foster support for the
                              Football program, and your personal decision to forego a COVID-19 vaccination has
                              impacted yoQ1' ability to do so, interfering with your ability to meet with donors and
                              others. These activities are a critical part of being a head football coach at a Pac-12
                              school. See 1.2.1.2.h. Because of your decisions, WSU, the Football program, and the
                              Athletics programs have been subject to several damaging events. These events include
                              the following:

                              •   Your inability to attend in-person Pac-12 Football Media Day in Los Angeles on July
                                  27, 2021. Because of your decision to not get vaccinated, you were the only coach
                                  who did not attend in person. Your decision became the primary story concerning
                                  football and put om· student athletes and other attendees in the position of having to
                                  address your absence. This was, and continues to be, a major distraction for the
                                  University, Athletics depa11ment, and the Football _team.

                              •   Your inability to attend any of the regularly scheduled Friday donor lunches. Section
                                  1.2.1.2.h requires that you participate in events, activities, and/01· efforts to foster
                                  support for the University's Athletic Department and/or the Football program. You
                                  have not actively participated in donor engagement, foster program support, or
                                  fundraising. The Friday donor lunch is a critical component of donor outreach, and
                                  your absence has been prejudicial to the Football program and the Athletics
                                  department.

                              •   Your inability to attend the WSU Football Coaches Show in person that broadcasts
                                  live from Zeppoz. This is another critical component of donor and fan outreach. By
                                  not attending the show in person, interest from fans has been negatively impacted.
                                  Further, you are unable to attend other coaching speaking engagements in person,
                                  and you are limited in your ability to attend other campus events such as pep rallies
                                  and other fall sports. Your lack of presence as the Head Coach of WSU's most
                                  popular and well-known sport is pronounced and has been prejudicial to the Football
                                  program and the Athletics program.

                              •   Your inability to attend live donor meetings, including several donor interactions
                                  scheduled for July. These events were subsequently canceled. Furthert donors have
                                  declined to engage in personal meetings or remote meetings out of concern for their
                                  personal safety and the disappointment in the lack of leadership your handling of this
                                  matter has portrayed. Further, the University and the Athletics department has not
                                  been able to schedule future donor meetings based on your actions. Several donors
                                  have revoked gifts or put them on hold until further notice because of your decision.

                          •   Paragraph 1.2.1.2 requires you to "Evaluatet recruit, train, and develop student-athletes.It
                              You also are responsible for establishment of a program identity and approach to
                              competitiont and the game planning for individual games and the season. You have
                              failed to fulfill these obligations by engaging in the following behavior:

                              •   You are unable to attend individual position meetings or engage one~on-one with
                                  players or assistant coaches during practices, team meetings, and other preparatory
                                  functions. Interactions with assistant coaches and players has been limited and has
                                  led to poor planning, lack of communicationt and a void in leadership.




                                                                                                      Exhibit P Page 9

                                                           ER0995                                                  WSU_00000008
(208 of 299), Page 2082:22-cv-00319-TOR
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                     Nicholas R. Rolovlch
                     Page 3


                              •    Your ability to travel extensively and recrnit has been impacted by your decision.
                                   Recruiting has been significantly impacted this year, as evidenced by a notable
                                   decline in the number of verbal commitments.

                     As the most high-profile employee of WSU and one of the most highly compensated state
                     employees in Washington, your choices and behavior also reflect on the University, the Athletics
                     Depa11ment, and the Football program at all times. In addition to the above, the voicing of
                     physical threats regarding a coach we talked about relate~ to our contingency plan was
                     completely unacceptable.

                     Your conduct has been seriously prejudicial to the best interests of the University and the
                     Football program, including putting the University and the Football program in a negative
                     national spotlight, and is a violation of your contract. (See paragraph 4.1.5).

                      Per Section 4.2 of your Employment Agreement, you have fifteen (IS) calendar days to respond
                      to me, in writing, with reasons why you should not be terminated. I will respond accordingly
                      consistent with the terms of your Employment Agreement.

                      Effective immediately you have been placed on paid administrative leave pending the outcome of
                      this notice of intent to terminate for just cause. You are not to perform any work on behalf of the
                      University. Your WSU email account has been disabled and systems access removed.

                      For information regarding your benefits, please visit
                      http://hrs.wsu.edu/employees/benefits/separating-employee-information/. If you have specific
                      benefits questions, such as options for continuing medical and dental coverage beyond your
                      separation date, please contact Human Resource Services at 509.33S.4521.

                      Sincerely,



                     r--~
                      Patrick Chun
                      Dh'ector of Athletics


                      cc:     Athletics Employment File
                              HRS Personnel File
                              HRS Employment Services




                                                                                                    Exhibit P Page 10

                                                            ER0996                                                 WSU_00000009
(209 of 299), Page 2092:22-cv-00319-TOR
                 Case  of 299
                            Case: 25-761, 06/12/2025, DktEntry:
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                  October 13, 2021
                  Re: Religious Accommodation Request I Nicholas Rolovlch

                  This response ls a supplement to the earlier response to the request received from HRS on
                  October 6, 2021, regarding a religious accommodation request for Nick Rolovich (Employee).
                  The Initial response focused on the essential functions of Rolovich's job and the Inability to
                  perform those functions with the requested accommodations.

                  Underlying the request for an accommodation Is the initial conclusion that Rolovich met the
                  requirements for a religious exemption to the vaccination requirement by demonstrating a
                  sincerely held religious belief against being vaccinated for COVID-19. Rolovlch has made several
                  statements that cast doubt on his claimed sincerely held religious belief. The statements and
                  the timing of Rolovich's statements with respect to religious beliefs as they relate to COVID-19
                  vaccinations are summarized below.

                      •    In numerous formal and informal meetings between March and August, Rolovich made
                           it clear to Pat Chun, his supervisor, and many within the Athletics Department, that he
                           was unwilling to take the vaccine based on his Independent research. He stated on
                           multiple times he had done his own research, made an Independent decision and came
                           to a conclusion that he would not take the vaccine. It was clear from these statements
                           that his decision not to be vaccinated was based on the conclusions he reached
                           following his own research. On May 24, 2021, Rolovlch firmly restated to Pat Chun his
                           stance on not taking the vaccine based on his research in a meeting in Pat Chun's office.

                      •    On August 19, 2021, Rolovich personally reiterated and reaffirmed directly to Pat Chun
                           his ongoing stance of not receiving a COVID-19 vaccination. He disclosed he attempted
                           to seek a medical exemption but was unable to secure the necessary documentation. He
                           then disclosed he would elect to pursue a religious based exemption to meet the
                           employment requirements stated In the Governor's Proclamation 21-14-1.
                                o In that meeting, Pat Chun stated directly to Rolovlch that since the start of this
                                   pandemic, Rolovich had been vocal and consistent in his opinions and
                                   skepticisms about the COVID-19 virus and the full nature of the public health
                                   emergency. He has continuously been critical of the role the government and
                                   communicated a multitude of baseless theories with respect to vaccination.

                       •   The following are examples of his reasoning:
                               o COVID-19 Vaccine was not fully FDA approved, and therefore not safe
                               o The vaccine could and would negatively impact women and fertility rates
                               o The vaccine would negatively Impact his mortality

                   The government and therefore the vaccine could not be trusted. Rolovich participated in Pac-12
                   Conference sponsored and WSU Athletics mandated education sessions relative to the merits of




                                                                                                   Exhibit P Page 11

                                                           ER0997                                                  WSU_00000017
(210 of 299), Page 2102:22-cv-00319-TOR
                 Case  of 299
                            Case: 25-761, 06/12/2025, DktEntry:
                                           ECF No. 89-17   filed26.6, Page 210
                                                                 09/23/24      of 299
                                                                            PageID.1398                           Page
                                                              12 of 14

                                                                                        0
                  the COVID-19 vaccine. In addition, WSU Athletics arranged a one-on-one meeting with Dr. Guy
                  Palmer, a world-renowned Infectious disease expert. Notwithstanding information shared by
                  the experts In these sessions, Rolovich continued to rely on the results of his own research.

                  In sum, throughout the multiple Individual and sroup meetings, Rolovlch made It clear that he
                  refused to be vaccinated based on the conclusions he reached through his own research, he
                  only mentioned religion after the Governor issued the Proclamation requiring vaccination, and
                  then only mentioned religion In reference to seeking an exemption from the vaccination
                  requirement. We believe these facts support re-evaluation of the claimed sincerely held
                  religious belief.




                                                                                                  Exhibit P Page 12

                                                          ER0998                                              WSU_00000018
(211 of 299), Page 2112:22-cv-00319-TOR
                 Case  of 299
                            Case: 25-761, 06/12/2025, DktEntry:
                                           ECF No. 89-17   filed26.6, Page 211
                                                                 09/23/24      of 299
                                                                            PageID.1399            Page
                                                                   13 of 14

                                             0                                    0
                 From:          HRS Exemption:;
                 To:            B01oylcb, N!cbalas B
                 Cc:            Chun Patrick; McCoy Moe B; BJalc, Bryan Bernard
                 Subject:       OFFICIAL NOTICE: Religious Exemption Denied
                 Date:          Monday, October 18, 2021 4:29:57 PM


                 Dear Nicholas Rolovich:

                 You submitted a request for an exemption to the COVID-19 vaccination requirement
                 as mandated by Governor lnslee's proclamation 21-14.2. This notification confirms
                 that we are unable to approve your request for an exemption and accommodation
                 based on a sincerely held religious belief, practice, or observance. We would like to
                 provide additional information on the review process in an effort to clarify your
                 exemption denial and the University's approach to each individual request.

                 Under the proclamation, the University is legally prohibited from allowing workers to
                 engage in work after October 18, 2021, if they are not fully vaccinated against
                 COVID-19, with limited exceptions. One exception is if a worker has an approved
                 religious accommodation and is thereby exempt from the vaccine requirement. To
                 qualify for an approved religious exemption from the vaccine requirement:
                     • A worker must explain how the vaccine requirement conflicts with their
                         sincerely held religious belief, practice or observance; and
                     • Must be able to accommodate the unvaccinated worker without undue
                         hardship.

                 In considering your request for accommodation, the University considered both the
                 information you submitted as well as your own prior statements to WSU staff and
                 others regarding vaccination. Based on your comments, in conjunction with the timing
                 of your request for a religious accommodation, the University questions the assertion
                 that your sincerely held religious views conflict with the University's vaccine
                 requirement.

                  Furthermore, it would pose an undue hardship to the University and/or a threat to
                  yourself and others to allow you to remain in your position while unvaccinated. The
                  University evaluated the essential functions of your position to determine whether
                  these possible accommodations would mitigate the threat posed by allowing you to
                  remain unvaccinated while performing your job duties and also whether there were
                  possible accommodations that would allow you to effectively perform all of your duties
                  while remaining unvaccinated.
                  Based upon the nature of your head coaching responsibilities and core job functions
                  and activities, the University has determined you cannot safely and effectively do your
                  job without undue hardship to the University.

                  We hope this information helps you understand how the University individually
                  evaluated your request.


                  Thank you,




                                                                                       Exhibit P Page 13

                                                               ER0999                             WSU_00000029
(212 of 299), Page 2122:22-cv-00319-TOR
                 Case  of 299
                            Case: 25-761, 06/12/2025, DktEntry:
                                           ECF No. 89-17   filed26.6, Page 212
                                                                 09/23/24      of 299
                                                                            PageID.1400                                                     Page
                                                                           14 of 14

             .                                      0                                                        0
                 Washington State University, Human Resource Services
                 French Administration 1391 Pullman, WA 99164-1014
                 Phone: 509-335-4521 I Fax: 509-335-1259 I HRS Website: http://www.hrs wsu,edu


                 IMPORTANT NOTICE: This comrnunication, including any attachment, contains information that may be confidential or
                 privileged, and is intended solely for the entity or individual to whom it is addressed. If you are not the intel')ded recipient,
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                                                                                                                          Exhibit P Page 14

                                                                       ER1000                                                             WSU_00000030
(213 of 299), Page 213 of 299
                            Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 213 of 299
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                                                      of 5


                                                    WASHINGTON STATE
                                                            ATHLET        I   CS




                                                                                                      Hand Delivered

                     October 18, 2021

                     Nicholas R. Rolovich
                     1815 SW Casey Court
                     Pullman, WA 99163

                     Re:       Written Notice of Intent to Terminate for Just Cause

                     Coach Rolovich:

                     Pursuant to Paragraphs 4.1 through 4.3 of your Employment Agreement as Head Men's Football
                     Coach, this letter constitutes notice of the University's intent to terminate your employment for
                     just cause.

                           •   You were notified on September 1, 2021, and September 23, 2021, that per Proclamation
                               21-14.1, all state employees, including those in higher education, would be required to be
                               fully vaccinated against COVID-19 via one of the FDA approved vaccines by October
                               18, 2021.

                               The notice stated that if not vaccinated, you could apply for a medical or religious
                               exemption and accommodation through WSU Human Resources (HRS). The University
                               provided notice of the process on August 31, 2021, September 8, 2021, September 29,
                               2021, and October 4, 2021.

                           •   You requested an exemption from the vaccine requirement on religious grounds. Your
                               request was denied on October 18, 2021.

                     This action is in accordance with the terms of your contract, signed in April 2020, and amended
                     in April 2021. The specific provisions violated include the following:

                           •   Paragraph 1.2.1 requires you to devote your best efforts to the performance of your
                               duties. In particular, you are required to "comply with and support all rules, regulations,
                               policies, and decisions established or issued by the University." Further, you must "abide
                               by all provisions of law." Your failure to comply with the vaccination requirement, which
                               is both a University policy and requirement of law under the Governor's Proclamation,
                               violates these provisions and has rendered you legally unable to perform your duties as
                               Head Coach. Your non-compliance with the vaccine requirement, and the fact that you
                               are now legally unable to fulfill your obligations to the University as Head Coach, also
                               violates Section 4.1.5 of your Employment Agreement, conduct of Employee seriously
                               prejudicial to the best interests of the University or its athletic program, and Paragraph
                               4.1.1.

                           •   Paragraph 4.1.1 prohibits you from engaging in "deliberate and serious violations" of
                               your duties, or "refusal or unwillingness to perform such duties in good faith and to the
                               best of your abilities" As noted in my July 26, 2021, warning letter to you, your contract

                             Washington State University I Department of Intercollegiate Athletics I Office of the Director
          Bohler Athletic Complex 110, PO Box 641602, Pullman, WA 99164-1602 509-335-0200 I Fax: 509-335-4501 I www.wsucougars.com


                                                                                                             Exhibit O Page 3

                                                               ER1001                                                      WSU_00033988
(214 of 299), Page 214 of 299Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 214 of 299
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                   Nicholas R. Rolovich                of 5
                   Page 2

                            requires you to participate in events, activities, and efforts to foster support for the
                            Football program, and your personal decision to forego a COVID-19 vaccination has
                            impacted your ability to do so, interfering with your ability to meet with donors and
                            others. These activities are a critical part of being a head football coach at a Pac-12
                            school. See 1.2.1.2.h. Because of your decisions, WSU, the Football program, and the
                            Athletics programs have been subject to several damaging events. These events include
                            the following:

                            •   Your inability to attend in-person Pac-12 Football Media Day in Los Angeles on July
                                27, 2021. Because of your decision to not get vaccinated, you were the only coach
                                who did not attend in person. Your decision became the primary story concerning
                                football and put our student athletes and other attendees in the position of having to
                                address your absence. This was, and continues to be, a major distraction for the
                                University, Athletics department, and the Football team.

                            •   Your inability to attend any of the regularly scheduled Friday donor lunches. Section
                                1.2.1.2.h requires that you participate in events, activities, and/or efforts to foster
                                support for the University's Athletic Department and/or the Football program. You
                                have not actively participated in donor engagement, foster program support, or
                                fundraising. The Friday donor lunch is a critical component of donor outreach, and
                                your absence has been prejudicial to the Football program and the Athletics
                                department.

                            •   Your inability to attend the WSU Football Coaches Show in person that broadcasts
                                live from Zeppoz. This is another critical component of donor and fan outreach. By
                                not attending the show in person, interest from fans has been negatively impacted.
                                Further, you are unable to attend other coaching speaking engagements in person,
                                and you are limited in your ability to attend other campus events such as pep rallies
                                and other fall sports. Your lack of presence as the Head Coach of WSU's most
                                popular and well-known sport is pronounced and has been prejudicial to the Football
                                program and the Athletics program.

                            •   Your inability to attend live donor meetings, including several donor interactions
                                scheduled for July. These events were subsequently canceled. Further, donors have
                                declined to engage in personal meetings or remote meetings out of concern for their
                                personal safety and the disappointment in the lack of leadership your handling of this
                                matter has portrayed. Further, the University and the Athletics department has not
                                been able to schedule future donor meetings based on your actions. Several donors
                                have revoked gifts or put them on hold until further notice because of your decision.

                      •     Paragraph 1.2.1.2 requires you to "Evaluate, recruit, train, and develop student-athletes."
                            You also are responsible for establishment of a program identity and approach to
                            competition, and the game planning for individual games and the season. You have
                            failed to fulfill these obligations by engaging in the following behavior:

                            •   You are unable to attend individual position meetings or engage one-on-one with
                                players or assistant coaches during practices, team meetings, and other preparatory
                                functions. Interactions with assistant coaches and players has been limited and has
                                led to poor planning, lack of communication, and a void in leadership.




                                                                                                       Exhibit O Page 4

                                                           ER1002                                                   WSU_00033989
(215 of 299), Page 215 of 299Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 215 of 299
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                    Nicholas R. Rolovich
                   Page 3


                            •   Your ability to travel extensively and recruit has been impacted by your decision.
                                Recruiting has been significantly impacted this year, as evidenced by a notable
                                decline in the number of verbal commitments.

                   As the most high-profile employee of WSU and one of the most highly compensated state
                   employees in Washington, your choices and behavior also reflect on the University, the Athletics
                   Department, and the Football program at all times. In addition to the above, the voicing of
                   physical threats regarding a coach we talked about related to our contingency plan was
                   completely unacceptable.

                   Your conduct has been seriously prejudicial to the best interests of the University and the
                   Football program, including putting the University and the Football program in a negative
                   national spotlight, and is a violation of your contract. (See paragraph 4.1.5).

                   Per Section 4.2 of your Employment Agreement, you have fifteen (15) calendar days to respond
                   to me, in writing, with reasons why you should not be terminated. I will respond accordingly
                   consistent with the terms of your Employment Agreement.

                   Effective immediately you have been placed on paid administrative leave pending the outcome of
                   this notice of intent to terminate for just cause. You are not to perform any work on behalf of the
                   University. Your WSU email account has been disabled and systems access removed.

                   For information regarding your benefits, please visit
                   http://hrs.wsu.edu/employees/benefits/separating-employee-information/. If you have specific
                   benefits questions, such as options for continuing medical and dental coverage beyond your
                   separation date, please contact Human Resource Services at 509.335.4521.

                   Sincerely,




                   Patrick Chun
                   Director of Athletics


                   cc:      Athletics Employment File
                            HRS Personnel File
                            HRS Employment Services




                                                                                                     Exhibit O Page 5

                                                          ER1003                                                     WSU_00033990
(216 of 299), Page 216 of 299 Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 216 of 299
               Case 2:22-cv-00319-TOR        ECF No. 89-15     filed 09/23/24  PageID.1380 Page 3
                                                          of 4
                From: "HRS Exemptions" </o=ExchangeLabs/ou=Exchange Administrative Group
                       (FYDIBOHF23SPDLT)/cn=Recipients/cn=f3e0c5dc45b4489180399229277dc7f3-
                       hrs.exempti>
                  Cc: "Chun, Patrick" <patrick.chun@wsu.edu>, "McCoy, Anne R" <amccoy@wsu.edu>, "Blair,
                       Bryan Bernard" <bryan.b.blair@wsu.edu>
              Subject: OFFICIAL NOTICE: Religious Exemption Denied
                 Date: Mon, 18 Oct 2021 23:09:29 -0000
         Importance: Normal


       Dear Nicholas Rolovich:

       You submitted a request for an exemption to the COVID-19 vaccination requirement as mandated by
       Governor Inslee’s proclamation 21-14.2. This notification confirms that we are unable to approve
       your request for an exemption and accommodation based on a sincerely held religious belief,
       practice, or observance. We would like to provide additional information on the review process in an
       effort to clarify your exemption denial and the University’s approach to each individual request.

       Under the proclamation, the University is legally prohibited from allowing workers to engage in work
       after October 18, 2021, if they are not fully vaccinated against COVID-19, with limited exceptions. One
       exception is if a worker has an approved religious accommodation and is thereby exempt from the
       vaccine requirement. To qualify for an approved religious exemption from the vaccine requirement:
           · A worker must explain how the vaccine requirement conflicts with their sincerely held religious
              belief, practice or observance; and
           · Must be able to accommodate the unvaccinated worker without undue hardship.

       In considering your request for accommodation, the University considered both the information you
       submitted as well as your own prior statements to WSU staff and others regarding vaccination. Based
       on your comments, in conjunction with the timing of your request for a religious accommodation, the
       University questions the assertion that your sincerely held religious views conflict with the University’s
       vaccine requirement.

       Furthermore, it would pose an undue hardship to the University and/or a threat to yourself and others
       to allow you to remain in your position while unvaccinated. The University evaluated the essential
       functions of your position to determine whether these possible accommodations would mitigate the
       threat posed by allowing you to remain unvaccinated while performing your job duties and also
       whether there were possible accommodations that would allow you to effectively perform all of your
       duties while remaining unvaccinated.
       Based upon the nature of your head coaching responsibilities and core job functions and activities, the
       University has determined you cannot safely and effectively do your job without undue hardship to the
       University.

       We hope this information helps you understand how the University individually evaluated your request.


       Thank you,
       Washington State University, Human Resource Services
       French Administration 139 | Pullman, WA 99164-1014
       Phone: 509-335-4521 | Fax: 509-335-1259 | HRS Website: http://www.hrs.wsu.edu




                                                                                          Exhibit N Page 3

                                                       ER1004                                         WSU_00022513
(217 of 299), Page 217 of 299     Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 217 of 299
               Case 2:22-cv-00319-TOR                   ECF No. 89-15            filed 09/23/24          PageID.1381 Page 4
                                                                          of 4 information that may be confidential or privileged, and is intended
        IMPORTANT NOTICE: This communication, including any attachment, contains
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                                                                                                                                Exhibit N Page 4

                                                                            ER1005                                                               WSU_00022514
(218 of 299), Page 218 of 299
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             Case 2:22-cv-00319-TOR      ECF No. 89-14     filed 09/23/24   PageID.1363      Page 2
                                                     of 16




            1      ROBERT W. FERGUSON
                   Attorney General
            2
                   SPENCER W. COATES, WSBA #49683
            3      Assistant Attorney General
                   Complex Litigation Division
            4      800 Fifth Avenue, Suite 2000
                   Seattle, WA 98104-3188
            5      (206) 464-7744

            6      ZACHARY J. PEKELIS, WSBA #44557
                   W. SCOTT FERRON, WSBA #61154
            7      ERICA P. CORAY, WSBA #61987
                   AI-LI CHIONG-MARTINSON, WSBA #53359
            8      Special Assistant Attorneys General
                   PACIFICA LAW GROUP LLP
            9      1191 2nd Avenue, Suite 2000
                   Seattle, WA 98101-3404
           10      (206) 245-1700

           11                       UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF WASHINGTON
           12
                   NICHOLAS ROLOVICH,                         NO. 2:22-cv-00319-TOR
           13
                                      Plaintiff,              PLAINTIFF’S FIRST SET OF
           14                                                 REQUESTS FOR ADMISSION TO
                      v.                                      DEFENDANT AND
           15                                                 DEFENDANT’S ANSWERS AND
                   WASHINGTON STATE                           OBJECTIONS THERETO
           16      UNIVERSITY,

           17                         Defendant.

           18              In accordance with Federal Rule of Civil Procedure 36, Defendant

           19      Washington State University (“WSU”) hereby submits these Answers and

           20      Objections (“Answers”) to Plaintiff’s First Set of Requests for Admission to

           21      Defendant (“Requests”) as follows:

           22

                                                                         ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS               1               Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                  800 Fifth Avenue, Suite 2000
                                                                                Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                (206) 464-7744
                   OBJECTIONS THERETO                                             Exhibit M Page 2

                                                   ER1006
(219 of 299), Page 219 of 299
                            Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 219 of 299
             Case 2:22-cv-00319-TOR      ECF No. 89-14     filed 09/23/24   PageID.1364        Page 3
                                                     of 16




            1           GENERAL OBJECTIONS APPLICABLE TO ALL ANSWERS

            2            1.     WSU objects to Plaintiff’s characterization of the Requests as

            3      “continuing.” WSU will respond to the specific Requests set forth herein and will

            4      supplement its Answers as necessary to comply with the Federal Rules of Civil

            5      Procedure. WSU reserves the right to modify or supplement these Answers as

            6      necessary.

            7            2.     WSU objects to the Requests as vague, ambiguous, overbroad,

            8      unduly burdensome, duplicative, not relevant to any party’s claims or defenses,

            9      and not proportional to the needs of the litigation. WSU specifically objects to

           10      the Requests’ specified time period as overbroad in that it extends well after

           11      Plaintiff filed this lawsuit. Unless otherwise stated, these Answers pertain to the

           12      time period of January 1, 2020, to November 14, 2022.

           13            3.     WSU objects to the Requests’ definition of “You/Your” as vague,

           14      ambiguous, overbroad, not relevant to any party’s claims or defenses, and not

           15      proportional to the needs of the litigation, including to the extent it purports to

           16      require WSU to obtain information from persons who either are not WSU

           17      employees or were not involved in WSU’s actions challenged by Plaintiff. WSU

           18      understands these Requests to seek—and its Answers reflect—only information

           19      currently known by WSU.

           20
           21
           22

                                                                           ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                 2               Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                    800 Fifth Avenue, Suite 2000
                                                                                  Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                  (206) 464-7744
                   OBJECTIONS THERETO                                               Exhibit M Page 3

                                                 ER1007
(220 of 299), Page 220 of 299
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             Case 2:22-cv-00319-TOR      ECF No. 89-14     filed 09/23/24   PageID.1365       Page 4
                                                     of 16




            1            4.     WSU objects to the Requests to the extent they impose burdens or

            2      seek discovery beyond what is permitted or required under the Federal Rules of

            3      Civil Procedure, including Rules 26 and 36.

            4            5.     WSU objects to the Requests to the extent they call for information

            5      protected from disclosure by attorney-client privilege, the work product doctrine,

            6      or any other applicable privilege, protection, or immunity.

            7            6.     WSU objects to the Requests to the extent they seek information

            8      protected from disclosure by the Family Education Rights and Privacy Act

            9      (FERPA), 20 U.S.C. § 1232g, the Health Insurance Portability and

           10      Accountability Act (HIPAA), 42 U.S.C. § 1320d-6, or any other applicable

           11      privacy protection. WSU will only disclose such protected information consistent

           12      with the Stipulated Protective Order entered in this case. See ECF No. 61.

           13            7.     WSU objects to the Requests’ use of the undefined phrase “the

           14      review committee” as vague and ambiguous. In these Answers, WSU uses the

           15      phrase “review committee” to refer to the following current or former WSU

           16      employees, two or more of whom conducted an initial, “blind” review of any

           17      employee request for a religious exemption with respect to Proclamation 21.14.1

           18      (including Plaintiff’s request): Lisa Gehring, Bonnie Dennler, Teddi Phares, and

           19      Daniel Records. See WSU Ans. to Plf.’s Interrogatory No. 13.

           20            8.     The foregoing General Objections are incorporated by reference into

           21      the Answer to each Request. WSU not having listed specifically any one of its

           22

                                                                          ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                3               Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                   800 Fifth Avenue, Suite 2000
                                                                                 Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                 (206) 464-7744
                   OBJECTIONS THERETO                                              Exhibit M Page 4

                                                ER1008
(221 of 299), Page 221 of 299
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                                                     of 16




            1      General Objections in response to a particular Interrogatory does not constitute a

            2      waiver of any objection, even if it could have been specifically stated.

            3
            4                             REQUESTS FOR ADMISSION

            5            REQUEST FOR ADMISSION NO. 1: Admit that the review committee

            6      found that Plaintiff described a sincerely held religious belief in his Request for

            7      Religious Exemption.

            8            ANSWER: WSU objects to this Request as vague and ambiguous and on

            9      the other grounds set forth in its General Objections, especially as to the

           10      undefined phrases “review committee” and “described a sincerely held religious

           11      belief.” WSU further objects to this Request as irrelevant to any party’s claims

           12      or defenses.

           13            Subject to and without waiving the foregoing objections, the Request is

           14      admitted in part, and denied in part. WSU admits that, after reviewing only the

           15      information Plaintiff submitted in writing on October 3, 2021, the review

           16      committee found the information contained therein sufficient at that stage of the

           17      accommodation process to “support the accommodation request based on a

           18      sincerely held religious belief.” Except as otherwise admitted, denied.

           19

           20
           21
           22

                                                                           ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                4                Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                    800 Fifth Avenue, Suite 2000
                                                                                  Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                  (206) 464-7744
                   OBJECTIONS THERETO                                               Exhibit M Page 5

                                                 ER1009
(222 of 299), Page 222 of 299
                            Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 222 of 299
             Case 2:22-cv-00319-TOR      ECF No. 89-14     filed 09/23/24   PageID.1367        Page 6
                                                     of 16




            1            REQUEST FOR ADMISSION NO. 2: Admit that the review committee

            2      did not reach out to Plaintiff for follow-up information regarding the sincerity of

            3      his religious belief described in his Request for Religious Exemption.

            4            ANSWER: WSU objects to this Request as vague and ambiguous and on

            5      the other grounds set forth in its General Objections, especially as to the lack of

            6      a specified time period and the vague use of the phrase “religious belief,” and the

            7      undefined and vague phrases “review committee,” “reach out,” and “follow-up

            8      information.” WSU further objects to this Request as irrelevant to any party’s

            9      claims or defenses.

           10            Subject to and without waiving the foregoing objections, the Request is

           11      admitted in part, and denied in part. WSU admits that the review committee did

           12      not request additional information from Plaintiff regarding his asserted religious

           13      objection to the COVID-19 vaccines between the time he submitted materials in

           14      support of his religious accommodation request on October 3, 2021, and when

           15      WSU denied his request on October 18, 2021. Except as otherwise admitted,

           16      denied.

           17
           18            REQUEST FOR ADMISSION NO. 3: Admit that the review committee,

           19      after a review of Plaintiff’s written and/or oral communications in his Request

           20      for Religious Exemption, determined that such communications supported

           21      Plaintiff’s accommodation request based on a sincerely held religious belief.

           22

                                                                           ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                 5               Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                    800 Fifth Avenue, Suite 2000
                                                                                  Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                  (206) 464-7744
                   OBJECTIONS THERETO                                               Exhibit M Page 6

                                                 ER1010
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             Case 2:22-cv-00319-TOR      ECF No. 89-14     filed 09/23/24   PageID.1368        Page 7
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            1            ANSWER: WSU objects to this Request as vague and ambiguous and on

            2      the other grounds set forth in its General Objections, especially as to the

            3      undefined and vague phrases “review committee” and “written and/or oral

            4      communications.” WSU further objects to this Request as irrelevant to any

            5      party’s claims or defenses.

            6            Subject to and without waiving the foregoing objections, the Request is

            7      admitted in part, and denied in part. WSU admits that, after reviewing only the

            8      information Plaintiff submitted in writing on October 3, 2021, the review

            9      committee found the information contained therein sufficient at that stage of the

           10      accommodation process to “support the accommodation request based on a

           11      sincerely held religious belief.” Except as otherwise admitted, denied.

           12
           13            REQUEST FOR ADMISSION NO. 4: Admit that the review committee

           14      did not contact Plaintiff for follow-up information related to his Request for

           15      Religious Exemption.

           16            ANSWER: WSU objects to this Request as vague and ambiguous and on

           17      the other grounds set forth in its General Objections, especially as to the lack of

           18      a specified time period and the vague phrases “review committee” and “follow-

           19      up information related to his Request for Religious Exemption.” WSU further

           20      objects to this Request as irrelevant to any party’s claims or defenses.

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           22

                                                                           ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                 6               Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                    800 Fifth Avenue, Suite 2000
                                                                                  Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                  (206) 464-7744
                   OBJECTIONS THERETO                                               Exhibit M Page 7

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            1            Subject to and without waiving the foregoing objections, the Request is

            2      admitted in part, and denied in part. WSU admits that the review committee did

            3      not request additional information from Plaintiff regarding his asserted religious

            4      objection to the COVID-19 vaccines between the time he submitted materials in

            5      support of his religious accommodation request on October 3, 2021, and when

            6      WSU denied his request on October 18, 2021. Except as otherwise admitted,

            7      denied.

            8
            9            REQUEST FOR ADMISSION NO. 5: Admit that the review committee

           10      contacted individuals other than Plaintiff for follow-up information to assess the

           11      sincerity of Plaintiff’s religious belief described in his Request for Religious

           12      Exemption.

           13            ANSWER: WSU objects to this Request as vague and ambiguous and on

           14      the other grounds set forth in its General Objections, especially as to the vague

           15      phrases “review committee,” “follow-up information,” and Plaintiff’s

           16      unidentified “religious belief.” WSU further objects to this Request as irrelevant

           17      to any party’s claims or defenses. WSU further objects to this Request to the

           18      extent it calls for information protected from disclosure by attorney-client

           19      privilege, the work product doctrine, or any other applicable privilege protection,

           20      or immunity.

           21
           22

                                                                           ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                7                Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                    800 Fifth Avenue, Suite 2000
                                                                                  Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                  (206) 464-7744
                   OBJECTIONS THERETO                                               Exhibit M Page 8

                                                 ER1012
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            1            Subject to and without waiving the foregoing objections, the Request is

            2      admitted in part, and denied in part. WSU admits that HRS invited and received

            3      information from the WSU Athletics Department concerning Plaintiff’s religious

            4      accommodation request, including but not limited to information relevant to

            5      whether Plaintiff held sincere religious beliefs in conflict with vaccination against

            6      COVID-19. Except as otherwise expressly admitted, denied.

            7

            8            REQUEST FOR ADMISSION NO. 6: Admit that the review committee

            9      did not contact anyone in the WSU Athletic Department for follow-up

           10      information to assess the sincerity of Plaintiff’s religious belief described in his

           11      Request for Religious Exemption.

           12            ANSWER: WSU objects to this Request as vague and ambiguous and on

           13      the other grounds set forth in its General Objections, especially as to the vague

           14      phrases “review committee,” “follow-up information,” and Plaintiff’s

           15      unidentified “religious belief.” WSU further objects to this Request as irrelevant

           16      to any party’s claims or defenses. WSU further objects to this Request to the

           17      extent it calls for information protected from disclosure by attorney-client

           18      privilege, the work product doctrine, or any other applicable privilege protection,

           19      or immunity.

           20            Subject to and without waiving the foregoing objections, denied.

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                                                                             ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                  8                Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                      800 Fifth Avenue, Suite 2000
                                                                                    Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                    (206) 464-7744
                   OBJECTIONS THERETO                                                 Exhibit M Page 9

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              Case 2:22-cv-00319-TOR      ECF No. 89-14     filed 09/23/24   PageID.1371           Page
                                                   10 of 16




            1            REQUEST FOR ADMISSION NO. 7: Admit that the reversal of the

            2      review committee’s determination that Plaintiff’s Request for Religious

            3      Exemption described a sincerely held religious belief was the only instance in

            4      which the review committee’s finding of sincerity was subsequently reversed.

            5            ANSWER: WSU objects to this Request as vague and ambiguous and on

            6      the other grounds set forth in its General Objections, especially as to the vague

            7      and undefined phrases “review committee” and “reversal.” WSU further objects

            8      to this Request as irrelevant to any party’s claims or defenses.

            9            Subject to and without waiving the foregoing objections, denied.

           10

           11            REQUEST FOR ADMISSION NO. 8: Admit that WSU never prepared

           12      any documented analysis of the financial impact that would have resulted from

           13      granting an accommodation to Plaintiff’s Request for Religious Exemption.

           14            ANSWER: WSU objects to this Request as vague and ambiguous and on

           15      the other grounds set forth in its General Objections, especially as to the vague

           16      and undefined phrases “documented analysis” and “financial impact.” WSU

           17      further objects to this Request as irrelevant to the claims or defenses in this case.

           18            Subject to and without waiving the foregoing objections, denied.

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                                                                             ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                  9                Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                      800 Fifth Avenue, Suite 2000
                                                                                    Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                    (206) 464-7744
                   OBJECTIONS THERETO                                                Exhibit M Page 10

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                                                   11 of 16




            1            REQUEST FOR ADMISSION NO. 9: Admit that WSU did nothing to

            2      verify the authenticity of vaccination cards that WSU Employees and students

            3      provided in response to the Vaccine Mandate.

            4            ANSWER: WSU objects to this Request as vague and ambiguous and on

            5      the other grounds set forth in its General Objections, especially in its use of the

            6      phrase “WSU did nothing” and its suggestion that WSU students provided

            7      vaccination cards in response to the “Vaccine Mandate,” which the Requests

            8      define as “the COVID-19 vaccination that was mandate pursuant to the

            9      Governor’s Proclamation 21-14.1.” WSU further objects to this Request as

           10      irrelevant to any party’s claims or defenses.

           11            Subject to and without waiving the foregoing objections, denied.

           12
           13            REQUEST FOR ADMISSION NO. 10: Admit that WSU had no

           14      procedure for determining whether Employees or students provided fake

           15      vaccination cards in response to the Vaccine Mandate.

           16            ANSWER: WSU objects to this Request as vague and ambiguous and on

           17      the other grounds set forth in its General Objections, especially in its use of the

           18      phrase “WSU had no procedure” and its suggestion that WSU students provided

           19      vaccination cards in response to the “Vaccine Mandate,” which the Requests

           20      define as “the COVID-19 vaccination that was mandate pursuant to the

           21
           22

                                                                           ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                10               Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                    800 Fifth Avenue, Suite 2000
                                                                                  Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                  (206) 464-7744
                   OBJECTIONS THERETO                                              Exhibit M Page 11

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            1      Governor’s Proclamation 21-14.1.” WSU further objects to this Request as

            2      irrelevant to the claims or defenses in this case.

            3            Subject to and without waiving the foregoing objections, denied.

            4

            5            REQUEST FOR ADMISSION NO. 11: Admit that WSU granted every

            6      Request for Religious Exception sought by any student-athlete participating in

            7      the football program.

            8            ANSWER: WSU objects to this Request as vague, ambiguous and on the

            9      other grounds set forth in its General Objections, especially in its use of the

           10      undefined phrase “Request for Religious Exception,” without any reference to

           11      whatever requirement from which an “[e]xception” was sought. WSU further

           12      objects to the Request as overbroad, unduly burdensome, and not proportional to

           13      the needs of the case, including because it is not limited by any relevant

           14      timeframe. WSU further objects to this Request as calling for information

           15      protected from disclosure by FERPA. WSU further objects to this Request as

           16      irrelevant to any party’s claims or defenses.

           17            Subject to and without waiving the foregoing objections, denied.

           18
           19            REQUEST FOR ADMISSION NO. 12: Admit that WSU granted every

           20      Request for Religious Exception by any student who sought an exception.

           21
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                                                                          ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                 11             Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                   800 Fifth Avenue, Suite 2000
                                                                                 Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                 (206) 464-7744
                   OBJECTIONS THERETO                                             Exhibit M Page 12

                                                 ER1016
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                            Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 229 of 299
              Case 2:22-cv-00319-TOR      ECF No. 89-14     filed 09/23/24   PageID.1374        Page
                                                   13 of 16




            1            ANSWER: WSU objects to this Request as vague, ambiguous and on the

            2      other grounds set forth in its General Objections, especially in its use of the

            3      undefined phrase “Request for Religious Exception,” without any reference to

            4      whatever requirement from which an “[e]xception” was sought. WSU further

            5      objects to the Request as overbroad, unduly burdensome, and not proportional to

            6      the needs of the case, including because it is not limited by any relevant

            7      timeframe. WSU further objects to this Request as calling for information

            8      protected from disclosure by FERPA. WSU further objects to this Request as

            9      irrelevant to any party’s claims or defenses.

           10            Subject to and without waiving the foregoing objections, denied.

           11
           12            REQUEST FOR ADMISSION NO. 13: Admit that WSU’s Athletics

           13      Department utilized Cortext for communicating about medical and health-related

           14      issues, including Plaintiff’s vaccination status.

           15            ANSWER: WSU objects to this Request as vague and ambiguous and on

           16      the other grounds set forth in its General Objections, especially as to the vague

           17      and undefined phrase “medical and health-related issues.” WSU further objects

           18      to this Request as overbroad and unduly burdensome, including due to the lack

           19      of a specified timeframe, and to the extent it seeks information based on

           20      documents not within WSU’s possession, custody, or control. WSU further

           21      objects to the Request as seeking information protected from disclosure by

           22

                                                                          ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                 12             Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                   800 Fifth Avenue, Suite 2000
                                                                                 Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                 (206) 464-7744
                   OBJECTIONS THERETO                                             Exhibit M Page 13

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                                                   14 of 16




            1      FERPA or HIPAA. Finally, WSU objects to the Request as seeking information

            2      irrelevant to any party’s claims or defenses.

            3            Subject to and without waiving the foregoing objections, the Request is

            4      admitted in part, denied in part. WSU admits that some WSU Athletics

            5      Department employees utilized, at times, Imprivata Cortext as a HIPAA-

            6      compliant text application for some student athlete-related “medical and health-

            7      related issues” in 2020, 2021, and 2022. Following a reasonable investigation,

            8      WSU denies that Cortext was used by WSU Athletics employees specifically to

            9      communicate about Plaintiff’s vaccination status. Except as otherwise admitted,

           10      denied.

           11
           12            DATED this 3rd day of September 2024.

           13                                     ROBERT W. FERGUSON
                                                  Attorney General
           14
                                                  s/Zachary P. Pekelis
           15                                     ZACHARY J. PEKELIS, WSBA #44557
                                                  W. SCOTT FERRON, WSBA #61154
           16                                     ERICA P. CORAY, WSBA #61987
                                                  AI-LI CHIONG-MARTINSON, WSBA #53359
           17                                     Special Assistant Attorneys General
                                                  PACIFICA LAW GROUP LLP
           18                                     1191 2nd Avenue, Suite 2000
                                                  Seattle, WA 98101-3404
           19                                     (206) 245-1700
                                                  Zach.Pekelis@pacificalawgroup.com
           20
                                                  SPENCER W. COATES, WSBA #49683
           21                                     Assistant Attorney General
                                                  Complex Litigation Division
           22

                                                                          ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS                13              Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                   800 Fifth Avenue, Suite 2000
                                                                                 Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                 (206) 464-7744
                   OBJECTIONS THERETO                                             Exhibit M Page 14

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                                                   15 of 16




            1                                    800 Fifth Avenue, Suite 2000
                                                 Seattle, WA 98104-3188
            2                                    (206) 464-7744
                                                 Spencer.Coates@atg.wa.gov
            3
                                                 Attorneys for Defendant Washington State
            4                                    University

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                                                                          ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS               14               Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                   800 Fifth Avenue, Suite 2000
                                                                                 Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                 (206) 464-7744
                   OBJECTIONS THERETO                                             Exhibit M Page 15

                                                ER1019
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            1                             CERTIFICATE OF SERVICE

            2            I hereby declare that on this day I caused the foregoing document to be

            3      served upon all counsel of record.

            4            I declare under penalty of perjury under the laws of the State of

            5      Washington and the United States that the foregoing is true and correct.

            6            DATED this 3rd day of September 2024, at Seattle, Washington.

            7                                            s/Zachary J. Pekelis
                                                         ZACHARY J. PEKELIS, WSBA #44557
            8                                            Special Assistant Attorney General
            9
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                                                                          ATTORNEY GENERAL OF WASHINGTON
                   PLF.’S FIRST SET OF REQUESTS               15               Complex Litigation Division
                   FOR ADMISSION TO DEF. AND                                   800 Fifth Avenue, Suite 2000
                                                                                 Seattle, WA 98104-3188
                   DEF.’S ANSWERS AND                                                 (206) 464-7744
                   OBJECTIONS THERETO                                             Exhibit M Page 16

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                                                        of 6
                 From: "hrs@wsu.edu" <hrs@wsu.edu>
                    To: "Dennler, Bonnie "<b.carothers@wsu.edu>
               Subject: Scanned from HRS Xerox Multifunction Printer
                  Date: Fri, 15 Oct 2021 11:47:25 -0700
           Importance: Normal
          Attachments: Scanned_from_a_Xerox_Multifunction_Printer.pdf




       Please open the attached document. It was scanned and sent to you using a Xerox Multifunction Printer.

       Attachment File Type: pdf, Multi-Page

       Multifunction Printer Location:
       Device Name: HRSXEROX


       HRS Xerox Copier




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                                                       ER1021                                            WSU_00021821
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                                                      of 6                   saoinuas 3ounosau NWICIH

                                                                                                    1ZOZ E 1 130
                                                WASHINGTON STATE
                                                                                                   CI9A1302:1

                October 13, 2021
                Re: Religious Accommodation Request I Nicholas Rolovich

                This response is a supplement to the earlier response to the request received from HRS on
                October 6, 2021, regarding a religious accommodation request for Nick Rolovich (Employee).
                The initial response focused on the essential functions of Rolovich's job and the inability to
                perform those functions with the requested accommodations.

                Underlying the request for an accommodation is the initial conclusion that Rolovich met the
                requirements for a religious exemption to the vaccination requirement by demonstrating a
                sincerely held religious belief against being vaccinated for COVID-19. Rolovich has made several
                statements that cast doubt on his claimed sincerely held religious belief. The statements and
                the timing of Rolovich's statements with respect to religious beliefs as they relate to COVID-19
                vaccinations are summarized below.

                    •   In numerous formal and informal meetings between March and August, Rolovich made
                        it clear to Pat Chun, his supervisor, and many within the Athletics Department, that he
                        was unwilling to take the vaccine based on his independent research. He stated on
                        multiple times he had done his own research, made an independent decision and came
                        to a conclusion that he would not take the vaccine. It was clear from these statements
                        that his decision not to be vaccinated was based on the conclusions he reached
                        following his own research. On May 24, 2021, Rolovich firmly restated to Pat Chun his
                        stance on not taking the vaccine based on his research in a meeting in Pat Chun's office.

                    •   On August 19, 2021, Rolovich personally reiterated and reaffirmed directly to Pat Chun
                        his ongoing stance of not receiving a COV1D-19 vaccination. He disclosed he attempted
                        to seek a medical exemption but was unable to secure the necessary documentation. He
                        then disclosed he would elect to pursue a religious based exemption to meet the
                        employment requirements stated in the Governor's Proclamation 2144-1.
                                In that meeting, Pat Chun stated directly to Rolovich that since the start of this
                                pandemic, Rolovich had been vocal and consistent in his opinions and
                                skepticisms about the COVID-19 virus and the full nature of the public health
                                emergency. He has continuously been critical of the role the government and
                                communicated a multitude of baseless theories with respect to vaccination.

                    •   The following are examples of his reasoning:
                            • COVID-19 Vaccine was not fully FDA approved, and therefore not safe
                            € The vaccine could and would negatively impact women and fertility rates
                            • The vaccine would negatively impact his mortality

                The government and therefore the vaccine could not be trusted. Rolovich participated in Pac-12
                Conference sponsored and WSU Athletics mandated education sessions relative to the merits of




                                                                                                     Exhibit K Page 5

                                                          ER1022                                                     WSU_00021822
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               the COVID-19 vaccine. In addition, WSU Athletics arranged a one-on-one meeting with Dr. Guy
               Palmer, a world-renowned infectious disease expert. Notwithstanding information shared by
               the experts in these sessions, Rolovich continued to rely on the results of his own research.

               In sum, throughout the multiple individual and group meetings, Rolovich made it clear that he
               refused to be vaccinated based on the conclusions he reached through his own research, he
               only mentioned religion after the Governor issued the Proclamation requiring vaccination, and
               then only mentioned religion in reference to seeking an exemption from the vaccination
               requirement. We believe these facts support re-evaluation of the claimed sincerely held
               religious belief.




                                                                                                  Exhibit K Page 6

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                                                         of 4
                  From: HRS Exemptions <hrs.exemptions@wsu.edu>
                     To: "Chun, Patrick" <patrick.chun@wsu.edu>, "McCoy, Anne R" <amccoy@wsu.edu>
                    Cc: "Wilmoth, Bonnie" <bonnie.wilmoth@wsu.edu>, "Warren, Stephanie C"
                         <stephanie.warren@wsu.edu>, HRS Exemptions <hrs.exemptions@wsu.edu>
                Subject: RESPONSE NEEDED | Religious Accommodation Request | Nick Rolovich
                   Date: Wed, 6 Oct 2021 21:04:42 +0000
            Importance: Normal
          Inline-Images: image001.png; image002.png; image003.png; image004.jpg


       Human Resource Services received a Religious Accommodation request regarding one of your employees:

        Employee:              Nick Rolovich
        TITLE:                 Head Football Coach
        WSU ID:                011732256
        Effective Date:        Upon Approval

       Nick Rolovich has requested an accommodation from Washington State University’s (WSU) COVID-19 vaccine
       requirement based upon a religious belief, practice, and/or observance. WSU has engaged in a good faith review of the
       information submitted through written and/or oral communications, which support the accommodation request based
       on a sincerely held religious belief.

       After review, we are considering approving the employee’s request subject to the following terms and conditions:

          ·   Employee must wear a face covering that covers the employee’s nose and mouth, and fits snugly a at all times
              unless 1) the employee is outside and can maintain 6 feet of social distance from all other individuals; 2) while
              working alone indoors. (note - a person is working alone if they are isolated from interactions with others and
              have little or no expectation of in-person interruptions (e.g. in a closed office).

          ·    Employee must social distance from others on WSU property when possible.

          ·    If WSU adopts a COVID-19 testing requirement for unvaccinated workforce members, employee will be
              required to submit to such testing as required by WSU.

          ·   The terms and conditions are subject to change and are amended to conform to any federal, state and local
              public health orders or other lawful government orders, and/or WSU adoption of additional occupational
              health and safety interventions or countermeasures to prevent the spread of COVID-19 in the workplace.

       Next Steps - Review Job Duties
       The department is to review the employee’s position description or essential job functions, to determine if the
       employee is able to perform essential functions of the position and meet the COVID-19 safety measures consistent
       with the recommendations of the state and protect the health and safety of the WSU community as part of this
       accommodation request.

       RESPONSE NEEDED:
       Please contact the HRS Exemptions team at hrs.exemptions@wsu.edu by the end of the day Friday, October 8, 2021 to
       let us know:
            1. You have no concern with this request
            2. If you are NOT able to accommodate this request with the above recommendations
            3. If you are able to accommodation the request but believe additional measures may be necessary to meet health
               and safety standards (e.g. relocation of office space to a non-open/shared or less central/populated work area,

                                                                                                     Exhibit J Page 3

                                                          ER1024                                                  WSU_00011806
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             safety barriers such as plexi-glass or heightened cubical walls; telework agreement. etc)
            4. If you have any questions or would like to meet to discuss further.

        Once a decision on the Religious Accommodation is finalized, HRS will send out the final accommodation notification to
        the employee and the department.

        Thank you,
        Teddi

        Teddi Phares, PHR
        HR Consultant | Washington State University Human Resource Services
        Pronouns: She/Her/Hers
        PO Box 641014 | French Administration Building, Room 139| Pullman, WA 99164-1014
        e: teddi.phares@wsu.edu | t: (509) 335-8331 or (509) 335-4521| f: (509) 335-1259
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        Main Website: hrs.wsu.edu |Jobs: wsu.edu/jobs


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                                                    WSU_00021020


                                                          Metadata
              All Custodians   Dennler, Bonnie; Elliot, Theresa; Gehring, Lisa                                     SEMANTIC
              All Paths        b.carothers@wsu.edu-3.pst//Top of Personal Folders/b.carothers@wsu.edu              SEMANTIC
                               (Primary)/Top of Information
                               Store/Inbox/HRS/Labor/KendraWF/1683b.eml//OFM_SHR_Vaccine_Mandate_Guidan
                               ce_Version3.docx//Microsoft_Word_Document1.docx; gehring@wsu.edu-2.pst//Top of
                               Personal Folders/gehring@wsu.edu (MainArchive)/Recoverable
                               Items/DiscoveryHolds/1def5.eml//OFM_SHR_Vaccine_Mandate_Guidance_Version3.
                               docx//Microsoft_Word_Document1.docx; gehring@wsu.edu.pst//Top of Personal
                               Folders/gehring@wsu.edu (Primary)/Top of Information Store/Inbox/Litigation Hold
                               Documents/Barnes/17b0d.eml//OFM_SHR_Vaccine_Mandate_Guidance_Version3.do
                               cx//Microsoft_Word_Document1.docx; telliot@wsu.edu.pst//Top of Personal
                               Folders/telliot@wsu.edu (Primary)/Top of Information Store/Inbox/Pandemic/vaccine
                               mask
                               WD/1a96b.eml//OFM_SHR_Vaccine_Mandate_Guidance_Version3.docx//Microsoft_W
                               ord_Document1.docx
              Author           Petrie, Valerie B (ATG)                                                             SEMANTIC
              Begin Family     WSU_00020972                                                                        SEMANTIC
              Custodian        Dennler, Bonnie                                                                     SEMANTIC
              End Family       WSU_00021031                                                                        SEMANTIC
              Extension        docx                                                                                SEMANTIC
              Family Date      10/11/2021 2:40 pm UTC                                                               VIRTUAL
              File Path        b.carothers@wsu.edu-3.pst//Top of Personal Folders/b.carothers@wsu.edu              SEMANTIC
                               (Primary)/Top of Information
                               Store/Inbox/HRS/Labor/KendraWF/1683b.eml//OFM_SHR_Vaccine_Mandate_Guidan
                               ce_Version3.docx//Microsoft_Word_Document1.docx
              Filename         Microsoft_Word_Document1.docx                                                       SEMANTIC
              MD5 Hash         1f5ed2bd8b6125b9ea411b55aab5f2ff                                                    SEMANTIC
              Placeholder      N                                                                                   SEMANTIC
              Primary Date     09/13/2021 5:39 pm UTC                                                               DOC_TYP
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              Redacted         N                                                                                   SEMANTIC
              SHA1 Hash        d939983694a0412c67c0ad1c75a1237599c5481e                                            SEMANTIC




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             GUIDANCE ON EVALUATING RELIGIOUS ACCOMMODATION REQUESTS

             Please note that this guidance is intended for WA state agencies. It is not intended for broader use.

             The process for reviewing a request for an exemption to the COVID-19 vaccination requirement
             due to a sincerely held religious belief is a confidential interactive process between the
             employee and the agency/organization human resources department. As with the ADA
             accommodation process, the results of this process will be considered, analyzed, and
             determined on a case-by-case basis. The employee must actively participate in the interactive
             accommodation process and provide all information reasonably needed to evaluate the
             request.

             1. What is the definition of religion when assessing a request for religious accommodation?
             Under federal and state law, "religion" is broadly defined. It includes traditional, organized
             religions such as Christianity, Judaism, Islam, Hinduism, and Buddhism. A religious belief may
             be individualistic, and it also includes religious beliefs that are new, uncommon, not part of a
             formal church or sect, or only held by a small number of people. Non-theistic, moral or ethical
             beliefs about what is right and wrong, which are sincerely held with the strength of traditional
             religious views, may meet the definition of a sincerely held religious belief. However, social,
             political, or economic philosophies, or personal preferences, are not "religious" beliefs under
             the law.

             2. How should an agency/organization evaluate a request for religious accommodation?
             When reviewing the request, the agency should follow these abiding principles:
             •      • Presume a religious belief to be sincerely held.
             •      • Be cognizant that religious beliefs are not static and are susceptible to change over the
             course of a person's life.
             •      • Remember the fact that an individual is not a frequent observer of their faith or had
             not previously made their faith public does not necessarily limit its sincerity.
             •      • An accommodation does not have to be limited to what is requested by the employee.

             3. Once it is determined an individual qualifies for an exemption to the vaccination
                requirement based on a sincerely held belief, what happens next?
                • Once a request has been made, the process is like the ADA accommodation process
                • The employee’s essential functions of the position should be considered and the
                   agency/organization should engage in an interactive process to identify options to limit
                   transmission of COVID-19 in the workplace without creating an undue hardship for the
                   employer (see below). Agencies/organizations may consult the accommodation matrix
                   for more information.

             4. What can an employer do if they have questions about an employee’s request for religious
                accommodation from the vaccine mandate?
             Federal guidance on religious accommodation encourages employers to presume that an
             employee’s request for religious accommodation is based on a sincere belief in a religion,
             unless the employer has a valid, objective reason to question the employee. The employer

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             GUIDANCE ON EVALUATING RELIGIOUS ACCOMMODATION REQUESTS

             should review the request on its own merits, initiate discussion with the employee about
             whether an employee’s religious belief is sincerely held (see questions below), possible
             accommodation, and assess whether accommodation is possible. Employees have an
             obligation to actively participate in the accommodation process and must cooperate with an
             employer's attempt to accommodate their needs. In addition, the employee must show that
             the proposed accommodation would enable the employee to perform the essential functions of
             his/her position and is practical for the employer.

             In determining whether an employee’s religious belief is sincerely held, a limited initial inquiry
             could include objective, general questions, without delving too far into an employee’s reasons
             for a particular belief and without requiring input from an outside source, such as a formal
             religious leader. Such inquiries might include asking how long the employee has followed the
             professed belief or what constitutes the basic tenets of the religion. The employer does not
             have to accept a high-level statement of religious observance that provides no details; an
             employer can ask about the specific belief, tenet, or observance that conflicts with the
             vaccination requirement.

             However, if the employer determines it needs additional supporting information, and/or has
             doubts as to the sincerity or religious nature of the employee’s professed belief, the employer
             has the option to request supporting documents or other types of verification from the
             employee. Such written materials may include requesting the employee’s own first-hand
             explanation. Employers should proceed with caution and obtain legal advice before seeking
             third-party verification, e.g., requesting verification from the employee’s pastor, rabbi, church
             elder, etc. Employers should keep questions and information requests focused on the
             particular religious belief system, and not inquire into intensely personal details about the
             employee’s level of observance or faith in their stated religion.

             In evaluating a request for accommodation, employers are not required to consider only the
             accommodation that the employee believes is the best one but must offer an alternative
             accommodation that is reasonable. A reasonable accommodation can be determined only by
             analyzing the specific facts surrounding a particular request and core job duties. Generally, an
             accommodation is unreasonable if it (1) does not remove the conflict between the workplace
             and the employee’s need for accommodation; (2) discriminates against the employee; or (3)
             compromises the employee’s access to the terms, conditions and privileges of employment.
             Federal guidance recommends that if more than one accommodation is possible, the employer
             should offer the accommodation that will least disadvantage the employee’s opportunities in
             the workplace.

             Seek legal advice from your assigned labor and personnel assistant attorney general if you need
             assistance.

             5. What if an employee refuses to answer questions and/or complete the form?



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                                                       ER1028                                               WSU_00021021
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             An employee is required to participate in the interactive process. However, they are not
             required to submit information in writing. Where an employee refuses to answer in writing, an
             effort should be made to discuss the questions with the employee and the employer should
             document their responses to comply with the proclamation.

             6. What if an employee fails to complete just one part of the form (or even just one question,
                  such as the one about prior vaccine/medicine) but completes the rest?
             If the employee does not answer all the questions, the employer should consider the
             information that was provided and assess if it has sufficient information to the employee has a
             sincerely held religious belief which prevents vaccination.

             7. What if an employee submits a different form entirely?
                If the employee submits a different form, the employer should determine if the information
                provided permits them to determine if the employee has a sincerely held religious belief
                which prevents vaccination. If a large number of employees submit the same form, please
                reach out to your AAG to discuss.

             8. What if the reason cited is general, such as “My body is my temple?
             Where an employee provides a general statement rather than answering the questions asked,
             the employer may seek additional information reasonably necessary to determine if the
             employee has a sincerely held religious belief which prevents vaccination.

             9. What if the reasons cited by the employee are believed by the employer to be factually
                 inaccurate?
             Where the information provided by the employee appears to in inaccurate, such as the
             employee stating the vaccines contain an ingredient which they do not, the employer could
             provide the employee with educational resources, (i.e. DOH information on common
             misconceptions about the COVID-19 vaccines:
             https://www.doh.wa.gov/Emergencies/COVID19/VaccineInformation/VaccineFacts) and ask
             them to confirm their continued request for accommodation after consulting the information.


             10. How does an employer determine if a religious accommodation imposes more than a
                 minimal burden on operation of the business (or an "undue hardship")?

                   An accommodation based on religion utilizes a different standard than am accommodation
                   based on a disability. With respect to religious accommodation, an accommodation is an
                   “undue hardship” if it imposes more than a de minimis cost on the employer. It is
                   incumbent upon the employer to establish that an accommodation is an undue hardship.
                   An employer cannot rely on hypothetical hardship when faced with an employee’s religious
                   obligation that conflicts with scheduled work but should rely on objective data.
                   Considerations of an undue hardship may include:

               •      Type of workplace

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                                                      ER1029                                           WSU_00021022
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             GUIDANCE ON EVALUATING RELIGIOUS ACCOMMODATION REQUESTS

               •    Nature of employee’s duties

               •    Actual work disruption

               •    A request that is unduly difficult, substantial, or disruptive to implement

               •    Causes a lack of staffing

               •    Cost of the accommodation and number of employees needing the accommodation

               •     Number of Employees Impacted by permitting the requested accommodation including seniority
               systems and collectively bargained rights – for example, other employees had CBA seniority right to choose
               their preferred jobs and shifts, and accommodation in this case would interfere with those rights.
               •     Size and operating costs of the business impact of the accommodation on the agency as a
                     whole not just the impact on a satellite office.
               •     Safety Concerns and Security Considerations.

             Seek legal advice from your assigned labor and personnel assistant attorney general to assess
             options.

             Resources:

             EEOC Section 12 (Updated January 15, 2021):
             https://www.eeoc.gov/laws/guidance/section-12-religious-discrimination

             EEOC Technical Guidance, “What You Should Know About COVID-19 and the ADA, the
             Rehabilitation Act, and Other EEO Laws (updated May 28, 2021):
             https://www.eeoc.gov/wysk/what-you-should-know-about-covid-19-and-ada-rehabilitation-
             act-and-other-eeo-laws#K.6

             Washington Human Rights Commission (Updated July 2015):
             https://www.hum.wa.gov/sites/default/files/public/99_Religion%20and%20non-
             discrimination.pdf

             Title VII of the Civil Rights Act of 1964:
             https://www.eeoc.gov/statutes/title-vii-civil-rights-act-1964

             Revised Code of Washington 49.60, Washington Law Against Discrimination:
             https://app.leg.wa.gov/rcw/default.aspx?cite=49.60

             Washington DOH, Building Confidence and Busting Myths:
             https://www.doh.wa.gov/Emergencies/COVID19/VaccineInformation/VaccineFacts




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                                                      ER1030                                                 WSU_00021023
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(244 of 299), Page 244 of 299   Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 244 of 299
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                  PM   2:22-cv-00319-TOR For ECF     No. 89-9
                                              Nick Rolovich           filed vaccine
                                                            and WSU, COVID  09/23/24         PageID.1337
                                                                                    mandate deadline approaches                                                         Page 2
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                      SPORTS    >COLLEGE SPORTS • News
                      Would WSU actually fire Nick Rolovich? Examining the
                      exemption review process with the vaccine mandate
                      deadline approaching
                      Rolovich has until Oct. 18 to comply with Gov. Jay Inslee's order

                                 By JON WILNER I jwilner@bayareanewsgroup.com I Bay Area News Group
                                 UPDATED: October 7, 2021 at 6:29 p.m.




                      Washington State has entered the decision phase with football coach Nick Rolovich. At any point in the next 11 days, the university will determine his
                      fate.

                      A mid-season dismissal is within the realm of possibility.

                      Rolovlch announced in July that he would not receive the COVID vaccine but has offered no update on his situation, except to say that he would
                      comply with Washington Gov.Jay lnslee's vaccine mandate.

                      According to that mandate, state employees in higher education must be fully vaccinated or receive a medical or religious exemption by Oct. 18.
                      Failure to comply will result in termination.

                      Presuming Rolovich didn't change his stance on the vaccine but desired to remain employed, he would have submitted an exemption request by the
                      start of this week.

                      At some point prior to Oct. 18, a team of at least two people trained in the exemption review process will determine if Rolovich's requests meets the
                      standard for approval established by WSU (in conjunction with the state attorney general's office).

                      As with all other exemption requests - the university has received hundreds of them - Rolovich's name and department are not visible to those
                      reviewing the application. The blind review was designed to create fairness for employees across all WSU campuses, regardless of position or salary.

                      There are two possible outcomes.

                      - If Rolovich's request for an exemption is denied:

                      He would have the option to get vaccinated by Oct 18. If he follows that course, Rolovlch would be placed on unpaid leave (or could take vacation
                      time) until the day he becomes fully vaccinated.

                      (With the one-shotJohnson &Johnson vaccine, he would be eligible to return to work after two weeks.)

                      If Rolovlch's request is denied and he refuses to get vaccinated by Oct. 18, the university would begin the separation process.

                      The timeline for termination differs by employment status - one process for tenured professors, another for administrative personnel, etc. Roiovich
                      has a contract (until June 30, 2025) that includes provisions for termination with and without cause.

                      - If Rolovlch's exemption request is approved:

                      If the blind review results in the approval of Rolovich's exemption request. the process would enter a second phase.

                      Washington State vice president for communications Phil Weiler could not discuss Rolovich's case specifically- the university Is prohibited by law
                      from commenting- but Weiler outlined the exemption process in general terms.

                      An approved request would be sent to the human resources department, which would identify the employee in question and send an email to his/her
                      supervisor indicating the exemption had been approved.


                                                                                                                                                        Exhibit H Page 2

                                                                                      ER1032
     https://www.mercurynews.com/2021/10/07/would-wsu-actually-fire-nick-rolovich-examining-the-exemption-review-process-as-vaccine-mandate-deadlin...                           1/3
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                  PM   2:22-cv-00319-TOR For ECF     No. 89-9
                                              Nick Rolovich           filed vaccine
                                                            and WSU, COVID  09/23/24         PageID.1338
                                                                                    mandate deadline approaches                                                                 Page 3
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                      At that point, according to Weiler, the supervisor would determine if the unvaccinated employee would be capable of "keeping the public safe" and
                      performing his/her job effectively.

                      The employee would be required to follow WSU's policy for unvaccinated individuals, which includes limiting in-person contact as much as possible
                      and, when interaction is required, wearing a mask and following social distancing guidelines.

                      (An unvaccinated graphic designer who works alone in an office could function effectively and keep the public safe. But that might not be the case
                      with an unvaccinated food service employee who works close to hundreds of students.)

                      If the supervisor determined the unvaccinated employee could continue functioning effectively and keeping the public safe, the supervisor would
                      notify human resources that the exemption had been granted. The employee would then be informed.

                      If the supervisor determined the unvaccinated employee could not function effectively and keep the public safe, then human resources would be
                      notified the request had been denied and the employee would be informed - and he/she would have until Oct. 18 to get vaccinated.

                      Would Rolovich, if unvaccinated, be capable of functioning effectively and keeping the public safe?

                      His contract, which was obtained by the Hotline, outlines a list of 13 "specific duties and responsibilities."

                      They include all the standard stuff, from making staff decisions to meeting competitive goals and following sound fiscal policy with the program's
                      budget.

                      - But subsection 'h' states: "Under the direction of the Athletic Director, participate in events, activities, and/or efforts to foster support for the
                      University's Athletic Department and/or the Football program;"

                      - And subsection 'i' states: "Serve as director ofinstructional youth Football programs to be held in athletic facilities at the University's Pullman
                      campus if deemed applicable,~

                      - And subsection 1' states: '7he Athletic Director or his designee may reasonably assign other duties from time to time that are consistent with
                      customary duties of a Head Football Coach at a Division I Football program;•

                      There is more to Rolovich's job than running practice, watching film and coaching during games. If unvaccinated, would he be capable of executing the
                      external duties (recruiting. fundraising. directing the youth programs, representing the university In public events) at the expected level?

                      If the exemption request were approved via the blind process, then his supervisor, athletic director Pat Chun, would determine if Rolovich could carry
                      out his duties effectively and keep the public safe.

                      That's where the formal nature ofWSU's process diverges from reality:

                      Chun won't make the determination alone.

                      A decision of that magnitude - Rolovich is the highest-paid state employee and the public face of WSU athletics - will be made by president Kirk
                      Schulz. presumably with significant input from Chun and perhaps others, including provost Elizabeth Chilton, chief human resources officer Theresa
                      Elliot-Cheslek and possibly even Marty Dickinson, chair of the WSU Board of Regents.

                      This is the antithesis of a typical coaching evaluation. It's an unprecedented situation - all of Rolovich's peers in the Pac-12 are vaccinated - cast
                      against the state of Washington's attempts to contain the pandemic.

                      Would the university actually fire Rolovich over this?

                      Weiler declined to address the specific situation but said of an unvaccinated employee who doesn't meet the standards for an exemption:

                      "Washington State has no latitude. The Governor's mandate was clear."


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                      Details.are here, and thanks for your support.


                       ,.,... Send suggestions, comments and tips (confidentiality guaranteed) to pac12hotline@bayareanewsgroup.com or cal/ 408-920-5716

                       ...... Follow me on Twitter: @WilnerHotline

                       *** Pac-12 Hotline is not endorsed or sponsored by the Pac-12 Conference, and the views expressed herein do not necessarily reflect the views of the
                       Conference.

                       Originally Published: October 7, 2021 at 9:01 a.m.



                                          ~ The Trust Project v




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     https://www.mercurynews.com/2021/10/07/would-wsu-actually-fire-nick-rolovich-examining-the-exemption-review-process-as-vaccine-mandate-deadlin...                                   2/3
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    8/17/24, 7:47 AM                  Nearly 90%ECF
                                                of WSUNo.  89-8are vaccinated
                                                       employees    filed 09/23/24            PageID.1331
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                  October 8, 2021


                Nearly 90% of WSU employees are
                vaccinated
                  By Communications staff, Washington State University




                 All WSU employees must be fully vaccinated or have obtained a medical or religious exemption by Oct. 18.



                PULLMAN, Wash. – Nearly 90% of Washington State University employees are
                vaccinated against COVID-19 and student levels are even higher, with infection rates
                involving the Pullman campus, in particular, declining dramatically compared to a year
                ago.

                “Our vaccination rates are high, and we know it’s the path that gets us through this
                pandemic,” said WSU President Kirk Schulz. “With a critical state deadline approaching
                for our employees, we’ve sought to work through pockets of hesitancy and uncertainty
                with compassion and understanding but with a firm commitment to making sure we’re
                doing everything possible to deliver a robust in-person educational experience.”

                Under Gov. Jay Inslee’s vaccine mandate, all state employees must be fully vaccinated
                by Oct. 18 or have an approved exemption for documented medical reasons or sincerely
                held religious beliefs. Those who don’t meet the requirements will be prohibited from
                engaging in work for the State of Washington, including public universities.
                                                                                                                        Exhibit G Page 2

                                                                       ER1034
     https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                              1/5
(247 of 299), Page 247 of 299  Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 247 of 299
                  Case 2:22-cv-00319-TOR
    8/17/24, 7:47 AM                   Nearly 90%ECF
                                                 of WSUNo.  89-8are vaccinated
                                                        employees    filed 09/23/24            PageID.1332
                                                                               | WSU Insider | Washington             Page 3
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                Although the final state deadline is still more than a week away, preliminary compliance
                figures are available because WSU employees were required to verify their vaccine
                status by Oct. 4 to be considered fully vaccinated by Oct. 18. Those who sought
                exemptions were to submit their completed requests by Oct. 4 to provide the university
                time to evaluate the requests ahead of the state deadline.

                Students faced a Sept. 10 deadline for verifying their vaccination status or applying for a
                medical or religious exemption. Those who fail to comply will be prohibited from
                enrolling for the upcoming spring semester.


                Vaccination rates
                Of the approximately 10,000 full- and part-time WSU employees systemwide, 88% were
                fully or partially vaccinated as of Oct. 5. Verification efforts are continuing.

                For students who have submitted documentation, reported vaccination rates at each of
                WSU’s five physical campuses are more than 95%. The Pullman and Spokane campuses
                top the list at 98% each. Most students have either reported their vaccination status or
                requested an exemption, though percentages vary by campus and are still growing as
                compliance efforts continue.

                Detailed figures for each campus can be found online.


                Steep decline in COVID-19 cases involving WSU
                Pullman
                For the Pullman campus, the number of COVID-19 cases involving the WSU community
                have declined dramatically compared to last fall.

                Last year, according to Whitman County Public Health, there were 526 confirmed
                COVID-19 cases involving members of the WSU Pullman community from Aug. 30 to
                Sept. 12. During the same period this year, that number dropped to 121 cases.

                For the week ending Oct. 6, WSU Pullman had just eight active cases among students,
                faculty and staff.


                Medical and religious exemptions
                More than 1,250 requests for medical and religious exemptions have been made by
                WSU students, faculty and staff. So far, nearly 800 have been approved and the review
                process is continuing. Final numbers will be available after Oct. 18.



                                                                                                        Exhibit G Page 3

                                                                       ER1035
     https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                  2/5
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                  Case 2:22-cv-00319-TOR
    8/17/24, 7:47 AM                    Nearly 90%ECF
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                                                         employees    filed 09/23/24            PageID.1333
                                                                                | WSU Insider | Washington             Page 4
                                                                                                           State University
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                The requests for religious exemptions are evaluated in a “blind” review process, meaning
                the identities of the individuals requesting exemptions are unknown to the members of
                the review committee except in instances when additional information is needed
                through follow-up contact. Separate review committees were created for students and
                employees.

                A panel of faculty and staff from all WSU campuses with expertise in religions, diverse
                backgrounds, and legal accommodations makes up the committee reviewing student
                requests.

                Employee religious requests are reviewed by a committee consisting of a team from
                WSU’s Human Resource Services as well as the university’s Office of Civil Rights and
                Compliance. Employee medical exemption requests are considered by the university’s
                Disability Services team, which normally handles medical-related leave and
                accommodation requests.

                The Washington Attorney General’s Office is being consulted on criteria WSU is using to
                decide the exemption requests and providing legal advice to both committees as
                needed.

                Those who requested exemptions were asked to provide supporting information.

                For employees, the exemption requests go through a two-step process. The first is the
                blind review. Then, if an exemption is approved, the request moves to a separate
                accommodation review step where a determination is made whether the unvaccinated
                employee will be able to perform their duties without risking the health and safety of
                the community.

                An appeals process is in place for students. Employees are provided the opportunity to
                supply additional information before final decisions are made.


                Media Contacts
                       Phil Weiler, vice president, University Marketing and Communications,
                       509-595-1708, phil.weiler@wsu.edu
                Categories: Campus & Community, Health & Medicine, Press Releases, University Affairs




                       NEXT Story

                                                                                                         Exhibit G Page 4

                                                                       ER1036
     https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                   3/5
(249 of 299), Page 249 of 299  Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 249 of 299
                  Case 2:22-cv-00319-TOR
    8/17/24, 7:47 AM                  Nearly 90%ECF
                                                of WSUNo.  89-8are vaccinated
                                                       employees    filed 09/23/24            PageID.1334
                                                                              | WSU Insider | Washington             Page 5
                                                                                                         State University
                                                               of 6
                                                           WSU employees again urged to check
                                                           direct deposit information
                                                            August 16, 2024

                                                           More victims discovered and students, faculty and staff are now
                                                           strongly advised to begin switching to the Okta Verify mobile
                                                           application as their primary MFA tool.

                                                            By Communications staff, Washington State University




                    Recent News




                      A      t 15 2024                                                                             Exhibit G Page 5

                                                                       ER1037
     https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                          4/5
(250 of 299), Page 250 of 299        Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 250 of 299
                  Case 2:22-cv-00319-TOR
    8/17/24, 7:47 AM                        Nearly 90%ECF
                                                      of WSUNo.  89-8are vaccinated
                                                             employees    filed 09/23/24            PageID.1335
                                                                                    | WSU Insider | Washington             Page 6
                                                                                                               State University
                      August 15, 2024                               of 6
                    Robot planning tool accounts for human
                    carelessness
                    A new algorithm may make robots safer by making them more aware of
                    human inattentiveness.

                      By Tina Hilding, Voiland College of Engineering and Architecture




                      August 15, 2024

                    Endangered frogs set to hop into the wild
                    Nearly 400 mature frogs will soon be released into the wild of the
                    Columbia National Wildlife Refuge thanks to a team of WSU scientists and
                    their collaborators.

                      By College of Arts and Sciences staff, Washington State University




                      August 14, 2024

                    Fear of appearing prejudiced can inhibit
                    accurate performance feedback to
                    women
                    Evaluators who want to avoid appearing prejudiced may overcorrect and
                    give women inflated performance feedback, new research indicates — a
                    practice that could ultimately hinder their ability to improve and advance.

                      By Communications staff, Washington State University




                      August 14, 2024

                    Saipan students join WSU to promote




                                                                                                             Exhibit G Page 6

                                                                        ER1038
     https://news.wsu.edu/press-release/2021/10/08/nearly-90-of-wsu-employees-are-vaccinated/                                       5/5
(251 of 299), Page 251 of 299
                            Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 251 of 299
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                                                     of 50




                      Expert Report of M. Therese Lysaught, PhD.

                          Prepared for Defendant Washington State University in

                        Eastern District of Washington Case No. 2:22-cv-00319-TOR

                                           Nicholas Rolovich, FB7ADJ=
                                                            v.
                                    Washington State University, defendant.




                                                       O0"Vjgtgug"      Fkikvcnn{"ukipgf"d{"O0"Vjgtgug"
                                                                        N{ucwijv"

                                               Signed: N{ucwijv
                                                                        Fcvg<"424602:02;"36<33<26"/27)22)
            Dated: August 9, 2024
                                               M. Therese Lysaught

            Expert Report of M. Therese Lysaught – Page 1

                                                                                                  Exhibit F Page 2

                                                   ER1039
(252 of 299), Page 252 of 299
                            Case: 25-761, 06/12/2025, DktEntry: 26.6, Page 252 of 299
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                                                     of 50




            I.      CREDENTIALS

                    A.      &OF;GJH; 7D: &CFBEPC;DI )AHIEGP

                 1. I am a Roman Catholic moral theologian with a Mandatum from the Roman Catholic
                    Church to teach in the theological disciplines, pursuant to the encyclical of Pope John
                    Paul II Ex Corde Ecclesia. My <XA<Y TC AdVAX\YA NS?Qa@A Roman Catholic moral theology,
                    Catholic social teaching, the theology and ethics of Catholic health care, health care
                    ethics, and global health.

                 2. * <R < ZASaXA@ 1XTCAYYTX NS ZMA /ANYc<SLAX *SY\ZaZA TC #NTAZMN?Y <S@ )A<QZM 1TQN?e <Z
                    Loyola University Chicago, Stritch School of Medicine. I have worked at Loyola University
                    Chicago since July 1, 2013, cNZM < OTNSZ <VVTNSZRASZ NS ZMA *SY\ZaZA TC 1<YZTX<Q 4Za@NAY
                    from 2013-2020. *S  j * c<Y <VVTNSZA@ ZT ZMA 1TS\E?<Q "?<@ARe CTX -NCA <Z ZMA
                    7<\?<S <Y < $TXXAYVTS@NSL .AR>AXm 'XTR  -2013, I served as < 7NYN\SL 4?MTQ<X cNZM
                    ZMA $<ZMTQN? )A<QZM "YYT?N<\TSm 'XTR "aLaYZ -.<e j * MAQ@ ZMA VTYN\TS TC
                    ZASaXA@ "YYT?N<ZA 1XTCAYYTX NS ZMA %AV<XZRASZ TC 5MATQTLe <Z .<XWaA^A 6SNbAXYNZej
                    Milwaukee, Wisconsin. In August 1995, I joined the faculty of the Department of
                    Religious Studies at the University of Dayton as an Assistant Professor, where I received
                    ZASaXA <S@ VXTRT\TS ZT ZMA X<SP TC "YYT?N<ZA 1XTCAYYTX ADA?\bA 1. At all three
                    aSNbAXYN\AYj * M<bA MAQ@ <?<@ARN? <@RNSNYZX<\bA VTYN\TSYm 'XTR -1998, I served on
                    the Recombinant D/" "@bNYTXe $TRRN^AA <Z ZMA /<\TS<Q *SY\ZaZAY TC )A<QZMm *S -
                    j * YAXbA@ <Y <S /*) 'AQQTc NS ZMA 1XTLX<R NS .TQA?aQ<X <S@ $QNSN?<Q (ASA\?Yr
                    #NTRA@N?<Q &ZMN?Y <Z ZMA 6SNbAXYNZe TC *Tc<j bN< ZMA &ZMN?<Qj -AL<Qj <S@ 4T?N<Q *RVQN?<\TSY
                    Program (ELS*u TC ZMA /<\TS<Q $ASZAX CTX )aR<S (ASTRA 3AYA<X?M t/$)(3um

                 3. * A<XSA@ < #4 NS $MARNYZXe CXTR )TVA $TQQALA NS )TQQ<S@j .N?MNL<S tuj <S ." NS
                    Theology from the University of Notre Dame (1986), and a PhD in Religion (Theological
                    Ethics) from Duke University (1992).

                 4. Since 2022, I have served as the Editor of the Journal of Moral Theology, a scholarly
                    peer-reviewed journal focused on Catholic moral theology. Since 1992, I have also
                    YAXbA@ NS < b<XNAZe TC <@bNYTXe ?<V<?N\AYj NS?Qa@NSL cNZMl ZMA 1TS\E?<Q "?<@ARe CTX -NCAj
                    ZMA $<ZMTQN? .A@N?<Q .NYYNTS #T<X@k ZMA (QT><Q '<NZM-#<YA@ )A<QZM $<XA NSN\<\bA
                    YVTSYTXA@ >e (ATXLAZTcS 6SNbAXYNZe <S@ ZMA 'TS@<fNTSA #XaST ,AYYQAX NS 5XASZTj *Z<Qek
                    the Program on Medicine and Religion at the University TC $MN?<LTk ZMA #T<X@ TC
                    %NXA?ZTXY TC ZMA 4T?NAZe TC $MXNY\<S &ZMN?Yk ZMA "SLQN?<S-Roman Catholic Theological
                    $TSYaQZ<\TS 6m4m"m aS@AX ZMA <aYVN?AY TC ZMA United States Conference of Catholic
                    #NYMTVYk ZMA "RAXN?<S "YYT?N<\TS CTX ZMA "@b<S?ARASZ TC 4?NAS?Ak ZMA $<ZMTQN? )A<QZM
                    "YYT?N<\TSk <S@ ZMA 3A?TR>NS<SZ %/" "@bNYTXe $TRRN^AA TC ZMA /<\TS<Q *SY\ZaZAY TC
                    )A<QZMm * <QYT XALaQ<XQe ?TSYaQZ cNZM $<ZMTQN? MA<QZM YeYZARY <S@ aSNbAXYN\AY TS R<^AXY
                    of theology, mission, and ethics.


            Expert Report of M. Therese Lysaught – Page 2

                                                                                              Exhibit F Page 3

                                                       ER1040
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                   B.      /N8BA97JEDH

                5. SiS?A j * M<bA Va>QNYMA@ YNd >TTPY in English—one on Catholic moral theology
                   (Gathered for the JouKG;TY -HK7E 3A;HEH@T BG $7MAHEB9 0;KLJ;9NQ;j uj ZcT TS
                   theology and health care ethics (/G -HK7E -;:B9BG;Y 3A;HEH@B97E 0;KLJ;9NQ;L BG -;:B97E
                   Ethics,  k <S@ $7MAHEB9 #BH;MAB9L 7G: 2H9B7E +PLN9;j uk TSA TS ZMA ZMATQTLN?<Q
                   CTaS@<\TSY TC $<ZMTQN? MA<QZM ?<XA t$7KBM7L BG $HFFPGBHGY 3A;HEH@B97E 'HPG:7NHGL H=
                   Catholic Health Carej uk TSA TS ZMA AZMN?Y TC SAaXTY?NAS?A t#BHJHEBN9L "?;K
                   Neuroscience: Morality and the Economy of Virtuej  uk <S@ TSA Tn the celebrated
                   LQT><Q MA<QZM VNTSAAXj %Xm 1<aQ '<XRAX t" 0KHJA;M MH MA; 0;HJE;LY 07PE '7KF;K’s Witness
                   and Theological Ethics, 2023). Two of these books have been translated into Spanish.
                   Three of these books have received awards—ZMA   &dV<S@A@ 3A<YTS *SY\ZaZA "c<X@
                   CXTR ZMA 6SNbAXYN@<@ 'X<S?NY?T @A 7NZTXN< t.<@XN@u <S@ ZMA 'TS@<fNTSA 7<\?<S< +TYAVM
                   3<ZfNSLAX #ASA@A^T 97* CTX #BHJHEBN9L "?;K .;PKHL9B;G9;k in 2019, Catholic Bioethics
                   and Soci7E +PLN9; XA?ANbA@ <S MTSTX<>QA RAS\TS CTX #AYZ /Ac #TTPY TS $<ZMTQN? 4T?N<Q
                   Teaching CXTR ZMA $<ZMTQN? 1XAYY "YYT?N<\TSk <S@ NS j Gathered for the Journey won
                   ZMNX@ VQ<?A MTSTXY CTX ZMA <SSa<Q <c<X@ CTX #AYZ /Ac #TTP NS 5MATQTLe, also from the
                   CathTQN? 1XAYY "YYT?N<\TSm Within the last ten years, I have also published: 22 peer-
                   XAbNAcA@ OTaXS<Q <X\?QAYk 11 ?M<VZAXY NS >TTPYk many >XNACAX Va>QN?<\TSYk and I have
                   given 11 refereed conference papers and 39 invited lectures on the theology and ethics
                   TC $<ZMTQN? MA<QZM ?<XA <S@ <@@N\TS<Q ZTVN?s. These items are also listed in Appendix 1.

                   C.      Service as an Expert Witness

                6. In the past ten years, I have served as an expert witness in the following cases: $A7QB;L QZ
                   Catholic Health East, No. 13-1645 (E.D. Pa.)k -;:BG7 QZ $7MAHEB9 );7EMA *GBN7NQ;L, No. 13-
                   cv-01249-3&#-,-. (D. Colo.)k 2FBMA QZ /2' Healthcare System, Case No. 16-CV--SMY-
                   RJD (S.D. Ill.); ,BEB7G 1HF;KH QZ "G7 1HF;KH, Los Angeles Superior Court Case No.
                   451#, In re Juan Fernando Romero, Los Angeles Superior Court Case No.
                   451# k <S@ $7J;EEH QZ 'K7G9BL97G "EEB7G9;, No. 3:16-cv-290-TLS-.(( t/m%m *S@mu.

                   D.      Scope of Work

                m * c<Y <YPA@ ZT Ab<Qa<ZA ZMA TVNSNTSY TDAXA@ >e +TMS %N $<RNQQT XAL<X@NSL /N?MTQ<Y
                   Rolovich’s refusal to receive the COVID- b<??NS<\TS CTX ZMA YZ<ZA@ XA<YTS ZM<Z NZ
                   ?TSIN?ZA@ cNZM MNY YNS?AXA XAQNLNTaY >AQNACY <Y < 3TR<S $<ZMTQN?m

                   E.      %E9NC;DIH Considered

                8. 5MA @T?aRASZY * M<bA ?TSYN@AXA@ NS CTXRNSL Re TVNSNTSY NS ZMNY R<^AX NS?Qa@A ZMTYA
                   documents cited in this Report and those listed below. These documents, especially
                   those that represent the teachings of the Roman Catholic Church, are the type of
                   @T?aRASZY ZM<Z <XA XALaQ<XQe XAQNA@ aVTS >e AdVAXZY NS Re EAQ@m


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                                                                                              Exhibit F Page 4

                                                      ER1041
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                            •   The Second Amended Complaint
                            •   Nicholas Rolovich’Y &dARV\TS 3AWaAYZ 'TXR 4a>RN^A@ TS 4AVZAR>AX 28, 2021
                            •   5MA 846 "ZMQA\? %AV<XZRASZ’Y .ARTY 4a>RN^A@ ZT )aR<S 3AYTaX?AY 4AXbN?AY
                                on October 13, 2021
                            •   5MA 0?ZT>AX j   AR<NQ CXTR )aR<S 3AYTaX?AY 4AXbN?AY cNZM ZMA TH?N<Q
                                ST\?A ZM<Z MNY AdARV\TS c<Y @ASNA@
                            •   5MA 0?ZT>AX j   QA^AX CXTR 1<Z $MaS ZT /N?MTQ<Y 3TQTbN?M XAl 8XN^AS
                                /T\?A TC *SZASZ ZT 5AXRNS<ZA CTX +aYZ $<aYA
                            •   The NovembAX  j   QA^AX CXTR 1<Z $MaS ZT /N?MTQ<Y 3TQTbN?M XAl /T\?A TC
                                Decision to Terminate for Just Cause

                       F.       $ECF;DH7JED

                   9. * <R >ANSL ?TRVASY<ZA@ CTX ZMA cTXP TS ZMNY ?<YA <Z < X<ZA TC rMTaX CTX XAYA<X?Mj
                      cXN\SLj ?TSYaQ\SL, <S@ ZAY\CeNSL <Z ZXN<Q TX NS @AVTYN\TSm

            II.        EXPERT REPORT

                   10. In his opinion, John Di $<RNQQT <@@XAYYAY ZMA WaAY\TS TC cMAZMAX .Xm 3TQTbN?M “may
                       have been required to refuse a COVID- b<??NS<\TS” based on “the teachings of the
                       Roman Catholic Church.” 1 *S MNY <S<QeYNYj MA VaXVTXZY ZT TDAX < summary of the Roman
                       $<ZMTQN? ZA<?MNSL TS ?TSY?NAS?Ak MA <VVQNAY cM<Z MA XACAXY ZT <Y “the principle of
                       ZMAX<VAa\? VXTVTX\TS<QNZeqk and makes statements about Roman Catholic teaching
                       <>TaZ b<??NS<\TSY NS LASAX<Qm #<YA@ TS ZMAYA VXARNYAY MA ?TS?Qa@AY ZM<Z “ZM<Z NCj <KAX
                       @aA @NQNLAS?A NS YAAPNSL TaZ <S@ ?XN\?<QQe <YYAYYNSL RA@N?<Q <S@ RTX<Q NSCTXR<\TS
                       pertaining to COVID-19 and the vaccines, Nicholas Rolovich came to a sure judgment in
                       conscience that he should not receive a COVID-19 vaccine, then the teachings of the
                       Catholic Church required that he refuse the vaccine.” 2

                   11. In my opinion, Mr. Di Camillo’s VXAYASZ<\TS TC A<?M TC his VXARNYAY NY @AAVQe I<cA@m
                       While he correctly cites one part of the Roman Catholic teaching on conscience, he fails
                       to present the Church’Y ZA<?MNSL NS NZY AS\XAZem )NY “VXNS?NVQA TC ZMAX<VAa\?
                       VXTVTX\TS<QNZe” NY N@NTYeS?X<\?m )A TRNZY TSA TC ZMA RTYZ ?ASZX<Q VXNS?NVQAY TC $<ZMTQN?
                       >NTAZMN?Y ZM<Z MAQVY V<\ASZY ZT R<PA RTX<QQe-informed decisions about medical
                       NSZAXbAS\TSY—namely, the principle of ordinary and extraordinary means. And most
                       importantly, his analysis AS\XAQe NLSTXAY the XT>aYZ >T@e TC <aZMTXNZ<\bA ZA<?MNSL
                       promulgated by the Roman Catholic magisterium 3 in 2020 and 2021 regarding the moral


            1
                John Di Camillo, “&dVAXZ %A?Q<X<\TS TC +TMS "m $<RNQQTj” July 1, 2024, no. 4, emphasis added.

            2
                Di Camillo, STm j ARVM<YNY <@@A@.

            3
             Within the Roman Catholic Church, the term “magisterium” (><YA@ TS ZMA -<\S cTX@ CTX “teacher” (magister))
            XACAXY ZT ZMA TH?N<Q ZA<?MNSL <aZMTXNZe TC ZMA $MaX?Mj ?TSY\ZaZA@ >e ZMA 1TVA <S@ #NYMTVY NS aSNTS cNZM MNRm

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                                                                                                                Exhibit F Page 5

                                                               ER1042
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                   acceptability—and, in fact, morally obligatory status—of the COVID-19 vaccines. Roman
                   Catholic teaching requires faithful Catholics to use such teaching to properly form their
                   consciences and to give witness to that teaching in their <?\TSYm

                12. *S <@@N\TS, in his report, Di Camillo @TAY STZ AbAS <^ARVZ ZT <S<QefA or evaluate the
                    actual process by which Mr. Rolovich formed his conscience and came to his judgement.
                    The Catholic Church enjoins a clear and robust process for conscience CTXR<\TSm :AZ Di
                    Camillo does not appear to have spoken with Mr. Rolovich or reviewed any documents
                    relevant to Mr. Rolovich’s process for “YAAPNSL TaZ <S@ ?XN\?<QQe <YYAYYNSL RA@N?<Q <S@
                    RTX<Q NSCTXR<\TS VAXZ<NSNSL ZT $07*%-19 and vaccines.”

                13. My analysiY cNQQ VXT?AA@ NS CTaX YA?\TSYl

                   'NXYZj * cNQQ XAbNAc ZMA QTSL QNYZ TC YZ<ZARASZY XAL<X@NSL ZMA RTX<Q <??AVZ<>NQNZe TC ZMA
                   COVID-19 vaccines promulgated by the spectrum of Roman Catholic magisterial
                   <aZMTXN\AY NS  -  m 5MAYA <aZMTXN\AY NS?Qa@Al

                       a.   1TVA 'X<S?NY tRaQ\VQA from 2020-2022)
                       b.   5MA $TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZM t%A?m  u
                       c.   5MA 7<\?<S $07*%- $TRRNYYNTSr1TS\E?<Q "?<@ARe CTX -NCA t%A?m  u
                       d.   5MA 64 $TSCAXAS?A TC $<ZMTQN? #NYMTVY t%A?m  u

                   Next, I will review tMA VTYN\TS TC Di Camillo’s employer, ZMA /<\TS<Q $<ZMTQN? #NTAZMN?Y
                   Center, on the COVID-19 vaccines. This VTYN\TS c<Y aYA@ ZT ?XA<ZA < b<??NSA AdARV\TS
                   template cMN?M c<Y aYA@j NS YQNLMZQe RT@NEA@ C<YMNTSj >e .Xm 3TQTbN?M NS MNY <VVQN?<\TS
                   to Washington State University CTX < XAQNLNTaY AdARV\TS. Di Camillo’s opinion is largely a
                   restatement of that template. The template also contradicts the consensus of the
                   Roman Catholic magisterium.

                   Third, I will AdVQ<NS ZMA R<OTX I<cY NS ZMA TVNSNTSY TDAXA@ NS Di Camillo’s report.
                   4VA?NE?<QQej * cNQQ <@@XAYY MNY NS?TRVQAZA VXAYASZ<\TS TC 3TR<S $<ZMTQN? ZA<?MNSL TS
                   conscience, his principle of “ZMAX<VAa\? VXTVTX\TS<QNZe,” and I will outline the more
                   important and relevant principle by which CathoQN?Y <XA ZT Ab<Qa<ZA cMAZMAX V<X\?aQ<X
                   RA@N?<Q NSZAXbAS\TSY <XA RTX<QQe T>QNL<ZTXej ZMA VXNS?NVQA TC TX@NS<Xe <S@ AdZX<TX@NS<Xe
                   means.

                   'NS<QQej * cNQQ @NY?aYY ZMA $MaX?M’Y VTYN\TS TS ZMA ?TSYAWaAS?AY ZM<Z ?TSY?NAS\TaY
                   <?\TS R<e ASZ<NQj S<RAQej that while individuals have rights to follow their consciences,
                   Ya?M <?\TSY R<e ASZ<NQ A??QAYN<Y\?<Qj ?NbNQj <S@rTX ARVQTeRASZ VAS<Q\AYm

                14. #<YA@ TS <QQ TC ZMAYA C<?ZTXYj * ?TS?Qa@A ZM<Z .Xm Di Camillo is incorrect that Mr. Rolovich
                    was required to refuse the COVID-19 vaccine based on his Roman Catholic faith.



            Expert Report of M. Therese Lysaught – Page 5

                                                                                               Exhibit F Page 6

                                                      ER1043
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                1. 1I7I;C;DIH 0;?7G:AD? I@; $.4*%-UW 4799AD;H 8P 0EC7D $7I@EBA9 Magisterial
                   "NI@EGAJ;H $EDHAHI;DIBP 1NFFEGI 4799AD7JED

                15. .Xm 3TQTbN?M XAWaAYZA@ <S AdARV\TS CXTR 8ashington State University’s COVID-19
                    vaccine mandate for employees based on his claim that to receive the COVID-19 vaccine
                    would violate his conscience as a member of the Roman Catholic Church. To assess the
                    validity of that cl<NRj ZMA SA?AYY<Xe EXYZ YZAV NY ZT <Y?AXZ<NS ZMA teaching of the Roman
                    Catholic Church on this V<X\?aQ<X WaAY\TS—YVA?NE?<QQej on the moral status of the
                    COVID-19 vaccines. 5MNY NY SA?AYY<Xe CTX ZcT XA<YTSYm 'NXYZj NZ AYZ<>QNYMAY cMAZMAX .Xm
                    Rolovich’s claim ZM<Z MNY XAQNLNTaY T>OA?\TS YZARY CXTR MNY $<ZMTQN? C<NZM is factually true.
                    Second, as we will see in II.3 below, in order to form one’s conscience well, Catholics are
                    required to consult and CTQQTc ZMA <aZMTXNZ<\bA ZA<?MNSL TC ZMA 3TR<S $<ZMTQN?
                    magisterium.

                16. There is a hierarchy of teaching authority in the Roman Catholic Church. (QT><QQej ZMA
                    authority structure proceeds as follows (from highest to lowest): 4

                         a.   An Ecumenical Councilj Ya?M <Y ZMA 4A?TS@ 7<\?<S $TaS?NQ t -1965)
                         b.   An ex cathedra statement by the Pope (rare event) 5
                         c.   OH?N<Q YZ<ZARASZY >e ZMA 1TVA
                         d.   4Z<ZARASZY TC 7<\?<S $aXN<Q TH?AY. IS ZMNY ?<YAj ZMA XAQAb<SZ TH?AY cTaQ@ >Al 6
                                   i. 5MA %N?<YZAXe CTX ZMA %T?ZXNSA TC ZMA '<NZM
                                  ii. 5MA %N?<YZAXe CTX ZMA 1XTRT\TS TC *SZALX<Q )aR<S %AbAQTVRASZ
                                         1. 7<\?<S $07*%-19 Commission
                                 iii. 5MA 1TS\E?<Q "?<@ARe CTX -NCA


            4
             Russell Smith, “" 3AYTaX?A CTX &b<Qa<\SL -AbAQY TC "aZMTXNZe NS $MaX?M 5A<?MNng,” Health Care Ethics USA
            t$<ZMTQN? )A<QZM "YYT?N<\TSj ul M^VYlrrcccm?M<aY<mTXLr@T?Yr@AC<aQZYTaX?Ar
            M?AaY<r C?>>>@?>>>A><>?-pdf.

            5
              The Pope’s authority to issue infallible teachings, or to teach ex cathedra (“from the chair” TC 1AZAXu NY @AESA@ NS
            $<Sm j §1 of the Code of Canon Law (1983): M^VYlrrcccmb<\?<Smb<r<X?MNbAr?T@-iuris-
            ?<STSN?Nr?N?sNS@AdsASmMZRQ. As it states: “#e bNXZaA TC MNY TH?Aj ZMA 4aVXARA 1TS\D VTYYAYYAY NSC<QQN>NQNZe NS
            teaching when as the supreme p<YZTX <S@ ZA<?MAX TC <QQ ZMA $MXNY\<S C<NZMCaQj cMT YZXASLZMASY MNY >XTZMAXY <S@
            YNYZAXY NS ZMA C<NZMj MA VXT?Q<NRY >e @AESN\bA <?Z ZM<Z < @T?ZXNSA TC C<NZM TX RTX<QY NY ZT >A MAQ@m” Such teachings
            have only been promulgated twice, in 1854 regarding the @T?ZXNSA TC ZMA *RR<?aQ<ZA $TS?AV\TS TC .<Xe <S@ NS
             XAL<X@NSL ZMA @T?ZXNSA TC ZMA "YYaRV\TS TC ZMA #QAYYA@ 7NXLNS .<Xem Therefore, ex cathedra teachings are not
            relevant in this case.

            6
             5MA 7<\?<S ?aXN<Q TH?AY <XA <S<QTLTaY ZT ZMA  AdA?a\bA departments that are part of the Cabinet of the US
            LTbAXSRASZm &mLmj ZMA 7<\?<S %N?<YZAXe CTX $aQZaXA <S@ &@a?<\TS cTaQ@ >A <S<QTLTaY ZT ZMA 64 %AV<XZRASZ TC
            &@a?<\TSm "QZTLAZMAXj ZMAXA <XA  @N?<YZAXNAY <S@ TZMAX AdA?a\bA >T@NAYj MA<@Wa<XZAXA@ NS 7<\can City, that
            referred to as the Roman Curia. 'TX < ?TRVQAZA QNYZ TC ZMA 7<\?<S ?aXN<Q TH?AYj YAAl
            M^VYlrrcccmb<\?<Smb<r?TSZASZrXTR<S?aXN<rASmMZRQ.


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                                                                                                             Exhibit F Page 7

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                  m 8NZMNS YVA?NE? ?TaSZXNAYj <@@N\TS<Q <aZMTXN\AY cTaQ@ NS?Qa@A the local bishops’
                      conferences—NS ZMNY ?<YAj ZMA 64 $TSCAXAS?A TC $<ZMTQN? #NYMTVY t64$$#u.

                  18. In order to form one’s conscience well as a Catholic TS < V<X\?aQ<X ZTVN?j TSA RaYZ EXYZ
                      carefully read and CTQQTc ZMA ZA<?MNSLY TC ZMAYA b<XNTaY AS\\AY, ordinarily in this order.
                      Analogously to civil case law, newer teachings >e ZMAYA b<XNTaY <aZMTXN\AY build on,
                      YTRA\RAY ?TXXA?Zj <S@ YaVAXsede previous teachings.

                  19. With regard to the COVID-19 vaccines, in 2021 there was a resounding consensus among
                      these Roman Catholic magisterial statements that the currently available COVID-19
                      vaccines were all morally acceptable. 5MNY c<Y <QYT ZXaA TC ZMA 1EfAX <S@ .T@AXS<
                      vaccines that were available in the summer of 2021. "Y * @AZ<NQ >AQTcj 1TVA 'X<S?NY, the
                      %N?<YZAXe CTX ZMA %T?ZXNSA TC ZMA '<NZMj ZMA 7<\?<S $07*%-19 Commission sponsored by
                      ZMA %N?<YZAXe CTX 1XTRT\SL *SZALX<Q )aR<S %AbAQTVRASZj ZMA 1TS\E?<Q "?<@ARe CTX
                      -NCAj <S@ ZMA 64$$# concur on this point. These bodies also concur that Catholics have a
                      “moral responsibility” to be vaccinated in order to protect their own lives and health, to
                      protect the lives and health of others, and to promote the common good.

                  20. 5MAYA <aZMTXNZ<\bAj R<LNYZAXN<Q >T@NAY XA<?MA@ ZMAYA ?TS?QaYNTSY via thorough, careful,
                      balanced, faithful reasoning processes using the RaQ\VQA YTaX?AY TC ZMA $<ZMTQN?
                      ZX<@N\TS: the best Y?NAS\E? AbN@AS?A about the SARS-COV-2 virus <S@ <S\-COVID-19
                      vaccines as it became available as the pandemic unfoldedk the basic tenets of
                      epidemiology and public healthk the principles of Catholic bioethicsk the principles of
                      Catholic social teachingk and the cardinal and theological virtues. An adequate and
                      credible Catholic moral analysis brings together all of these sources when considering a
                      V<X\?aQ<X VX<?\?<Q WaAY\TSm One can see this process in these documents.

                    A. 1TVA 'X<S?NY

                  21. In this case, there is neither an ecumenical council nor an ex cathedra papal statement
                      that directly addressed COVID-19 vaccines. Therefore, we begin with the statements of
                      1TVA 'X<S?NYm The 4A?TS@ 7<\?<S $TaS?NQ, held from 1962-1965, is the most recent
                      Ecumenical Council. It states clearly that the Pope exercises an:

                          …<aZMAS\? magisterium…even when he is not speaking ex cathedrak ZM<Z NYj vXAL<X@w
                          must be shown in such a way that his supreme magisterium is acknowledged with
                          reverence, the judgments made by him are sincerely adhered to, according to his
                          R<SNCAYZ RNS@ <S@ cNQQm )NY RNS@ <S@ cNQQ NS ZMA R<^AX R<e >A PSTcS ANZMAX CXTR
                          ZMA ?M<X<?ZAX TC ZMA @T?aRASZYj CXTR MNY CXAWaASZ XAVA\\TS TC ZMA Y<RA @T?ZXNSAj
                          or from his manner of speaking. 


            
                4A?TS@ 7<\?<S $TaS?NQj Lumen G;GNPF t%TLR<\? $TSY\Za\TS TS ZMA $MaX?Muj x , emphasis added.


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                22. Therefore, ZMA SA?AYY<Xe YZ<X\SL VTNSZ CTX <Se <S<QeYNY regarding the Roman Catholic
                    VTYN\TS TS ZMA moral validity of the COVID-19 vaccines—whether conducted by a
                    $<ZMTQN? TXL<SNf<\TS TX <S NS@NbN@a<Q $<ZMTQN?—are statements by the Pope.

                23. 1TVA 'X<S?NY <@@XAYYA@ ZMA $07*%- b<??NSAY <Z QA<YZ YNd \RAY >AZcAAS  -2021. In
                    these statements, he made clear that the all of the COVID-19 vaccines were morally
                    acceptable, that to be vaccinated against COVID-19 was (for Catholics) a moral
                    T>QNL<\TSj <S@ ZM<Z ZMA 3TR<S $<ZMTQN? $MaX?M YMTaQ@ cTXP cNZM QT?<Q LTbAXSRASZY <S@
                    TZMAX TXL<SNf<\TSY ZT ASYaXA aSNbAXY<Q <??AYY ZT ZMAYA b<??NSAYm

                (1) 1;FI;C8;G VTVTR *S 4AVZAR>AX  j 1TVA 'X<S?NY <@@XAYYA@ RAR>AXY TC ZMA *Z<QN<S
                    1M<XR<?Aa\?<Q #<SPm 8 '<?A@ cNZM < LQT><Q V<S@ARN?j ZMA 1TVA XAVA<ZA@Qe @A?XNA@
                    LQT><Q @NYV<XN\AY NS b<??NSA @NYZXN>a\TS <S@ ?<QQA@ CTX XA@Ta>QA@j ?TTX@NS<ZA@ ADTXZY CTX
                    universal vaccine access. As he noted, “I repeat that it would be sad if, in providing the
                    vaccine, priority were given to the wealthiest, or if this vaccine became the property of
                    this or that country, and was no longer for everyone. It must be universal, for all.”
                    Instead, he “VXTVTYAv@w ZT LQT><QNYA ZXA<ZRASZj ZM<Z NYj ZMA VTYYN>NQNZe TC <??AYY ZT ZMTYA
                    @XaLY ZM<Z ?TaQ@ Y<bA YT R<Se QNbAY CTX <QQ VTVaQ<\TSYm” )A ?<QQA@ TS VM<XR<?NYZYj
                    VM<XR<?Aa\?<Q ?ompanies, and governments to work toward the goal of a “more
                    AWaNZ<>QA @NYZXN>a\TS TC RA@N?NSAYm” 1TVA 'X<S?NY cTaQ@ STZ ?<QQ CTX aSNbAXY<Q <??AYY ZT <
                    RA@N?<Q NSZAXbAS\TS ZM<Z ZMA $MaX?M @AARA@ RTX<QQe VXT>QAR<\? NS <Se c<em

                (2) January 2021: On January 1j  j 1TVA 'X<S?NY NYYaA@ MNY <SSa<Q World Day of Peace
                    message. These statements are generally considered to ?<XXe YNLSNE?<SZ cANLMZm &S\ZQA@
                    “A Culture of Care as a Path to Peace,” 1TVA 'X<S?NY ARVM<YNfA@ ZMA ?ASZX<QNZe TC ?<XA CTX
                    others at the center of the gospel.9 "Z ZMNY VTNSZj ZMA 1EfAXj .T@AXS<j <S@ +TMSYTS |
                    +TMSYTS b<??NSAY M<@ >AAS XAQA<YA@ <S@j <Y cA cNQQ YAA >AQTcj ZMA 7<\?<S M<@ NYYaA@
                    YZ<ZARASZY ?TSEXRNSL ZMANX RTX<Q <??AVZ<>NQNZem )AXAj MA XASAcA@ MNY “appeal to
                    VTQN\?<Q QA<@AXY <S@ ZMA VXNb<ZA YA?ZTX ZT YV<XA ST ADTXZ ZT ASYaXA <??AYY ZT $TbN@-19
                    b<??NSAY <S@ ZT ZMA AYYAS\<Q ZA?MSTQTLNAY SAA@A@ ZT ?<XA CTX ZMA YN?Pj ZMA VTTX <S@
                    those who are most vulnerable.” )A LXTaS@Y ZMNY <VVA<Q TS NS $<ZMTQN? ZMATQTLe <S@
                    Catholic social doctrine, which “can serve as a ‘grammar’ of care: commitment to
                    VXTRT\SL ZMA @NLSNZe TC A<?M MaR<S VAXYTSj YTQN@<XNZe cNZM ZMA VTTX <S@ baQSAX<>QAj




            8
              "@@XAYY TC )NY )TQNSAYY 1TVA 'X<S?NY ZT ZMA .AR>AXY TC ZMA ‘#<S?T '<XR<?Aa\?T’ 'TaS@<\TS,’ (September 19,
            2020), M^VYlrrcccmb<\?<Smb<r?TSZASZrCX<S?AY?TrASrYVAA?MAYr  rYAVZAR>AXr@T?aRASZYrV<V<-
            CX<S?AY?Ts  s><S?T-farmaceu\?TmMZRQ.

            9
              1TVA 'X<S?NYj “" $aQZaXA TC $<XA <Y < 1<ZM ZT 1A<?Am .AYY<LA TC )NY )TQNSAYY 1TVA 'X<S?NY CTX ZMA $AQA>X<\TS TC
            the 54th World Day of Peace,” (January 1, 2021),
            M^VYlrrcccmb<\?<Smb<r?TSZASZrCX<S?AY?TrASrRAYY<LAYrVA<?Ar@T?aRASZYrV<V<-
            CX<S?AY?Ts   sRAYY<LLNT-54giornatamondiale-pace2021.html.


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                                                                                                            Exhibit F Page 9

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                        ZMA VaXYaNZ TC ZMA ?TRRTS LTT@ <S@ ?TS?AXS CTX VXTZA?\TS TC ?XA<\TS.” 10

                   (3) January 2021: In January 2021, Vatican City became the first country to offer COVID-19
                       b<??NSAY ZT <QQ TC NZY ?NZNfASY <S@ ARVQTeAAYm 11 Shortly thereafter, in an intentionally
                       Va>QN?NfA@ AbASZj 1TVA 'X<S?NY <S@ then-Pope-&RAXNZaY #ASA@N?Z 97* Va>QN?Qe XA?ANbA@
                       the vaccines. 12 In doing so, 1TVA 'X<S?NY “referred to the vaccination as ‘an ethical
                       action, because vNC eTa @TSoZ LAZ b<??NS<ZA@w you are gambling with your health, you are
                       L<R>QNSL cNZM eTaX QNCAj >aZ eTa <XA <QYT L<R>QNSL cNZM ZMA QNbAY TC TZMAXYmoq )A <QYT
                       rejected vaccine refusal. "There is a suicidal denialism that I would not know how to
                       explain,” he stated, “but today people must take the vaccine.” 13

                   (4) May 2021: *S < .<e   bN@AT RAYY<LAj 1TVA 'X<S?NY ?TS\SaA@ ZT ?<QQ CTX aSNbAXY<Q
                       access to the COVID-19 vaccines and for ZMA ZARVTX<Xe YaYVASYNTS TC V<ZASZ XAYZXN?\TSY
                       ZM<Z cAXA R<PNSL Ya?M aSNbAXY<Q <??AYY @NH?aQZm 14

                   (5) August 2021: 0S "aLaYZ j  j 1TVA 'X<S?NY XAQA<YA@ < bN@AT RAYY<LA ?XA<ZA@ NS
                       ?TSOaS?\TS cNZM < SaR>AX TC 4V<SNYM-speaking bishops from North and South America
                       designed to combat vaccine refusalm )A <^XN>aZA@ ZMA AdNYZAS?A TC ZMA $07*%-19
                       vaccines “ZT (T@’s grace.” )A CaXZMAX R<@A ?QA<Xl “(A_SL ZMA b<??NSAY ZM<Z <XA
                       <aZMTXNfA@ >e ZMA XAYVA?\bA <aZMTXN\AY NY an act of love. And helping the majority of
                       people to do so is an act of love. Love for oneself, love for our families and friends, and
                       QTbA CTX <QQ VATVQAYm -TbA NY <QYT YT?N<Q <S@ VTQN\?<Qm 5MAXA NY YT?N<Q QTbA <S@ VTQN\?<Q QTbAj
                       it is universal….(A_SL b<??NS<ZA@ NY < YNRVQA eAZ VXTCTaS@ cay to care for one another,
                       especially the most vulnerable.”15 5MNY VTYN\TS A?MTAY ZMA $<ZMTQN? ZA<?MNSL ZM<Z
                       charity—self-LNK TX YAQC-emptying love for the good of others—is, following the example
                       of Jesus and the teaching of Thomas Aquinas, the center of Catholic moral reasoning.




            10
                 Ibid., §6.

            11
              Elise Ann Allen, “7<\?<S *YYues Vaccine Mandate for All Employees,” Crux (December 24, 2021),
            M^VYlrr?XadSTcm?TRrb<\?<Sr  r rb<\?<S-issues-vaccine-mandate-for-all-employees.

            12
              “1TVA 'X<S?NY <S@ ZMA 1TVA &RAXNZaY 3A?ANbA $07*%-19 Vaccine,” 57N97G .;RL (January 14, 2021),
            M^VYlrrcccmb<\?<SSAcYmb<rASrVTVArSAcYr  -rpope-francis-benedict-xvi-covid-19-vaccine.html.

            13
               Joshua J. McElwee, “1TVA 'X<S?NY 4aLLAYZY 1ATVQA )<bA .TX<Q 0>QNL<\TS ZT 5<PA $TXTS<bNXaY 7<??NSAj” NCR
            (January 11, 2021), M^VYlrrcccmS?XTSQNSAmTXLrb<\?<SrVTVA-francis-suggests-people-have-moral-T>QNL<\TS-take-
            coronavirus-vaccine.

            14
              Joe McCarthy, “PopA 'X<S?NY $<QQY CTX 6SNbAXY<Q "??AYY ZT $07*%- 7<??NSAY <S@ -NKNSL TC 1<ZASZ 3AYZXN?\TSYj”
            (EH87E $BNU;G (May 8, 2021): M^VYlrrcccmLQT><Q?N\fASmTXLrASr?TSZASZrVTVA-francis-covid-19-vaccines-vax-QNbAr.

            15
                 1TVA 'X<S?NYj “Unity Across the Americas,” M^VYlrrcccmeTaZa>Am?TRrc<Z?Mibf:5Xc5S+'0U, emphasis added.


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                   (6) %;9;C8;G VTVUR In December 2021, in the face of the Omicron-variant surge, the
                       7<\?<S NYYaA@ < b<??NSA R<S@<ZA CTX <QQ ARVQTeAAY. 16 Employees who were not
                       b<??NS<ZA@ C<?A@ VTYYN>QA @ART\TS Y<Q<Xe QTYYj YaYVASYNTSj <S@ RTXAm 5MA R<S@<ZA
                       <QQTcA@ CTX MA<QZM AdARV\TSY >aZ STZ religious ?TSY?NAS\TaY AdARV\TSY. 

                   (7) January 2022: In January 2022, 1TVA 'X<S?NY YZ<ZAd that ge_SL b<??NS<ZA@ against the
                       coronavirus was “< RTX<Q T>QNL<\TS.” 18 )A <QYT @A?XNA@ “N@ATQTLN?<Q @NbN@AY vZM<Zw cAXA
                       @NY?TaX<LNSL VATVQA CXTR LA_SL b<??NS<ZA@ v<S@ ZMAw…><YAQAYY NSCTXR<\TS” that
                       AS?TaX<LA@ Ya?M VTYN\TSYm “Vaccines,” he noted “represent, in addition to other
                       treatments that need to be developed, the most reasonable solution for the
                       prevention of the disease."

                   24. Thus, the const<SZ ZA<?MNSL <S@ RAYY<LNSL CXTR 1TVA 'X<S?NY TbAX  -2022 was that
                       the COVID-19 vaccines were not only morally acceptable, but they were in fact morally
                       T>QNL<ZTXe <S@j AbAS CaXZMAXj < LASAXTaY <?Z TC $MXNY\<S ?M<XNZe @NXA?ZA@ ZTc<X@ ZMA
                       VXTRT\TS TC ZMA ?TRRTS LTT@ >TZM NS TaX TcS ?TRRaSN\AY <S@ <?XTYY ZMA LQT>Am )A
                       R<S@<ZA@ ZM<Z <QQ 7<\?<S City employees be vaccinated and championed universal
                       access to the vaccines, especially for the poor.

                     #m 5MA $TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZM

                   25. The CongreL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZM t$%'u ?TS?aXXA@ cNZM 1TVA 'X<S?NYm 5MA
                       oldest of the Roman Curia's dicasteriesj ZMA $%' is responsible for the oversight of all
                       R<^AXY XAQ<ZA@ ZT @T?ZXNSAj C<NZM, and morals throughout the Catholic Church.19 In
                       December 20, 2020, the $%' issued a statement addressing the moral acceptability of
                       the COVID-19 vaccinesj AS\ZQA@ “/TZA TS ZMA .TX<QNZe TC 6YNSL 4TRA "S\-COVID-19
                       Vaccines.” 20 5MAe <S<QefA@ ZMA CaQQ YQ<ZA TC b<??NSAY ZM<Z M<@ >AAS NS VXT@a?\TS YNS?A

            16
                 Allen, “7<\?<S *YYaAY 7<??NSA .<S@<te for All Employees.”

            
              $Q<NXA (N<SLX<bBj “7<\?<S 5NLMZASY $07*%- 3AYZXN?\TSYj "VVQNAY .<S@<ZTXe 7<??NS<\TSj” Religious News
            2;KQB9; (January 12, 2022), M^VYlrrXAQNLNTSSAcYm?TRr  rr rb<\?<S-\LMZASY-covid-19-XAYZXN?\TSY-applies-
            mandatory-b<??NS<\TSr.

            18
              Associated Press, “0S $07*% 7<??NS<\TSYj 1TVA 4<eY )A<QZM $<XA NY < ‘.TX<Q 0>QNL<\TSj’” NPR (January 10,
            2022), M^VYlrrcccmSVXmTXLr  rrrrTS-covid-b<??NS<\TSY-pope-says-health-care-is-a-moral-
            T>QNL<\TS.

            19
               See “Dicastery for thA %T?ZXNSA TC ZMA '<NZMj”
            M^Vlrrcccmb<\?<Smb<rXTR<Ss?aXN<r?TSLXAL<\TSYr?C<NZMr@T?aRASZYrX?s?TSs?C<NZMsVXTssASmMZRQ. The
            TXL<SNf<\on’s name was changed from the “$TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZM” to the “Dicastery for the
            %T?ZXNSA TC ZMA '<NZM” in 2022. Per footnote 5 above, dicasteries could be considered analogous to US government
            AdA?a\bA @AV<XZRASZYj cNZM <aZMTXNZe TbAX <YVA?ZY TC ZMA ?MaX?M ZM<Z C<QQ aS@AX ZMANX <XA< TC AdVAX\YAm *SYTC<X <Y
            ZMA $%' <@Oa@N?<ZAY ZMA $MaX?M’s doctrine and moral law, it could be considered analogous to the US Supreme
            Court.

            20
                 $TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZMj “Note on the MoraQNZe TC 6YNSL 4TRA "S\-Covid-19 Vaccines,”

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                        the beginning of the pandemicj NS?Qa@NSL 1EfAXj .T@AXS<j "YZX<;ASA?<j +TMSYTS <S@
                        Johnson. ,STcNSL that some of the vaccines had been produced using two cell lines
                        CXTR CAZaYAY <>TXZA@ NS  <S@ j they concluded that all the vaccines were
                        morally acceptable.

                   26. 4VA?NE?<QQe, they stated: “BM BL FHK7EET 799;JM78E; MH K;9;BQ; $HQB:-]^ Q799BG;L MA7M A7Q;
                       PL;: 9;EE EBG;L =KHF 78HKM;: =;MPL;L BG MA;BK K;L;7K9A 7G: JKH:P9NHG JKH9;LL” (§2, italics
                       in originalum 5MAe ?TS\SaAd that due to the “grave danger” presented by the
                       “uncontainable spread of a serious pathological agent—in this case, the pandemic
                       spread of the SARS-CoV2 virus that causes Covid-19,” “all b<??NS<\TSY XA?TLSNfA@ <Y
                       ?QNSN?<QQe Y<CA <S@ ADA?\bA ?<S >A aYA@ in good conscience with the certain knowledge
                       MA7M MA; PL; H= LP9A Q799BG;L :H;L GHM 9HGLNMPM; =HKF7E 9HHJ;K7NHG RBMA MA; 78HKNHG
                       CXTR cMN?M ZMA ?AQQY aYA@ NS VXT@a?\TS TC ZMA b<??NSAY @AXNbA” (§3, italics in the original,
                       emphasis added). And they emVM<YNfAd ZM<Z cMNQA b<??NS<\TS—like all medical
                       NSZAXbAS\TSY <S@j NS C<?Zj <QQ RTX<Q <?\TSY—is voluntary, “from the ethical point of view,
                       MA; FHK7EBMT H= Q799BG7NHG :;J;G:L GHM HGET HG MA; duty to protect one’s own health,
                       but also on the duty to pursue the common good” (§5, italics in the original). It is
                       NRVTXZ<SZ ZT STZA MAXA ZM<Z ZMA $%' XACAXY ZT XA<YTSY CTX >ANSL b<??NS<ZA@ <Y “@a\AYm” A
                       @aZe NY <S T>QNL<\TSm

                     m "Y NY ?QA<X CXTR ZMA <>TbAj ZMA $%' stated clearly that the COVID-19 vaccines could be
                        used in good conscience. *S ZMA VASaQ\R<ZA V<X<LX<VM TC ZMA @T?aRASZj ZMA $%'
                        XA?TLSNfAY ZM<Z YTRA people R<e XACaYA b<??NS<\TS CTX XA<YTSY TC ?TSY?NAS?Aj >aZ ZMAe
                        do not endorsej AS?TaX<LAj TX <HXR ZMNY VTYN\TSm *SYZA<@j ZMAe state that these persons
                        “must do their utmost to avoN@j >e TZMAX VXTVMeQ<?\? RA<SY <S@ <VVXTVXN<ZA >AM<bNTXj
                        >A?TRNSL bAMN?QAY CTX ZMA ZX<SYRNYYNTS TC ZMA NSCA?\TaY <LASZm *S V<X\?aQ<Xj ZMAe RaYZ
                        avoid any risk to the health of those who cannot be vaccinated for medical or other
                        reasons, and who are the most vulnerable.” 21 In other words, the onus is on those who
                        refuse.

                   28. &?MTNSL 1TVA 'X<S?NYj ZMA $%' also states that there is “< RTX<Q NRVAX<\bA CTX ZMA
                       VM<XR<?Aa\?<Q NS@aYZXej LTbAXSRASZY <S@ NSZAXS<\TS<Q TXL<SNf<\TSY to ensure that
                       Q799BG;LX RAB9A 7K; ;>;9NQ; 7G: L7=; =KHF 7 F;:B97E JHBGM H= QB;RX 7L R;EE 7L ;MAB97EET
                       acceptable, are also accessible to the poorest countries in a manner that is not costly for
                       them” (§6, italics in the original). "L<NSj ZMA $%' cTaQ@ STZ XA?TRRAS@ aSNbAXY<Q <??AYY
                       as “< RTX<Q NRVAX<\bA” NC NZ MAQ@ ZM<Z ZMA b<??NSAY cAXA NS <Se c<e RTX<QQe VXT>QAR<\?m




            (December 12, 2020),
            M^VYlrrcccmb<\?<Smb<rXTR<Ss?aXN<r?TSLXAL<\TSYr?C<NZMr@T?aRASZYrX?s?TSs?C<NZMs@T?s      sSTZ<-
            vaccini-<S\?TbN@sASmMZRQ.

            21
                 Ibid., §5.


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                   29. Thus, the Church’s highAYZ @T?ZXNS<Q TH?A made clear that the COVID-19 vaccines were
                       RTX<QQe <??AVZ<>QAk ZM<Z ZMAe ?TaQ@ >A aYA@ NS LTT@ ?TSY?NAS?Ak ZM<Z ZMAXA c<Y < @uty to
                       use them to protect the fundamental goods of health (one’Y TcS <S@ TZMAXYuk <S@ ZM<Z NZ
                       was morally impAX<\bA ZM<Z ZMAe >A R<@A aSNbAXY<QQe <b<NQ<>QAm

                      C. 5MA %N?<YZAXe CTX ZMA 1XTRT\TS TC *SZALX<Q )aR<S %AbAQTVRASZr7<\?<S $07*%-19
                         Commission <S@ ZMA 1TS\E?<Q "?<@ARe CTX -NCA

                   30. As the scope of the pandemic emerged NS .<X?M  j 1TVA 'X<S?NY AYZ<>QNYMA@ ZMA
                       7<\?<S $07*%-19 Commission cNZMNS ZMA %N?<YZAXe CTX ZMA 1XTRT\TS TC *SZALX<Q )aR<S
                       Development as a novel, rapid response to the pandemic.22 The establishment of this
                       Commission denotes the seriousness with whi?M ZMA )TQe '<ZMAX ZTTP ZMA V<S@ARN?.
                       That he established it NS@N?<ZAY ZM<Z ZMA cTXP TC ZMNY $TRRNYYNTS M<@ MNY <aZMTXNf<\TS
                       and blessing. 5MA $TRRNYYNTS XAVTXZY @NXA?ZQe ZT ZMA )TQe '<ZMAXm

                   31. On December 29,  j ZMA 7<\?<S $07*%-19 Commission, in conjuS?\TS cNZM ZMA
                       1TS\E?<Q "?<@ARe CTX -NCAj NYYaA@ < -VTNSZ <?\TS VQ<S on b<??NSA AWaNZe AS\ZQA@
                       “Vaccine for All. 20 Points for a 'airer and )ealthier World.” 23 t5MA 1TS\E?<Q "?<@ARy
                       CTX -NCA NY ZMA 7<\?<S’Y <?<@ARN? >T@e cNZM AdVAX\YA NS WaAY\TSY TC >NTAZMN?Yum Per the
                       Commission’s website, the document examined equity across the full spectrum of
                       b<??NSA @AbAQTVRASZ <S@ @AVQTeRASZj cNZM < V<X\?aQ<X CT?aY TS <c<XASAYY-building to
                       foster trust in vaccines against the COVID-19 virus. 24

                   32. The 7<\?<S $07*%- $TRRNYYNTS ?TSEXRA@ <S@ @NY?aYYA@ NS LXA<ZAX @AZ<NQ ZMA
                       VTYN\TS TC ZMA $%'. As the Commission notedj 1TVA 'X<S?NY “M<Y <HXRA@ ZMA SAA@ ZT
                       make the now imminent Covid-19 vaccines available and accessible to all.” 25 *S <S<QefNSL
                       the moral aspects of the “AS\XA ‘life cycle’” TC b<??NSA VXT@a?\TSj ZMA ?TRRNYYNTS
                       concluded that “<QQ ?QNSN?<QQe XA?TRRAS@A@ b<??NS<\TSY ?<S >A used with a clear
                       conscience and that the use of such va??NSAY @TAY STZ YNLSNCe YTRA YTXZ TC ?TTVAX<\TS
                       cNZM bTQaSZ<Xe <>TX\TS” <S@ ZM<Z b<??NS<\TS NY “a moral responsibility.” 26 They reiterate

            22
              4AA ZMA 7<\?<S $07*%-19 Commission, M^VYlrrcccmMaR<S@AbAQTVRASZmb<rASrb<\?<S-covid-19.htmlk <S@
            7<\?<S $07*%-19 Commission, “2020 :A<X NS 3AbNAcl 1XAV<XNSL ZMA 'aZaXAj”
            M^VYlrrcccmMaR<S@AbAQTVRASZmb<r?TSZASZr@<RrYbNQaVVTaR<STrLASAX<Qrb<\?<S-covid19-
            XAYVTSYArXAVTXZYr  -EN-AnnualReport-7<\?<S$TbN@$TRRNYYNTSmV@C. "L<NSj < @N?<YZAXe NY TSA TC ZMA AdA?a\bA
            departments of the 7<\?<S <@RNSNYZX<\bA YZ<ZAm

            23
               7<\?<S $07*%- $TRRNYYNTS <S@ 1TS\E?<Q "?<@ARe CTX -NCAj “7<??NSA CTX "QQm  1TNSZY CTX < '<NXAX <S@
            )A<QZMNAX 8TXQ@j” (December 29, 2020),
            M^VYlrrVXAYYmb<\?<Smb<r?TSZASZrY<Q<YZ<RV<rASr>TQQA_STrVa>>QN?Tr  r r r  ?mMZRQ

            24
                 Ibid., §14.

            25
                 Ibid., §1.

            26
                 Ibid., §5, emphasis in the original.

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                                                                                                        Exhibit F Page 13

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                        ZMA ?Q<NR ZM<Z b<??NS<\TS is a “moral responsibility.”  5MAe R<PA ST RAS\TS TC
                        AdARV\TSY for reasons of conscience.


                     D. US $TSCAXAS?A TC $<ZMTQN? #NYMTVY

                   33. Although the US ConferAS?A TC $<ZMTQN? #NYMTVY t64$$#) does not have any
                       <aZMTXNZ<\bA YZ<S@NSL NS <S@ TC NZYAQCj <Z \RAY it issues statements that—like all
                       magisterial statements—XAWaNXA XAYVA?[aQ ?TSYN@AX<\TS by Catholic individuals and
                       TXL<SNf<\TSY in the US.

                   34. 0S /TbAR>AX j  j VXNTX ZT ZMA <VVXTb<Q TC ZMA 1EfAX <S@ .T@AXS< b<??NSAY and
                       prior to the statements by the $%' <S@ ZMA 7<\?<S $07*%-19 Commission, the 64$$#’s
                       “$TRRN^AA TS %T?ZXNSA” NS ?TSOaS?\TS cNZM ZMANX “$TRRN^AA TS 1XT--NCA "?\bN\AY”
                       issued a memorandum AS\ZQA@ “Vaccines for COVID-10.” In that memorandum, they
                       state clearly: “4TRA <XA <YYAX\SL ZM<t if a vaccine is connected in any way with tainted
                       cell lines, then it is immoral to be vaccinated with them. This is an inaccurate portrayal of
                       Catholic moral teaching.” 28 They cite as evidence CTX ZMANX VTYN\TS three documents
                       NYYaA@ >e 7<\?<S TH?AY prior to the COVID-19 pandemic.

                   35. On December 11, 2020, the Chairmen of the 64$$# $TRRN^AA TS %T?ZXNSA <S@
                       $TRRN^AA TS 1XT--NCA "?\bN\AY NYYaA@ < CaXZMAX YZ<ZARASZ AS\ZQA@ “Moral
                       $TSYN@AX<\TSY 3AL<X@NSL ZMA /Ac $07*%-19 Vaccines.” There they reiterate and expand
                       ZMA <>TbA VTYN\TSl

                               In view of the gravity of the current pandemic and the lack of availability
                               TC <QZAXS<\bA b<??NSAYj ZMA XA<YTSY ZT <??AVZ ZMA SAc $07*%-19 vaccines
                               CXTR 1EfAX <S@ .T@AXS< <XA YaH?NASZQe YAXNTaY ZT OaY\Ce ZMANX aYAj
                               @AYVNZA ZMANX XARTZA ?TSSA?\TS ZT RTX<QQe ?TRVXTRNYA@ ?AQQ QNSAYm *S
                               <@@N\TSj XA?ANbNSL ZMA $07*%-19 vaccine ought to be understood as an
                               act of charity toward the other members of our community. In this way,
                               being vaccinated safely against COVID-19 should be considered an act of
                               love of our neighbor and part of our moral responsibility for the common
                               good. 29


             
                 Ibid., §13.

            28
              $M<NXRAS TC ZMA 64$$# $TRRN^AA TS %T?ZXNSA <S@ $TRRN^AA TS 1XT--NCA "?\bN\AYj “Memorandum on
            Vaccines for COVID-19,” (November 20, 2020), M^VYlrrcccmaY??>mTXLrXAYTaX?AYrRART-to-bishops-on-vaccines-
            for-covid-smV@C. Emphasis added.

            29
              $M<NXRAS TC ZMA 64$$# $TRRN^AA TS %T?ZXNSA <S@ ZMA $TRRN^AA TS 1XT--NCA "?\bN\AYj “.TX<Q $TSYN@AX<\TSY
            Regarding the New COVID-19 Vaccines,” (December 11, 2020), M^VYlrrcccmaY??>mTXLrXAYTaX?AYrRTX<Q-
            ?TSYN@AX<\TSY-covid-vaccines.pdfm 5MAe @T ?TS?Qa@A ZM<Z ZMA "YZX<;ASA?< $07*%-19 vaccine is “more morally
            compromised” and “should be avoided,” but that if it is the only one available to a person, “it would be permissible

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                 36. 5MA 64 >NYMTVY ?TS?aX cNZM ZMA 1TVA <S@ ZMA $%'—that all the COVID-19 vaccines are
                     RTX<QQe <??AVZ<>QAj ZM<Z LA_SL b<??NS<ZA@ NY <S <?Z TC QTbA t?harity), and that being
                     vaccinated is a morally responsibility. 5MAe R<PA ST RAS\TS TC AdARV\TSY for reasons
                     of conscience.

                 m In summary, the top-level 3TR<S $<ZMTQN? R<LNYZAXN<Q <aZMTXN\AY YVTPA cNZM TSA bTN?A
                     regarding the COVID- b<??NSAYm 1TVA 'X<S?is, the Dicastery for the Doctrine of the
                     '<NZMj ZMA 7<\?<S $07*%-19 Commission sponsored by the DicaYZAXe CTX 1XTRT\SL
                     *SZALX<Q )aR<S %AbAQTVRASZj ZMA 1TS\E?<Q "?<@ARe CTX -NCAj <S@ ZMA 64$$# <QQ
                     concurred: (1) that all available COVID-19 vaccines werA RTX<QQe <??AVZ<>QA ZT aYAk t u
                     ZM<Z $<ZMTQN?Y M<bA < RTX<Q XAYVTSYN>NQNZej @aZej TX T>QNL<\TS ZT >A b<??NS<ZA@ <L<NSYZ
                     COVID-19 in order to protect their own lives and health and the lives and health of
                     TZMAXY CXTR < YAXNTaY V<ZMTLAS cNZM ST ADA?\bA ZXA<ZRASZYk tu ZM<Z >ANSL b<??NS<ZA@
                     against COVID- c<Y <S <?Z TC QTbAk <S@ tu ZM<Z ZMA $MaX?M YMTaQ@ cTXP cNZM Va>QN?
                     >T@NAY ZT ASYaXA aSNbAXY<Q <??AYY ZT b<??NSAYm "Z ST \RA @N@ <Se TC ZMAYA 3TR<S
                     $<ZMTQN? <aZMTXN\AY NS  -2022 advocate, recommend, counsel, or approve Catholics
                     YAAPNSL AdARV\TSY CXTR b<??NSA R<S@<ZAYm *S C<?Zj 1TVA 'X<S?NY MNRYAQC ?XN\?NfA@ ZMTYA
                     who did and sought to persuade them otherwise.

                 38. 5Tj ZMAXACTXAj ZT ?TS?Qa@A ZM<Z < ><V\fA@ $<ZMTQN? cTaQ@ >A “required” as a Catholic “to
                     refuse a COVID- b<??NS<\TS” XAWaNXAY < YNLSNE?<SZ @NYZTX\TSj RNYaS@AXYZ<S@NSLj TX
                     RNYXAVXAYASZ<\TS TC $<ZMTQN? ZA<?MNSLm

                 2. 2@; /EHAJED E< I@; -7JED7B $7I@EBA9 #AE;I@A9H $;DI;G

                 39. Despite this clear magisterial guidance on the moral acceptability of the COVID-19
                     b<??NSAY <S@ ZMA RTX<Q T>QNL<\TS CTX $<ZMTQN?Y ZT >A b<??NS<ZA@j ZMA /<\TS<Q $<ZMTQN?
                     #NTAZMN?Y $ASZAX t/$#$)—John Di Camillo’s employer— ZTTP < VTYN\TS X<@N?<QQe <Z T@@Y
                     with the Roman Catholic Churchm 5MA /$#$ is a very small, private TXL<SNf<\TS that has
                     no <aZMTXNZ<\bA YZ<S@NSL in the ChurcMk ZMAe have no <aZMTXNf<\TS ZT <X\?aQ<ZA
                     VTYN\TSY ZM<Z ?TSZX<bASA ZMA ZA<?MNSLY TC ZMA Roman Catholic magisterium.

                 40. 5MA /$#$’Y EXYZ YZ<Zement on the COVID- b<??NSAY c<Y NYYaA@ TS %A?AR>AX j 2020—
                     prior to the YZ<ZARASZY >e ZMA $%'j ZMA 7<\?<S $07*%- $TRRNYYNTSj <S@ ZMA 64$$#.
                     5MNY VTYN\TS V<VAX c<Y AS\ZQA@ “Points to Consider on the Use of COVID-19 Vaccines.” 30



            ZT <??AVZ ZMA "YZX<;ASA?< b<??NSAm” 5MNYj MTcAbAXj c<Y VXNTX ZT ZMA @AZAXRNS<\TSY >e ZMA $%' <S@ ZMA 7<\?<S
            COVID-19 Commission.

            30
              /$#$j “Points to Consider on the Use of the COVID-19 Vaccines,” (December 8, 2020),
            M^VYlrrYZ<\?mYWa<XAYV<?Am?TRrYZ<\?rA<@<<< A@<@@?@rZrC@?AA@@Ar
             r/$#$7<??NSA4Z<ZARASZ'*/"-mV@C.


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                                                                                                       Exhibit F Page 15

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                         Rather than being in ?TSbAXY<\TS cNZM ZMA ?aXXASZ 3TR<S $<ZMTQN? R<LNYZAXNaRj NZ @XAc
                         on older magisterial documents. 31

                   41. Their statement opens with the sentence: “5MA /$#$ XA?TLSNfAY <S AZMN?<Q MNAX<X?Me
                       among COVID-19 vaccines.” 32 In other words, they state clearly that this is their own
                       VTYN\TS <S@ STZ Roman Catholic teaching.

                   42. This posited “ethical hierarchy” among the COVID-19 vaccines is based on a pseudo-
                       ‘Wa<S\Z<\bA’ XAQ<\TSYMNV between the vaccines and cell-lines used in vaccine research,
                       ZAY\SLj <S@ R<SaC<?ZaXNSL Zhat were derived from two aborted fetuses in the late 1960s
                       <S@ A<XQe Ym33 Per their calculus, vaccines can be more or less “morally
                       compromised” based on: (1) whether these cell lines were used in the manufacturing
                       process (most “morally compromised,” AmLmj "YZX<;ASA?<j +TMSYTS | +TMSYTSuk t u
                       whether said-cell lines were not used in the manufacturing process but in, perhaps, the
                       ZAY\SL VM<YA tRA@N<QQe “morally compromised,” AmLmj 1EfAXj .T@AXS<j /Tb<b<dj 4NSTEuk
                       or (3) whether said-cell lines were not used at all (‘morally pure’). 34

                   43. In their conclusion, they do state that “ZMA /$#$ ?TS?Qa@AY ZM<Z none of the vaccines
                       currently in development is excluded or forbidden in principle.”35 #aZ ZMAy then go on to
                       ?<ZALTXNfA ZMA vaccines in groups (1) and (2) above as “lesser” and “graver” evils. They
                       LNbA ZMA NRVXAYYNTS ZM<Z ZMAYA b<??NSAY <XA YTRAMTc RTX<QQe VXT>QAR<\?m 5MAe CaXZMAX
                       state that anyone who decides to receive such vaccines “should do so only ‘under
                       protest’ and should make known their opposN\TS ZT <>TX\TS <S@ ZT ZMA aYA TC <>TX\TS-
                       derived cell lines.” 36 5MAe ?TS\SaA ZM<Z the >A^AX moral course is “to provide witness by
                       @A?QNSNSL <Se b<??NSA ZM<Z aYAY <>TX\TS-derived cell lines in one or more phases of
                       @AbAQTVRASZ TX VXT@a?\TSm 4a?M < @ecision can be made in good conscience…” 

                   44. "QZMTaLM ?TSY?NAS?A NY TSQe RAS\TSA@ TS?A NS ZMANX @T?aRASZj NZ NY RAS\TSA@ CTaX
                       \RAY NS ZMAir AdA?a\bA YaRR<Xe:


            31
                 5MA /$#$ YZ<ZARASZ ?NZAY R<LNYZAXN<Q @T?aRASZY CXTR  <S@ m

            32
                 /$#$j “Points to Consider on the Use of the COVID-19 Vaccines,” p. 1, emphasis added.

            33
              4AAj CTX Ad<RVQAj < ?M<XZ ?TRVNQA@ >e ZMA $M<XQT^A -TfNAX *SY\ZaZA ZM<Z YNRNQ<XQe CT?aYAY TS ZMNY NYYaAl “COVID-19
            7<??NSA $<S@N@<ZAY <S@ ">TX\TS-Derived Cell Lines,” M^VYlrrQTfNAXNSY\ZaZAmTXLrcV-
            ?TSZASZraVQT<@Yr  rr$)"35-Analysis-of-COVID-19-Vaccines-02June21.pdf.

            34
                 /$#$j “Points to Consider on the Use of the COVID-19 Vaccines,” p. 5.

            35
                 Ibid., p. 5, emphasis added.

            36
                 Ibid., p. 6.

            
                 Ibid., p. 8, emphasis added.


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                               Nonetheless, for grave reasons, people could decide in good conscience
                               ZT <??AVZ b<??NSAY ZM<Z aYA <>TX\TS-derived cell lines in their
                               @AbAQTVRASZ <S@ VXT@a?\TS ZT VXTZA?Z ZMANX TcS QNbAY <S@ MA<QZM <S@
                               ZM<Z TC TZMAXY NS ZMA <>YAS?A TC <Se Y<\YC<?ZTXe <QZAXS<\bAm 5MA aYA TC <S
                               AZMN?<QQe VXT>QAR<\? b<??NSAj MTcAbAXj R<e be done only ‘under
                               protest.’ A person who discerns in conscience that he or she can take
                               Ya?M < b<??NSA M<Y <S T>QNL<\TS ZT R<PA PSTcS MNY TX MAX TVVTYN\TS ZT
                               <>TX\TS <S@ ZMA aYA TC <>TX\TS-derived cell lines. People may
                               QALN\R<ZAQe @NY?AXS NS conscience that they cannot use a vaccine with
                               YTRA ?TSSA?\TS ZT <>TX\TS <S@ Ya?M < XACaY<Q ?<S >A < ?TaX<LATaY
                               witness to help build a culture of life. The Catholic Church neither
                               XAWaNXAY STX CTX>N@Y ZMA aYA TC AZMN?<QQe VXT>QAR<\? b<??NSAYj >aZ NSYZA<@
                               urgAY VATVQA ZT @NY?AXS cM<Z @A?NYNTS ZT R<PA <KAX M<bNSL ?<XACaQQe
                               formed their consciences <>TaZ ZMA RTX<Q <S@ VXa@AS\<Q NYYaAY
                               surrounding the vaccines that become available. v&RVM<YAY <@@A@w

                   45. In sum, in early December 2020, ZMA /$#$ ZTTP ZMA VTYN\TS ZMat all of the available
                       COVID-19 vaccines were “morally compromised,” that Catholics could receive them but
                       only “under protest,” and that the more morally preferable or pure VTYN\TS c<Y ZT
                       refuse them. 5MAe YNRVQe <YYAXZ ZM<Z ZMNY NY < R<^AX TC ?TSY?NASce.

                   46. They <XXNbA@ <Z ZMNY VTYN\TS VXNTX ZT ZMA NYYaNSL TC ZMA YAXNAY TC <aZMTXNZ<\bA R<LNYZAXN<Q
                       YZ<ZARASZY @AZ<NQA@ NS 4A?\TS II.1 above. )TcAbAXj <KAX these statements were issued
                       (December 11-29, 2020), ZMA /$#$ did not revise ZMANX VTYN\TSm

                   m Instead, explicitly contravening Roman Catholic magisterial authority, they doubled-
                       down on it. They spearheaded ADTXZY ZT <@b<S?A their alternate VTYN\TS and to
                       ?TSbNS?A $<ZMTQN?Y ZT XAWaAYZ XAQNLNTaY AdARV\TSY from COVID-19 vaccine
                       requirements. In Jule  j ZMAe ?XA<ZA@ <S@ <?\bAQe @NYYARNS<ZA@ a “Vaccine
                       EdARV\TS 5ARVQ<ZA -A^AX” that they sent to bishops, <@bAX\YA@ NS V<XNYM >aQQA\SY, and
                       distributed through social media networks. 38

                   48. That template includes numerous misleading or erroneous YZ<ZARASZYm 'TX Ad<RVQAj it
                       references ZMA $%'’s 200 *SYZXa?\TS AS\ZQA@ %B@GBM7NL 0;KLHG7; t0S $AXZ<NS #NTAZMN?<Q
                       2aAY\TSYu to support the statement:

                               There is a general moral duty to refuse the use of medical products,
                               including certain vaccines, that are produced using human cells lines
                               derived from direct abortions. It is permissible to use such vaccines


            38
                 /$#$j “7<??NSA &dARV\TS 5ARVQ<ZA -A^AXj” (July , 2021), M^VYlrrcccmS?>?ASZAXmTXLrS?>?-SAcYrb<??NSAQA^AX.


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                                                                                                       Exhibit F Page 17

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                                only under certain case-specific conditions, based on a judgment of
                                conscience.

                       %B@GBM7NL 0;KLHG7; says nothing of the sort. In fact, it says the opposite. 8MNQA <S<QefNSL
                       at length ZMA XAYVTSYN>NQN\AY TC research professionals vis a vis such cell lines, with
                       XAL<X@ ZT V<\ASZY NZ RAXAQe states: “(X<bA XA<YTSY R<e >A RTX<QQe VXTVTX\TS<ZA ZT
                       OaY\Ce ZMA aYA TC Ya?M ‘biological material.’ Thus, for example, danger to the health of
                       children could permit parents to use a vaccine which was developed using cell lines of
                       illicit origin….” 39 In other words, the $%' @AY?XN>AY no “general moral duty to refuse the
                       aYA TC vYa?Mw RA@N?<Q VXT@a?ZYqk NZ NSYZA<@ AdVQN?NZQe L<bA V<\ASZY VAXRNYYNTS ZT aYA
                       them. I know of nowhere in the <aZMTXNZ<\bA $<ZMTQN? RTX<Q ZX<@N\TS cMAXA <Se Ya?M
                       “general moral duty” NY <X\?aQ<ZA@m

                   49. This is jusZ TSA Ad<RVQA TC ZMA c<e ZM<Z ZMA /$#$’Y b<??NSA AdARV\TS ZARVQ<ZA @NYZTXZY
                       or misrepresents Catholic teaching. It is important to note that ZMA /$#$ was Y\QQ
                       VXAYAS\SL Ya?M C<aQZe LaN@<S?A YAbAS RTSZMY <KAX ZMA $%'j ZMA 7<\?<S $07*%-19
                       Commission, an@ ZMA 64$$# had issued their statements and in spite of the constant
                       RAYY<LNSL TC 1TVA 'X<S?NY cMN?Mj <Y TaZQNSA@ A<XQNAXj ZTTP < X<@N?<QQe @NDAXASZ VTYN\TS.
                       $Xa?N<QQej ZMANX b<??NSA AdARV\TS ZARVQ<ZA—cMN?M NY AdVQN?NZQe N@AS\EA@ <Y >ANSL for
                       ><V\fA@ Catholics—makes no RAS\TS TC 1TVA 'X<S?NY <S@ ST RAS\TS TC <Se TC ZMA
                       other documents, except for TSA QNSA Z<PAS TaZ TC ?TSZAdZ CXTR ZMA $%' YZ<ZARASZ tsee
                       4A?\TS **.3 below).

                   3. 0;8NLD? %A $7CABBE’H 1F;9A>9 $B7ACH

                   50. "Y RAS\TSA@ A<XQNAXj Di Camillo is an employee of the /$#$ <S@ <YYNYZA@ NS developing
                       ZMANX b<??NSA AdARV\TS ZARVQ<ZA.40 )A ?TS?Qa@AY MNY TVNSNTS ZM<Z “ZM<Z NCj <KAX @aA
                       @NQNLAS?A NS YAAPNSL TaZ <S@ ?XN\?<QQe <YYAYYNSL RA@N?<Q <S@ RTX<Q NSCTXR<\TS
                       pertaining to COVID-19 and the vaccines, Nicholas Rolovich came to a sure judgment in
                       conscience that he should not receive a COVID-19 vaccine, then the teachings of the
                       Catholic Church required that he refuse the vaccine.” 41 )NY ?TS?QaYNTS NY ><YA@ TS ZMXAA
                       VXARNYAYl 3TR<S $<ZMTQN? ZA<?MNSL TS ?TSY?NAS?Ak cM<Z MA XACAXY ZT <Y ZMA “principle of
                       ZMAX<VAa\? VXTVTX\TS<QNZeqk and his assessment of Roman Catholic teaching on
                       b<??NS<\TSYm

                   51. *S Re TVNSNTSj MNY VXAYASZ<\TS TC A<?M TC ZMAYA VXARNYAY NY ANZMAX incomplete or deeply
                       I<cA@m )A TRNZY RaQ\VQA ?ASZX<Q aspects of the Roman Catholic teaching on


            39
                 $TSLXAL<\TS CTX ZMA %T?ZXNSA TC ZMA '<NZMj %B@GBM7NL 0;KLHG7;, §35.

            40
                 Di Camillo, no. 14.

            41
                 Di Camillo, STm j ARVM<YNY <@@A@m


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                        conscience. 42 )NY “principle of ZMAX<VAa\? VXTVTX\TS<QNZe” is N@NTYeS?X<\?m )A TRNZY TSA
                        of the most central principles of Catholic bioethics CTX MAQVNSL V<\ASZY to make morally-
                        NSCTXRA@ @A?NYNTSY <>TaZ RA@N?<Q NSZAXbAS\TSY—namely, the principle of ordinary and
                        extraordinary means. And his analysis completely ignores the teaching of the Roman
                        Catholic magisterium regarding the moral acceptability of the COVID-19 vaccines and
                        ZMA RTX<Q T>QNL<\TS CTX $<ZMTQN?Y ZT >A b<??NS<ZA@.

                   (A) Di Camillo Ignores the Relevant Teachings of the Roman Catholic Magisterium Regarding
                       the Moral Acceptability of the COVID-19 Vaccines

                   52. Di Camillo’s opinion fails to RAS\TS any of the teaching of the Roman Catholic
                       magisterium regarding the moral acceptability of the COVID-19 vaccines and the moral
                       T>QNL<\TS TC $<ZMTQN?Y ZT >A b<??NS<ZA@ @AZ<NQA@ NS 4A?\TS II.1 above. )A @TAY cite one
                       cherry-VN?PA@ YASZAS?A CXTR ZMA $%'’s “Note on the Morality of Using Some COVID
                       Vaccines,” but he uses in a misleading way tYAA 4A?\TS **mt%u >AQTcu. 43 The use of this
                       footnote indicates that Di Camillo is familiar with ZMA $%' document but chose to ignore
                       its content. )NY opinion ZMAXACTXA LNbAY ZMA NRVXAYYNTS ZM<Z ZMAXA c<Y ST <aZMTXNZ<\bA
                       magisterial teaching on the moral <??AVZ<>NQNZerT>QNL<ZTXNSAYY of the COVID-19 vaccines
                       that would have established for a ><V\fA@ 3TR<S $<ZMTQN? cM<Z the Roman Catholic
                       VTYN\TS TS ZMNY WaAY\TS c<Y NS "aLaYZ  .

                   t#u Di Camillo Misrepresents Roman Catholic Teaching on Conscience

                   53. Di Camillo’s argument centers on Roman Catholic teaching on conscience. The Roman
                       $<ZMTQN? ZX<@N\TS VXTbN@AY < XN?Mj ?TRVQAdj <S@ Sa<S?A@ aS@AXYZ<S@NSL TC ?TSY?NAS?Am *S
                       my opinion, Di Camillo’s opinion distorts ZMNY ZX<@N\TS >e VXAYAS\SL TSQe < V<X\<Q
                       account. )NY opinion relies <QRTYZ AS\XAQe TS the short entry on “moral conscience” in
                       The Catechism of the Catholic Church. 44 )A omits < PAe YA?\TS TC ZM<Z ASZXek Z<PAs that

            42
              0ZMAX XAVaZ<>QA <S@ ?XA@AS\<QA@ $<ZMTQN? >NTAZMN?NYZY M<bA <QYT ?XN\WaA@ ZMA /$#$rDi Camillo VTYN\TS <S@
            ?TS?aX cNZM ZMA XA<YTSNSL VXAYASZA@ NS ZMNY XA>a^<Qm 4AA AmLmj +<YTS 5m &>AXQ <S@ 5T>N<Y 8NSXNLMZj “$<ZMTQN?Y )<bA
            /T (XTaS@Y ZT $Q<NR &dARV\TS CXTR $07*% 7<??NSA .<S@<ZAYj” NCR ("aLaYZ j  ),
            M^VYlrrcccmS?XTSQNSAmTXLrSAcYr?TXTS<bNXaYr?<ZMTQN?Y-have-no-grounds-claim-AdARV\TS-covid-vaccine-
            mandates. Peter J. Cataldo VXTbN@AY < V<X\?aQ<XQe ZMTXTaLM ?XN\WaA TC ZMA /$#$’Y RNYNSZAXVXAZ<\TS TC $<ZMTQN?
            teaching in “8Me ZMA $%' ‘/TZA TS ZMA .TX<QNZe TC 6YNSL 4TRA "S\-COVID-19 Vaccines’ Suggests a Moral
            0>QNL<\TS ZT 3A?ANbA 4"34-COV-2-Vaccines,” )$&42" j STm t'<QQ  uj
            M^VYlrrcccm?M<aY<mTXLrVa>QN?<\TSYrMA<QZM-care-ethics-aY<r<X?MNbArNYYaArC<QQ-  rcMe-the-cdf-note-on-the-
            morality-of-using-some-<S\-covid-19-vaccines-suggests-a-moral-T>QNL<\TS-to-receive-sars-cov-2-vaccines.

            43
                 Di Camillo, fn. 22, p. 35.

            44 The Catechism of the Catholic Church is a “catechism”—an introductory summary of the teachings of the

            Catholic Church. Insofar as it only presents a basic account of church teaching, it is generally not used in
            professional theological analysis. The Catechism was fully revised in 1992 and is periodically updated as Church
            teaching evolves. The Catechism NY <b<NQ<>QA TSQNSA bN< ZMA 7<\?<S cA>YNZAl
            M^VYlrrcccmb<\?<Smb<r<X?MNbAr&/(rs*/%&9m)5..


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                       entry out of context of relevant teachings in the Catechism NZYAQCk and similarly omits to
                       RAS\TS <YVA?ZY TC 3TR<S $<ZMTQN? ZA<?MNSL TS ?TSY?NAS?A @AZ<NQA@ NS other
                       <aZMTXNZ<\bA ?MaX?M @T?aRASZY ZM<Z he cites. In the following, l detail what he has
                       TRN^A@.

                       (1) %N $<RNQQT 0RNZY < ,Ae 4A?\TS TC ZMA Catechism’s Entry on “Moral Conscience”

                   54. The Catechism of the Catholic Church YaRR<XNfAY ZMA $MaX?M’s teaching on conscience
                       in §§-1802.45 These paragraphs outline four aspects of the Church’s teaching: what
                       conscieS?A NYk ZM<Z <S@ MTc ?TSY?NAS?A NY ZT >A CTXRA@k MTc ZT ?MTTYA NS <??TX@ cNZM
                       ?TSY?NAS?Ak <S@ AXXTSATaY Oa@LARASZm

                   55. Di Camillo’s opinion repeats claims from §§- NS < YaVAXE?N<Q <S@ YAQA?\bA
                       R<SSAXm )A ?TXXA?ZQe states that conscience is held to be an important human faculty, 46
                       but he @TAY STZ ARVM<YNfA ZM<Z ?TSY?NAS?A NY ?Xa?N<QQe “a judgement of reason.”  )A
                       YAQA?\bAQe MNLMQNLMZY sentences about a person’s “duty” to obey one’s conscience (the
                       Catechism does not use the word “duty”). 48

                   56. )A XAVXNYAY V<XZY TC ZMA Catechism’s ARVM<YNY TS ZMA CTXR<\TS TC ?TSY?NAS?Am 49 )A ?NZAs
                       TSA TC ZMA PAe ARVM<YAY TC ZMNY YA?\TS—namely, that to form one’s conscience well
                       requires XAYVA?[aQ @N<QTLaA cNZM “ZMA <aZMTXNZ<\bA ZA<?MNSL TC ZMA $MaX?M” 50k <S@
                       further that “5MA A@a?<\TS TC ?TSY?NAS?A NY NS@NYVASY<>QA CTX MaR<S >ANSLY cMT <XA
                       Ya>OA?ZA@ ZT SAL<\bA NSIaAS?AY <S@ ZARVZA@ >e YNS to prefer their own judgement and
                       ZT XAOA?Z <aZMTXNZ<\bA ZA<?MNSLY.” 51 #aZj although he quotes these passages, they play
                       no role in his analysis.

                   m )NY summary of the Church’Y VTYN\TS TS ?TSY?NAS?A AS@Y cNZM ZMA EXYZ YASZAS?A CXTR
                       §l pA human being must always obey the certain judgement of his conscience.”
                       5M<Z NY ZMA EXYZ QNSA of <S YA?\TS TS “Erroneous Judgement,” < YA?\TS ZM<Z he omits in



            45
              Catechism of the Catholic Church, “Moral Conscience,” §§-1802,
            M^VlrrcccmY?>TXXTRATmTXLr???rVY?<mMZR.

            46
                 Di Camillo, nos. 21-24.

            
                 Catechism of the Catholic Church, §.

            48
                 Di Camillo, nos. 25- m

            49
                 Di Camillo, nos. 28-29.

            50
                 Catechism of the Catholic Church, xj x.

            51
                 Catechism of the Catholic Church, x, emphasis added.


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                       NZY AS\XAZe. 52 Catholic teaching holds that simply because one chooses in accord with
                       one’s conscience, that does not mean that one has chosen correctly or morally. 53 As the
                       Catechism notes, conscience can be wrong due to ignorance 54 or personal
                       responsibility. 55 *Z YZ<ZAY YVA?NE?<QQel “In such cases, the person is culpable for the evil he
                       commits.” 56 Among “the sources of errors of judgement in moral conduct,” the
                       Catechism includes: “iLSTX<S?A v@aA ZTw…when a man ‘Z<PAY QN^QA ZXTa>QA ZT ES@ TaZ
                       what is true and good’” as well as “bad example given by others, enslavement to one’s
                       passions, <YYAX\TS TC < RNYZ<PAS ST\TS TC <aZTSTRe TC ?TSY?NAS?Aj XAOA?\TS TC ZMA
                       Church’s authority and her teaching, lack of conversion and charity.”  If the person is
                       not responsible for their errors, they are less culpable, but ZMANX <?\TS “remains no less
                       <S AbNQj < VXNb<\TSj < @NYTX@AX.” 58 It remains the responsibility of all to “correct the errors
                       of moral conscience” in themselves and others. 59

                   58. Therefore, just because one follows one’s conscience does not mean that one’s
                       conscience was correct or that one’Y <?\TS c<Y RTX<QQe LTT@m In ad@N\TS, as Peter
                       Cataldo, < ?TSYAXb<\bA <S@ XAYVA?ZA@ Catholic bioethicist, STZAYj ZMA T>QNL<\TS ZT CTQQTc
                       one’s conscience “does not include a certain conscience that is based on negligent
                       ignorance of the facts. The only erring judgement of conscience ZT cMN?M TSA NY Y\QQ
                       morally bound to follow is that judgement in which one is excusably ignorant of the
                       facts.” 60 .TXA YVA?NE?<QQel

                                $<ZMTQN? ZA<?MNSL XA?TLSNfAY ZM<Z ZMA VXTVAX CTXR<\TS TC ?TSY?NAS?A NS V<XZ
                                relies on MaR<S XA<YTSk NS ZMA ?TSZAdZ TC b<ccines for SARS-CoV-2, the resources
                                TC XA<YTS TS cMN?M ZMA CTXR<\TS TC ?TSY?NAS?A @AVAS@Y NS?Qa@A VAAX-reviewed
                                Y?NAS\E? AbN@AS?A VXAYASZA@ >e QALN\R<ZA Y?NAS\E? YTaX?AY <S@ <aZMTXN\AYm 5MA
                                RTX<Q T>QNL<\TS ZT T>Ae TSAzY ?AXZ<NS ?TSY?NAS?A NY applicable if, and only if, one


            52
                 Catechism of the Catholic Church, §§-.

            53
              “'<?A@ cNZM < RTX<Q ?MTN?Aj ?TSY?NAS?A ?<S R<PA ANZMAX < XNLMZ Oa@LARASZ NS <??TX@<S?A cNZM XA<YTS <S@ ZMA
            divine law, or, on the contrary, an erroneous judgement that departs from them” (§).

            54
                 Catechism of the Catholic Church, §.

            55
                 Catechism of the Catholic Church, §m

            56
                 Catechism of the Catholic Church, §m

            
                 Catechism of the Catholic Church, §1-2, emphasis added.

            58
                 Catechism of the Catholic Church, §m

            59
                 Catechism of the Catholic Church, §m

            60
                 Cataldo, 2023, ?N\SL 5MTR<Y Aquinas, Summa Theologica, I-II, q. 19, a. 5, a. 6.


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                                has a certain conscience that is not negligently ignorant of the facts. 61

                   59. Thus, Di Camillo AS\XAQe TRNZY ZMA Catechism’s teaching that conscience can be wrong
                       as well as Catholic teaching on negligent (or “vincible”) ignorance. Nor does he discuss a
                       person’s responsibility to accept the consequences of following their conscience,
                       whether their conscience was correct or not t* cNQQ <@@XAYY ZMNY CaXZMAX NS 4A?\TS **m
                       below).

                       (2) Di Camillo Omits the Catechism’s Statements that ConscNAS?A 'TXR<\TS 3AWaNXAY
                           "@MAXAS?A ZT "aZMTXNZ<\bA $MaX?M 5A<?MNSL

                   60. "Y RAS\TSA@ <>TbAj Di Camillo cites the Catechism’s ?TaSYAQ ZM<Z VXTVAX CTXR<\TS TC
                       conscience requires adhering ZT ZMA <aZMTXNZ<\bA ZA<?MNSLY TC ZMA $MaX?M <S@ ZM<Z for
                       Catholics to reject said-teachings is a sin. #aZ MA ZMAS VXT?AA@s to ignore this
                       component. This omission becomes even more glaring when one reads the entry on
                       moral conscience in context of the Catechism as a whole, as of course, one must. 'TX ZMA
                       Catechism repeatedly ARVM<YNfAY that individual Catholics are required to follow the
                       LaN@<S?A TC <aZMTXNZ<\bA $<ZMTQN? ZA<?MNSLj V<X\?aQ<XQe to the guidance of the Pope. To
                       give just a few examples, as the Catechism notes elsewhere:

                                When “ZMA #NYMTV TC 3TRA…proposes in the exercise of the ordinary
                                .<LNYZAXNaR < ZA<?MNSL ZM<Z QA<@Y ZT >A^AX aS@AXYZ<S@NSL TC C<NZM <S@
                                morals…the faithful ‘are to adhere to it with religious assent.’” 62

                                The faithful “have the duty of observing the constitutions and decrees conveyed
                                by the legitimate authority of the Church. Even if they concern disciplinary
                                matters, these determinations call for docility in charity.” 63

                                “At the same time the conscience of each person should avoid confining itself to
                                individualistic considerations in its moral judgments of the person's own acts. As
                                far as possible conscience should take account of the good of all, as expressed in
                                the moral law, natural and revealed, and consequently in the law of the Church
                                and in the authoritative teaching of the Magisterium on moral questions.
                                Personal conscience and reason should not be set in opposition to the moral law
                                or the Magisterium of the Church.” 64

            61
              Ibid. The Catechism says nothing about ‘?XN\?<QQe <YYAYYNSL NSCTXR<\TS CXTR b<XNTaY YTaX?AY’ or “judgements
            about the credibility of sourcesqk that is Di Camillo’s V<X\?aQ<X LQTYY <S@ ZMA R<NS ?XNZerion he uses to evaluate Mr.
            Rolovich’s decision, even though he does not review any component of Mr. Rolovich’s decision-making process (Di
            Camillo, no. 30).

            62
                 Catechism of the Catholic Church, §892, emphasis added.

            63
                 Catechism of the Catholic Church, § , emphasis added.


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                        (3) %N $<RNQQT 0RNZY ZMA 4A?TS@ 7<\?<S $TaS?NQ’s Teaching that Individual Conscience
                            'TXR<\TS 3AWaNXAY "@MAXAS?A ZT "aZMTXNZ<\bA $MaX?M 5A<?MNSL

                   61. The Catechism draws these statements CXTR ZMA $<ZMTQN? ZX<@N\TS RTXA >XT<@Qej
                       including two <aZMTXNZ<\bA documents that Di Camillo cites in his report. 'NXYZ, Di Camillo
                       cites two lines from the 4A?TS@ 7<\?<S $TaS?NQ’s %A?Q<X<\TS %B@GBM7NL Humanae to
                       suggest that a person ought not be prevented from following her or his conscience. 65
                       #aZ MA TRNZY ZMA $TaS?NQ’Y ?QA<X <S@ YVA?NE? @NXA?\bA ZM<Zl

                                 *S ZMA CTXR<\TS TC ZMANX ?TSY?NAS?AYj ZMA $MXNY\<S C<NZMCaQ TaLMZ ?<XACaQQe ZT
                                 <^AS@ ZT ZMA Y<?XA@ <S@ ?AXZ<NS @T?ZXNSA TC ZMA $MaX?M….It is her duty to give
                                 a^AX<S?A ZTj <S@ <aZMTXNZ<\bAly to teach, that truth which is $MXNYZ )NRYAQCj <S@
                                 <QYT ZT @A?Q<XA <S@ ?TSEXR >e MAX <aZMTXNZe ZMTYA VXNS?NVQAY TC ZMA RTX<Q TX@AX
                                 which have their origins in human nature itself.66

                   62. 5MNY Y<RA VTYN\TS NY <QYT <X\?aQ<ZA@ NS <STZMAX @T?aRASZ ZM<Z %N $<Rillo cites, the
                       4A?TS@ 7<\?<S $TaS?NQ’Y 1<YZTX<Q $TSY\Za\TS TS ZMA $MaX?M NS ZMA .T@AXS 8TXQ@
                       (Gaudium et Spes).  Again he omits the $TSY\Za\TS’s NSOaS?\TSY <>TaZ ZMA <aZMTXNZe
                       of Church teaching vis a vis the consciences of lay Catholics:

                                 Let the layman not imagine that his pastors are always such experts, that to
                                 every problem which arises, however complicated, they can readily give him a
                                 ?TS?XAZA YTQa\TSj TX AbAS ZM<Z Ya?M is their mission. Rather vZMAe YMTaQ@ >Aw
                                 ASQNLMZASA@ >e $MXNY\<S cNY@TR <S@ LNbNSL ?QTYA <^AS\TS ZT ZMA teaching
                                 authority of the Church…. 68

                                 nvcNZM XAL<X@ ZT XAVXT@a?\bA WaAY\TSYw spouses should be aware that they
                                 cannot proceed arbitrarily, but must always be governed according to a
                                 ?TSY?NAS?A @a\CaQQe ?TSCTXRA@ ZT ZMA @ivine law itself, and should be submissive
                                 ZTc<X@ ZMA $MaX?MzY ZA<?MNSL TH?Aj cMN?M <aZMAS\?<QQe NSZAXVXAZY ZM<Z law in
                                 ZMA QNLMZ TC ZMA (TYVAQm69



            64
                 Catechism of the Catholic Church, §2039, emphasis added. See also §, §2032, et passim.

            65
                 %N $<RNQQTj STm m

            66
                 4A?TS@ 7<\?<S $TaS?NQj %B@GBM7NL )PF7G7;, §14.

            
                 Di Camillo, no. 22, no. 26.

            68
                 4A?TS@ 7<\?<S $TaS?NQj Gaudium et Spes, §44.

            69
                 Ibid., §50.

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                   63. More examples could be adduced, but in sum, Di Camillo presents TSQe < V<X\<Q <S@
                       therefore misleading account of the Roman Catholic teaching on conscience. .aQ\VQA
                       <aZMTXNZ<\bA YTaX?AY TC ?MaX?M ZA<?MNSL explicitly state that adequate conscience
                       CTXR<\TS XAWaNXAY adherence to ZMA <aZMTXNZ<\bA ZA<?MNSL TC ZMA $MaX?M <S@ ZM<Z
                       “XAOA?\TS TC ZMA Church’s authority” results in culpable error. Di Camillo’s opinion makes
                       no RAS\TS TC ZMA <aZMTXNZ<\bA ZA<?MNSL TC ZMA 3TR<S $<ZMTQN? $MaX?M XAL<X@NSL ZMA
                       COVID-19 vaccines.

                        Conscience, as presented by Di Camillo, has become exactly what the Catechism and the
                        Catholic Church rejects—“< RNYZ<PAS ST\TS TC <aZTSTRe TC ?TSY?NAS?A” that “’takes
                        QN^QA ZXTa>QA ZT ES@ TaZ cM<Z NY ZXaA TX LTT@’” “YAZ NS TVVTYN\TS ZT ZMA .<LNYZAXNaR TC
                        the Church”—an authority unto itself that can override the Pope <S@ <aZMTXNZ<\bA
                        teaching.

                   64. *Z NY <QYT cTXZM ST\SL ZM<Zj AbAS cMAS NZ ?TRAY ZT <VVQeNSL MNY TcS (mistaken) view of
                       the Church’Y ZA<?MNSL TS ?TSY?NAS?Aj %N $<RNQQT @TAY STZ <^ARVZ ZT <S<QefA 3TQTbN?M’s
                       actual process for informing his conscience. Instead, he merely opines (incorrectly) that
                       Rolovich would be required to refuse the vaccine “ifj <KAX @aA @NQNLAS?A NS YAAPNSL TaZ
                       <S@ ?XN\?<QQe <YYAYYNSL RA@N?<Q <S@ RTX<Q NSCTXR<\TS VAXZ<NSNSL ZT $07*%-19 and
                       vaccines” he determined he should not receive the vaccine. #aZ %N $<RNQQT @TAY STZ
                       appear to have spoken with Rolovich or reviewed any documents relevant to Rolovich’s
                       process for @aA @NQNLAS?A CTX <YYAYYNSL ZMA XAQAb<SZ RA@N?<Q <S@ RTX<Q NSCTXR<\TS
                       regarding the COVID-19 vaccines.

                   (C) Di Camillo’s Principle of “TMAX<VAa\? PXTVTX\TS<QNZe” Is *@NTYeS?X<\?

                   65. The putative principle of “therapeutic proportionality” plays a significant role in Di
                       Camillo’s opinion. I have worked in Catholic bioethics for three decades, and I had never
                       heard of this principle until I saw it referenced in the /$#$ b<??NSA AdARVZNTS ZARVQ<ZA
                       NS  m "Y C<X <Y * ?<S ZAQQj ZMNY NY <S N@NTYeS?X<ZN? VXNS?NVQA <@b<S?A@ >e ZMA /$#$m 1AX
                       my XAYA<X?Mj <QZMTaLM ZMA /$#$ aYAY NZ CXAWaASZQej XACAXAS?AY ZT < VXNS?NVQA TC
                       “therapeutic proportionality” appear only six times in the literature since 2004.


            
              See, e.g., Catholic Church, Code of Canon Lawj ?m  l “Not indeed an assent of faith, but yet a religious
            Ya>RNYYNTS TC RNS@ <S@ cNQQ RaYZ >A LNbAS ZT ZMA ZA<?MNSL cMN?M ANZMAX ZMA 4aVXARA 1TS\D TX ZMA $TQQALA TC
            #NYMTVY VXTSTaS?A TS C<NZM TX TS RTX<QY cMAS ZMAe AdAX?NYA ZMA <aZMAS\? .<LNYZAXNaR AbAS NC ZMAe @T STZ NSZAS@
            ZT VXT?Q<NR NZ >e < @AESN\bA <?Zm” 4AA <QYT 'Xm 8NQQN<R .TYZj “'TaX -AbAQY TC ZMA $MaX?M’s Teaching,” ETWN (n.d.),
            M^VYlrrcccmAcZSm?TRr?<ZMTQN?NYRrQN>X<XerCTaX-levels-of-the-churchs-teaching-12242.

            
                 Di Camillo, no. 4.

            
              A search on “ZMAX<VAa\? VXTVTX\TS<QNZe” in the ATLA database (the main database of literature on religion and
            ZMATQTLej NS?Qa@NSL $<ZMTQN? ZMATQTLeu VXT@a?A@ ST ?NZ<\TSYm " YA<X?M TS 1a>.A@ tZMA R<NS @<Z<><YA TC RA@N?<Q
            and bioethics literature) produced only  ?NZ<\TSYm " (TTLQA YA<X?M VXT@a?A@ TSA <@@N\TS<Q ?NZ<\TSm


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                   66. This ‘principle’ appears to me to be an idiosyncratic rephrasing of a concept that is
                       fundamental to both secular and Catholic clinical AZMN?Yj S<RAQej ?TYZr>ASACNZ TXj NS
                       $<ZMTQN? ZAXRNSTQTLej VXTVTXZNTS<ZAr@NYVXTVTXZNTS<ZA <S<QeYNYm  Central to clinical
                       decision-making is that the benefits of a particular medical intervention should
                       outweigh the burdens (costs). The person to weigh the relationship between benefits
                       and burdens is the patient. The patient is to receive, “all reasonable information”
                       regarding possible as to the burdens and benefits so that they are properly ‘informed,’
                       and morally, they must do their best to make an objective, reasonable decision. 

                   m The criterion of proportionality is affirmed in the &MAB97E 7G: 1;EB@BHPL %BK;9MBQ;L =HK
                       $7MAHEB9 );7EMA $7K; 2;KQB9;L as is the centrality of informed consent. The Ethical and
                       ReligioPL %BK;9MBQ;L =HK $7MAHEB9 );7EMA $7K; 2;KQB9;L (ERDs) is an authoritative
                       document containing doctrinal, moral, and sacramental guidelines for Catholic health
                       ?<XA NSYZNZaZNTSY NYYaA@ >e ZMA 64 $TSCAXAS?A TC $<ZMTQN? #NYMTVYm "Se MA<QZM ?<XA
                       TXL<SNf<ZNTS that wishes to identify itself as a Catholic entity must adhere to the ERDs.

                   68. While Di Camillo correctly notes that, per the ERDs, a patient’s informed consent
                       requires “access to moral information,”  he again omits that, per the ERDs, a key
                       source of such “moral information” is (for Catholics) the Church. As the ERDs note:

                                 In a time of new medical discoveries, rapid technological developments,
                                 and social change, what is new can either be an opportunity for genuine
                                 advancement in human culture, or it can lead to policies and actions that
                                 are contrary to the true dignity and vocation of the human person. In

            
              8MNQA ZMA /$#$ ARVQTeY ZMNY ?TS?AVZ TC “ZMAX<VAa\? VXTVTX\TS<QNZe” NS ZMANX +aQe   b<??NSA AdARV\TS
            ZARVQ<ZAj <Z ZM<Z \RA ZMAe R<@A ST RAS\TS TC ?TSYN@AXNSL ZMA $07*%-19 vaccines to be “experimental.” It does
            appear that subsequently (in 2022), this became one of their talking points and they began to <S<QefA the vaccines
            not using the standards for clinical medicine but for medical research. We see this in their April 28, 2022 “Updated
            Statement on COVID-19 Vaccine Mandates” (M^VYlrrcccmS?>?ASZAXmTXLrS?>?-SAcYraV@<ZA@b<??NSAYZ<ARASZ )
            and the corresponding press release, “5MA /$#$ 6V@<ZAY *ZY 4Z<ZARASZ TS $07*%-19 Vaccine Mandates to Include
            Children and Vulnerable Persons,”
            (M^VYlrrYZ<\?mYWa<XAYV<?Am?TRrYZ<\?rA<@<<< A@<@@?@rZr <A? @AA?@A<r
            r1XAYY3AQA<YA7aQSAX<>QA1AXYTSYmV@C ) which refers to the “AdVQTNZ<\TS” of children (apparently via
            b<??NS<\TSu <S@ STZAY ZM<Z “5MA aV@<ZA@ /$#$ YZ<ZARASZ <QYT XA?<QQY ZMA MNLMAX AZMN?<Q YZ<S@<X@Y XAquired in
            medical research.” 5MNY YMNK <QYT <VVA<XY NS %N $<RNQQT’s opinion, no. 34.

            
              64 $TSCAXAS?A TC $<ZMTQN? #NYMTVYj The EMAB97E 7G: 1;EB@BHPL %BK;9NQ;L =HK $7MAHEB9 );7EMA $7K; 2;KQB9;L (2018),
            %NXA?\bA STm j M^VYlrrcccmaY??>mTXLrXAYTaX?AYrAZMN?<Q-religious-@NXA?\bAY-catholic-health-service-sixth-A@N\TS-
            2016-smV@C. This document is referred to as the ERDs, and thNY <>>XAbN<\TS cNQQ >A aYA@ LTNSL CTXc<X@m

            
                 See DNXA?\bAY j j j j j j j  <S@ ZMA *SZXT@a?\TS ZT 1<XZ 7 TC ZMA th A@N\TS TC ZMA ERDs.

            
                 &3%Yj %NXA?\bAY j j AZ V<YYNRm

            
                 Di Camillo, no. 35.


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                                 consultation with medical professionals, church leaders review these
                                 developments, judge them according to the principles of right reason and
                                 the ultimate standard of revealed truth, and offer authoritative teaching
                                 and guidance about the moral and pastoral responsibilities entailed by
                                 the Christian faith. While the Church cannot furnish a ready answer to
                                 every moral dilemma, there are many questions about which she
                                 provides normative guidance and direction.

                   69. The COVID-19 vaccines are an excellent example of TSA TC ZMAYA WaAY\TSY. Throughout
                       his opinion, Di Camillo simply omits this requirement that Mr. Rolovich’s moral
                       assessment must respect the magisterium’Y STXR<\bA LaN@<S?A <S@ @NXA?\TS regarding
                       the morally obligatory nature of the COVID-19 vaccines.

                   m #aZ cMNQA VXTVTX\TS<QNZe NY <S NRVTXZ<SZ ?XNZAXNTS CTX $<ZMTQN? ?QNSN?<Q <YYAYYRASZj NZ
                       never stands alone. It is a subcomponent of a more important principle that helps
                       @AZAXRNSA cMAZMAX < RA@N?<Q NSZAXbAS\TS NY RTX<Qly obligatory or not.

                   (D) Di Camillo &S\XAQe 0RNZY the Principle of Ordinary and Extraordinary Means

                   m Di Camillo’Y ZMNX@ YA?\TS—“5A<?MNSLY TC ZMA 3TR<S $<ZMTQN? $MaX?M TS 7<??NS<\TS NS
                       (ASAX<Q”—NY OaYZ ><JNSLQe NS?TXXA?Zm )NY opinion, again, RNYQA<@Y >e VXAYAS\SL TSQe V<XZ
                       TC ZMA ZA<?MNSL TS ZMNY WaAY\TSm "S@ Nt requires AS\XAQe NLSTXNSL the Church’s well-
                       established principle of ordinary and extraordinary means. This principle is found in the
                       ERDs, in nearly every textbook of Catholic bioethics and in the majority of clinical case
                       analyses conducted by professional Catholic bioethicists.

                    m 'NXYZj Di Camillo states ZM<Z b<??NS<\TSY “must be voluntary”—full stop. This is a
                       @A?AV\bA ?Q<NR NSYTC<X <Y VAX >TZM $<ZMTQN? <S@ YA?aQ<X >NTAZMN?Yj all medical
                       NSZAXbAS\TSY RaYZ <Qc<eY >A bTQaSZ<XeZ 0SA ?<SSTZ CTX?A < V<\ASZ ZT <??AVZ < RA@N?<Q
                       NSZAXbAS\TS NSbTQaSZ<XNQem 5M<Z @TAY not, however, mean that for the Church, some
                       RA@N?<Q NSZAXbAS\TSY are not at the Y<RA \RA bTQaSZ<Xe and morally obligatory.

                   m 5T R<PA ZMAYA @AZAXRNS<\TSYj Zhe Church VXTbN@AY NS@NbN@a<Q $<ZMTQN?Y tV<\ASZYj
                       providers, ethicists, etc.) with the principle of ordinary and extraordinary means.
                       IntAXbAS\TSY ZM<Z ?<S >A ?TSYN@AXA@ “ordinary” means are held to be “morally
                       obligatory.” *SZAXbAS\TSY ZM<Z <XA ?TSYN@AXA@ “extraordinary” are not. This is clearly
                       stated in the ERDs, and Di Camillo simply omits it.




            
                 Di Camillo, nos. 31-41.

            
                 Di Camillo, no. 42.


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                                                                                                Exhibit F Page 26

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                   m "Y ZMA &3%Y STZAj ZMA $<ZMTQN? ZX<@N\TS M<Y QTSL Z<aLMZ ZM<Z “every person is obliged to
                       use ordinary means to preserve his or her health.” 80 #A?<aYA TC ZMA Y<?XA@SAYY TC
                       MaR<S QNCAj bTQaSZ<XNQe VXTZA?\SL TaX TcS QNCA <S@ MA<QZM NY <S TbAXXN@NSL ZMATQTLN?al
                       and moral commitment.81 5MaYj NS ZMA $<ZMTQN? ZX<@N\TSj < RA@N?<Q NSZAXbAS\TS ?<S >A
                       both voluntary and ‘morally obligatory’—and many are.

                   m The ERDs @AESA TX@NS<Xe RA<SY:

                               A person has a RTX<Q T>QNL<\TS ZT aYA TX@NS<Xe TX VXTVTX\TS<ZA RA<SY
                               of presAXbNSL MNY TX MAX QNCAm 1XTVTX\TS<ZA vTX@NS<Xew means are those
                               ZM<Z NS ZMA Oa@LRASZ TC ZMA V<\ASZ TDAX < XA<YTS<>QA MTVA TC >ASAEZ
                               and do not entail an excessive burden or impose excessive expense on
                               the family or the community. 82

                       5MAe ?TS\SaAl

                               A VAXYTS R<e CTXLT AdZX<TX@NS<Xe TX @NYVXTVTX\TS<ZA RA<SY TC
                               VXAYAXbNSL QNCAm %NYVXTVTX\TS<ZA vAdZX<TX@NS<Xew means are those that in
                               ZMA V<\ASZ’Y Oa@LRASZ @T STZ TDAX < XA<YTS<>QA MTVA TC >ASAEZ TX ASZ<NQ
                               an excessive burden, or impose excessive expense on the family or the
                               community.

                   m The key terms here are: reasonable and excessive. The COVID-19 vaccines very quickly
                       VXTbA@ ZT >A MNLMQe ADA?\bA <Z VXAbAS\SL YAXNTaY NQQSAYYj MTYVNZ<QNf<\TSj <S@ @A<ZM
                       CXTR < MNLMQe NSCA?\TaY @NYA<YA ZM<Z ?<S M<bA YAXNTaYj QTSL-term or even fatal outcomes
                       <S@ CTX cMN?M ZMAXA NY Y\QQ ST ADA?\bA treatment. Clearly, they met the bar for
                       XA<YTS<>QA MTVA TC >ASAEZm 5MAe @T STZ NRVTYA any YNLSNE?<SZ burdens or risks for
                       XA?NVNASZY cNZMTaZ RA@N?<Q ?TSZX<NS@N?<\TSY, and they were free of charge in the US.
                       "aZMTXNZ<\bA R<LNYZAXN<Q LaN@<S?A ?TS?Qa@A@ that there are no overweening moral
                       obstacles that would change this calculus.

                   m Unlike any other medical treatment, vaccines also have the <@@N\TS<Q >ASAEZ that they
                       protect STZ TSQe ZMA V<\ASZ >aZ also other people—our immediate families and those
                       we AS?TaSZAX NS TaX ?TRRaSN\AYj V<X\?aQ<XQe ZMTYA cMT RTXA baQSAX<>QAj VXAYAXbNSL
                       their health and life as well. Thus, CTX b<??NSAYj ZMA >ASAEZr?TYZ X<\T NY AbAS LXA<ZAXm
                       Consequently, CTX ZMTYA cNZMTaZ RA@N?<Q ?TSZX<NS@N?<\TSYj b<??NSAY <XA STZ RAXAQe
                       ordinary treatment—ZMA RTX<Q T>QNL<\TS ZT >A b<??NS<ZA@ NY AbAS LXA<ZAXm


            80
                 ERDs, %NXA?\bA  j ARVM<YNY <@@A@m

            81
                 &3%Yj (ASAX<Q *SZXT@a?\TSm

            82
                 %NXA?\bA j ARVM<YNY <@@A@m


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                                                                                              Exhibit F Page 27

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                    It was via the principle of ordinary and extraordinary means ZM<Z ZMA <aZMTXNZ<\bA
                    bodies in the Roman Catholic magisterium deemed the COVID-19 vaccines morally
                    T>QNL<ZTXe t1TVA 'X<S?NYuj < @aZe tZMA $%'uj TX < RTX<Q XAYVTSYN>NQNZe tZMA 7<\?<S $07*%-
                     $TRRNYYNTS <S@ ZMA 64$$#um

                 m 'NS<QQej NZ NY <L<NS RNYQA<@NSL ZT YaLLAYZ ZM<Z ZMA $MaX?M M<Y STZ Z<PAS < VTYN\TS TS
                     b<??NS<\TSm It TDAXA@ < ?QA<X <S@ ?TSYNYZASZ VTYN\TS TS ZMA $07*D-19 vaccines, as
                     @AZ<NQA@ NS 4A?\TS **m <>TbAm *S <@@N\TSj Seither vaccines nor vaccine mandates are
                     new.83 5MA $<ZMTQN? $MaX?M M<Y SAbAX TVVTYA@ YZ<ZA b<??NS<\TS R<S@<ZAYm $<ZMTQN?
                     ?TQQALAY <S@ aSNbAXYN\AY M<bA >AAS R<S@<\SL < b<XNAZe TC b<??NSAY CTr decades, even
                     vaccines developed and manufactured in the same way as the COVID-19 vaccines. 84

                    5MAXACTXAj b<??NS<\TS overwhelmingly meets the criteria to be considered ordinary
                    treatment and thus, as the consensus of magisterial commentary has noted, any
                    reasonable Catholic who has formed their conscience well should consider it morally
                    obligatory.

                 4. 2@; $EHIH E< $EDH9A;D9; AD I@; 0EC7D $7I@EBA9 2G7:AJED

                 m 0SA ES<Q <YVA?Z TC ZMA 3TR<S $<ZMTQN? ZA<?MNSL TS ?TSY?NAS?A RaYZ >A RAS\TSA@
                     >XNAIem Catholic teaching on conscience is both old and new. 5MA ZMATXA\?<Q frame for
                     the concept was developed most clearly in the work of the 13th century theologian,
                     Thomas Aquinas. "KAX that, the concept had < RNdA@ MNYZTXe NS ZMA $<ZMTQN? ZX<@N\TS.
                     Over the centuries, the Roman Catholic Church punished many martyrs and people of
                     TZMAX C<NZMY cMT YTaLMZ ZT ?TSY?NAS\TaYQe AdAX?NYA ZMANX XAQNLNTaY freedom. The concept
                     had a mixed history even in the 19th and early 20th ?ASZaXNAYj aS\Q NZ c<Y XAbNbNEA@ >e ZMA
                     4A?TS@ 7<\?<S $TaS?NQ in the 1960s. 85

                 80. #AMNS@ ZMNY MNYZTXe NY <S <YVA?Z TC ?TSY?NAS?A TRN^A@ CXTR %N $<RNQQNT’s account: that
                     while individuals have a right to conscience, ZM<Z XNLMZ ASZ<NQY XAYVTSYN>NQN\AY <S@j

            83
               ,AbNS .<QTSA <S@ "Q<S 3m )NSR<Sj “7<??NS<\TS .<S@<ZAYl 5MA 1a>QN? )A<QZM *RVAX<\bA <S@ *S@NbN@a<Q 3NLMZYj”
            in Law in Public Health 0K79N9;, 2nd A@mj A@m 3N?M<X@ "m (TT@R<Sj AZ <Qm t0dCTX@ 6SNbAXYNZe 1XAYYj uj -360,
            M^VYlrrcccm?@?mLTbrb<??NSAYrNRf-R<S<LAXYrLaN@AY-Va>Yr@TcSQT<@Yrb<??sR<S@<ZAYs?MVZXmV@C.

            84
              See, e.g., the University of Notre Dame, “*RRaSNf<\TS '"2Yj” (accessed July 19, 2024), M^VYlrraMYmS@mA@arCTX-
            incoming-YZa@ASZYrNRRaSNf<\TS-faWYr. In 2021, per state mandates, this list also included the COVID-19 vaccines.
            4NRNQ<X XAWaNXARASZY ?<S >A CTaS@ TS ZMA cA>YNZAY TC RTYZ $<ZMTQN? A@a?<\TS<Q <S@ MA<QZM ?<XA NSY\Za\TSY
            NS?Qa@NSL <QQ ZMXAA $<ZMTQN? aSNbAXYN\AY NS 8<YMNSLZTS YZ<ZAj 4A<^le University (M^VYlrrcccmYA<^QAamA@arQNCA-at-
            YA<^QA-arMA<QZM-cAQQSAYYrYZa@ASZ-health-?ASZAXrNRRaSNf<\TSYruj 4Zm .<X\S’s University
            (M^VYlrrcccmYZR<X\SmA@arYZa@ASZ-QNCArYZa@ASZ-cAQQ>ANSLrMA<QZM-servicesuj <S@ (TSf<L< 6SNbAXYNZe
            (M^VYlrrcccmLTSf<L<mA@arYZa@ASZ-QNCArMA<QZM-well->ANSLrMA<QZM-counseling-seXbN?AYrXAYTaX?AYrb<??NS<\TSY).

            85
              4AAj AmLmj %<bN@ %A$TYYA <S@ ,XNY\S )AeAXj A@Ymj $HGL9B;G9; 7G: $7MAHEB9BLFY 1B@AMLX 1;LJHGLB8BEBN;LX 7G:
            *GLNMPNHG7E 1;LJHGL;L t0X>NY #TTPYj um


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                       ?TXXAQ<\bAQej ?TSYAWaAS?AYm 'TX Ad<RVQAj VXNTX ZT ZMA 4A?TS@ 7<\?<S $TaS?NQj ZMA
                       $MaX?M Q<XLAQe TVVTYA@ ZMA VX<?\?A TC $<ZMTQN? ?TSY?NAS\TaY T>OA?\TS ZT c<Xm 86 The
                       Church raised ST T>OA?\TSY ZT governments that jailed Catholics cMT ?TSY?NAS\TaYQe
                       T>OA?ZA@ ZT V<X\?NV<\SL NS c<X CTX V<?NEYZ XA<YTSYm %aXNSL ZMA 7NAZS<R 8<X AX<, the
                       $MaX?M >AL<S ZT XA?TLSNfA ZMA RTX<Q XNLMZY TC Catholics cMT ?TSY?NAS\TaYQe T>OA?Zed to
                       war and refused ?TSY?XNV\TSj >aXSed @X<K ?<X@Yj  or threw blood on nuclear war
                       heads.88 #aZ ZMAe AWa<QQe <?PSTcQA@LA@ ZM<Z Ya?M ?TSY?NAS\TaY T>OA?ZTXY RaYZ C<?A ZMA
                       ?TSYAWaAS?AY TC ZMANX <?\TSY—AmLmj ZT YAXbA \RA NS VXNYTSm While the Church now has
                       given Wa<QNEA@ YaVVTXZ ZT RNQNZ<Xe ?TSY?NAS\TaY T>OA?\TSj NZ XA?TLSNfAY ZM<Z Ya?M <
                       stance may incur “consequences to person and career,” and it agrees that those who
                       object for reasons of conscience must be cNQQNSL ZT V<X\?NV<ZA NS YTRA YTXZ TC
                       <QZAXS<\bA servicej AbAS NC NZ NY Y\QQ V<XZ TC ZMA ‘war machine’ to which they object. 89 The
                       64 (TbAXSRASZ XAWaNXAY military ?TSY?NAS\TaY T>OA?ZTXY ZT LT ZMXTaLM < XNLTXTaY
                       VXT?AYY NS cMN?M ZMAe EXYZ @AZ<NQ NS cXN\SL <S@rTX bN< < VAXYTS<Q VXAYASZ<\TS MTc ZMAe
                       arrived at thANX >AQNACYj ZMA NSIaAS?A ZMTYA >AQNACY M<bA M<@ TS MTc ZMAe QNbA ZMANX
                       lives. 90 The Catholic Church supports such a process. 91 Signing a pre-fabricated template
                       CTXR NY STZ YaH?NASZm

                   81. 5MNY VTYN\TS NY XTTZA@ NS <S <HXR<\TS TC VTQN\?<Q LTbAXS<S?A <Y SA?AYY<Xe CTX MaR<S
                       ITaXNYMNSLm 8NZMNS $<ZMTQN? ZMATQTLej ZMAXA NY <Z QA<YZ < prima facie <YYaRV\TS ZM<Z
                       VTQN\AY <?Z CTX ZMA ?TRRTS LTT@ <S@ ZM<Z ?N\fASY M<bA < XAYVTSYN>NQNZe ZT ?TTVerate
                       with Ya?M <aZMTXN\AYm 5MA 4A?TS@ 7<\?<S $TaS?NQ <HXRY ZMNY NSj <L<NSj their remarks on
                       conscience:

            86
              4AAj AmLmj +AXARe ,AYYQAXj “5MA -AL<Q 0XNLNSY TC $<ZMTQN? $TSY?NAS\TaY 0>OA?\TSj” William and Mary Bill of Rights
            Journal, 31, no. 2 (2022-2023), 380,
            M^VYlrrY?MTQ<XYMNVmQ<cmcRmA@ar?LNrbNAc?TSZASZm?LNi<X\?QA |?TSZAdZcR>TXOk <S@ Rachel M. Johnston-
            White, “" /Ac 1XNR<?e TC $TSY?NAS?Ai $TSY?NAS\TaY 0>OA?\TSj 'XAS?M $<ZMTQN?NYRj <S@ ZMA 4Z<ZA %aXNSL ZMA
            Algerian War,” Journal of Contemporary History 54, no. 1 (2019): 112-138.

            
                 “The Catonsville Nine,” M^VYlrrASmcNPNVA@N<mTXLrcNPNr$<ZTSYbNQQAs/NSA

            88
              .<Xe "SS .aAQQAX <S@ "SS #XTcSj “The Plowshares Eight: Thirty Years On,” 67@BG@ .HGQBHE;G9; (September 9,
            2010), M^VYlrrc<LNSLSTSbNTQAS?AmTXLr rrZMA-plowshares-8-thirty-years-TSr

            89
              4AAj AmLmj ZMA bAXe @NDAXASZ ZASTX NS ZMA 64$$# YZ<ZARASZY CXTR 
            (M^VYlrrcccmaY??>mTXLrXAYTaX?AYrYZ<ZARASZ-catholic-?TSY?NAS\TaY-objector-division-world-OaY\?A-and-peace-
            october-15) and 2014 (M^VYlrrcccmaY??>mTXLrXAYTaX?AYr?TSY?NAS\TaY-T>OA?\TS).

            90
                 64 4AQA?\bA 4AXbN?A 4eYZARj “$TSY?NAS\TaY 0>OA?ZTXYj” M^VYlrrcccmYYYmLTbr?TSY?NAS\TaY-T>OA?ZTXYr.

            91
              $<ZMTQN? 1A<?A 'AQQTcYMNVj “5MA $MaX?M <S@ $TSY?NAS\TaY 0>OA?\TSj”
            M^Vlrrcccm?<ZMTQN?VA<?ACAQQTcYMNVmTXLr@TcSQT<@Yr?TSY?NAS\TaYsT>OA?\TSsYMAAZmV@C. Notably, Mr. Rolovich did
            STZ VXTbN@A <SYcAXY ZT <Se TC ZMA QALN\R<ZA WaAY\TSY 846 <YPA@ MNR TS ZMANX XAQNLNTaY AdARV\TS <VVQN?<\TS
            CTXRj WaAY\TSY ZM<Z cAXA YNRNQ<X ZT ZMA 64 4AQA?\bA 4AXbN?A ?TSY?NAS\Tas objector process. Insofar as he could
            STZ TX cTaQ@ STZ VXTbN@A OaY\E?<\TS CTX MNY VTYN\TSj NZ X<NYAY < WaAY\TS TC cMAZMAX MNY ?TSY?NAS?A c<Y YaH?NASZQe
            well-formed, per Catholic teaching.


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                               5MA VTQN\?<Q ?TRRaSNZe AdNYZYj ?TSYAWaASZQej CTX ZMA sake of the common good,
                               NS cMN?M NZ ES@Y NZY CaQQ OaY\E?<\TS <S@ YNLSNE?<S?Aj <S@ ZMA source of its
                               NSMAXASZ QALN\R<?e….:AZ ZMA VATVQA cMT ?TRA ZTLAZMAX NS ZMA VTQN\?<Q
                               community are many and diverse, and they have every right to prefer divergent
                               YTQa\TSYm *C ZMA VTQN\?<Q ?TRRaSNZe NY STZ ZT >A ZTXS <V<XZ while everyone
                               follows his own opinion, there must be an authority to direct the energies of all
                               ?N\fASY ZTc<X@ ZMA ?TRRTS LTT@j STZ NS < RA?M<SN?<Q TX @AYVT\? C<YMNTSj >aZ
                               >e <?\SL above all as a moral force which appeals to each one's freedom and
                               sense of responsibility.

                               It is ?QA<Xj ZMAXACTXAj ZM<Z ZMA VTQN\?<Q ?TRRaSNZe <S@ Va>QN? <aZMTXNZe <XA
                               founded on human S<ZaXA <S@ MAS?A >AQTSL ZT ZMA TX@AX @AYNLSA@ >e (T@j AbAS
                               ZMTaLM ZMA ?MTN?A TC < VTQN\?<Q XALNRA <S@ ZMA <VVTNSZRASZ TC XaQAXY <XA QAK ZT
                               ZMA CXAA cNQQ TC ?N\fASYm IZ CTQQTcY <QYT ZM<Z VTQN\?<Q <aZMTXNZej >TZM NS ZMA
                               ?TRRaSNZe <Y Ya?M <S@ NS ZMA XAVXAYASZ<\bA bodies of the state, must always be
                               exercised within the limits of the moral order and directed toward the common
                               good—with a dynamic concept of that good—according to the juridical
                               TX@AX QALN\R<ZAQe AYZ<>QNYMA@ TX @aA ZT >A AYZ<>QNYMA@m When authority is so
                               AdAX?NYA@j ?N\fASY <XA >TaS@ NS ?TSY?NAS?A ZT T>Ae. 92

                       5MNY VTYN\TS NY <QYT NS?Qa@A@ NS ZMA Catechism, but again, Di Camillo does not cite it. 93

                   82. The Church also reserves the right to impose consequences on those who
                       ?TSY?NAS\TaYQe T>OA?Z ZT NZY ZA<?MNSLY TX <aZMTXNZe YZXa?ZaXAm &YVA?N<QQe TbAX ZMA Q<YZ
                       @A?<@Aj $<ZMTQN? VTQN\?N<SY in the US who—in conscience—bTZA CTX QALNYQ<\TS
                       YaVVTX\SL <>TX\TS XNghts because Ya?M QALNYQ<\TS represents the wishes of their
                       ?TSY\ZaAS?NAY have been @ASNA@ ?TRRaSNTS <S@rTX ZMXA<ZASA@ cNZM Ad?TRRaSN?<\TS
                       by a handful of bishops. 94

                   83. The Church <QYT NSIN?ZY ARVQTeRASZ ?TSYAWaAS?AY TS ZMTYA cMT CTQQTc ZMANX
                       consciences cNZMNS $<ZMTQN? NSY\Za\TSYm 'TX Ad<RVQAj in October 2021, ZMA 7<\?<S
                       NSIN?ZA@ ARVQTeRASZ ?TSYAWaAS?AY TS ZMTYA ARVQTeAAY cMT XACaYA@ ZT XA?ANbA ZMA
                       COVI% b<??NSAY cMAS ZMA 7<\?<S NSY\ZaZA@ NZY b<??NSA R<S@<ZA—either suspending
                       ZMAR aS\Q ZMAe cAXA b<??NS<ZA@ TX <QQTcNSL ZMAR ZT QA<bA ZMANX VTYN\TSYm95 In the US,

            92
                 4A?TS@ 7<\?<S $TaS?NQj Gaudium et Spes, §j ARVM<YNY <dded.

            93
                 Catechism, §§- j M^VlrrcccmY?>TXXTRATmTXLr???rVY? < mMZR.

            94
              “Eucharist %ASN<Q ZT $<ZMTQN? 1TQN\?N<SY 0bAX ">TX\TSj” Wikipedia:
            M^VYlrrASmcNPNVA@N<mTXLrcNPNr&a?M<XNYZs@ASN<QsZTs$<ZMTQN?sVTQN\?N<SYsTbAXs<>TX\TS

            95
              Ivana Saric, “4cNYY (a<X@Y -A<bA $TXVY NS 0X@AX ZT "bTN@ 7<\?<S 7<??ine Mandate,” "SBHL (October 3, 2021),
            M^VYlrrcccm<dNTYm?TRr  rrrYcNYY-guards-covid-vaccine-YcNZfAXQ<S@

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                    employees (whether Catholic or not) who follow their consciences are regularly
                    terminated by Catholic employers, and the US courts have regularly supported these
                    consequences. 96 In July 2024, Cardinal Carlo Maria Vigano, the former Papal Nuncio to
                    ZMA 64 t< bAXe VXTRNSASZ ?MaX?M VTYN\TSu c<Y Ad?TRRaSN?<ZA@ CTX MNY ?TSYNYZASZ bT?<Q
                    ?TSY?NAS\TaY T>OA?\TS ZT 1TVA 'X<S?NY’ QALN\R<?em  In November 2023, the bishop of
                    Tyler, Texas, was removed fXTR MNY VTYN\TS CTX YNRNQ<X XA<YTSYm 98

                 5. Conclusion

                 84. #<YA@ TS ZMA CTXALTNSLj NZ NY Re TVNSNTS ZM<Z %N $<RNQQT NY NS?TXXA?Z ZM<Z .Xm 3TQTbN?M c<Y
                     required to refuse the COVID-19 vaccine based on his Roman Catholic faith. To reach his
                     conclusion, he misrepresents Roman Catholic teaching on conscience, taking sentences
                     <S@ V<YY<LAY TaZ TC ?TSZAdZ <S@ TRN_SL PAe <YVA?ZY TC ZMA ZA<?MNSL that is included in
                     the very documents he cites. )A R<PAY ST RAS\TS TC ZMA C<?Z ZM<Z $<ZMTQN? ZA<?MNSL
                     acknowledges that the VX<?\?A TC CTQQTcNSL TSA’s conscience—whether well-formed or
                     erroneous—R<e M<bA YAXNTaY ?NbNQj A??QAYN<Y\?<Qj TX ARVQTeRASZ ?TSYAWaAS?AYm

                 85. )A AS\XAQe NLSTXAY ZMA teaching promulgated >e 1TVA 'X<S?NYj ZMA %N?<YZAXe CTX ZMA
                     %T?ZXNSA TC ZMA '<NZMj ZMA 7<\can COVID-19 Commission sponsored by the Dicastery for
                     1XTRT\SL *SZALX<Q )aR<S %AbAQTVRASZj ZMA 1TS\E?<Q "?<@ARe CTX -NCAj <S@ ZMA 64$$#
                     which all concurred: (1) that all available COVID-19 vaccines were morally acceptable to
                     aYAk t u ZM<Z $<ZMTQN?Y M<bA < RTX<Q XAYVTSYN>NQNZej @aZej TX T>QNL<\TS ZT >A b<??NS<ZA@
                     against COVID-19 in order to protect their own lives and health and the lives and health
                     TC TZMAXY CXTR < YAXNTaY V<ZMTLAS cNZM ST ADA?\bA ZXA<ZRASZYk tu ZM<Z >ANSL
                     vaccinated against COVID- c<Y <S <?Z TC QTbAk <S@ tu ZM<Z ZMA $MaX?M YMTaQ@ cTXP
                     with public bodies to ensure universal access to vaccines. )A C<NQY ZT RAS\TS ZM<Z <t no
                     \RA @N@ <Se TC ZMAYA 3TR<S $<ZMTQN? <aZMTXN\AY NS  -2022 advocate, recommend,
                     counsel, or approve Catholics to seek AdARV\TSY CXTR b<??NSA R<S@<ZAYm *S C<?Zj 1TVA



            96
              'TX OaYZ ZcT TC R<Se Ad<RVQAYj YAA “North Carolina CatMTQN? 4?MTTQ )<@ 3NLMZ ZT 'NXA (<e 5A<?MAX 8MT
            Announced Wedding Online, Court Rules,” CBS News (May 10, 2024), M^VYlrrcccm?>YSAcYm?TRrSAcYrSTXZM-
            carolina-catholic-school-EXA@-gay-teacher-lonnie-billard-wedding-court-XaQNSLrk <S@ %<bN@ ,m -N <S@ :<YRAAS
            Persaud, “$<ZMTQN? 4?MTTQ )<@ -AL<Q 3NLMZ ZT 'NXA 6SR<XXNA@j 1XALS<SZ 5A<?MAXj /Ac +AXYAe $TaXZ 3aQAYj” NBC News
            (August 16, 2023), M^VYlrrcccmS>?SAcYm?TRrSAcYr?XNRA-?TaXZYrSAc-jersey-high-court-sides-catholic-school-
            teacher-EXA@-premarital-s-rcna100232. See also New Ways Ministries, “&RVQTeAAY TC $<ZMTQN? *SY\Za\TSY 8MT
            )<bA #AAS 'NXA@j 'TX?A@ ZT 3AYNLSj )<@ 0DAXY 3AY?NS@A@j TX )<@ 5MANX +T>Y 5MXA<ZASA@ #A?<aYA TC -(#5 *YYaAYj”
            (updated September 21, 2021): M^VYlrrcccmSAcc<eYRNSNYZXemTXLrNYYaAYrARVQTeRASZrARVQTeRASZ-@NYVaZAYr.

            
              Christopher White, “"X?M>NYMTV 7NL<ST 'TaS@ (aNQZe TC 4?MNYRj &d?TRRaSN?<ZA@ >e 7<\?<Sj” NCR July 5, 2024:
            M^VYlrrcccmS?XTSQNSAmTXLrb<\?<Srb<\?<S-SAcYr<X?M>NYMTV-vigan-found-guilty-schism-excommunicated-b<\?<S.

            98
              /N?TQA 8NSEAQ@j “1TVA 'X<S?NY 3ARTbAY < -A<@NSL 64 $TSYAXb<\bA $XN\? <Y #NYMTV TC 5eQAXj 5Ad<Yj” "0
            (November 11, 2023), M^VYlrr<VSAcYm?TRr<X\?QArVTVA-tyler-bishop-strickland-removed-
            CC>A@>@AA<@?A.


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                                                                                                       Exhibit F Page 31

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                   'X<S?NY MNRYAQC ?XN\?NfA@ ZMTYA cMT @N@ <S@ YTaLMZ ZT VAXYa<@A ZMAR TZMAXcNYAm

                86. )A a\QNfAY <S N@NTYeS?X<\? ?TS?AVZ cMNQA TRN_SL one of the most central principles of
                    Catholic bioethics—the principle of ordinary and extraordinary means—which is used to
                    determine cMN?M RA@N?<Q NSbAS\TSY <XA RTX<QQe T>QNL<ZTXem

                m 'NS<QQej %N $<RNQQT @TAY STZ AbAS <^ARVZ ZT <S<QefA TX Ab<Qa<ZA ZMA <?Za<Q VXT?AYY >e
                    which Mr. Rolovich formed his conscience and came to his judgement to determine
                    whether or not it met the criteria for a well-CTXRA@ ?TSY?NAS?A NS ZMA $<ZMTQN? ZX<@N\TSm

                88. Thus, in my opinion, to ?TS?Qa@A ZM<Z < ><V\fA@ $<ZMTQN? could be “required” as a
                    Catholic to refuse COVID- b<??NS<\TS requireY < YNLSNE?<SZ @NYZTX\TSj
                    RNYaS@AXYZ<S@NSLj TX RNYXAVXAYASZ<\TS TC $<ZMTQN? ZA<?MNSLm




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                                                      "11&/%*9 1

                                     M. THERESE LYSAUGHT, PhD
                                            /ANYc<SLAX *SY\ZaZA CTX #NTAZMN?Y
                                  Stritch School of Medicine, Loyola University Chicago
                                               1TS\E?<Q "?<@ARe CTX -NCA
                                                   mlysaught@luc.edu



            EDUCATION

            PhD     3AQNLNTSr5MATQTLN?<Q &ZMN?Y                 Duke University                       1992
            MA      Theology                                    University of Notre Dame              1986
            #4      Chemistry                                   )TVA $TQQALA                          1985



            TENURED 2&"$)*-( & 0&1&"0$) "//.*-2,&-21

            2013-          Professor, Neiswanger *SY\ZaZA CTX #NTAZMN?Y <S@ )A<QZM 1TQN?ej 4ZXNZ?M 4?MTTQ TC
                           .A@N?NSAk *SY\ZaZA TC 1<YZTX<Q 4Za@NAYj -TeTQ< 6SNbAXYNZe $MN?<LT tOTNSZ
                           appointment)

            2012-2013      7NYN\SL 4?MTQ<Xj $<ZMTQN? )A<QZM "YYT?N<\TS

             -2013      "YYT?N<ZA 1XTCAYYTXj .<XWaA^A 6SNbAXYNty, Department of Theology

            1995-       "YYNYZ<SZr"YYT?N<ZA 1XTCAYYTXj 6SNbAXYNZe TC %<eZTSj %AVZm TC 3AQNLNTaY 4Za@NAY

            1995           1TYZ@T?ZTX<Q 3AYA<X?M 'AQQTcj %AV<XZRASZ TC 1A@N<ZXN?Y | (ASA\?Yj $TQQALA TC
                           Medicine, University of Iowa

            1994           /*) 'AQQTcj 1XTLX<R NS .TQA?aQ<X <S@ $QNSN?<Q (ASA\?Yj 1XTLX<R NS #NTRA@N?<Q
                           &ZMN?Y 6SNbAXYNZe TC *Tc<j CaS@A@ >e ZMA /<\TS<Q *SY\ZaZAY TC )A<QZM t/*)uj
                           /<\TS<Q $ASZAX CTX )aR<S (ASTRA 3AYA<X?M t/$)(3uj &ZMN?<Qj -AL<Qj <S@ 4T?N<Q
                           *RVQN?<\TSY 1XTLX<R t&-4*u

            1992-1994      "YYT?N<ZAj 5MA 1<XP 3N@LA $ASZAX CTX )A<QZMj '<NZMj <S@ &ZMN?Y




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            ACADEMIC ADMINISTRATION

            2014-2018     "YYT?N<ZA %A<Sj *SY\ZaZA TC 1<YZTX<Q 4Za@NAYj -TeTQ< 6SNbAXYNZe $MN?<LT
            2011-2012     %NXA?ZTX TC (X<@a<ZA 4Za@NAYj %AV<XZRASZ TC 5MATQTLej .<XWaA^A University
            2008-2010     "YYNYZ<SZ $M<NXj %AV<XZRASZ TC 5MATQTLej .<XWaA^A 6SNbAXYNZe
            1999-2000     *SZAXNR %NXA?ZTX TC (X<@a<ZA 4Za@NAYj %AVt. of Religious Studies, Univ. of Dayton


            $.-13+2*-( & FACILITATION

            2024          St. Norbert College, .TX<Q "S<QeYNY TC )A<QZM Plan Coverage

            2023          1A<?A )A<QZMj .TX<Q "S<QeYNY

            2023-         &dZAXS<Q .AR>AXj %NYYAXZ<\TS $TRRN^AAj 4<X<M ,TZMAj $<S@QAX 4?MTTQ TC
                          Theology, Emory University: “$<ZMTQN? #NTAZMN?Y <S@ "LNSLl "S &ZMSTLX<VMN?
                          Study of the Moral Projects of Seniors in Assisted Living”

            2022          4Zm 9<bNAX 6SNbAXYNZej .TX<Q "S<QeYNY TC )A<QZM 1Q<S $TbAX<LA

            2022-2023     &dZAXS<Q .AR>AXj %NYYAXZ<\TS $TRRN^AAj ". 4aZMAXQ<S@j 6SNbAXYNZe TC
                          ,c<faQa-Natal, South Africa: “*SZAXZcNSA@ -NbAYl 3A?TSYZXa?\SL -NCA "KAX ZMA
                          Death of a Son: An Autoethnography of a Pastoral Counselor and Mother”

            2020-         $..#j 1XTOA?Z -A<@ <S@ '<?NQNZ<ZTX CTX “#aNQ@NSL 3AYNQNAS?ej” *SN\<\bA CTX ;<R>N<j
                          4TaZM 4a@<Sj )<N\j ,ASe<j <S@ 1AXam

            2020          Expert Witness, $7J;EEH QZ 'K7G9BL97G "EEB7G9;X *G9Z

            2019-         $)" Ministry Assessment External Evaluator

            2018-2019     "RAXN?<S "YYT?N<\TS CTX ZMA "@b<S?ARASZ TC 4?NAS?Aj 4?NAS?A CTX 4ARNS<XNAY
                          (X<SZj $TSZASZ "@bNYTX CTX 4<?XA@ )A<XZ 4ARNS<Xej .NQc<aPAAj 8*

            2018-2019     Department of Religious Studies, Cardinal Stritch University, Milwaukee, WI:
                          Revisioning and restructuring of newly launched graduate program in pastoral
                          ministry.

            2018          Expert Witness, 1HF;KH QZ 1HF;KHX LA Superior Court




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             -         (QT><Q '<NZM-#<YA@ )A<QZM 4eYZARYl *SZALX<\SL 5A?MSTQTLe <S@ &RVTcAXNSL
                          $TRRaSN\AYl (ATXLAZTcS 6SNbAXYNZe <S@ ZMA 'TS@<fNTSA #XaST ,AYYQAX t5XASZTj
                          Italy)

                       Expert Witness, 2FBMA QZ /2' );7EMA$7K; 2TLM;F

            2016          5XNSNZe )A<QZMj &ZMN?Y 'aS?ZNTS %AYNLS

            2014-2015     Co-?M<NXj -TeTQ< 6SNbAXYNZe $MN?<LT 4ZX<ZALN? 1Q<S 4ZAAXNSL $TRRN^AAj Plan 2020

            2015          Expert Witness, -;:BG7 QZ $)*

            2014          Expert Witness, $A7QB;L QZ $7MAHEB9 );7EMA &7LM

            2014          1XAYAS?A )A<QZMj .NSNYZXe -A<@AXYMNV 'TXR<ZNTS %AYNLS 5A<R

            2013-2014     $<ZMTQN? )A<QZM &<YZr5XNSNZe )A<QZM .NSNYZXe -A<@AXYMNV 'TXR<ZNTS %AYNLS 5A<R

            2013          $<ZMTQN? )A<QZM &<YZj $<ZMTQN? 4T?N<Q 1X<?ZN?AY 8A>NS<X 4AXNAY %AYNLS <S@
                          Implementation

            2013          5XNSNZe )A<QZMj .TX<Q "S<QeYAY TC 0aZYTaX?Nng and Clinically Integrated Networks

            2010          $<ZMTQN? )A<QZM?<XA 8AYZj .TX<Q "S<QeYNY TC < $<YA <Z 4Zm +TYAVMoY )TYVNZ<Qj
                          Phoenix

            2000-      &ZMN?Y $TRRNZZAAj (TT@ 4<R<XNZ<S )TYVNZ<Qj %<eZTSj 0MNT

            2000-      &dA?aZNbA $TRRNZZAAj (XA<ZAX %<eZTS )A<QZM?<XA &Zhics Consortium



            EDITORIAL & "%4*1.06 /.1*2*.-1

            2023-         *SZAXS<\TS<Q #NTAZMN?Y (XTaV

            2023-         PACTPAN (Pan-"CXN?<S $<ZMTQN? 5MATQTLe <S@ 1<YZTX<Q /AZcTXPuj )A<QZM <S@
                          )A<QNSL 6SNZ

            2022          C<ZMTQN? )A<QZM "YYT?N<\TS 8TXPNSL (XTaV TS ZMA 1XNS?NVQA TC %Ta>QA &DA?Z

            2020-         1TS\E?<Q "?<@ARe CTX -NCAj $TXXAYVTS@NSL .AR>AX

            2020-         5MA )<SP $ASZAX CTX ZMA $<ZMTQN? *SZAQQA?Za<Q )AXNZ<LAj #T<X@

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            2022-         Editor, Journal of Moral Theology
                          Associate Editor, 2019-2021
                          EditoXN<Q "@bNYTXe #T<X@j -2018

            2022-         &@NZTXN<Q #T<X@j Journal of Catholic Social Thought

            2019-         &@NZTXN<Q #T<X@j 2MP:B;L BG $AKBLN7G &MAB9L

            2018-2020     /TXZMcAYZAXS .A@N?<Q $ASZAX $1& "@bNYTXe #T<X@

             -2021     &@NZTXN<Q #T<X@j Journal of the Society of $AKBLN7G &MAB9L

            2013-2014     $1& "@bNYTXe #T<X@j 1XAYAS?A )A<QZMj $MN?<LT

            2012-2015     Program on Medicine and Religion, University of Chicago, Annual Conference
                          1Q<SSNSL $TRRN^AA

            2010-2014     4T?NAZe TC $MXNY\<S &ZMN?Yj #T<X@ TC %NXA?ZTXY
                                 &dA?a\bA $TRRN^AAr1XTLX<R $TRRN^AAj  -2014
                                 $M<NXj /TRNS<\SL $TRRN^AAj -2012
                                 1XTLX<R $TRRN^AA 3AbNAc $TRRN^AAj -2014

            2008-2011     Anglican-3TR<S $<ZMTQN? 5MATQTLN?<Q $TSYaQZ<\TS-64"j 64$$#j .AR>AX

            2008-2012     $MXNY\<S 5MATQTLN?<Q 3AYA<X?M 'AQQTwship, Vice-President

            2005-2006     -TaNYbNQQA *SY\ZaZAj $MXNY\<S '<NZM <S@ -NCA 4<>><\?<Q (X<SZ 1XTLX<Rj 3AbNAcAX

            2003-2006     +TYAVM $<X@NS<Q #AXS<X@NS $ASZAXj $<ZMTQN? 5MATQTLN?<Q 6SNTSj $MN?<LTj 8TXPNSL
                          (XTaV TS ZMA $TSYNYZASZ &ZMN? TC -NCA

            2002-2009     $<ZMTQN? )A<QZM "YYT?N<\TSj 5MATQTLN<Sr&ZMN?NYZ $TRRN^AA t5&$u TC ZMA #T<X@ TC
                          Directors

            2001-2003     $<ZMTQN? )A<QZM "YYT?N<\TS 5MATQTLN<SY <S@ &ZMN?NYZY 8TXPNSL (XTaV “)<XSAYYNSL
                          ZMA 1XTRNYA TC (ASA\?Y”

            2001-2006     $<ZMTQN? )A<QZM "YYT?N<\TS 5MATQTLN<SY | &ZMN?NYZY 8TXPNSL (XTaVj 5MA 1XNS?NVQA
                          TC $TTVAX<\TS

            1999, 2000    $<ZMTQN? )A<QZM "YYT?N<\TS 5MATQTLN<SY <S@ &ZMN?NYZY $TQQTWaNaR 1Q<SSNSL
                          $TRRN^AA


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            1998-2001     "RAXN?<S "YYT?N<\TS CTX ZMA "@b<S?ARASZ TC 4?NAS?A t"""4uj 1XTLX<R TC
                          %N<QTLaA #AZcAAS 4?NAS?Aj 3AQNLNTSj <S@ &ZMN?Yj "@bNYTXe #T<X@ .AR>AX

            1995-1998     3A?TR>NS<SZ %/" "@bNYTXe $TRRN^AA t3"$uj /<\TS<Q *SY\ZaZAY TC )A<QZM

            1994-1998     4T?NAZe TC $MXNY\<S &ZMN?Y t4$&u 8TRAS’s Caucus, co-chair



            PUBLICATIONS (Abridged 2014-2024)

            Books

            #BHJHECN97 :;LJP<L :; E7 .;PKH9B;G9B7Y -HK7EB:7: T E7 &9HGHFC7 :; E7 5BKMP:Z Co-escrito con
            +ADXAe 1m #NYMTV <S@ "S@XAc "m .N?MAQ t.<@XN@j &YV<S<l 6SNbAXYN@<@ 'X<S?NY?T @A 7NZTXN<j NS
            press 2024).

            " 0KHJA;M MH MA; 0;HJE;LY 07PE '7KF;K’s Witness and Theological Ethics. Co-edited with Jennie
            8ANYY #QT?P <S@ "QAd<S@XA "m .<X\SY t1N?PcN?P 1a>QN?<\TSYj 'A>Xa<Xe  u.

            #BHJHEBN9L "?;K .;PKHL9B;G9;Y -HK7EBMT 7G: MA; Economy of Virtue. Co-<aZMTXA@ cNZM +ADXAe 1m
            #NYMTV <S@ "S@XAc "m .N?MAQ t#QTTRY>aXe "?<@ARN?j  um 8NSSAX TC < } j

            $7MAHEB9 #BH;MAB9L 7G: 2H9B7E +PLN9;Y 3A; 0K7SBL H= 42 );7EMA $7K; BG 7 (EH87EBU;: 6HKE:Z Co-
            A@NZA@ cNZM .N?M<AQ 1m .?$<XZMe t-NZaXLN?<Q 1XAYYj um  $<ZMTQN? 1XAYY "YYT?N<\TS #TTP
            "c<X@j $<ZMTQN? 4T?N<Q 5A<?MNSLj )TSTX<>QA .AS\TSm

            1;PGB:HL J7K7 &E $7FBGHY 3;HEH@C7 ;G PG7 0;KLJ;9NQ7 Católica. Co-A@NZ<@T ?TS %<bN@ .<ZfPT
            .?$<XZMem 5X<@a??NUS VTX )AQAS< '<??N< 4AXX<ST t(X<S<@<j &YV<S<l &@NZTXN<Q /aAbT *SN?NTj
            2019).

            $7KBM7L BG $HFFPGBHGY 3A;HEH@B97E 'HPG:7NHGL H= $7tholic Health Care t$<ZMTQN? )A<QZM
            "YYT?N<\TSj um

            /G -HK7E -;:B9BG;Y 3A;HEH@B97E &SJEHK7NHGL BG -;:B97E &MAB9L, 3rd ed. Co-edited with Joseph
            ,TZb< (Eerdmans, 2012).

            (7MA;K;: =HK MA; +HPKG;TY -HK7E 3A;HEH@T BG $7MAHEB9 0;KLJ;9NQ;. Co-edited with David M.
            .?$<XZMe t&AX@R<SYr4$.j um  $<ZMTQN? 1XAYY "YYT?N<\TS #TTP "c<X@j 5MATQTLej 5MNX@
            1Q<?A )TSTXYm




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            Journal Articles

            “3AYT?N<QNfNSL $<ZMTQN? )A<QZM?<XA -A<@AXYMNVl -AYYTSY CXTR 1<aQ '<XRAX <S@ 1TVA 'X<S?NY,”
            Concilium 2024, no. 3, Special issue on “)A<QZM <S@ )A<QNSLl &ZMN?<Qj 5MATQTLN?<Qj and Pastoral
            1AXYVA?\bAY,” 58-.

            “3NYT?N<QNff<XA Q< QA<@AXYMNV ?<^TQN?< SAQQ’<YYNYZASf< Y<SNZ<XN<l QAfNTSN @< 1<aQ '<XRAX A V<V<
            'X<S?AY?Tj” Concilium, "SST -9j C<Y?N?TQT 3 (2024): 82-96

            “3AYT?N<QNf<X AQ QN@AX<fLT Y<SNZ<XNT ?<ZUQN?Tl QA??NTSAY @A 1<aQ '<XRAX e AQ V<V< 'X<S?NY?Tj”
            Conciliumj  t+aSNT  ul -84.

            “": [2TGH:7E;F\ 3A;HEH@B7F [-HK7E;F\ 0KHFHQ;G:7F,” Journal of Moral Theology 13, no. 1
            (2024): 1-14.

            "The Power of Proximity: Toward an Ethic of Accompaniment in Surgery," with Charles
            /N?MTQYTSj .TSN?< #T@@j &QQAXe 4<XTYNj .<XZM< $<XQTaLMj <S@ '<XX $aXQNSj )7LNG@L $;GM;K 1;JHKM
            54, no. 2 (2024): 12-21.

            “7N?NTaY 5X<aR<l 1TbAXZej 3<?Aj #T@NAY <S@ ZMA $TSfounding of Virtue Ethics,” with Cory D.
            Mitchell, +HPKG7E H= MA; 2H9B;MT H= $AKBLN7G &MAB9L  j STm  t'<QQ  ul -100.

            “5MATQTLN?<Q &ZMN?Y TC -NCAl " /Ac 7TQaRA >e ZMA 1TS\E?<Q "?<@ARe CTX -NCAj” with Roberto
            Dell’Oro, Journal of Moral Theology, 11, no. 2 (July 2022): 65-.

            “#aNQ@NSL $<XALNbAX 3AYNQNAS?e NS (QT><Q )A<QZMl &R>T@eNSL ZMA $<ZMTQN? 4T?N<Q 5X<@N\TS NS ZMA
            '<?A TC $07*%-19,” cNZM #AZM 3AA?Aj .<X?N< (X<S@ 0XZAL<j "S< 7N?ZTXN< (aNf<@Tj <S@ $A?NQN<
            #aYZ<RASZA-Pixa, Linacre Quarterly 89, no. 2 (May 2022): 184-205.

            “-TTPNSL #<?Pc<X@ ZT .TbA 'TXc<X@l 8XN\SL :TaX 4eYZAR’s Racial Autobiography,” with Sheri
            #<XZQA^ #XTcSA Health Progress (Spring 2022): 43-50.

            “8MTYA 3AbTQa\TSi 8MN?M 'aZaXAi 5MA -AL<?e TC "Q<Y@<NX .<?*SZeXA CTX < 3<@N?<Q Pedagogy in
            Virtue,” with Daniel P. Rhodes, &SJHLBNHGLY *GM;K:BL9BJEBG7KT 2MP:B;L BG MA; )PF7GBN;L 14, no. 1
            t  ul -125.

            “#AeTS@ 4ZAc<X@YMNVl 3ATX@AXNSL ZMA &?TSTRN? *R<LNS<\TS TC $<ZMTQN? )A<QZM $<XAj” $AKBLN7G
            Bioethics 26, no. 1 (April 2020): 31-55.

            “Las Periferías y el Panl 1TVA 'X<S?NYj La Teología del Pueblo, and the Conversion of Catholic
            #NTAZMN?Y,” 0;KLJ;9NQ7 3;HEI@B7 51, no. 3 (2019): 421-442.

            “&Wa<QQe 4ZX<SLA 'XaNZl $<ZMTQN? )A<QZM $<XA <S@ ZMA "VVXTVXN<\TS TC 3AYN@AS\<Q 4ALXAL<\TS,”
            with Cory D. Mitchell, Journal of Moral Theology 8, no. 1 (2019): 36-62.

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            {" 4T?N<Q 1X<dNY CTX 64 )A<QZM $<XAl 3AbNYNTSNSL $<ZMTQN? #NTAZMN?Y 7N< $<ZMTQN? 4T?N<Q %T?ZXNSAj”
            +HPKG7E H= MA; 2H9B;MT H= $AKBLN7G &MAB9L 38, no. 2 (2018): 111-130, with Michael McCarthy.

            {5M<Z +<LLA@ -N^QA 1NQQ <S@ ZMA $TaSZAX-1TQN\?Y TC ZMA $TRRaSNZe TC ZMA &dVAQQA@l
            " 4<?X<RASZ<Q "YYAYYRASZ TC 1Ye?MN<ZXN? .A@N?<\TSj{ $AKBLN7G #BH;MAB9L 24, no. 3 (26 October
            2018): 246–264.

            Issue editor, Journal of Medicine and Philosophy 41, no. 6 (December 2016). Special issue on
            3A; "GMB9BJ7MHKT $HKJL;j >e +ACCXAe 1m #NYMTVm

            {'XTR 3A; "GN9BJ7MHKT $HKJL; MH MA; 07KN9BJ7MHKT #H:T," Journal of Medicine and Philosophy
            41, no. 6 (December 2016).

            {(ATLX<VMNAY <S@ "??TRV<SNRASZl "S &??QAYN<Q 3A-Ordering of the Art of Dying," Studies in
            $AKBLN7G &MAB9L 29, no. 3 (August 2016): 286–293.

            "Clinically Integrated Networks: A Cooperation Analysis," );7EMA $7K; &MAB9LY 42" j STm  t'<QQ
            2015): 6-10.

            {3TR<S $<ZMTQN? 5A<?MNSL TS *SZAXS<\TS<Q %A>Zl 5Tc<X@ < /Ac .AZMT@TQTLe CTX
            Catholic Social Ethics and Moral Theology," Journal of Moral Theology 4, no. 2 (June 2015): 1-m

            “$M<X<?ZAXNf<\TS TC < )aR<S 1TcAXA@ /A>aQNfAX $TRVXAYYTX CTX 3AYTaX?A 1TTX 4A_SLYm” With
            $MXNYZTVMAX +m )<QQ>AXLj $MXNYZTVMAX &m ;Ra@P<j 8NQQN<R ,m ,TVAYPej -<XY &m 0QYTSm BME Online
            t +aSA u lm

            {5XA<ZRASZ TC "YZMR< &d<?AX><\TSY cNZM ZMA )aR<S-Powered Nebuliser: A Randomised
            $QNSN?<Q 5XN<Qm{ 8NZM $MXNYZTVMAX + )<QQ>AXLj 3ASB "SZTSNT /<O<XXTj '<aYZT $A< (NQj $Q<X< 7NQQ<ZTXTj
            "S< $AQN< %N<f @A 6XN<XZAj <S@ -<XY & 0QYTSm npj Primary Care Respiratory Medicine j "X\?QA
            number: 14016 (26 June 2014).

            “3AbAXYA *SSTb<\TS CXTR ZMA -A<YZ TC 0aX /ANLM>TXYl $TRRaSNZe )A<Qth Workers and U.S.
            )A<QZM $<XAj” Health Progress 94, no. 1 t+<Sr'A> 2013): 45-52.

            “.TX<Q "S<QeYNY TC < 1XT?A@aXA <Z 1MTASNd )TYVNZ<Qj” Origins 40, no. 33 (Jan. , 2011): -.

            “%T?NQA #T@NAYl 5X<SYS<\TS<Q 3AYA<X?M &ZMN?Y <Y #NTVTQN\?Yj” Journal of Medicine and
            Philosophy 34, 2009, pp. 384-408.

            {3AYVA?Zl 0Xj )Tc 3AYVA?Z CTX 1AXYTSY #A?<RA 3AYVA?Z CTX "aZTSTRej{ Journal of Medicine and
            Philosophy 29, no. 6 (December 2004): 665-680.

            {3A?TSYZXaNSL (ASAZN? 3AYA<X?M <Y 3AYA<X?Mj{ J Law, Medicine, & Ethics 26 (1998): 48-54.

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            Chapters in Books

            p3AQNLNTS <S@ 5MATQTLel 8AYZAXSr">X<M<RN?q NS .AZMT@Y NS .A@N?<Q &ZMN?Yj rd edition, eds.
            +AXARe 4aL<XR<S <S@ %<SNAQ 4aQR<Yem (ATXLAZTcS 6SNbAXYNZe 1XAYY tNS VXAYY  uj cNZM
            Jonathan Crane and Aasim Padela.

            p" 'NAQ@ )TYVNZ<Q CTX $<ZMTQN? #NTAZMN?Yl 5MA 1TYZ?TS?NQN<X .AZMT@ TC 1TVA 'X<S?NY NS Laudato Si’
            and Fratelli Tutti,” in The Gift of Creationj A@m .=Ze=Y 4f<Q<em $<Y?<@A 1XAYY tNS VXAYY  um

            p#XNSLNSL $MXNYZ ZT $MXNYZl 5MA 4<?X<RASZ<Q <S@ 5XNSNZ<XN<S )A<XZ TC ZMA $MaX?MoY )A<QNSL
            Ministry,” in SVD Health Professionals: Participating in God’s Mission to Heal, ed. by Alexandre
            Rödlach, 131-m 3TRAl 47% 1a>QN?<ZNTSYj  m

            “-N>AX<\SL 5MATQTLN?<Q &ZMN?Y CXTR ZMA *SbNYN>QA )<S@l 1<aQ '<XRAXj ZMA 8TXQ@zY Poor, and the
            2a<S@<XNAY TC ZMA 'TXZaS<ZA,” in " 0KHJA;M MH MA; 0;HJE;LY 07PE '7KF;K’s Witness and
            Theological Ethics. Co-A@NZA@ cNZM +ASSNA 8ANYY #QT?P <S@ "QAd<S@XA "m .<X\SYm  -180.
            Pickwick Press, 2023.

            “Jesus is My Coyote: Rev. Ramon Dagoberto Quinones and the Sanctuary Movement,” in People
            H= (H: (;M 1;7:TW 3R;EQ; -BL=BMLX -7E9HGM;GML 7G: %K;7F;KL =HK 3KHP8E;: 3BF;LX edited by
            1AZAX 4Q<@Aj 4MA< 5aZZQAj <S@ +<?WaAQNSA "m #aYYNAm -  m 8R #m &AX@R<SYj  m

            “"KAX $07*%-l 5Tc<X@ < 4<?X<RASZ<Q #NTVTQN\?Yj” in 1HPME;:@; $HFJ7GBHG MH $AKBLN7G &MAB9L,
            eds. Rebecca Miles and D. Stephen Long.  -388. Routledge Press, 2022.

            {$<ZMTQN?NYR NS ZMA /ATS<Z<Q $TSZAdZl #AQNACj 1X<?ZN?Aj $M<QQASLAj )TVAm{ *S Religion and the
            &MAB9L BG MA; .;HG7M7E *GM;GLBQ; $7K; 4GBMj A@NZA@ >e 3TS (XAAS <S@ (ATXLA -NZZQAm -64. Oxford
            University Press, 2019.

            "A Midwife in Egypt: Sr. Mary Stella Simpson." In Can I Get a Witness? Can I Get a Witness?
            Thirteen Peacemakers, Community-BuBE:;KLX 7G: "@BM7MHKL =HK '7BMA 7G: +PLN9;, ed. Charles
            .<XYMj %<SNAQ 3MT@AYj <S@ 4MA< 5a^QAm - m 8R #m &AX@R<SYj m

            p$<ZMTQN? #NTAZMN?Y .AAZY $<ZMTQN? 4T?N<Q 5MTaLMZl " 1XT>QARj < 1XNRAXj <S@ < 1Q<Smq *S Catholic
            Bioethics and Social Justice, co-edited with Michael P. McCarthy. 1-23. Liturgical Press, 2019.

            “Outsourcing.” In Catholic Bioethics and Social Justice, co-edited with Michael P. McCarthy.
             -281. Liturgical Press, 2019. Co-authored with Robert DeVita.

            “Incarnating Caritas.” In Inc7KG7M; (K79;Y 0;KLJ;9MBQ;L HG MA; -BGBLMKT H= $7MAHEB9 );7EMA $7K;,
            A@NZA@ >e $M<XQAY #Ta?M<X@m - m $<ZMTQN? )A<QZM "YYT?N<ZNTSj /TbAR>AX m v5MNY >TTP NY <
            sequel to my Caritas in Communionwm



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            “Ritual – " 'X<RAcTXP CTX 3NZa<Q <Z ZMA %A<ZM>A@mq *S Dying in the Twenty-First Century, edited
            >e -e@N< %aL@<QAm -86. MIT Press, 2015.

            Encyclopedia and Dictionary Articles

            {)aR<S (ASA 5X<SYCAX 3AYA<X?Mj{ Encyclopedia of Bioethics, 4th &@N\TSm &@NZA@ >e #Xa?A
            Jennings. Macmillan Reference USA, 2014.

            ")aR<S (ASA 5X<SYCAX 3AYA<X?Mm{ *S Encyclopedia of Bioethicsj X@ A@mj A@NZA@ >e 4ZAVMAS (m
            Post. NY: Macmillan Reference USA, 2003.

            {#T@el **m 4T?N<Q 5MATXNAYm{ *S Encyclopedia of Bioethics, 2nd ed., edited by Warren T. Reich, 300-
            305. New York, NY: Simon and Schuster Macmillan, 1995.

            Lay Publications

            “$TRRASZ<Xe TS 64$$# “‘%T?ZXNS<Q /TZA TS ZMA .TX<Q -NRNZY ZT ZMA 5A?MSTQTLN?<Q .<SNVaQ<\TS
            TC ZMA )aR<S #T@ej’” NCR May 1, 2023.

            “Reclaiming the Catholic Moral and Intellectual Tradition from the Culture Wars,” NCR t"VXNQ j
            2022).

            “$<ZMTQN?Y 4AAPNSL z3AQNLNTaYz &dARV\TSY ZT 7<??NSAY .aYZ 'TQQTc "aZMAS\? $MaX?M 5A<?MNSL
            on Conscience,” NCR (September 21, 2021).

            “All Vaccines are Morally Acceptable, Says Member of Pontifical Academy for Life,” NCR (March
            5, 2021).

            “7<\?<Sl *Z’Y 6SOaYZ t<S@ %<SLAXTaYu CTX 8A<QZMe /<\TSY ZT )T<X@ ZMA $TbN@ 7<??NSAj” "F;KB97
            t+<Sa<Xe j  um

            “+AYaY NY 8NZM 6Y NS ZMA #T<Z — " 1AXYVA?\bA vTS $07*%w CXTR .aR><N,” in Renewing
            1;E7NHGLABJY &LL7TL 7L 6; &QHEQ; 7G: &F;K@; 'KHF 07G:;FB9j A@m >e #Xa?A $TRVZTSm $<ZMTQN?
            )A<QZM "YYT?N<\TS t/TbAR>AX  ul -m 8NZM 4Xm %Xm #AAS< .<@M<b<ZMm

            “Unmasking Neoliberalism’Y *SbNYN>QA (XNVl )TRT &?TSTRN?aY <S@ ZMA 1AXYTS NS #NTAZMN?Yj”
            $HGM;G:BG@ -H:;KGBN;Lj 6SNbAXYNZe TC /TZXA %<RAj 4?NAS?A <S@ ZMA )aR<S 1AXYTS &YY<e 4AXNAYm
            July 18, 2019.




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            PAPERS & PRESENTATIONS (selected)

            Peer-Reviewed Conference Papers

            “#aNQ@NSL $<XALNbAXY’ Resiliency in the (QT><Q 4TaZM ZMXTaLM < 7NXZa<Q 1XTLX<Rj” "1)" "SSa<Q
            .AA\SLj "ZQ<SZ<j /TbAR>AX j  

            “"@@XAYYNSL ZMA )N@@AS $XNYNYl #aNQ@NSL 8TRAS $<XALNbAXY’ Resiliency and Well-being,” Women
            Deliver 2023 Conferencej +aQe  j cNZM $<XTQ 5TYTSAj $Q<a@N< -Q<SZASj )ASXe .YTP<j *Y<R<X
            (aNTSj <S@ "QAd (<X?N<m

            “7N?NTaY 5X<aR<l 1TbAXZej 3<?Aj #T@NAY <S@ ZMA $TSCTaS@NSL TC 7NXZaA &ZMN?Yj” "SSa<Q .AA\SL
            TC ZMA 4T?NAZe TC $MXNY\<S &ZMN?Yj +<Sa<Xe  j cNZM $TXe D. Mitchell.

            “&?TSTRNfNSL &ZMN?Yl 5MA &RAXLAS?A TC “Value” NS ZMA )NYZTXe TC &ZMN?<Q 5MATXe” on a panel
            AS\ZQA@ “%A?TSYZXa?\SL 7<QaAl " .aQ\Q<eAXA@ 5MATQTLN?<Q "S<QeYNY TC )aR<S .A<SNSL-
            Making,” with Jean-1NAXXA 'TX\Sj %<S 3MT@AYj <S@ %<bN@ #eXSA <Z ZMA ?TSCAXAS?A AS\ZQA@
            “8M<Z .<^AXYl 0S 7<QaA <S@ 7<QaNSLj” 5TXTSZT 4?MTTQ TC 5MATQTLej .<e -8, 2020, Toronto,
            Canada (cancelled due to COVID-19).

            “5TTQY CTX 5X<SYCTXR<\TSl $M<VQ<NSY <Y '<?NQNZ<ZTXY TC 1TYZ-5X<aR<\? (XTcZMj” cNZM #AZM 3AA?Aj
            M.Div., #$$$j 1XTLX<R TS .A@N?NSA <S@ 3AQNLNTSj $TQaR>aYj 0)j .<X?M   tVTYZVTSA@ @aA
            to COVID-19).

            “Trauma-*SCTXRA@ #NTAZMN?Yj” V<SAQ @NY?aYYNTS cNZM +aQNA (aS>e <S@ +<?WaAQNSA 8TQCj "4#)j
            Oct. 24, 2019.

            “5TTQY CTX 5X<SYCTXR<\TSl $M<VQ<NSY <Y '<?NQNZ<ZTXY TC Post-5X<aR<\? (XTcZMj” cNZM #AZM 3AA?Aj
            .m%Nbmj #$$$j /<\TS<Q "YYT?N<\TS TC $<ZMTQN? $M<VQ<NSY "SSa<Q .AA\SLj .<e m

            “1TVA 'X<S?NYl 5MA -NbA@ *SZALX<\TS TC $<ZMTQN? 4T?N<Q 5MTaLMZ <S@ $<ZMTQN? #NTAZMN?Y” at “Pope
            'X<S?NYj " 7TN?A $XeNSL 0aZ NS ZMA 8TXQ@l .AX?ej +aY\?Aj -TbA <S@ $<XA CTX ZMA &<XZMj” Villanova
            University, April 15-18, 2018.

            {" $<ZMTQN? 4T?N<Q 1X<dNY CTX 64 )A<QZM $<XAl 3AbNYNTSNSL $<ZMTQN? #NTAZMN?Y 7N< $<ZMTQN? 4T?N<Q
            Doctrine,” 4T?NAZe TC $MXNY\<S &ZMN?Yj +<Sa<Xe j 1TXZQ<S@, Oregon.

            {*Y ZMA -<ZAYZ ZMA (XA<ZAYZi &ZMN?<Q 1AXYVA?\bAY TS /TbAQ *SZAXbAS\TSYj{ 5MA "SSa<Q
            $TSCAXAS?A TC ZMA /<\TS<Q "YYT?N<\TS TC $<ZMTQN? $M<VQ<NSYj $MN?<LTj *-j "VXNQ j m

            {$<ZMTQN? 1AXYVA?\bAY TS &R>T@NRASZj{ 5MXAA VQAS<XNAYm 5MA 5MNX@ Annual Conference for the
            1XTLX<R TS .A@N?NSA <S@ 3AQNLNTSj $MN?<LTj *-j .<X?M -9, 2014.

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            “4ZAc<X@YMNV bYm $<XNZ<Yl " $M<QQASLA ZT ZMA 1XNS?NVQA TC 4ZAc<X@YMNV NS $<ZMTQN? )A<QZM $<XA
            Ethics,” Second Annual Conference of the Program on Medicine and Religion, University of
            Chicago. Chicago, IL, May 28, 2013

            Invited Lectures & Presentations

            “$<ZMTQN? #NTAZMN?Y <S@ 4T?N<Q +aY\?Aj” 5MA .<XN<SNYZ -A?ZaXAj $M<RNS<@A 6SNbAXYNZej )TSTQaQaj
            October 13, 2024.

            “5MA )aR<S (ASTRA <S@ "SZMXTVTQTLN?<Q 4NSLaQ<XNZel The Case of Enhancement,” *SZAXS<\TS<Q
            #NTAZMN?Y (XTaVj #XaYYAQYj #AQLNaRj .<e -26, 2024.

            Chair, “'XTR %TRNS<\TS ZT 3AYVTSYN>NQNZel 3AZMNSPNSL )aR<S?ASZXNYRj” 1TS\E?<Q "?<@ARe CTX
            -NCA "SSa<Q .AA\SLj “)aR<Sm .A<SNSL <S@ $M<QQASLAYj” 5MA 7<\?<Sj 3TRAj 'A>Xa<Xe  -13,
            2024.

            “$TRRASZ<Xe TS ZMA 64$$# %H9MKBG7E .HM; HG 3;9AGHEH@B97E -7GBJPE7NHG H= MA; #H:T,” Illinois
            $<ZMTQN? )A<QZM "YYT?N<\TSj "VXNQ j  m

            “Pastoral Accompaniment for the Sick Today,” Symposium on The Leadership of Pope Francis in
            the Global Health &RAXLAS?ej ZMA )A<QZM <S@ )A<QNSL 6SNZ TC 1"$51"/ t1<S-African Catholic
            Theology and Pastoral Network), March 25, 2023.

            ,AeSTZAj “Neither Marketplace nor #<^QALXTaS@l Catholic 6SNbAXYN\AY as 'NAQ@ )TYVNZ<Q for a
            #A^AX ,NS@ of 1TQN\?Y,” AYYT?N<\TS TC $<ZMTQN? $TQQALAY <S@ 6SNbAXYN\AY "SSa<Q .AA\SLj
            'A>Xa<Xe  m

            {5Tc<X@ < 4<?X<RASZ<Q #NTVTQN\?j” Postgraduate Course in {5MATVTQN\?Ym /Ac 5XAS@Y NS 1TQN\?<Q
            5MATQTLe{ *'&4 <S@ ?AX\E?<ZA@ >e ZMA 1TS\E?<Q 6SNbAXYNZe TC 4<lamanca (UPSA), January 12 and
            19, 2023.

            “#NTVTQN\?Y "KAX /AaXTY?NAS?Aj” ZMA /AaXTY?NAS?A *SZAXAYZ (XTaVj "SSa<Q .AA\SL TC ZMA
            4T?NAZe TC $MXNY\<S &ZMN?Yj $MN?<LTj *-j +<Sa<Xe j  m

            “5Tc<X@ < 8TR<SNYZ #NTAZMN?Yl " 3AYVTSYA ZT 8eQNS 8NQYTSj” +TMS )TVA 'X<SPQNS )aR<SN\AY
            *SY\ZaZAj %aPA 6SNbAXYNZej %A?AR>AX j  m

            “#AeTS@ $<ZMTQN? %NY?TX@<S?Al 1TVA 'X<S?NY <S@ ZMA 4<?X<RASZ<Q 7NYNTS TC ZMA 4A?TS@ 7<\?<S
            Council,” 4V<SNYM #NYMTVY’ Conference, Avila Spain, November 2022.

            “Sr. Mary Stella Simpson <S@ )A<QZM &WaNZej” Valparaiso University, October 25, 2022.



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            “#NTVTQN\?Y "KAX /AaXTY?NAS?Aj” 1TS\E?N< 6SNbAXYN@<@ $<ZUQN?< @A 1aAXZT 3N?Tj 1TS?Aj 1aAXZT
            Rico, October 21, 2022.

            “$TSCXTS\SL ZMA *SbNYN>QA )<S@l /ATQN>AX<QNYR <S@ ZMA 'aZaXA TC t#NTu&ZMics,” Magisterial
            Lecture, Inter-American University of Puerto Rico, San Juan, Puerto Rico, October 20, 2022.

            “/TXR 8NXf>< <S@ ZMA %AQNLMZ TC %NXZj” panel respondent, Valparaiso University, October 6,
            2022.

            4eRVTYNaR TS p-NCAj 4TQN@<XNZej 'X<ZAXSNZel 5MA Consistent Ethic in Light of Fratelli Tutti”, The
            #AXS<X@NS $ASZAXj $<ZMTQN? 5MATQTLN?<Q 6SNTSj 4AVZAR>AX -18, 2022

            &dV<S@A@ 3A<YTS $TSLXAYYj 6SNbAXYN@<@ 'X<S?NY?T 7NZZTXN<j .<@XN@j 4V<NSj .<e          -24, 2022.

            “8<X TX 1A<?Ail 5Tc<X@ < #A^AX ,NS@ TC #NTVTQN\?Yj” at “1TVA 'X<S?NYj 7<\?<S **j <S@ ZMA 8<e
            'TXc<X@j” March 25- j  j -TeTQ< 6SNbAXYNZe $MN?<LTj YVTSYTXA@ >e ZMA )<SP $ASZAX CTX ZMA
            $<ZMTQN? *SZAQQA?Za<Q )AXNZ<LA t-TeTQ< 6SNbAXYNZe $MN?<LTuj ZMA #TNYN $ASZAX t#TYZTS $TQQALAuj <S@
            the CentAX CTX 3AQNLNTS <S@ 1a>QN? -NCA t'TX@M<R 6SNbAXYNZeum

            “(T@ bm .<RRTSl #NTVTQN\?Y "KAX /AaXTY?NAS?Aj” Theology, Medicine, and Culture Program,
            Duke University, April 1, 2022.

            “3ANR<LNSNSL 5MATQTLN?<Q #NTAZMN?Yj” $TSZXN>a\TSY ZT < 1TYZQN>AX<Q 5MATQTLel " /Ac #ALNSSNSLj
            *SY\ZaZT @A 'NQTYTF< &@NZM 4ZANSj "X?M@NT?AYA TC (X<S<@<j 4V<NSj <S@ ZMA 1TS\E?<Q 6SNbAXYNZe TC
            Salamanca, March 22, 2022.

            “Theological Ethics and Neuroscience,” ZMA /AaXTY?NAS?A *SZAXAYZ (XTaVj "SSa<Q .AA\SL TC ZMA
            4T?NAZe TC $MXNY\an Ethics, Costa Mesa, CA, January 10, 2022.

            “$<ZMTQN? #NTAZMN?Y <S@ 4T?N<Q +aY\?Aj” 0VASNSL ,AeSTZAj $<ZMTQN? )A<QZM "YYT?N<\TS TC 0SZ<XNTj
            Toronto, Canada, October 22, 2021.

            “Presentación del Volumen: Covid- e B\?< ZATQULN?< AS "RAXN?< -<\S<”—Catholic Theological
            &ZMN?Y NS < 8TXQ@ $MaX?Mj -<\S "RAXN?<S 4A?\TSj +aQe j  

            “()Tcu "XA 8A t/TZu 5<QPNSL ">TaZ 3<?Ai” $<ZMTQN? )A<QZM "YYT?N<\TS "YYAR>Qe 5<>QA 5<QPj
            June 14 and June 15, 2021, with Michael McCarthy.

            “$07*%j $TRRaSNZe )A<QZMj <S@ $<tholic Social Teaching,” 04' )A<QZMj "VXNQ j  m

            “$07*% <S@ $<ZMTQN? #NTAZMN?Yl 5NRA ZT 3AZMNSP 0aX 1XNTXN\AYj” St. Mary’Y $TQQALAj */j 'A>Xa<Xe
            j  m



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                                                                                              Exhibit F Page 44

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            “‘" )A<XZ 0VAS ZT ZMA 8MTQA 8TXQ@’: 5MA 5XNSNZ<XN<S %eS<RNYR TC <S *SZALX<Q )aR<S &?TQTLe TC
            ST?N<Q 'XNAS@YMNV NS Laudato Si’ and 'K7M;EEB 3POX” 4ARNS<Xj 1TS\E?<Q "?<@ARe CTX -NCAj 'A>Xa<Xe
            16, 2021.

            “‘5MA 4VNXNZ TC 3AbTQa\TS<Xe $M<SLA’: $<ZMTQN? 4T?N<Q 5MTaLMZ <S@ ZMA 5X<SYCTXR<\TS TC
            $<ZMTQN? #NTAZMN?Y NS < 5NRA TC $07*%j” 2021 #AYYA^A -A?ZaXA TS .A@N?<Q &ZMN?Yj ,NSLY $TQQALAj
            Wilkes-#<XXAj 1"j 'A>Xa<Xe j  m

            “-A<bNSL (T@ CTX (T@l 3ACX<RNSL .A@N?<Q 1<YZTX<Q $<XA <Y < 5MATQTLN?<Q 1X<?\?Aj” Opening
            ,AeSTZAj $TSCAXAS?A TS “%eNSL < $MXNY\<S %A<ZMj” ,ASSA@e *SY\ZaZA TC &ZMN?Yj (ATXLAZTcS
            University, Washington, DC, November 6, 2020.

            “)A<QZM?<XA NY < 3<?N<Q +aY\?A *YYaAj” YAYYNTS j cNZM $TXe .NZ?MAQQ <S@ .<QNP )ASEAQ@j
            YVTSYTXA@ >e cMNZA?T<ZYCTX>Q<?PQNbAY <S@ ZMA $MN?<LT $T<QN\TS TC $MaX?MAYj 0?ZT>AX j
            2020.

            “Tools for 5X<SYCTXR<\TSl $M<VQ<NSY <Y '<?NQNZ<ZTXY TC 1TYZ-5X<aR<\? (XTcZMj” cNZM #AZM 3AA?Aj
            .m%Nbmj #m$m$m$mj /<\TS<Q "YYT?N<\TS TC $<ZMTQN? $M<VQ<NSYj 8A>NS<Xj +aSA  m

            “Las Periferias y El Panl 5MA -<\S "RAXN?<S *SIaAS?A TS 1TVA 'X<S?NY’ Sacramental Logic and
            ZMA $TSbAXYNTS TC $<ZMTQN? #NTAZMN?Yj” 4aRRAX *SY\ZaZAj *SY\ZaZT @A Q< 'NQTYTE< &@NZM 4ZANSj
            (X<S<@<j 4V<NSj +aSA j m

            “Living Instruments of the Church’Y .NYYNTSl $aQ\b<\SL ZMA (NK TC -<e .NSNYZXej” Cardinal Stritch
            6SNbAXYNZej $AQA>X<\on of Lay Ministry Symposium, Milwaukee, WI, January 2019.

            “Living Instruments of the Church’Y .NYYNTSl 5MA 5MATQTLe TC ZMA -<NZe <S@ $<ZMTQN? )A<QZM
            Care,” *QQNSTNY $<ZMTQN? )A<QZM "YYT?N<\TS "SSa<Q .AA\SLj $MN?<LTj *-j /TbAR>AX m

            “What is TheoloLe <S@ 8Me %TAY *Z .<^AX ZT )A<QZM $<XA #T<X@Yi $TSbAXY<\TS cNZM "aZMTXY
            of Incarnate Grace,” $)" "YYAR>Qej 4<S %NALTj $"j +aSA m

            {5M<Z +<LLA@ -N^QA 1NQQ <S@ ZMA $TaSZAX-1TQN\?Y TC ZMA $TRRaSNZe TC ZMA &dVAQQA@l
            A Sacramental Assessment of 1Ye?MN<ZXN? .A@N?<\TSj{ $TSCAXAS?A TS 5<PNSL 0aX .A@Y
            '<NZMCaQQel 4eRVTYNaR TS $MXNY\<SNZe | 1Ye?MTVM<XR<?TQTLem %aPA 6SNbAXYNZej %aXM<Rj /$j
            .<X?M m

            {8MN?M '<NZMi 8MN?M 3A<YTSi 8MN?M +aY\?Al " 5MATQTLN?<Q $TRRASZ<Xe TS Laudato Si’," Loyola
            University Chicago Symposium on Laudato Si’ | ZMA &SbNXTSRASZj $MN?<LTj *-j 4AVZAR>AX 2016.

            {1<YZTX<Q <S@ 1<QQN<\bA $<XA 3AYTaX?AY CTX %eNSL 8AQQj{ 5Tc<X@Y < $TSZARVTX<Xe
            Art of Dying--The 5th Annual McDonald Symposium in Theological Ethics at the University of
            Cambridge, Cambridge, England, May 18-20, 2015.


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            {5MATQTLN?<Q 'TaS@<\TSY TC $<ZMTQN? )A<QZM $<XAj{ $)& )A<QZM -A<@AXYMNV "?<@ARej
            Philadelphia, PA, June 9, 2014.

            {"@<R 4RNZM TX .TZMAX .?$<aQAei $<S $<ZMTQN? )A<QZM $<XA #A 'TX-1XTEZi{ 5MA th Annual
            $TSCAXAS?A TS $TSZARVTX<Xe $<ZMTQN? )A<QZM $<XA &ZMN?Yj 5MA /ANYc<SLAX *SY\ZaZA CTX
            #NTAZMN?Yj -TeTQ< 6SNbAXYNZe $MN?<LTj $MN?<LTj *-j .<X?M j m

            {$<ZMTQN?NYR NS ZMA /ATS<Z<Q $TSZAdZl #AQNACj 1X<?\?Aj $M<QQASLAj )TVAj{ 5MA "SSa<Q (X<bASY
            Conference TS ZMA 1MeYN?<Q <S@ %AbAQTVRASZ<Q &SbNXTSRASZ TC ZMA )NLM-Risk Infant in
            ?TQQ<>TX<\TS cNZM ZMA .<X?M TC %NRAYj $QA<Xc<ZAX #A<?Mj '-j 'A>Xa<Xe j m

            {5MATQTLN?<Q 'TaS@<\TSY TC $<ZMTQN? )A<QZM $<XAj{ $<ZMTQN? )A<QZM "YYT?N<\TS Minnesota,
            Minneapolis, MN, November 8, 2013.

            "Solidarity," C<ZMTQN? )A<QZM &<YZrTrinity )A<QZM $<ZMTQN? 4T?N<Q 1X<?\?AY 8A>NS<X 4AXNAYj 0?ZT>AX
            23, 2013.

            {(X<ZaNZTaYSAYYj{ C<ZMTQN? )A<QZM &<YZrTrinity )A<QZM $<ZMTQN? 4T?N<Q 1X<?\?AY 8A>NS<X YAXNAYj
            September 23, 2013.



            $.301&1 2"3()2

            Loyola University Chicago

            Masters

            IPS 465        Theology and Ethics at the End of Life
            IPS 545        'TaS@<ZNTSY TC $MXNYZN<S 4VNXNZa<QNZe
            IPS 553        Moral Theology and Christian Ethics
            *14         *SZXT@a?ZNTS ZT 5MATQTLe <S@ .NSNYZXe CTX $<ZMTQN? )A<QZM $<XA
            IPS 599        1X<eNSL CTX .NX<?QAYi
            #&)-        $<ZMTQN? #NTAZMN?Y <S@ 4T?N<Q +aYZN?A
            IPS 596        Dying Well
            #&)-        (QT><Q #NTAZMN?Y
            #&)-        *SZXT@a?ZNTS ZT )A<QZM?<XA .NYYNTS -A<@AXYMNV

            Doctoral

            #&)-        5MATQTLN?<Q #NTAZMN?Y
            #&)-        5MATQTLej 3<?Aj <S@ $<ZMTQN? )A<QZM $<XA
            #&)-        1<aQ '<XRAXl .A@N?NSA <S@ 5MATQTLe CXTR ZMA .<XLNSY
            #&)-         $<STS -<c CTX $<ZMTQN? )A<QZM?<XA

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                                                                                            Exhibit F Page 46

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            Marquette University

            (G7:N7I;

            5)&0        Introduction to Theological Ethics
            5)&0      Introduction to Theological Ethics
            5)&0       Christian Social Ethics
            5)&0       4T?N<Q +aYZN?A <S@ )A<QZM $<XA t@AbAQTVA@ CTX $TQQALA TC /aXYNSLu
            5)&0      Catholic Moral Theology
            5)&0      $<ZMTQN? )A<QZM?<XA &ZMN?Y

            Undergraduate

            5)&0       Medical Ethics
            5)&0       Justice and Morality (majors capstone course)
            5)&0       Independent Study in Medical Ethics
            5)&0       Independent Study on Suffering and Embodiment
            ARSC 3986     MU-.$8 #NTAZMN?Y *SZAXSYMNV

            University of Dayton

            (G7:N7I;

            REL 500A      Research Methods
            REL 500D      'TaS@<ZNTSY TC 4eYZAR<ZN? <S@ .TX<Q 5MATQTLe t<QYT TSQNSAu
            3&-        Christian Discipleship
            REL 561       Approaches to Morality
            REL 562       Contemporary Moral Problems
            REL 660       $<ZMTQN?NYRj #NTAZMN?Yj <S@ ZMA 6m4m $TSZAdZ
            REL 660       Catholic Moral Theology

            Undergraduate

            REL 103       Introduction to Religion
            ASI 101-102   CORE: Interdisciplinary Introduction to Religion and Philosophy
            ASI 150       Introduction to the University Experience
            "4*        $03& $<VYZTSAl 1XTCAYYNTS<Q &ZMN?Y NS < (QT><Q 4ociety
            REL 363       '<NZM <S@ +aYZN?A tp5MA #T@e 1TQNZN? NS 'QTXAS?Al 4<NSZY <S@ ZMA 1TTXjq
                          'QTXAS?Aj *Z<Qej 4aRRAX u
            3&-        $MXNYZN<S &ZMN?Y <S@ )A<QZM $<XA
            3&-        $MXNYZN<S &ZMN?Y <S@ )A<QZM $<XA t5MA #T@e 1TQNZN? NS 'QTXAS?Al 5MATQTLe <S@
                          Medicine froR ZMA &<XQe $MaX?M ZT ZMA 3AS<NYY<S?Ajq 'QTXAS?Aj *Z<Qej 4aRRAX
                          2005)

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            '3-%&% (0"-21 "-% 0&1&"0$) 13//.02

            *S <@@N\TS ZT ZMA yj NS LX<SZY * M<bA >AAS <c<X@A@ CTX Re TcS XAYA<X?Mj * M<bA <QYT
            <YYNYZA@ TXL<SNf<\TSY NS securing $1.25M and in managiSL <S <@@N\TS<Q y. NS LX<SZY.

            LILLY ENDOWMENT: 5MXNbNSL $TSLXAL<\TSY (X<SZj  -2025, with the Montreat Conference
            $ASZAX <S@ ZMA #Q<?P .TaSZ<NS 4?MTTQ TC 5MATQTLe <S@ $TRRaSNZe t0?ZT>AX  l jjum

            LILLY ENDOWMENT: Called to Lives of Meaning <S@ 1aXVTYA 1Q<SSNSL (X<SZj 4aRRAX  t.<e
             l jk $T-PI).

            A440$*"5*0/ 0' T)&0-0(*$"- S$)00-4: *SSTb<\TS (X<SZ 1XTLX<Rl “Reimagining Theological
            $TSZAdZa<Q &@a?<\TSl 5MATQTLN?<Q "?\TS 3AYA<X?M 5A<RY,q -2018 t"aLaYZ l jk
            Co-PI).

            A440$*"5*0/ 0' T)&0-0(*$"- S$)00-4: '<?aQZe %AbAQTVRASZ (X<SZj “'TXRNSL '<?aQZe CTX *SZALX<ZA@
            .NSNYZAXN<Q 'TXR<\TSjq -2018 t"aLaYZ l jj 1*um

            C"5)0-*$ )&"-5) ASSOCIATION: 7NYN\SL 4?MTQ<Xj  -2013 (June 2012. $40,000).

            W"#"4) C&/5&3 '03 T&"$)*/( "/% L&"3/*/( */ T)&0-0(: "/% R&-*(*0/: “(X<@a<ZA 5A<?MNSL 1XTLX<R
            *SN\<\bAj” 2010-2012 (June 2010. $15,000).

            T)& ARETE 'OUNDATION, Science of Virtue Program: "The Economy of Virtue: Virtue Theory in
            Light of Poverty and Neuroscience,” cNZM +ADXAe 1m #NYMTVj "Re -<aX< )<QQj <S@ "S@XAc .N?MAQm
            2010-2012 (March 2010. $225,000)

            NATIONAL C0--&(*"5& INVENTORS AND INNOVATORS ALLIANCE: “5MA )aR<S-1TcAXA@ /A>aQNfAX NS $ASZX<Q
            America,” with Lars E. Olson, Ph.D., 2010-2011 (January 2010 $42,000).

            CEL&#3"5*/( 5)& C&/5&//*"- 0' WOMEN: “8TRAS NS 5MATQTLe <Z .<XWaA^A 6SNbAXYNZej” 2009-2010
            (August 2009, $2,000)

            R&4&"3$) COUNCIL SEED (RANT, U/*7&34*5: 0' DAYTON: “Revision of On Moral Medicine, for the Third
            &@N\TSj” 2006 ($5,500)

            LOUISVILLE INSTITUTE: $MXNY\<S '<NZM <S@ -NCA 4<>><\?<Q (X<SZj {"STNS\SL ZMA 4N?Pl $MXNY\<S
            1X<?\?AYj #T@NAYj <S@ .A@N?<Q &ZMN?Yj” 2003-4 ($45,000)

            LILLY P30(3". */ C)3*45*"/ L&"%&34)*1, U/*7&34*5: 0' DAYTONl 5A<?MNSL (X<SZ CTX {5MA 7T?<\TSY TC
            Medicine," 2003 ($3,500)


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            INTERDISCIPLINARY 'ACULTY SEMINAR ON R&-*(*0/ "/% SCIENCE, U/*7&34*5: 0' DAYTONl 3AYA<X?M (X<SZj
            2000 ($3,500)

            R&4&"3$) COUNCIL SEED (RANT, U/*7&34*5: 0' DAYTONl {(ASA 5MAX<Ve <S@ $MNQ@XASl " 5AYZ-Case for
            )aR<S 4a>OA?ZY 3AYA<X?Mj” 1999 ($3,000)

            R&4&"3$) COUNCIL SEED (RANT, U/*7&34*5: 0' DAYTONl 'TXaR TS ZMA $<ZMTQN? *SZAQQA?Za<Q 5X<@N\TS
            Today, "Virgil Michel and the Liturgical Movement: An Undiscovered Source for Liturgy and
            Ethics," 1998 ($3,000)

            D&1"35.&/5 0' R&-*(*064 STUDIES, UNIVERSITY 0' DAYTONl 3AYA<X?M (X<SZj {-NZaXLe <S@ &ZMN?Y NS
            'ARNSNYZ 5MATQTLej{  tju

            R&4&"3$) COUNCIL SEED (RANT, U/*7&34*5: 0' DAYTONl 'TXaR TS ZMA $<ZMTQN? *SZAQQA?Za<Q 5X<@N\TS
            Today, University of Dayton, "In-3NZa<QA@ #T@NAYl -NZaXLe <Y ZMA 'TaS@<\TS CTX $MXNY\<S &ZMN?Yj”
             tju

            SUMMER R&4&"3$) (RANT, D&1"35.&/5 0' R&-*(*064 STUDIES, U/*7&34*5: 0' DAYTON: 1996 ($3,000)

            NATIONAL I/45*565&4 0' )&"-5)l &-4* 'AQQTcYMNV NS .TQA?aQ<X <S@ $QNSN?<Q (ASA\?Yj 6SNbAXYNZe TC
            Iowa, 1994 ($40,000)



            ).-.01 S "5"0%1

            Expanded Reason Institute, Expanded Reason Award, for #BHJHEBMB9L "=M;K .;PKHL9B;G9;Y
            Morality and the Economy of Virtue, 2021.

            $<ZMTQN? 1XAYY "YYT?N<ZNTS #TTP "c<X@j $<ZMTQN? 4T?N<Q 5MTaLMZj )TSTX<>QA .ASZNTSj CTX
            Catholic Bio;MAB9L 7G: 2H9B7E +PLMB9;Y 3A; 0K7SBL H= 42 );7EMA97K; BG 7 (EH87EBU;: 6HKE:, 2019.

            $<ZMTQN? 1XAYY "YYT?N<ZNTS #TTP "c<X@j 5MATQTLej 5MNX@ 1Q<?A )TSTXYj CTX Gathered for the
            +HPKG;TY -HK7E 3A;HEH@T BG $7MAHEB9 0;KLJ;9MBQ;, 2008

            University Teaching 'AQQTcj 6SNbAXYNZe TC %<eZTSj -
            (X<@a<ZA "YYNYZ<SZYMNVj %aPA 6SNbAXYNZej -1990
            -AXTe &m %AZZR<S 4?MTQ<XYMNVj -1988
            (X<@a<ZA "YYNYZ<SZYMNVj 6SNbAXYNZe TC /TZXA %<RAj -1986
            1MN #AZ< ,<VV<j )TVA $TQQALAj 
            Magna Cum L<a@Aj )TVA $TQQALAj 
            "QRTS 5m (T@CXAe 4ASNTX 1XNfA NS $MARNYZXe CTX &d?AQQAS?A NS 4?MTQ<XYMNV | 3AYA<X?Mj )TVA
            College, 1985
            4NLR< 9N "c<X@ CTX 3AYA<X?Mj )TVA $TQQALAj 

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                                                                                             Exhibit F Page 49

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            $aVAXe 3AYA<X?M 'AQQTcYMNVj )TVA $TQQALAj 
            .TXZ<X #T<X@j )TVA $TQQALAj 
            +<A?PAX $MARNYZXe 4?MTQ<XYMNVj )TVA $TQQALAj -1985


            /0.'&11*.-"+ ,&,#&01)*/1

            4T?NAZe TC $MXNY\<S &ZMN?Yk $<ZMTQN? 5MATQTLN?<Q &ZMN?Y NS < 8TXQ@ $MaX?M




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                                                                                        Exhibit F Page 50

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